                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



In re:                                                            Chapter 7

AKORN HOLDING COMPANY LLC, et al 1                                Case No. 23-10253 (KBO)

                 Debtors.                                         (Jointly Administered)


                     STATEMENT OF FINANCIAL AFFAIRS FOR
                 AKORN OPERATING COMPANY LLC (CASE NO. 23-10255)




________________________
1
     The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers,
     and cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate
     Company LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-
     10255. The Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
                                       THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

                                                                           Chapter 7
          In re:
                                                                           Case No. 23-10253 (KBO)
          AKORN HOLDING COMPANY LLC, et                        al., 1
                                                                           (Jointly Administered)
                                        Debtor.


                       THE CHAPTER 7 CASES SCHEDULES AND SOFAS GLOBAL NOTES

                    These Global Notes regarding the above-captioned debtors and debtors in
     possession (collectively, the “Debtors”) Schedules of Assets and Liabilities (the “Schedules”) and
     Statements of Financial Affairs (the “SOFAs”) comprise an integral part of the Schedules and
     SOFAs and should be referred to and considered in connection with any review of them. In the
     event that the Schedules and/or SOFAs differ from the Global Notes, the Global Notes control.

     1.       The Debtors prepared these unaudited Schedules and SOFAs pursuant to section 521 of title 11 of
              the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
              Procedure.

     2.       While the Debtors have made every reasonable effort to ensure that the Schedules and SOFAs are
              accurate and complete based upon information that was available to them at the time of preparation,
              inadvertent errors or omissions may exist and the subsequent receipt of information and/or further
              review and analysis of the Debtors’ books and records may result in changes to financial data and
              other information contained in the Schedules and SOFAs. Moreover, because the Schedules and
              SOFAs contain unaudited information, which is subject to further review and potential adjustment,
              there can be no assurance that the Schedules and SOFAs are complete or accurate.

     3.       In reviewing and signing the Schedules and SOFAs, John Sweeney, the duly authorized and
              designated representative of the Debtors (the “Designated Representative”), has necessarily relied
              upon the prior efforts, statements and representations of former employees, personnel, and
              professionals of the Debtors (the Debtors no longer have any employees). The Designated
              Representative has not (and could not have) personally verified the accuracy of each such statement
              and representation that collectively provide the information presented in the Schedules and SOFAs,
              including but not limited to, statements and representations concerning amounts owed to creditors
              and their addresses.

     4.       The Debtors and their past or present directors, officers, employees, attorneys, professionals and
              agents (including, but not limited to, the Designated Representative), do not guarantee or warrant
              the accuracy, completeness, or currentness of the data that is provided herein and shall not be liable
     1       The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, are Akorn
             Holding Company LLC (9190), Akorn Intermediate Company LLC (6123), and Akorn Operating Company LLC (6184).
             The Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
30191398.8
             for any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
             whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
             communicating or delivering the information contained herein. The Debtors and their past or
             present officers, employees, attorneys, professionals and agents (including, but not limited to, the
             Designated Representative) expressly do not undertake any obligation to update, modify, revise or
             re-categorize the information provided herein or to notify any third party should the information be
             updated, modified, revised or re-categorized. While commercially reasonable efforts have been
             made to provide accurate and complete information herein, inadvertent errors or omissions may
             exist. In no event shall the Debtors or their past or present officers, employees, attorneys,
             professionals and/or agents (including, but not limited to, the Designated Representative) be liable
             to any third party for any direct, indirect, incidental, consequential or special damages (including,
             but not limited to, damages arising from the disallowance of any potential claim against the Debtors
             or damages to business reputation, lost business or lost profits), whether foreseeable or not and
             however caused arising from or related to any information provided herein or omitted herein.
             Disclosure of information in one or more Schedules, one or more SOFAs, or one or more exhibits
             or attachments to the Schedules or SOFAs, even if incorrectly placed, shall be deemed to be
             disclosed in the correct Schedules, SOFAs, exhibits, or attachments.

     5.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be necessary or
             appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
             assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
             reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
             designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
             to all such amendments. Furthermore, nothing contained in the Schedules or SOFAs shall
             constitute a waiver of the Debtors’ rights with respect to the chapter 7 cases and specifically with
             respect to any issues involving substantive consolidation, equitable subordination and/or causes of
             action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-
             bankruptcy laws to recover assets or avoid transfers, or an admission relating to the same. Any
             specific reservation or rights contained elsewhere in the Global Notes does not limit in any respect
             the general reservation of rights contained in this paragraph.

     6.      Disclosure of information in one or more Schedules, one or more SOFAs, or one or more exhibits
             or attachments to the Schedules or SOFAs, even if incorrectly placed, shall be deemed to be
             disclosed in the correct Schedules, SOFAs, exhibits, or attachments.

     7.      Any failure to designate a claim listed on the Debtors’ Schedules as “disputed,” “contingent” or
             “unliquidated” does not constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
             of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
             listed as the amounts entered on the Debtors’ books and records and may not reflect credits or
             allowances due from such creditors to the Debtors or setoffs applied by such creditors against
             amounts due by such creditors to the Debtors with respect to other transactions between them. The
             Debtors reserve all of their rights with respect to any such credits and allowances. Furthermore,
             listing a claim does not constitute an admission of liability by the Debtor against which the claim is
             listed or against any of the Debtors.


30191398.8
     8.      Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such
             cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” or to similar
             effect. Accordingly, for this and other reasons the Schedules may not fully reflect the aggregate
             amount of the Debtors’ assets and liabilities.

     9.      At times, the preparation of the Schedules and the SOFAs required the Debtors to make
             assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
             contingent assets and liabilities, and/or other items. Actual results could differ from those estimates.
             Pursuant to Fed. R. Bankr. P. 1009, the Debtors may amend their Schedules and SOFAs as they
             deem necessary and appropriate to reflect material changes. In addition, the Debtors, for the
             benefit of their estates, reserve the right to dispute or to assert offsets or defenses to any claim listed
             on the Schedules or SOFAs.

     10. Given the differences between the information requested in the Schedules and the financial
         information utilized under generally accepted accounting principles in the United States (“GAAP”),
         the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
         the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

     11. It would be prohibitively expensive, unduly burdensome, and an inefficient use of estate assets for
         the Debtors to obtain current market valuations of all of their assets. For these reasons, the Debtors
         have indicated in the Schedules and SOFAs that the values of certain assets and liabilities are
         undetermined or unknown. Unless otherwise indicated, the Debtors generally used net book values
         as of January 31, 2023. Exceptions to this include Schedule A/B Question 3, Schedule D, and
         Schedule E/F, which are as of the February 23, 2023 (the “Petition Date”), and certain other assets.
         Certain other assets, such as investments in subsidiaries and other intangible assets, are listed as
         undertermined amounts, as the net book values may differ materially from fair market values.
         Amounts ultimately realized may vary from net book value (or whatever value was ascribed) and
         such variance may be material. Accordingly, the Debtors reserve all of their rights to amend or
         adjust the value of each asset set forth herein. In addition, the amounts shown for total liabilities
         exclude items identified as “unknown” or “undetermined,” and, thus, ultimate liabilities may differ
         materially from those stated in the Schedules and SOFAs. Also, assets that have been fully
         depreciated or that were expensed for accounting purposes either do not appear in these Schedules
         and SOFAs or are listed with a zero-dollar value, as such assets have no net book value. The
         omission of an asset from the Schedules and SOFAs does not constitute a representation regarding
         the ownership of such asset, and any such omission does not constitute a waiver of any rights of the
         Debtors with respect to such asset. Given, among other things, the current market valuation of
         certain assets and the valuation and nature of certain liabilities, nothing in the Schedules and
         SOFAs shall be, or shall be deemed to be, an admission that any Debtor was solvent or insolvent as
         of the Petition Date.

     12. Certain legal actions or administrative proceedings (collectively, the “Actions”) reflected against a
         particular Debtor may relate to any of the other Debtors. The Debtors made reasonable efforts to
         accurately record the Actions in the Schedules and SOFAs of the Debtor that is the party to the
         Action. The inclusion of any Action in the Schedules and SOFAs does not constitute an admission
         by the Debtors of liability, the validity of any Action or the amount of any potential claim that may
         result from any claims with respect to any Action, or the amount and treatment of any potential
         claim resulting from any Action currently pending or that may arise in the future.
30191398.8
     13. Certain of the Debtors’ assets, liabilities, and prepetition payments may properly be disclosed in
         response to multiple parts of the Schedules and SOFAs. To the extent these disclosures would be
         duplicative, the Debtors may have determined to only list such assets, liabilities, and prepetition
         payments once.

     14. The Debtors have not included in the Schedules and SOFAs the future obligations of any capital or
         operating leases. To the extent that there was an amount outstanding as of the Petition Date, the
         creditor has been included on Schedule F of the Schedules.

     15. The Debtors have used reasonable efforts to locate and identify guarantees and other secondary
         liability claims (collectively, the “Guarantees”) in each of their executory contracts, unexpired
         leases, secured financings, debt instruments, and other such agreements. Where such Guarantees
         have been identified, they have been included in the relevant Schedule H for the Debtor or Debtors
         affected by such Guarantees. However, certain Guarantees embedded in the Debtors’ executory
         contracts, unexpired leases, secured financings, debt instruments, and other such agreements may
         have been inadvertently omitted. Thus, the Debtors reserve all of their rights to amend the
         Schedules to the extent that additional Guarantees are identified.

     16. Exclusion of certain intellectual property shall not be construed to be an admission that such
         intellectual property rights have been abandoned, have been terminated, or otherwise have expired
         by their terms, or have been assigned or otherwise transferred pursuant to a sale, acquisition, or
         other transaction. Conversely, inclusion of certain intellectual property shall not be construed to be
         an admission that such intellectual property rights have not been abandoned, have not been
         terminated, or otherwise have not expired by their terms, or have not been assigned or otherwise
         transferred pursuant to a sale, acquisition, or other transaction. The Debtors have made every effort
         to attribute intellectual property to the rightful Debtor owner, however, in some instances,
         intellectual property owned by one Debtor may, in fact, be owned by another. Accordingly, the
         Debtors reserve all of their rights with respect to the legal status of any and all intellectual property
         rights.

     17. The inventories, property, and equipment listed in the Schedules and SOFAs are presented as of
         January 31, 2023 without consideration of any asserted mechanics’, materialmen, or similar liens
         that may attach (or have attached) to such inventories, property, and equipment.

     18. To prepare and file the Schedules as close to the Petition Date as possible, management was
         required to make certain estimates and assumptions that affected the reported amounts of these
         assets and liabilities. The Debtors reserve all rights to amend the reported amounts of assets and
         liability to reflect changes in those estimates or assumptions.

     19. In the circumstance where the Schedules and Statements require information regarding “insiders,”
         the Debtors have included information with respect to the individuals who the Debtors believe may
         be included in the definition of “insider” set forth in section 101(31) of the Bankruptcy Code during
         the relevant time periods. The listing of a party as an insider for purposes of the Schedules and
         Statements is not intended to be, nor should it be, construed as an admission of any fact, right,
         claim, or defense and all such rights, claims, and defenses are hereby expressly reserved.
         Information regarding the individuals listed as insiders in the Schedules and Statements has been
         included for informational purposes only and such information may not be used for: (1) the
30191398.8
             purposes of determining (a) control of the Debtors; (b) the extent to which any individual exercised
             management responsibilities or functions; (c) corporate decision-making authority over the
             Debtors; or (d) whether such individual could successfully argue that he or she is not an insider
             under applicable law, including the Bankruptcy Code and federal securities laws, or with respect to
             any theories of liability; or (2) any other purpose.

     Specific Disclosures Regarding the Schedules

     20. With respect to Schedule A/B Part 1, question 3 and 4, the account balances are as of the Petition
         Date.

     21. With respect to Schedule A/B Part 2, question 7, the Debtors are required to make deposits from
         time to time with various vendors, landlords, and service providers in the ordinary course of
         business. The Debtors have exercised reasonable efforts to report the current value of any deposits.
         The Debtors may have inadvertently omitted deposits and conversely may have reported deposits
         that are no longer outstanding. The Debtors reserve their rights, but are not required, to amend the
         Schedules and SOFAs if deposits are incorrectly identified.

     22. With respect to Schedule A/B Part 2, questions 6-8, certain payments disclosed may not be
         reimbursable to the Debtors due to potential counterclaims against the Debtors or other potential
         offsetting obligations

     23. With respect to Schedule A/B Part 2, question 8, the Debtors are required to make prepayments
         from time to time with various vendors, landlords, and service providers as part of the ordinary
         course of business. The Debtors have exercised reasonable efforts to identify any prepayments. The
         Debtors may have inadvertently omitted certain prepayments and conversely may have reported
         prepayments for which services have already been provided. The Debtors reserve their rights, but
         are not required, to amend the Schedules and SOFAs if prepayments are incorrectly identified

     24. With respect to Schedule A/B, Part 2, questions 6-7, the balances reported are as of January 31,
         2023, and reflect a previous retainer for their bankruptcy counsel, Young Conaway Stargatt &
         Taylor, LLP (“Young Conaway”). This amount is listed purely for administrative reasons as a
         result of the reporting date. The retainer amounts paid by the Debtors to Young Conaway are on an
         earned upon receipt basis and, thus, do not constitute an interest of the Debtors in property. The
         total amount paid to Young Conaway is listed in response to SOFA question 11.

     25. With respect to Schedule A/B Part 3, question 11a, the gross accounts receivable balance is as of
         January 31, 2023. For the Debtors, the value of the net accounts receivable balance may be lower
         due to credits and deductions permitted under the Debtors’ customer programs including
         chargebacks, rebates, product returns, discounts and other programs pursuant to which customers
         may receive discounts or make deductions from future payments. These programs are consistent
         with the ordinary course in the Debtors’ industry. These programs can be particularly voluminous,
         unduly burdensome and cost for the Debtors regularly document.

     26. Ownership interests in subsidiaries and affiliates have been listed in Schedule A/B, Part 4 as
         undetermined. The Debtors make no representation as to the value of their ownership of each
         subsidiary as the fair market value of such ownership is dependent on numerous variables and
         factors and may differ significantly from their net book value.
30191398.8
     27. With respect to Schedule A/B Part 4, question 14, the Debtors’ have listed a de minimis amount of
         stock in Nicox SA. However, other than legacy financial statements, the Debtors do not currently
         possess records or knowledge regarding this stock.

     28. With respect to Schedule A/B Part 7, office furniture, fixtures, and equipment; and collectibles,
         dollar amounts are presented net of accumulated depreciation and other adjustments. Because of the
         large number of furniture, fixtures, and equipment, as well as the difficulty of listing out every one
         of these assets, these items are listed as group line items. The Debtors may lease furniture, fixtures,
         and equipment from certain third party lessors. Any such leases are set forth in the Schedules and
         SOFAs. Nothing in the Schedules and SOFAs is or shall be construed as an admission as to the
         determination as to the legal status of any lease (including whether any lease is a true lease or a
         financing arrangement), and the Debtors reserve all of their rights with respect to same.

     29. With respect to Schedule A/B Part 8, question 50, machinery, fixtures and equipment (excluding
         farm machinery and equipment), dollar amounts are presented net of accumulated depreciation and
         other adjustments. Because of the large number of machinery, fixtures and equipment, as well as
         the difficulty of listing out every one of these assets, these items are listed as group line items. The
         Debtors may lease machinery, fixtures and equipment from certain third party lessors. Any such
         leases are set forth in the Schedules and SOFAs. Nothing in the Schedules and SOFAs is or shall be
         construed as an admission as to the determination as to the legal status of any lease (including
         whether any lease is a true lease or a financing arrangement), and the Debtors reserve all of their
         rights with respect to same.

     30. With respect to Schedule A/B Part 9, because of the large number of the Debtors’ executory
         contracts and unexpired leases, as well as the size and scope of such documents, the Debtors have
         not attached such agreements to Schedule A/B. Instead, the Debtors have only listed such
         agreements on Schedule G.

     31. With respect to Schedule A/B Part 10, the Debtors review goodwill and other intangible assets
         having indefinite lives for impairment annually or when events or changes in circumstances
         indicate the carrying value of these assets might exceed their current fair values. The Debtors report
         intellectual property assets as net book value based on the Debtors’ books and records whenever
         applicable. For that reason, values are listed as unknown or undetermined where appropriate.

     32. With respect to Schedule A/B Part 11, dollar amounts are presented net of impairments and other
         adjustments. With respect to “Contingent and Unliquidated Claims or Causes of Action of Every
         Nature, including Counterclaims of the Debtor and Rights to Setoff Claims,” in the ordinary course
         of business, the Debtors may have accrued, or may subsequently accrue, certain rights to counter-
         claims, cross-claims, setoffs, refunds with their customers and suppliers, or potential warranty
         claims against their suppliers. Additionally, certain of the Debtors may be party to pending
         litigation in which the Debtors have asserted, or may assert, claims as a plaintiff or counter-claims
         and/or cross-claims as a defendant. Because certain of these claims are unknown to the Debtors and
         not quantifiable as of the Petition Date, they may not be listed on Schedule A/B, Part 11. With
         respect to “Interests in Insurance Policies or Annuities,” the Debtors maintain a variety of insurance
         policies including property, general liability, and workers’ compensation policies and other
         employee related policies. The Debtors believe that there is little or no cash value to the vast
         majority of such insurance policies. Accordingly, such policies are not listed on Schedule A/B, Part
30191398.8
             11. To the extent an insurance policy is determined to have value, it will be included in Schedule
             A/B.

     33. With respect to Schedule D, except as otherwise agreed pursuant to a stipulation, or agreed order,
         or general order entered by the Bankruptcy Court that is or becomes final, the Debtors and their
         estates reserve their rights to dispute or challenge the validity, perfection, or immunity from
         avoidance of any lien purported to be granted or perfected in any specific asset to a creditor listed
         on Schedule D of any Debtor. Moreover, although the Debtors may have scheduled claims of
         various creditors as secured claims, the Debtors reserve all rights to dispute or challenge the
         secured nature of any such creditor’s claim or the characterization of the structure of any such
         transaction or any document or instrument related to such creditor’s claim. The Debtors made
         reasonable, good faith efforts to include all liens on Schedule D, but may have inadvertently
         omitted to include an existing lien because of, among other things, the possibility that a lien may
         have been imposed after the Uniform Commercial Code searches were performed or a vendor may
         not have filed the requisite perfection documentation. Moreover, the Debtors have not included on
         Schedule D parties that may believe their Claims are secured through setoff rights or inchoate
         statutory lien rights. Although there are multiple parties that hold a portion of the debt included in
         the Debtors’ prepetition secured credit facility and other funded secured indebtedness, only the
         administrative agents have been listed for purposes of Schedule D. The amounts reflected
         outstanding under the Debtors’ prepetition funded indebtedness reflect approximate amounts as of
         the Petition Date.

     34. Debtor Akorn Operating Company LLC (“AOCL”) and Debtor Akorn Intermediate Company LLC
         (“AICL”) are parties to that certain Credit Agreement, dated as of October 1, 2020, by and among
         AOCL, AICL, the other Loan Parties (as defined therein) party thereto, the Lenders (as defined
         therein) party thereto, and MidCap Financial Trust (as Administrative Agent) (the “ABL Credit
         Agreement”), pursuant to which AOCL and AICL received a revolving line of credit in an initial
         aggregate amount of $160,000,000. The ABL Facility is secured under a Pledge and Security
         Agreement (subject to the terms of the Intercreditor Agreement (as defined below) with the Term
         Loan lenders) by a first priority security interest in all accounts, all inventory, all deposit accounts,
         all cash and cash equivalents, all equipment located in the United States, all real property located in
         the United States and all improvements and fixtures thereon, and all books, records, and proceeds
         related to the foregoing (the “ABL Collateral”) and a second priority security interest in all Term
         Loan Collateral (as defined below).

     35. AOCL and AICL are parties to that certain Senior Secured Term Loan Agreement, dated as of
         October 1, 2020, by and among AOCL, AICL, the other Loan Parties (as defined therein) party
         thereto, the Lenders (as defined therein) party thereto, and Wilmington Savings Fund Society, FSB
         (as Administrative Agent) (the “TL Credit Agreement”), pursuant to which AOCL and AICL
         received a senior secured term loan facility in an initial aggregate amount of $370,000,000. The
         Term Loan Facility is secured under a Pledge and Security Agreement (subject to the terms of an
         Intercreditor Agreement with the ABL Lender) by a first priority security interest in all Collateral
         (other than the ABL Collateral) and the proceeds thereof (the “Term Loan Collateral,” and together
         with the ABL Collateral, the “Collateral”) and a second priority security interest in all ABL
         Collateral.


30191398.8
     36. The ABL Lender and Term Loan Lenders are parties to that certain Intercreditor Agreement, dated
         as of October 1, 2020, by and among MidCap Funding IV Trust (as successor-by-assignment to
         MidCap Financial Trust), as Administrative Agent for the ABL Secured Parties (as defined therein)
         (the “ABL Representative”), Wilmington Savings Fund Society, FSC, as Administrative Agent for
         the Term Loan Secured Parties (as defined therein) (the “Term Loan Representative”), and each of
         the Loan Parties party thereto (as defined therein) (the “Intercreditor Agreement”), pursuant to
         which the ABL Representative and the Term Loan Representative set forth, among other things,
         (a) their (and the ABL Secured Parties’ and the Term Loan Secured Parties’) relative lien priorities
         in the Collateral and enforcement rights and obligations related thereto, (b) the method by and the
         order in which proceeds of the Collateral shall be applied by the ABL Representative and Term
         Loan Representative, respectively, (c) the impact on the respective liens of the ABL Representative
         and Term Loan Representative arising from the sale or disposition of Collateral and (d) the relative
         rights and obligations of the ABL Representative and Term Loan Representative upon and during
         the occurrence of any Insolvency Proceeding of any Loan Party (as defined therein).

     37. With respect to Schedule E/F, the listing of any claim on Schedule E/F does not constitute an
         admission by the Debtors that such claim or any portion thereof is entitled to priority treatment
         under section 507 of the Bankruptcy Code. The Debtors reserve all of their rights to dispute the
         amount and/or the priority status of any claim on any basis at any time. With respect to Schedule
         E/F Part 1, the Debtors have not conducted a legal analysis regarding the potential priority of
         certain potential claims, such as severance claims, as such an analysis would be prohibitively
         expensive and unduly burdensome. With respect to Schedule E/F Part 2, all creditors and amounts
         listed are derived from the Debtors’ accounts payable as of the Petition Date. The Debtors are
         unable to state with certainty the dates that such debts were incurred, and accordingly, the Debtors
         have not listed the dates that such debts were incurred. The Debtors will, however, provide the
         chapter 7 trustee with the most recent aging report available.

     38. With respect to Schedule E/F, the Debtors have used reasonable best efforts to list all general
         unsecured claims against the Debtors based upon the Debtors’ existing books and records. Schedule
         E/F does not include certain deferred credits, deferred charges, deferred liabilities, accruals, or
         general reserves. Such amounts are general estimates of liabilities and do not represent specific
         claims as of the Petition Date; however, such amounts are reflected on the Debtors’ books and
         records as required in accordance with GAAP. Such accruals are general estimates of liabilities and
         do not represent specific claims as of the Petition Date. Schedule E/F does not include certain
         reserves for potential unliquidated contingencies that historically were carried on the Debtors’
         books as of the Petition Date; such reserves were for potential liabilities only and do not represent
         actual liabilities as of the Petition Date. The claims listed in Schedule E/F arose or were incurred
         on various dates. In certain instances, the date on which a claim arose is an open issue of fact.
         Determining the date upon which each claim in Schedule E/F was incurred or arose would be
         unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date for each claim
         listed on Schedule E/F. Moreover, the Debtors may have purchased or received certain goods
         within 20 days of the Petition Date, but such transactions (if any) may not be currently contained in
         the Debtors’ books and records.

     39. Schedule E/F contains information regarding potential and pending litigation involving the Debtors.
         In certain instances, the Debtor that is the subject of the litigation is unclear or undetermined. To
         the extent that litigation involving a particular Debtor has been identified, however, such
30191398.8
             information is contained in the Schedule for that Debtor. Schedule E/F reflects the prepetition
             amounts owing to counterparties to executory contracts and unexpired leases. Such prepetition
             amounts, however, may be paid in connection with the assumption, or assumption and assignment,
             of an executory contract or unexpired lease. In addition, Schedule E/F does not include rejection
             damage claims of the counterparties to the executory contracts and unexpired leases that have been
             or may be rejected, to the extent such damage claims exist. Except in certain limited
             circumstances, the Debtors have not scheduled contingent and unliquidated liabilities related to
             guaranty obligations on Schedule E/F. Such guaranties are, instead, listed on Schedule H. The
             claims of individual creditors for, among other things, goods, services, or taxes listed on the
             Debtors’ books and records may not reflect credits or allowances due from such creditors. The
             Debtors reserve all of their rights in respect of such credits or allowances. The dollar amounts listed
             may be exclusive of contingent or unliquidated amounts. Unless the Debtors were required to pay
             ancillary costs, such as freight, miscellaneous fees and taxes, such costs are not included in the
             liabilities scheduled, as such amounts do not represent actual liabilities of the Debtor.

     40. The businesses of the Debtors are complex and, while every effort has been made to ensure the
         accuracy of Schedule G, inadvertent errors or omissions may have occurred. The Debtors hereby
         reserve all of their rights to (i) dispute the validity, status or enforceability of any contracts,
         agreements or leases set forth in Schedule G and (ii) amend or supplement such Schedule as
         necessary. Although the Debtors made diligent efforts to attribute an executory contract to its
         rightful Debtor, in certain instances, the Debtors may have inadvertently failed to do so.
         Accordingly, the Debtors reserve all of their rights with respect to the named parties of any and all
         executory contracts, including the right to amend Schedule G. Furthermore, the Debtors reserve all
         of their rights, claims and causes of action with respect to the contracts and agreements listed on the
         Schedules, including the right to dispute or challenge the characterization or the structure of any
         transaction, document or instrument. The presence of a contract or agreement on Schedule G does
         not constitute an admission that such contract or agreement is an executory contract or an
         unexpired lease. The Debtors do not make, and specifically disclaim, any representation or
         warranty as to the completeness or accuracy of the information set forth on Schedule G. The
         Debtors hereby reserve all of their rights to dispute the validity, status, or enforceability of any
         contract, agreement, or lease set forth in Schedule G and to amend or supplement Schedule G as
         necessary. The contracts, agreements, and leases listed on Schedule G may have expired or may
         have been modified, amended, or supplemented from time to time by various amendments,
         restatements, waivers, estoppel certificates, letters, memoranda, and other documents, instruments,
         and agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to
         identify such documents. Further, unless otherwise specified on Schedule G, each executory
         contract or unexpired lease listed thereon shall include all exhibits, schedules, riders, modifications,
         declarations, amendments, supplements, attachments, restatements, or other agreements made
         directly or indirectly by any agreement, instrument, or other document that in any manner affects
         such executory contract or unexpired lease, without respect to whether such agreement, instrument
         or other document is listed thereon.

     41. In some cases, the same supplier or provider appears multiple times on Schedule G. This multiple
         listing is intended to reflect distinct agreements between the applicable Debtor and such supplier or
         provider.


30191398.8
     42. In the ordinary course of business, the Debtors may have issued numerous purchase orders for
         supplies, product, and related items which, to the extent that such purchase orders constitute
         executory contracts, are not listed individually on Schedule G. To the extent that goods were
         delivered under purchase orders prior to the Petition Date, vendors’ claims with respect to such
         delivered goods are included on Schedule E/F.

     43. As a general matter, certain of the Debtors’ executory contracts and unexpired leases could be
         included in more than one category. In those instances, one category has been chosen to avoid
         duplication. Further, the designation of a category is not meant to be wholly inclusive or descriptive
         of the entirety of the rights or obligations represented by such contract.

     44. Certain of the executory contracts and unexpired leases listed on Schedule G may contain certain
         renewal options, guarantees of payment, options to purchase, rights of first refusal, right to lease
         additional space, statements of work, and other miscellaneous rights. Such rights, powers, duties,
         and obligations are not set forth separately on Schedule G. In addition, the Debtors may have
         entered into various other types of agreements in the ordinary course of their business, such as
         easements, rights of way, subordination, nondisturbance, and atonement agreements, supplemental
         agreements, amendments/letter agreements, title agreements, and confidentiality agreements. Such
         documents also are not set forth in Schedule G.

     45. The Debtors hereby reserve all of their rights, claims, and causes of action with respect to the
         contracts and agreements listed on Schedule G, including the right to dispute or challenge the
         characterization or the structure of any transaction, document, or instrument related to a creditor’s
         claim, to dispute the validity, status, or enforceability of any contract, agreement, or lease set forth
         in Schedule G, and to amend or supplement Schedule G as necessary. Inclusion of any agreement
         on Schedule G does not constitute an admission that such agreement is an executory contract or
         unexpired lease and the Debtors reserve all rights in that regard, including, without limitation, that
         any agreement is not executory, has expired pursuant to its terms, or was terminated prepetition.

     46. In addition, certain of the agreements listed on Schedule G may be in the nature of conditional sales
         agreements or secured financings. The presence of a contract or agreement on Schedule G does not
         constitute an admission that such contract or agreement is an executory contract or unexpired lease.

     47. In the ordinary course of business, the Debtors have entered into numerous contracts or agreements,
         both written and oral, regarding the provision of certain services on a month to month basis. To the
         extent such contracts or agreements constitute executory contracts, these contracts and agreements
         may not be listed individually on Schedule G.

     48. Certain of the executory contracts may not have been memorialized and could be subject to dispute;
         executory agreements that are oral in nature have not been included in Schedule G.

     49. In the ordinary course of business, the Debtors may have entered into confidentiality agreements
         which, to the extent that such confidentiality agreements constitute executory contracts, may not be
         listed individually on Schedule G.

     50. Certain of the executory contracts and unexpired leases listed in Schedule G were assigned to,
         assumed by, or otherwise transferred to certain of the Debtors in connection with, among other
         things, acquisitions by the Debtors.
30191398.8
     51. The Debtors generally have not included on Schedule G any insurance policies, the premiums for
         which have been prepaid. The Debtors submit that prepaid insurance policies are not executory
         contracts pursuant to section 365 of the Bankruptcy Code because no further payment or other
         material performance is required by the Debtors. Nonetheless, the Debtors recognize that in order
         to enjoy the benefits of continued coverage for certain claims under these policies, the Debtors may
         have to comply with certain non-monetary obligations, such as the provision of notice of claims
         and cooperation with insurers. In the event that the Bankruptcy Court were to ever determine that
         any such prepaid insurance policies are executory contracts, the Debtors reserve all of their rights to
         amend Schedule G to include such policies, as appropriate.

     52. In addition, Schedule G does not include rejection damage claims of the counterparties to the
         executory contracts and unexpired leases that have been or may be rejected, to the extent such
         damage claims exist.

     53. Omission of a contract or agreement from Schedule G does not constitute an admission that such
         omitted contract or agreement is not an executory contract or unexpired lease. The Debtors’ rights
         under the Bankruptcy Code with respect to any such omitted contracts or agreements are not
         impaired by the omission. Certain of the agreements listed on Schedule G may have been entered
         into by or on behalf of more than one of the Debtors. Additionally, the specific Debtor obligor(s) to
         certain of the agreements could not be specifically ascertained in every circumstance. In such cases,
         the Debtors have made reasonable efforts to identify the correct Debtors’ Schedule G on which to
         list the agreement and, where a contract party remained uncertain, such agreements may have been
         listed on a different Debtor’s Schedule G.

     54. With respect to Schedule H, in the ordinary course of their business, the Debtors pay certain
         expenses on behalf of their subsidiaries. The Debtors may not have identified certain guarantees
         that are embedded in the Debtors’ executory contracts, unexpired leases, secured financings, debt
         instruments, and other agreements. Further, certain of the guarantees reflected on Schedule H may
         have expired or may no longer be enforceable. Thus, the Debtors reserve their rights to amend
         Schedule H to the extent that additional guarantees are identified or such guarantees are discovered
         to have expired or become unenforceable.

     55. In the ordinary course of their business, the Debtors may be involved in pending or threatened
         litigation and claims arising out of certain ordinary course of business transactions. These matters
         may involve multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
         counter-claims against other parties. Because such claims are contingent, disputed, and/or
         unliquidated, such claims have not been set forth individually on Schedule H. However, some such
         claims may be listed elsewhere in the Schedules and SOFAs.

     Specific Disclosures Regarding the SOFAs

     56. With respect to SOFA Part 2 questions 3-4, applicable cash disbursements made through the
         Petition Date were captured in the disclosure.

     57. With respect to SOFA Part 2 questions 3-4, certain payment dates disclosed (particularly those
         listed with the last day of a particular month) are as of the date the disbursement was posted in the


30191398.8
             Debtors’ general ledger rather than specific disbursement date. The Debtors have bank statements
             available to assist in a full reconciliation between posting date and disbursement date.

     58. With respect to SOFA Part 2 question 6, the Debtors incur certain setoffs and other similar rights
         during the ordinary course of business. Offsets in the ordinary course can result from various items,
         including, without limitation, intercompany transactions, pricing discrepancies, returns, warranties,
         and other disputes between the Debtors and their suppliers. These offsets and other similar rights
         are consistent with the ordinary course of business in the Debtors’ industry and are not tracked
         separately. Therefore, although such offsets and other similar rights may have been accounted for
         when certain amounts were included in the Schedules, offsets are not independently accounted for,
         and as such, are excluded from the Schedules. In addition, the Debtors engage in several customer
         programs, including chargebacks, coupon redemption, product returns, rebates, and discounts to
         customers in the ordinary course of business, and other programs pursuant to which customers may
         receive credits or make deductions from future payments. These routine programs are consistent
         with the ordinary course of business in the Debtors’ industry. These programs can be particularly
         voluminous, unduly burdensome, and costly for the Debtors to regularly document. As such, these
         transactions were not considered setoffs for the purpose of responding to Question Six of the
         Statements, although the Debtors reserve all rights with respect thereto and make no admission or
         waiver thereby.

     59. With respect to SOFA Part 6, question 11, although the Debtors have made reasonable efforts to
         distinguish between payments made for professional services related and unrelated to their
         restructuring efforts, some amounts listed in response to Question 11 may include payments for
         professional services unrelated to bankruptcy.

     60. With respect to SOFA Part 12, questions 22-24, the Debtors historically have operated over a
         substantial period of time at various locations. At some locations, the Debtors may no longer have
         active operations and may no longer have relevant records, or the records may no longer be
         complete or reasonably accessible or reviewable. In some cases, statutory document retention
         periods have passed. Further, some individuals who once possessed responsive information may no
         longer be employed by the Debtors. For all these reasons, it may not be reasonably possible to
         identify and supply all of the requested information that is responsive to Questions 22-24. The
         Debtors have made commercially reasonable efforts to provide responsive information. The
         Debtors acknowledge the possibility that information related to proceedings, governmental notices
         and reported releases of hazardous materials responsive to Questions 22-24 may be discovered
         subsequent to the filing of the Schedules and Statements. The Debtors reserve the right to
         supplement or amend this response in the future if additional information becomes available. This
         response does not include sites or proceedings related to non-environmental laws, such as
         occupational safety and health laws or transportation laws. This response is also limited to
         identifying circumstances in which governmental agencies have alleged in writing that particular
         operations of the Debtors are in violation of environmental laws and proceedings that have resulted
         from alleged violations of environmental laws. This response also does not cover: (i) periodic
         information requests, investigations or inspections from governmental units concerning compliance
         with environmental laws; or (ii) routine reports and submissions concerning permitted discharges
         resulting from routine operations where such reports and submissions were made in compliance
         with regulatory requirements.

30191398.8
     61. With respect to SOFA Part 13 question 26(c)-(d), the Debtors contacted various parties in
         connection with the Debtors’ efforts to market their assets and raise new sources of capital, and the
         Debtors shared certain financial information to certain of those parties, who are not individually
         disclosed herein.

     62. With respect to SOFA Part 13 question 30, Distributions by the Debtors to their directors and
         officers are listed in response to Question 4. Certain directors and executive officers of Debtor
         Akorn Operating Company LLC, were also directors and executive officers of certain of the other
         Debtors and non-Debtor affiliates. Such individuals were only compensated for services rendered
         on a consolidated basis, so to the extent payments to such individuals are not listed in the response
         to Question 4 on the Statements for such Debtor affiliates, they did not receive payment from the
         Debtors for their services as directors or executive officers of these entities. Certain of the Debtors’
         directors and executive officers received distributions net of tax withholdings in the year preceding
         the Petition Date. The amounts listed under Question 4 reflect the gross amounts paid to such
         directors and officers rather than the net amounts after deducting for tax withholdings.




30191398.8
 Fill in this information to identify the case:

 Debtor Name: In re : Akorn Operating Company LLC

 United States Bankruptcy Court for the: District Of Delaware

 Case number (if known): 23-10255 (KBO)

                                                                                                                             Check if this is an
                                                                                                                             amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                           04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor¶s name and case number (if known).


 Part 1:      Income


 1. Gross revenue from business

        None


           Identify the beginning and ending dates of the debtor¶s fiscal year, which            Sources of revenue     Gross revenue
           may be a calendar year                                                                Check all that apply   (before deductions and
                                                                                                                        exclusions)


        From the beginning of the
        fiscal year to filing date: From        1/1/2023              to    Filing date      5   Operating a business

                                                MM / DD / YYYY                                   Other                  $              68,822,586.40



        For prior year:                 From    1/1/2022              to    12/31/2022       5   Operating a business

                                                MM / DD / YYYY              MM / DD / YYYY       Other                  $           1,024,727,700.79



        For the year before that:       From    1/1/2021              to    12/31/2021       5   Operating a business

                                                MM / DD / YYYY              MM / DD / YYYY       Other                  $           1,321,721,921.29




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               Page 1
Debtor:    Akorn Operating Company LLC                                                              Case number (if known):   23-10255

           Name


 2. Non-business revenue

    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
    and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None


                                                                                                                              Gross revenue from each
                                                                                                Description of sources        source
                                                                                                of revenue                    (before deductions and
                                                                                                                              exclusions)

       From the beginning of the
       fiscal year to filing date: From     1/1/2023             to   Filing date              Interest Income                  $                  102.47
                                            MM / DD / YYYY


      For prior year:                From   1/1/2022             to   12/31/2022              Interest Income                   $                8,042.88
                                            MM / DD / YYYY            MM / DD / YYYY


       For the year before that:     From   1/1/2021             to   12/31/2021               Interest Income                  $              147,431.26
                                            MM / DD / YYYY            MM / DD / YYYY




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 2
Debtor:    Akorn Operating Company LLC                                                           Case number (if known):    23-10255

           Name



 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case

      List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
      filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575 . (This amount may be adjusted on 4/01/25
      and every 3 years after that with respect to cases filed on or after the date of adjustment.)

            None

              Creditor¶s name and address                                                                       Reasons for payment or transfer
                                                             Dates             Total amount or value
                                                                                                                Check all that apply
           3.1 2ND WATCH INC                                 12/8/2022          $                  3,900.00                Secured debt
              Creditor's Name
                                                                                                                           Unsecured loan repayments

              2310 N MOLTER ST SUITE 340                                                                            5      Suppliers or vendors
              Street
                                                                                                                           Services

                                                                                                                           Other

              LIBERTY LAKE         WA          99019
              City                 State       ZIP Code



              Country


           3.2 2ND WATCH INC                                 12/8/2022          $                  3,900.00                Secured debt
              Creditor's Name
                                                                                                                           Unsecured loan repayments

              2310 N MOLTER ST SUITE 340                                                                            5      Suppliers or vendors
              Street
                                                                                                                           Services

                                                                                                                           Other

              LIBERTY LAKE         WA          99019
              City                 State       ZIP Code



              Country


           3.3 2ND WATCH INC                                 12/8/2022          $                  4,680.00                Secured debt
              Creditor's Name
                                                                                                                           Unsecured loan repayments

              2310 N MOLTER ST SUITE 340                                                                            5      Suppliers or vendors
              Street
                                                                                                                           Services

                                                                                                                           Other

              LIBERTY LAKE         WA          99019
              City                 State       ZIP Code



              Country


           3.4 ABACO STEEL PRODUCTS                          11/29/2022         $                22,811.25                 Secured debt
              Creditor's Name
                                                                                                                           Unsecured loan repayments

              40 AERO ROAD SUITE 4                                                                                  5      Suppliers or vendors
              Street
                                                                                                                           Services

                                                                                                                           Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country



Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         Page 3
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.5 ABBEY COLOR                                  1/26/2023        $               39,710.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 E TIOGA STREET                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19134
             City                 State       ZIP Code



             Country


          3.6 ABBEY COLOR                                  1/26/2023        $               40,964.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 E TIOGA STREET                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19134
             City                 State       ZIP Code



             Country


          3.7 ABBEY COLOR                                  1/26/2023        $               42,188.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 E TIOGA STREET                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19134
             City                 State       ZIP Code



             Country


          3.8 ABBEY COLOR                                  1/26/2023        $               42,636.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 E TIOGA STREET                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19134
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 4
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.9 ABBEY COLOR                                   1/26/2023        $               44,308.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              400 E TIOGA STREET                                                                               5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              PHILADELPHIA         PA          19134
              City                 State       ZIP Code



              Country


          3.10 ABBOTT LABORATORIES CO                       1/27/2023        $              264,810.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              75 BOUL PIERRE-ROUX CP 307                                                                       5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VICTORIAVILLE        QC          G6P 6S9
              City                 State       ZIP Code

              Canada
              Country


          3.11 ABBOTT LABORATORIES CO                       1/27/2023        $              264,810.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              75 BOUL PIERRE-ROUX CP 307                                                                       5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VICTORIAVILLE        QC          G6P 6S9
              City                 State       ZIP Code

              Canada
              Country


          3.12 ABS PUMP REPAIR INC                          1/31/2023        $               10,224.72                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              89 ALLEN BLVD                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              FARMINGDALE          NY          11735
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 5
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.13 ABS PUMP REPAIR INC                          2/13/2023        $                3,476.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              89 ALLEN BLVD                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              FARMINGDALE          NY          11735
              City                 State       ZIP Code



              Country


          3.14 ABSOLUTE PLUMBING OF LONG ISLAND INC         11/29/2022       $                1,401.26                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.15 ABSOLUTE PLUMBING OF LONG ISLAND INC         11/29/2022       $                3,204.44                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.16 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/6/2023         $                1,846.63                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 6
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.17 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/6/2023         $                2,009.56                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.18 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/12/2023        $                  980.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.19 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/12/2023        $                  980.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.20 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/12/2023        $                9,341.75                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 7
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.21 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/26/2023        $                2,118.19                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.22 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/26/2023        $                2,851.41                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.23 ABSOLUTE PLUMBING OF LONG ISLAND INC         1/26/2023        $                3,095.81                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              90 F KNICKERBOCKER AVENUE                                                                        5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              BOHEMIA              NY          11716
              City                 State       ZIP Code



              Country


          3.24 ACCURISTIX                                   1/6/2023         $                   42.18                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 8
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.25 ACCURISTIX                                   1/6/2023         $                  542.99                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.26 ACCURISTIX                                   1/6/2023         $                1,525.50                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.27 ACCURISTIX                                   1/6/2023         $                2,034.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.28 ACCURISTIX                                   1/6/2023         $                6,052.29                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 9
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.29 ACCURISTIX                                   1/31/2023        $                   29.65                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.30 ACCURISTIX                                   1/31/2023        $                   31.55                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.31 ACCURISTIX                                   1/31/2023        $                   59.44                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.32 ACCURISTIX                                   1/31/2023        $                  200.04                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 10
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.33 ACCURISTIX                                   1/31/2023        $                6,052.28                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.34 ACCURISTIX                                   1/31/2023        $                6,052.28                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.35 ACCURISTIX                                   2/8/2023         $                   47.99                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              122 STONE RIDGE ROAD                                                                             5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              VAUGHAN              ON          L4H 0A5
              City                 State       ZIP Code

              Canada
              Country


          3.36 AEP ENERGY INC -REMIT                        11/29/2022       $               12,638.53                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 6329                                                                                      5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CAROL STREAM         IL          60197-6329
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 11
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.37 AEP ENERGY INC -REMIT                        11/29/2022       $               67,472.18                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 6329                                                                                      5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CAROL STREAM         IL          60197-6329
              City                 State       ZIP Code



              Country


          3.38 AEP ENERGY INC -REMIT                        1/19/2023        $               12,404.24                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 6329                                                                                      5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CAROL STREAM         IL          60197-6329
              City                 State       ZIP Code



              Country


          3.39 AEP ENERGY INC -REMIT                        1/26/2023        $               14,173.04                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 6329                                                                                      5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CAROL STREAM         IL          60197-6329
              City                 State       ZIP Code



              Country


          3.40 AEP ENERGY INC -REMIT                        1/26/2023        $               63,541.70                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 6329                                                                                      5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CAROL STREAM         IL          60197-6329
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 12
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.41 AFLAC PREMIUM HOLDING (#7685)                1/19/2023        $               14,787.68                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 50013                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              NEWARK               NJ          07101
              City                 State       ZIP Code



              Country


          3.42 AFLAC PREMIUM HOLDING (#7685)                1/26/2023        $               10,662.56                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 50013                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              NEWARK               NJ          07101
              City                 State       ZIP Code



              Country


          3.43 AFLAC PREMIUM HOLDING (#7685)                1/26/2023        $               11,027.94                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 50013                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              NEWARK               NJ          07101
              City                 State       ZIP Code



              Country


          3.44 AFLAC PREMIUM HOLDING (#7685)                1/26/2023        $               11,111.70                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 50013                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              NEWARK               NJ          07101
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 13
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.45 AFLAC PREMIUM HOLDING (#7685)                1/26/2023        $               14,544.24                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 50013                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              NEWARK               NJ          07101
              City                 State       ZIP Code



              Country


          3.46 AFLAC PREMIUM HOLDING (#7685)                1/26/2023        $               16,972.08                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 50013                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              NEWARK               NJ          07101
              City                 State       ZIP Code



              Country


          3.47 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $               (3,820.18)               Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.48 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $                  328.05                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 14
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.49 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $                  478.66                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.50 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $                  702.15                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.51 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $                1,320.90                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.52 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $                3,595.46                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 15
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.53 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $                3,820.18                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.54 AGILENT TECHNOLOGIES -REMIT                  11/29/2022       $               12,530.70                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.55 AGILENT TECHNOLOGIES -REMIT                  1/6/2023         $                  441.85                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.56 AGILENT TECHNOLOGIES -REMIT                  1/6/2023         $                  510.97                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 16
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.57 AGILENT TECHNOLOGIES -REMIT                  1/6/2023         $                2,074.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.58 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $                  249.48                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.59 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $                  316.15                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.60 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $                3,069.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 17
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.61 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $                3,069.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.62 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $                5,157.60                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.63 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $               10,387.44                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.64 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $               13,899.90                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 18
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.65 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $               32,543.28                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.66 AGILENT TECHNOLOGIES -REMIT                  1/12/2023        $               49,557.76                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.67 AGILENT TECHNOLOGIES -REMIT                  1/19/2023        $                1,035.30                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.68 AGILENT TECHNOLOGIES -REMIT                  1/19/2023        $                7,971.29                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 19
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.69 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                   87.57                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.70 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                  499.80                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.71 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                  587.44                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.72 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                  632.20                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 20
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.73 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                1,385.93                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.74 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                1,419.95                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.75 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                2,449.71                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.76 AGILENT TECHNOLOGIES -REMIT                  1/31/2023        $                5,307.31                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 21
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.77 AGILENT TECHNOLOGIES -REMIT                  2/8/2023         $                  302.55                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.78 AGILENT TECHNOLOGIES -REMIT                  2/8/2023         $                1,388.42                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.79 AGILENT TECHNOLOGIES -REMIT                  2/13/2023        $                  759.07                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              4187 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHICAGO              IL          60693
              City                 State       ZIP Code



              Country


          3.80 AIRMATIC COMPRESSOR SYSTEMS INC              1/19/2023        $               16,238.97                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              700 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CARLSTADT            NJ          07072
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 22
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

           Name

          3.81 AK-MEDICAID                                  12/22/2022       $                (194.57)                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 84991                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              SEATTLE              WA          98124
              City                 State       ZIP Code



              Country


          3.82 AK-MEDICAID                                  12/22/2022       $                   (0.70)               Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 84991                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              SEATTLE              WA          98124
              City                 State       ZIP Code



              Country


          3.83 AK-MEDICAID                                  12/22/2022       $               18,559.02                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 84991                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              SEATTLE              WA          98124
              City                 State       ZIP Code



              Country


          3.84 ALBEA AMERICAS -REMIT                        11/29/2022       $               13,950.82                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 22647                                                                                     5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              NEW YORK             NY          10087-2647
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 23
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.85 ALCAMI CORPORATION                           1/12/2023        $                  668.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.86 ALCAMI CORPORATION                           1/12/2023        $                1,614.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.87 ALCAMI CORPORATION                           1/12/2023        $                1,614.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.88 ALCAMI CORPORATION                           1/19/2023        $                  288.27                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 24
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.89 ALCAMI CORPORATION                           1/19/2023        $                  374.90                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.90 ALCAMI CORPORATION                           1/19/2023        $                  566.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.91 ALCAMI CORPORATION                           1/19/2023        $                  852.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.92 ALCAMI CORPORATION                           1/19/2023        $                  852.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 25
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.93 ALCAMI CORPORATION                           1/19/2023        $                  939.55                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.94 ALCAMI CORPORATION                           1/19/2023        $                1,190.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.95 ALCAMI CORPORATION                           1/19/2023        $                1,238.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.96 ALCAMI CORPORATION                           1/19/2023        $                1,518.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 26
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

          3.97 ALCAMI CORPORATION                           1/19/2023        $                1,994.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.98 ALCAMI CORPORATION                           1/19/2023        $                1,994.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


          3.99 ALCAMI CORPORATION                           1/19/2023        $                2,470.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country


      3.100 ALCAMI CORPORATION                              1/19/2023        $                2,470.00                Secured debt
              Creditor's Name
                                                                                                                      Unsecured loan repayments

              PO BOX 603059                                                                                    5      Suppliers or vendors
              Street
                                                                                                                      Services

                                                                                                                      Other

              CHARLOTTE            NC          28260
              City                 State       ZIP Code



              Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 27
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.101 ALCAMI CORPORATION                             1/19/2023        $                2,475.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country


      3.102 ALCAMI CORPORATION                             1/19/2023        $                3,658.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country


      3.103 ALCAMI CORPORATION                             1/31/2023        $                  585.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country


      3.104 ALCAMI CORPORATION                             1/31/2023        $                  804.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 28
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.105 ALCAMI CORPORATION                             1/31/2023        $                1,614.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country


      3.106 ALCAMI CORPORATION                             1/31/2023        $                2,042.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country


      3.107 ALCAMI CORPORATION                             1/31/2023        $                3,898.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country


      3.108 ALCAMI CORPORATION                             1/31/2023        $                6,219.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 29
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.109 ALCAMI CORPORATION                             2/13/2023        $                  852.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 603059                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHARLOTTE            NC          28260
             City                 State       ZIP Code



             Country


      3.110 ALCUS FUEL OIL & SONS INC                      12/8/2022        $                  451.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.111 ALCUS FUEL OIL & SONS INC                      1/6/2023         $                1,363.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.112 ALCUS FUEL OIL & SONS INC                      1/6/2023         $                1,839.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 30
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.113 ALCUS FUEL OIL & SONS INC                      1/6/2023         $                2,466.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.114 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                  489.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.115 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                  540.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.116 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                  640.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 31
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.117 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                  853.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.118 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                  862.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.119 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                1,178.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.120 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                1,222.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 32
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.121 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                1,233.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.122 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                1,329.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.123 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                1,505.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.124 ALCUS FUEL OIL & SONS INC                      1/19/2023        $                2,065.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 33
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.125 ALCUS FUEL OIL & SONS INC                      1/26/2023        $                  851.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.126 ALCUS FUEL OIL & SONS INC                      1/31/2023        $                  854.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             238 BROADWAY                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AMITYVILLE           NY          11701
             City                 State       ZIP Code



             Country


      3.127 ALKU -REMIT                                    1/6/2023         $                3,680.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country


      3.128 ALKU -REMIT                                    1/6/2023         $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 34
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.129 ALKU -REMIT                                    1/6/2023         $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country


      3.130 ALKU -REMIT                                    1/6/2023         $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country


      3.131 ALKU -REMIT                                    1/6/2023         $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country


      3.132 ALKU -REMIT                                    1/6/2023         $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 35
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.133 ALKU -REMIT                                    1/6/2023         $                5,040.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country


      3.134 ALKU -REMIT                                    1/12/2023        $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country


      3.135 ALKU -REMIT                                    1/19/2023        $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 986530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02298-6530
             City                 State       ZIP Code



             Country


      3.136 AL-MEDICAID                                    12/22/2022       $                (776.39)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE ACCOUNTS RECEIVABLES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             501 DEXTER AVE PO BOX 5624                                                                              Other

             MONTGOMERY           AL          36103-5624
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 36
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.137 AL-MEDICAID                                    12/22/2022       $                 (48.68)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE ACCOUNTS RECEIVABLES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             501 DEXTER AVE PO BOX 5624                                                                              Other

             MONTGOMERY           AL          36103-5624
             City                 State       ZIP Code



             Country


      3.138 AL-MEDICAID                                    12/22/2022       $                   (5.77)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE ACCOUNTS RECEIVABLES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             501 DEXTER AVE PO BOX 5624                                                                              Other

             MONTGOMERY           AL          36103-5624
             City                 State       ZIP Code



             Country


      3.139 AL-MEDICAID                                    12/22/2022       $                   (5.30)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE ACCOUNTS RECEIVABLES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             501 DEXTER AVE PO BOX 5624                                                                              Other

             MONTGOMERY           AL          36103-5624
             City                 State       ZIP Code



             Country


      3.140 AL-MEDICAID                                    12/22/2022       $                   (1.94)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE ACCOUNTS RECEIVABLES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             501 DEXTER AVE PO BOX 5624                                                                              Other

             MONTGOMERY           AL          36103-5624
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 37
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.141 AL-MEDICAID                                    12/22/2022       $               73,921.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE ACCOUNTS RECEIVABLES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             501 DEXTER AVE PO BOX 5624                                                                              Other

             MONTGOMERY           AL          36103-5624
             City                 State       ZIP Code



             Country


      3.142 AMBER INTERNATIONAL                            12/29/2022       $              115,545.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             111 NORTHFIELD AVE STE 312                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST ORANGE          NJ          07052
             City                 State       ZIP Code



             Country


      3.143 AMEREN ILLINOIS                                12/8/2022        $                    3.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.144 AMEREN ILLINOIS                                12/8/2022        $                  273.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 38
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.145 AMEREN ILLINOIS                                12/8/2022        $                  351.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.146 AMEREN ILLINOIS                                12/8/2022        $                4,752.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.147 AMEREN ILLINOIS                                12/8/2022        $                4,817.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.148 AMEREN ILLINOIS                                1/6/2023         $               (7,946.81)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 39
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.149 AMEREN ILLINOIS                                1/6/2023         $               (1,329.08)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.150 AMEREN ILLINOIS                                1/6/2023         $                    3.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.151 AMEREN ILLINOIS                                1/6/2023         $                   32.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.152 AMEREN ILLINOIS                                1/6/2023         $                  267.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 40
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.153 AMEREN ILLINOIS                                1/6/2023         $                  280.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.154 AMEREN ILLINOIS                                1/6/2023         $                1,296.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.155 AMEREN ILLINOIS                                1/6/2023         $                1,401.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.156 AMEREN ILLINOIS                                1/6/2023         $                1,572.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 41
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.157 AMEREN ILLINOIS                                1/6/2023         $                1,907.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.158 AMEREN ILLINOIS                                1/6/2023         $                2,079.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.159 AMEREN ILLINOIS                                1/6/2023         $                2,580.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country


      3.160 AMEREN ILLINOIS                                1/6/2023         $                4,881.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 88034                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-1034
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 42
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATION CHEMICAL INC                                                                        Secured debt
      3.161 (AIC)                                          1/19/2023        $               22,130.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2000 WEST PARK DRIVE STE 300                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTBOROUGH          MA          01581
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.162 SOL                                            12/8/2022        $                  102.44
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.163 SOL                                            12/8/2022        $                  134.02
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.164 SOL                                            12/8/2022        $                  142.44
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 43
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.165 SOL                                            12/8/2022        $                  775.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.166 SOL                                            12/8/2022        $                2,069.17
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.167 SOL                                            12/8/2022        $                2,497.38
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.168 SOL                                            12/8/2022        $                3,040.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 44
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.169 SOL                                            1/19/2023        $                   17.59
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.170 SOL                                            1/19/2023        $                   26.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.171 SOL                                            1/19/2023        $                   43.20
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.172 SOL                                            1/19/2023        $                   46.40
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 45
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.173 SOL                                            1/19/2023        $                   56.04
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.174 SOL                                            1/19/2023        $                   57.41
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.175 SOL                                            1/19/2023        $                   94.40
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.176 SOL                                            1/19/2023        $                  112.28
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 46
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.177 SOL                                            1/19/2023        $                  118.70
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.178 SOL                                            1/19/2023        $                  118.89
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.179 SOL                                            1/19/2023        $                  121.58
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.180 SOL                                            1/19/2023        $                  143.49
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 47
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.181 SOL                                            1/19/2023        $                  315.50
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.182 SOL                                            1/19/2023        $                  775.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.183 SOL                                            1/19/2023        $                  945.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.184 SOL                                            1/19/2023        $                1,080.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 48
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.185 SOL                                            1/19/2023        $                1,337.24
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.186 SOL                                            1/19/2023        $                2,376.95
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.187 SOL                                            1/19/2023        $                2,643.27
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.188 SOL                                            1/19/2023        $                2,686.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 49
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            AMERICAN INTERNATIONAL RELOCATION                                                                        Secured debt
      3.189 SOL                                            1/19/2023        $                3,885.88
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA AIRES                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 536459                                                                                           Other

             PITTSBURGH           PA          15253
             City                 State       ZIP Code



             Country


      3.190 AMERIHEALTH CARITAS MCO                        11/29/2022       $                (918.64)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC AMERIHEALTH CARITAS                                                                             Other

             ATLANTA              GA          31193
             City                 State       ZIP Code



             Country


      3.191 AMERIHEALTH CARITAS MCO                        11/29/2022       $                   (1.11)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC AMERIHEALTH CARITAS                                                                             Other

             ATLANTA              GA          31193
             City                 State       ZIP Code



             Country


      3.192 AMERIHEALTH CARITAS MCO                        11/29/2022       $                    2.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC AMERIHEALTH CARITAS                                                                             Other

             ATLANTA              GA          31193
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 50
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.193 AMERIHEALTH CARITAS MCO                        11/29/2022       $                   22.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC AMERIHEALTH CARITAS                                                                             Other

             ATLANTA              GA          31193
             City                 State       ZIP Code



             Country


      3.194 AMERIHEALTH CARITAS MCO                        11/29/2022       $               21,187.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC AMERIHEALTH CARITAS                                                                             Other

             ATLANTA              GA          31193
             City                 State       ZIP Code



             Country


      3.195 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $                  974.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country


      3.196 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $                3,293.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 51
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.197 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $                4,882.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country


      3.198 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $                5,233.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country


      3.199 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $                5,813.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country


      3.200 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $               16,416.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 52
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.201 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $               51,335.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country


      3.202 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $               59,059.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country


      3.203 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $               65,126.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country


      3.204 AMERISOURCEBERGEN GLOBAL SERVICES              12/27/2022       $               70,937.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             SEILERSTRASSE 8                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             3011 BERN                                                                                               Other


             City                 State       ZIP Code

             SWITZERLAND
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 53
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.205 AMETEK BROOKFIELD -REMIT                       11/29/2022       $                  389.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.206 AMETEK BROOKFIELD -REMIT                       11/29/2022       $                1,940.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.207 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                  305.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.208 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                  399.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 54
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.209 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                  440.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.210 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                  678.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.211 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                  959.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.212 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                1,248.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 55
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.213 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                1,365.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.214 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                1,598.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.215 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                2,969.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.216 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                3,050.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 56
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.217 AMETEK BROOKFIELD -REMIT                       1/31/2023        $                3,915.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.218 AMETEK BROOKFIELD -REMIT                       2/8/2023         $                  799.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419319                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9319
             City                 State       ZIP Code



             Country


      3.219 AMPHENOL THERMOMETRICS INC -REMIT              1/26/2023        $                1,365.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28690 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1286
             City                 State       ZIP Code



             Country


      3.220 AMPHENOL THERMOMETRICS INC -REMIT              1/26/2023        $                9,781.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28690 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1286
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 57
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.221 ANDON BRUSH COMPANY INC                        11/29/2022       $               38,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1 MERRIT AVENUE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LITTLE FALLS         NJ          07424
             City                 State       ZIP Code



             Country


      3.222 ANDON BRUSH COMPANY INC                        11/29/2022       $               38,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1 MERRIT AVENUE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LITTLE FALLS         NJ          07424
             City                 State       ZIP Code



             Country


      3.223 ANDON BRUSH COMPANY INC                        11/29/2022       $               38,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1 MERRIT AVENUE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LITTLE FALLS         NJ          07424
             City                 State       ZIP Code



             Country


      3.224 ANDON BRUSH COMPANY INC                        11/29/2022       $               38,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1 MERRIT AVENUE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LITTLE FALLS         NJ          07424
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 58
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.225 ANDON BRUSH COMPANY INC                        11/29/2022       $               38,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1 MERRIT AVENUE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LITTLE FALLS         NJ          07424
             City                 State       ZIP Code



             Country


      3.226 ANDON BRUSH COMPANY INC                        1/6/2023         $               38,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1 MERRIT AVENUE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LITTLE FALLS         NJ          07424
             City                 State       ZIP Code



             Country


      3.227 ANDON BRUSH COMPANY INC                        2/13/2023        $               38,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1 MERRIT AVENUE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LITTLE FALLS         NJ          07424
             City                 State       ZIP Code



             Country


      3.228 APEX MATERIAL HANDLING CORP OF IL INC          11/29/2022       $                  439.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 59
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.229 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   60.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.230 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   75.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.231 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   75.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.232 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 60
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.233 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.234 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.235 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.236 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 61
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.237 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.238 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.239 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.240 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 62
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.241 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.242 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.243 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.244 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 63
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.245 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.246 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.247 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.248 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   76.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 64
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.249 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   89.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.250 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   90.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.251 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                   98.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.252 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                  100.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 65
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.253 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                  105.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.254 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                  536.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.255 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                  686.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.256 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                  711.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 66
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.257 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                2,319.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.258 APEX MATERIAL HANDLING CORP OF IL INC          1/19/2023        $                7,661.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.259 APEX MATERIAL HANDLING CORP OF IL INC          1/31/2023        $                  392.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country


      3.260 APEX MATERIAL HANDLING CORP OF IL INC          1/31/2023        $                1,095.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             391 CHARLES COURT                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST CHICAGO         IL          60185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 67
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.261 APEXUS LLC                                     11/29/2022       $               64,019.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842167                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2167
             City                 State       ZIP Code



             Country


      3.262 APEXUS LLC                                     1/12/2023        $               85,763.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842167                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2167
             City                 State       ZIP Code



             Country


      3.263 APPLIED PHYSICS INC - REMIT                    1/19/2023        $               39,918.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 186                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MONTE VISTA          CO          81144
             City                 State       ZIP Code



             Country


      3.264 APTAR & GATEWAY -REMIT                         1/6/2023         $              448,875.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 96284                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 68
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.265 APTAR & GATEWAY -REMIT                         1/31/2023        $                1,495.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 96284                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


      3.266 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  149.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.267 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  149.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.268 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 69
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.269 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.270 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.271 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.272 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 70
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.273 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  267.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.274 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                  267.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.275 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                3,059.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.276 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                3,290.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 71
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.277 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                3,413.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.278 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                3,621.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.279 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                5,323.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.280 ARAMARK CLEANROOM SERVICES                     11/29/2022       $                5,713.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 72
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.281 ARAMARK CLEANROOM SERVICES                     11/29/2022       $               10,824.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.282 ARAMARK CLEANROOM SERVICES                     11/29/2022       $               58,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.283 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                 (84.84)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.284 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                  149.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 73
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.285 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.286 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                1,061.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.287 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                1,913.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.288 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                2,730.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 74
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.289 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                2,775.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.290 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,051.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.291 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,051.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.292 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,139.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 75
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.293 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,288.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.294 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,290.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.295 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,294.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.296 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,452.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 76
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.297 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,463.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.298 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                3,471.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.299 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                5,245.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.300 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                5,446.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 77
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.301 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                5,522.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.302 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                5,689.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.303 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                5,698.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.304 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                5,721.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 78
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.305 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                7,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.306 ARAMARK CLEANROOM SERVICES                     1/6/2023         $                9,615.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.307 ARAMARK CLEANROOM SERVICES                     1/6/2023         $               10,853.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.308 ARAMARK CLEANROOM SERVICES                     1/6/2023         $               10,861.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 79
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.309 ARAMARK CLEANROOM SERVICES                     1/6/2023         $               10,928.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.310 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  157.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.311 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  157.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.312 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  162.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 80
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.313 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  166.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.314 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.315 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  224.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.316 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  241.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 81
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.317 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  266.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.318 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  267.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.319 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  435.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.320 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                  475.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 82
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.321 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,041.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.322 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,042.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.323 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,051.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.324 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,058.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 83
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.325 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,086.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.326 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,147.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.327 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,286.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.328 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,297.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 84
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.329 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,298.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.330 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,303.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.331 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,306.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.332 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,430.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 85
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.333 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,450.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.334 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,459.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.335 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,463.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.336 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,470.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 86
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.337 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,494.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.338 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                3,601.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.339 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,292.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.340 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,309.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 87
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.341 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,325.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.342 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,375.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.343 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,403.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.344 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,519.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 88
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.345 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,699.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.346 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,718.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.347 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,725.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.348 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,732.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 89
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.349 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,756.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.350 ARAMARK CLEANROOM SERVICES                     1/19/2023        $                5,874.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.351 ARAMARK CLEANROOM SERVICES                     1/19/2023        $               10,803.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.352 ARAMARK CLEANROOM SERVICES                     1/19/2023        $               10,831.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 90
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.353 ARAMARK CLEANROOM SERVICES                     1/19/2023        $               10,840.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.354 ARAMARK CLEANROOM SERVICES                     1/19/2023        $               10,885.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.355 ARAMARK CLEANROOM SERVICES                     1/19/2023        $               11,017.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.356 ARAMARK CLEANROOM SERVICES                     1/19/2023        $               11,362.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 91
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.357 ARAMARK CLEANROOM SERVICES                     1/26/2023        $                  162.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.358 ARAMARK CLEANROOM SERVICES                     1/26/2023        $                  266.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.359 ARAMARK CLEANROOM SERVICES                     1/26/2023        $                3,046.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.360 ARAMARK CLEANROOM SERVICES                     1/26/2023        $                3,292.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 92
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.361 ARAMARK CLEANROOM SERVICES                     1/26/2023        $                3,428.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.362 ARAMARK CLEANROOM SERVICES                     1/26/2023        $                5,366.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.363 ARAMARK CLEANROOM SERVICES                     1/26/2023        $                5,753.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country


      3.364 ARAMARK CLEANROOM SERVICES                     1/26/2023        $               11,013.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25259 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             AUCA CHICAGO LOCKBOX                                                                                    Other

             CHICAGO              IL          60673-1252
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 93
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.365 ARAMARK UNIFORM SERVICES                       11/29/2022       $                  981.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.366 ARAMARK UNIFORM SERVICES                       11/29/2022       $                1,048.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.367 ARAMARK UNIFORM SERVICES                       11/29/2022       $                1,237.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.368 ARAMARK UNIFORM SERVICES                       11/29/2022       $                1,237.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 94
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.369 ARAMARK UNIFORM SERVICES                       11/29/2022       $                2,488.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.370 ARAMARK UNIFORM SERVICES                       11/29/2022       $                2,773.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.371 ARAMARK UNIFORM SERVICES                       12/8/2022        $                1,234.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.372 ARAMARK UNIFORM SERVICES                       12/8/2022        $                1,237.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 95
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.373 ARAMARK UNIFORM SERVICES                       12/8/2022        $                2,488.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.374 ARAMARK UNIFORM SERVICES                       1/6/2023         $                  149.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.375 ARAMARK UNIFORM SERVICES                       1/6/2023         $                  223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.376 ARAMARK UNIFORM SERVICES                       1/6/2023         $                1,217.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 96
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.377 ARAMARK UNIFORM SERVICES                       1/6/2023         $                1,247.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.378 ARAMARK UNIFORM SERVICES                       1/6/2023         $                1,247.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.379 ARAMARK UNIFORM SERVICES                       1/6/2023         $                1,247.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.380 ARAMARK UNIFORM SERVICES                       1/6/2023         $                1,441.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 97
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.381 ARAMARK UNIFORM SERVICES                       1/6/2023         $                1,511.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.382 ARAMARK UNIFORM SERVICES                       1/6/2023         $                1,722.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.383 ARAMARK UNIFORM SERVICES                       1/6/2023         $                2,446.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.384 ARAMARK UNIFORM SERVICES                       1/6/2023         $                2,522.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 98
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.385 ARAMARK UNIFORM SERVICES                       1/6/2023         $                2,730.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.386 ARAMARK UNIFORM SERVICES                       1/6/2023         $                2,769.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.387 ARAMARK UNIFORM SERVICES                       1/19/2023        $                1,194.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.388 ARAMARK UNIFORM SERVICES                       1/19/2023        $                1,217.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 99
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.389 ARAMARK UNIFORM SERVICES                       1/19/2023        $                1,247.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.390 ARAMARK UNIFORM SERVICES                       1/19/2023        $                1,266.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.391 ARAMARK UNIFORM SERVICES                       1/19/2023        $                1,266.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.392 ARAMARK UNIFORM SERVICES                       1/19/2023        $                1,298.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 100
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.393 ARAMARK UNIFORM SERVICES                       1/19/2023        $                2,343.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.394 ARAMARK UNIFORM SERVICES                       1/19/2023        $                2,369.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.395 ARAMARK UNIFORM SERVICES                       1/19/2023        $                2,730.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.396 ARAMARK UNIFORM SERVICES                       1/31/2023        $                1,247.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 101
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.397 ARAMARK UNIFORM SERVICES                       1/31/2023        $                1,251.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.398 ARAMARK UNIFORM SERVICES                       1/31/2023        $                1,266.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.399 ARAMARK UNIFORM SERVICES                       1/31/2023        $                2,446.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.400 ARAMARK UNIFORM SERVICES                       1/31/2023        $                2,730.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 102
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.401 ARAMARK UNIFORM SERVICES                       2/13/2023        $                1,251.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.402 ARAMARK UNIFORM SERVICES                       2/13/2023        $                1,267.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.403 ARAMARK UNIFORM SERVICES                       2/13/2023        $                2,446.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26792 NEWARK PLACE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1792
             City                 State       ZIP Code



             Country


      3.404 ARENT FOX LLP                                  11/29/2022       $                6,543.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 103
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.405 ARENT FOX LLP                                  11/29/2022       $               11,392.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.406 ARENT FOX LLP                                  11/29/2022       $               15,935.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.407 ARENT FOX LLP                                  12/15/2022       $               (2,320.50)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.408 ARENT FOX LLP                                  12/15/2022       $                1,380.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 104
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.409 ARENT FOX LLP                                  12/15/2022       $                3,206.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.410 ARENT FOX LLP                                  12/15/2022       $                4,671.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.411 ARENT FOX LLP                                  12/15/2022       $               12,087.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.412 ARENT FOX LLP                                  12/15/2022       $               12,087.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 105
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.413 ARENT FOX LLP                                  12/15/2022       $               35,595.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.414 ARENT FOX LLP                                  2/13/2023        $             (24,506.94)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.415 ARENT FOX LLP                                  2/13/2023        $                  384.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.416 ARENT FOX LLP                                  2/13/2023        $                  787.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 106
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.417 ARENT FOX LLP                                  2/13/2023        $                4,144.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.418 ARENT FOX LLP                                  2/13/2023        $                4,162.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.419 ARENT FOX LLP                                  2/13/2023        $               10,301.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.420 ARENT FOX LLP                                  2/13/2023        $               16,133.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 107
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.421 ARENT FOX LLP                                  2/13/2023        $               23,069.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.422 ARENT FOX LLP                                  2/15/2023        $               50,207.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644672                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264
             City                 State       ZIP Code



             Country


      3.423 ARIES GLOBAL LOGISTICS INC                     1/6/2023         $                  375.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 592                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FRANKLIN SQUARE NY               11010
             City                 State       ZIP Code



             Country


      3.424 ARIES GLOBAL LOGISTICS INC                     1/6/2023         $                  578.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 592                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FRANKLIN SQUARE NY               11010
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 108
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.425 ARIES GLOBAL LOGISTICS INC                     1/6/2023         $                  977.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 592                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FRANKLIN SQUARE NY               11010
             City                 State       ZIP Code



             Country


      3.426 ARIES GLOBAL LOGISTICS INC                     1/6/2023         $                2,073.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 592                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FRANKLIN SQUARE NY               11010
             City                 State       ZIP Code



             Country


      3.427 ARIES GLOBAL LOGISTICS INC                     1/12/2023        $                  265.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 592                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FRANKLIN SQUARE NY               11010
             City                 State       ZIP Code



             Country


      3.428 ARIES GLOBAL LOGISTICS INC                     1/26/2023        $                2,824.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 592                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FRANKLIN SQUARE NY               11010
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 109
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.429 ARIES GLOBAL LOGISTICS INC                     1/31/2023        $                3,717.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 592                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FRANKLIN SQUARE NY               11010
             City                 State       ZIP Code



             Country


      3.430 ARJAY COMPANY                                  11/29/2022       $                  900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.431 ARJAY COMPANY                                  11/29/2022       $                2,440.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.432 ARJAY COMPANY                                  1/6/2023         $                  900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 110
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.433 ARJAY COMPANY                                  1/6/2023         $                1,350.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.434 ARJAY COMPANY                                  1/6/2023         $                1,411.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.435 ARJAY COMPANY                                  1/6/2023         $                1,554.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.436 ARJAY COMPANY                                  1/6/2023         $                2,020.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 111
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.437 ARJAY COMPANY                                  1/6/2023         $                2,440.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.438 ARJAY COMPANY                                  1/6/2023         $                5,306.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.439 ARJAY COMPANY                                  1/6/2023         $               20,504.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.440 ARJAY COMPANY                                  1/26/2023        $                  450.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 112
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.441 ARJAY COMPANY                                  1/26/2023        $                  468.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.442 ARJAY COMPANY                                  1/26/2023        $                1,872.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.443 ARJAY COMPANY                                  1/26/2023        $                5,292.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.444 ARJAY COMPANY                                  1/31/2023        $                  450.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 113
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.445 ARJAY COMPANY                                  1/31/2023        $                  900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.446 ARJAY COMPANY                                  1/31/2023        $                3,109.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.447 ARJAY COMPANY                                  2/8/2023         $               18,383.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 157                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEER PARK            NY          11729-0157
             City                 State       ZIP Code



             Country


      3.448 AR-MEDICAID                                    12/22/2022       $                (283.07)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 505297                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN MEDICAID DRUG REBATE                                                                               Other

             ST LOUIS             MO          63150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 114
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.449 AR-MEDICAID                                    12/22/2022       $                 (30.92)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 505297                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN MEDICAID DRUG REBATE                                                                               Other

             ST LOUIS             MO          63150
             City                 State       ZIP Code



             Country


      3.450 AR-MEDICAID                                    12/22/2022       $                   (0.09)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 505297                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN MEDICAID DRUG REBATE                                                                               Other

             ST LOUIS             MO          63150
             City                 State       ZIP Code



             Country


      3.451 AR-MEDICAID                                    12/22/2022       $               37,441.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 505297                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN MEDICAID DRUG REBATE                                                                               Other

             ST LOUIS             MO          63150
             City                 State       ZIP Code



             Country


            ARMSTRONG RELOCATION & COMPANIES                                                                         Secured debt
      3.452 LLC                                            1/6/2023         $                3,825.88
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9 ASPEN DR                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RANDOLPH             NJ          07869
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 115
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            ARMSTRONG RELOCATION & COMPANIES                                                                         Secured debt
      3.453 LLC                                            1/6/2023         $                8,917.47
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9 ASPEN DR                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RANDOLPH             NJ          07869
             City                 State       ZIP Code



             Country


            ARMSTRONG RELOCATION & COMPANIES                                                                         Secured debt
      3.454 LLC                                            1/19/2023        $                1,063.95
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9 ASPEN DR                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RANDOLPH             NJ          07869
             City                 State       ZIP Code



             Country


            ARMSTRONG RELOCATION & COMPANIES                                                                         Secured debt
      3.455 LLC                                            1/26/2023        $                6,352.77
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9 ASPEN DR                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RANDOLPH             NJ          07869
             City                 State       ZIP Code



             Country


            ARMSTRONG RELOCATION & COMPANIES                                                                         Secured debt
      3.456 LLC                                            2/8/2023         $                4,203.43
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9 ASPEN DR                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RANDOLPH             NJ          07869
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 116
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.457 Arnold & Porter                                2/22/2023        $               47,076.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.458 ARNOLD & PORTER KAYE SCHOLER LLP               11/29/2022       $                1,612.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.459 ARNOLD & PORTER KAYE SCHOLER LLP               11/29/2022       $                2,431.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.460 ARNOLD & PORTER KAYE SCHOLER LLP               12/8/2022        $                1,935.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 117
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.461 ARNOLD & PORTER KAYE SCHOLER LLP               12/15/2022       $                5,913.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.462 ARNOLD & PORTER KAYE SCHOLER LLP               12/22/2022       $                  355.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.463 ARNOLD & PORTER KAYE SCHOLER LLP               12/22/2022       $                6,223.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.464 ARNOLD & PORTER KAYE SCHOLER LLP               12/22/2022       $               15,962.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 118
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.465 ARNOLD & PORTER KAYE SCHOLER LLP               12/22/2022       $               29,401.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.466 ARNOLD & PORTER KAYE SCHOLER LLP               1/6/2023         $                  215.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.467 ARNOLD & PORTER KAYE SCHOLER LLP               1/6/2023         $                3,548.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.468 ARNOLD & PORTER KAYE SCHOLER LLP               1/20/2023        $                3,870.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 119
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.469 ARNOLD & PORTER KAYE SCHOLER LLP               1/20/2023        $               12,491.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.470 ARNOLD & PORTER KAYE SCHOLER LLP               1/26/2023        $                3,690.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             601 MASSACHUSETTS AVE NW                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WASHINGTON           DC          20001
             City                 State       ZIP Code



             Country


      3.471 ASCENSION HEALTH ALLIANCE                      12/8/2022        $                9,851.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 505302                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-5302
             City                 State       ZIP Code



             Country


      3.472 ASCENSION HEALTH ALLIANCE                      12/8/2022        $               14,866.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 505302                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-5302
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 120
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.473 ASEMBIA LLC                                    1/12/2023        $               28,950.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPT                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             200 PARK AVENUE SUITE 300                                                                               Other

             FLORHAM PARK         NJ          07932
             City                 State       ZIP Code



             Country


      3.474 ASH PALLET MANAGEMENT INC                      11/29/2022       $                8,160.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             61 MCMILLEN RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ANTIOCH              IL          60002
             City                 State       ZIP Code



             Country


      3.475 ASH PALLET MANAGEMENT INC                      12/29/2022       $                8,185.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             61 MCMILLEN RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ANTIOCH              IL          60002
             City                 State       ZIP Code



             Country


      3.476 ASH PALLET MANAGEMENT INC                      12/29/2022       $                8,210.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             61 MCMILLEN RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ANTIOCH              IL          60002
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 121
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.477 ASHLAND SPECIALTY INGREDIENTS GP               12/29/2022       $               36,503.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 773412                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3412
             City                 State       ZIP Code



             Country


      3.478 ASHLAND SPECIALTY INGREDIENTS GP               1/26/2023        $               (3,322.62)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 773412                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3412
             City                 State       ZIP Code



             Country


      3.479 ASHLAND SPECIALTY INGREDIENTS GP               1/26/2023        $               36,503.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 773412                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3412
             City                 State       ZIP Code



             Country


      3.480 ASHLAND SPECIALTY INGREDIENTS GP               2/13/2023        $               (3,767.02)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 773412                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3412
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 122
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.481 ASHLAND SPECIALTY INGREDIENTS GP               2/13/2023        $               64,098.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 773412                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3412
             City                 State       ZIP Code



             Country


      3.482 ASPECT CONSULTING INC                          1/6/2023         $               12,847.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20109 VALLEY FORGE CIRCLE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KING OF PRUSSIA      PA          19406
             City                 State       ZIP Code



             Country


      3.483 ASPECT CONSULTING INC                          2/7/2023         $               11,017.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20109 VALLEY FORGE CIRCLE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KING OF PRUSSIA      PA          19406
             City                 State       ZIP Code



             Country


      3.484 ASPECT CONSULTING INC                          2/7/2023         $               13,847.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20109 VALLEY FORGE CIRCLE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KING OF PRUSSIA      PA          19406
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 123
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.485 AT&T                                           11/29/2022       $                1,831.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5019                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5019
             City                 State       ZIP Code



             Country


      3.486 AT&T                                           11/29/2022       $               29,011.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5019                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5019
             City                 State       ZIP Code



             Country


      3.487 AT&T                                           1/6/2023         $                4,570.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5019                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5019
             City                 State       ZIP Code



             Country


      3.488 AT&T                                           1/26/2023        $                3,676.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5019                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5019
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 124
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.489 AT&T                                           1/26/2023        $                8,663.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5019                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5019
             City                 State       ZIP Code



             Country


      3.490 AT&T                                           1/26/2023        $               10,122.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5019                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5019
             City                 State       ZIP Code



             Country


      3.491 AT&T                                           1/26/2023        $               29,235.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5019                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5019
             City                 State       ZIP Code



             Country


      3.492 ATLANTIC SCALE COMPANY INC                     11/29/2022       $                  912.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 125
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.493 ATLANTIC SCALE COMPANY INC                     11/29/2022       $                1,623.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.494 ATLANTIC SCALE COMPANY INC                     12/8/2022        $                  162.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.495 ATLANTIC SCALE COMPANY INC                     12/8/2022        $                  363.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.496 ATLANTIC SCALE COMPANY INC                     12/8/2022        $                  380.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 126
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.497 ATLANTIC SCALE COMPANY INC                     12/8/2022        $                1,569.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.498 ATLANTIC SCALE COMPANY INC                     12/8/2022        $                5,935.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.499 ATLANTIC SCALE COMPANY INC                     1/6/2023         $                   78.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.500 ATLANTIC SCALE COMPANY INC                     1/6/2023         $                  308.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 127
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.501 ATLANTIC SCALE COMPANY INC                     1/6/2023         $                  744.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.502 ATLANTIC SCALE COMPANY INC                     1/6/2023         $                  746.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.503 ATLANTIC SCALE COMPANY INC                     1/6/2023         $                1,428.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.504 ATLANTIC SCALE COMPANY INC                     1/6/2023         $                1,925.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 128
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.505 ATLANTIC SCALE COMPANY INC                     1/26/2023        $                  301.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.506 ATLANTIC SCALE COMPANY INC                     1/26/2023        $                  418.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.507 ATLANTIC SCALE COMPANY INC                     1/26/2023        $                  597.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.508 ATLANTIC SCALE COMPANY INC                     1/26/2023        $                  678.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 129
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.509 ATLANTIC SCALE COMPANY INC                     1/26/2023        $                1,015.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.510 ATLANTIC SCALE COMPANY INC                     1/26/2023        $                1,281.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.511 ATLANTIC SCALE COMPANY INC                     1/26/2023        $                2,169.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.512 ATLANTIC SCALE COMPANY INC                     2/8/2023         $                  307.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 130
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.513 ATLANTIC SCALE COMPANY INC                     2/8/2023         $                  774.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.514 ATLANTIC SCALE COMPANY INC                     2/13/2023        $                  298.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.515 ATLANTIC SCALE COMPANY INC                     2/13/2023        $                1,009.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             136 WASHINGTON AVENUE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NUTLEY               NJ          07110
             City                 State       ZIP Code



             Country


      3.516 AXON LLC -REMIT                                1/12/2023        $               16,392.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73211                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CLEVELAND            OH          44193-0002
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 131
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.517 AZ-MCO                                         12/22/2022       $               (1,485.09)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 741573                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374
             City                 State       ZIP Code



             Country


      3.518 AZ-MCO                                         12/22/2022       $                (269.96)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 741573                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374
             City                 State       ZIP Code



             Country


      3.519 AZ-MCO                                         12/22/2022       $                   13.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 741573                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374
             City                 State       ZIP Code



             Country


      3.520 AZ-MCO                                         12/22/2022       $                   46.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 741573                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 132
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.521 AZ-MCO                                         12/22/2022       $               18,277.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 741573                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374
             City                 State       ZIP Code



             Country


      3.522 AZ-MCO                                         12/22/2022       $               77,300.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 741573                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374
             City                 State       ZIP Code



             Country


      3.523 BAF REFRIGERATION INC                          1/19/2023        $                  417.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.524 BAF REFRIGERATION INC                          1/19/2023        $                  690.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 133
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.525 BAF REFRIGERATION INC                          1/19/2023        $                  729.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.526 BAF REFRIGERATION INC                          1/19/2023        $                1,836.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.527 BAF REFRIGERATION INC                          1/19/2023        $                3,531.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.528 BAF REFRIGERATION INC                          1/19/2023        $                4,410.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 134
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.529 BAF REFRIGERATION INC                          1/19/2023        $                4,840.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.530 BAF REFRIGERATION INC                          1/19/2023        $                4,874.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.531 BAF REFRIGERATION INC                          1/19/2023        $                5,310.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.532 BAF REFRIGERATION INC                          1/19/2023        $                5,318.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 135
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.533 BAF REFRIGERATION INC                          1/19/2023        $               13,711.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.534 BAF REFRIGERATION INC                          1/31/2023        $                  190.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.535 BAF REFRIGERATION INC                          1/31/2023        $                  284.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.536 BAF REFRIGERATION INC                          1/31/2023        $                  285.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 136
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.537 BAF REFRIGERATION INC                          1/31/2023        $                  285.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.538 BAF REFRIGERATION INC                          1/31/2023        $                  285.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.539 BAF REFRIGERATION INC                          1/31/2023        $                  524.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.540 BAF REFRIGERATION INC                          1/31/2023        $                  855.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 137
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.541 BAF REFRIGERATION INC                          1/31/2023        $                  885.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.542 BAF REFRIGERATION INC                          1/31/2023        $                  929.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.543 BAF REFRIGERATION INC                          1/31/2023        $                  997.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.544 BAF REFRIGERATION INC                          1/31/2023        $                1,140.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 138
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.545 BAF REFRIGERATION INC                          1/31/2023        $                1,520.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.546 BAF REFRIGERATION INC                          1/31/2023        $                2,110.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.547 BAF REFRIGERATION INC                          1/31/2023        $                2,802.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.548 BAF REFRIGERATION INC                          1/31/2023        $                3,041.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 139
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.549 BAF REFRIGERATION INC                          1/31/2023        $               11,142.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             80 KNICKERBOCKER AVE SUITE 5                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOHEMIA              NY          11716
             City                 State       ZIP Code



             Country


      3.550 BALCO INDUSTRIES                               11/29/2022       $                4,275.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             99 LAFAYETTE DR                                                                                         Other

             SYOSSET              NY          11791
             City                 State       ZIP Code



             Country


      3.551 BALCO INDUSTRIES                               11/29/2022       $                4,275.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             99 LAFAYETTE DR                                                                                         Other

             SYOSSET              NY          11791
             City                 State       ZIP Code



             Country


      3.552 BALCO INDUSTRIES                               2/8/2023         $                4,275.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             99 LAFAYETTE DR                                                                                         Other

             SYOSSET              NY          11791
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 140
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.553 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                  297.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.554 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                1,328.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.555 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                1,427.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.556 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                3,321.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 141
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.557 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                3,585.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.558 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                3,959.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.559 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                4,786.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.560 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                4,972.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 142
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.561 BANA ELECTRICAL TESTING CORP                   2/13/2023        $                8,899.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.562 BANA ELECTRICAL TESTING CORP                   2/13/2023        $               10,421.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.563 BANA ELECTRICAL TESTING CORP                   2/13/2023        $               11,466.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 GAZZA BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGDALE          NY          11735
             City                 State       ZIP Code



             Country


      3.564 BECKMAN COULTER -REMIT                         1/31/2023        $                  558.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10164                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          600550164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 143
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.565 BECKMAN COULTER -REMIT                         1/31/2023        $                1,203.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10164                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          600550164
             City                 State       ZIP Code



             Country


      3.566 BECKMAN COULTER -REMIT                         1/31/2023        $                3,875.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10164                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          600550164
             City                 State       ZIP Code



             Country


      3.567 BECKMAN COULTER -REMIT                         2/8/2023         $                2,498.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10164                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          600550164
             City                 State       ZIP Code



             Country


      3.568 BENCHMARK PRODUCTS LLC                         11/29/2022       $                  861.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 144
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.569 BENCHMARK PRODUCTS LLC                         11/29/2022       $                1,875.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.570 BENCHMARK PRODUCTS LLC                         11/29/2022       $                6,397.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.571 BENCHMARK PRODUCTS LLC                         11/29/2022       $                7,147.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.572 BENCHMARK PRODUCTS LLC                         11/29/2022       $               10,063.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 145
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.573 BENCHMARK PRODUCTS LLC                         12/8/2022        $                9,089.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.574 BENCHMARK PRODUCTS LLC                         1/6/2023         $                  426.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.575 BENCHMARK PRODUCTS LLC                         1/6/2023         $                1,363.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.576 BENCHMARK PRODUCTS LLC                         1/6/2023         $                1,911.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 146
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.577 BENCHMARK PRODUCTS LLC                         1/6/2023         $                5,989.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.578 BENCHMARK PRODUCTS LLC                         1/6/2023         $                7,215.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.579 BENCHMARK PRODUCTS LLC                         1/6/2023         $                8,793.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.580 BENCHMARK PRODUCTS LLC                         1/6/2023         $                9,009.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 147
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.581 BENCHMARK PRODUCTS LLC                         1/26/2023        $                1,580.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.582 BENCHMARK PRODUCTS LLC                         1/26/2023        $                1,911.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.583 BENCHMARK PRODUCTS LLC                         1/26/2023        $                2,132.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.584 BENCHMARK PRODUCTS LLC                         1/26/2023        $                2,193.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 148
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.585 BENCHMARK PRODUCTS LLC                         1/26/2023        $                2,928.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.586 BENCHMARK PRODUCTS LLC                         1/26/2023        $                3,266.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.587 BENCHMARK PRODUCTS LLC                         1/26/2023        $                3,587.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.588 BENCHMARK PRODUCTS LLC                         1/26/2023        $                4,265.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 149
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.589 BENCHMARK PRODUCTS LLC                         1/26/2023        $                5,527.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.590 BENCHMARK PRODUCTS LLC                         1/26/2023        $                6,006.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.591 BENCHMARK PRODUCTS LLC                         1/26/2023        $                6,787.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.592 BENCHMARK PRODUCTS LLC                         1/26/2023        $                6,839.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 150
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.593 BENCHMARK PRODUCTS LLC                         1/26/2023        $                8,103.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.594 BENCHMARK PRODUCTS LLC                         1/26/2023        $                8,576.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.595 BENCHMARK PRODUCTS LLC                         1/26/2023        $                9,580.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.596 BENCHMARK PRODUCTS LLC                         1/26/2023        $               92,089.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 151
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.597 BENCHMARK PRODUCTS LLC                         1/26/2023        $               92,089.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.598 BENCHMARK PRODUCTS LLC                         2/8/2023         $                  981.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.599 BENCHMARK PRODUCTS LLC                         2/13/2023        $                6,657.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1008 MOMENTUM PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60689-5310
             City                 State       ZIP Code



             Country


      3.600 BERLIN PACKAGING LLC                           11/29/2022       $                   17.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 152
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.601 BERLIN PACKAGING LLC                           11/29/2022       $                   26.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.602 BERLIN PACKAGING LLC                           11/29/2022       $               13,145.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.603 BERLIN PACKAGING LLC                           11/29/2022       $               15,438.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.604 BERLIN PACKAGING LLC                           11/29/2022       $               16,294.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 153
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.605 BERLIN PACKAGING LLC                           11/29/2022       $               32,169.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.606 BERLIN PACKAGING LLC                           11/29/2022       $               54,365.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.607 BERLIN PACKAGING LLC                           1/6/2023         $                   91.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.608 BERLIN PACKAGING LLC                           1/6/2023         $               18,149.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 154
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.609 BERLIN PACKAGING LLC                           1/6/2023         $               38,389.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.610 BERLIN PACKAGING LLC                           1/6/2023         $               65,816.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.611 BERLIN PACKAGING LLC                           1/12/2023        $               (1,041.60)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.612 BERLIN PACKAGING LLC                           1/12/2023        $                (385.56)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 155
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.613 BERLIN PACKAGING LLC                           1/12/2023        $                (329.40)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.614 BERLIN PACKAGING LLC                           1/12/2023        $                 (81.24)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.615 BERLIN PACKAGING LLC                           1/12/2023        $                   30.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.616 BERLIN PACKAGING LLC                           1/12/2023        $               17,020.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 156
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.617 BERLIN PACKAGING LLC                           1/12/2023        $               38,394.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.618 BERLIN PACKAGING LLC                           1/12/2023        $               44,300.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.619 BERLIN PACKAGING LLC                           1/12/2023        $               84,093.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.620 BERLIN PACKAGING LLC                           1/19/2023        $                   37.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 157
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.621 BERLIN PACKAGING LLC                           1/19/2023        $               13,384.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.622 BERLIN PACKAGING LLC                           1/19/2023        $               74,203.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.623 BERLIN PACKAGING LLC                           1/26/2023        $               84,093.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.624 BERLIN PACKAGING LLC                           1/31/2023        $                   37.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 158
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.625 BERLIN PACKAGING LLC                           1/31/2023        $                   73.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.626 BERLIN PACKAGING LLC                           1/31/2023        $              103,210.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.627 BERLIN PACKAGING LLC                           2/13/2023        $               32,877.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74007164                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-7164
             City                 State       ZIP Code



             Country


      3.628 Blue Cross Blue Shield                         2/17/2023        $            2,750,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             300 East Randolph Street                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             Chicago              IL          60601-5099
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 159
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.629 Blue Cross Blue Shield                         2/23/2023        $              250,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             300 East Randolph Street                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             Chicago              IL          60601-5099
             City                 State       ZIP Code



             Country


      3.630 BLUE CROSS -WAS HEALTH CARE SRVC               12/8/2022        $            1,277,307.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 1134                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 121134                                                                                           Other

             DALLAS               TX          75312-1134
             City                 State       ZIP Code



             Country


      3.631 BLUE CROSS -WAS HEALTH CARE SRVC               12/29/2022       $              858,620.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 1134                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 121134                                                                                           Other

             DALLAS               TX          75312-1134
             City                 State       ZIP Code



             Country


      3.632 BLUE CROSS -WAS HEALTH CARE SRVC               1/20/2023        $            1,052,492.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 1134                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 121134                                                                                           Other

             DALLAS               TX          75312-1134
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 160
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.633 BLUE CROSS -WAS HEALTH CARE SRVC               2/17/2023        $            1,762,938.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 1134                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 121134                                                                                           Other

             DALLAS               TX          75312-1134
             City                 State       ZIP Code



             Country


      3.634 BOARD OF PHARMACY ME                           12/13/2022       $               55,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35 STATE HOUSE STATION                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AUGUSTA              ME          04333
             City                 State       ZIP Code



             Country


      3.635 BOARD OF PHARMACY ME                           12/13/2022       $               55,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35 STATE HOUSE STATION                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AUGUSTA              ME          04333
             City                 State       ZIP Code



             Country


      3.636 BOARD OF PHARMACY ME                           12/13/2022       $               55,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35 STATE HOUSE STATION                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             AUGUSTA              ME          04333
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 161
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.637 BODINE ELECTRIC                                11/29/2022       $                  587.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.638 BODINE ELECTRIC                                11/29/2022       $                2,964.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.639 BODINE ELECTRIC                                11/29/2022       $                3,924.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.640 BODINE ELECTRIC                                11/29/2022       $                4,263.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 162
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.641 BODINE ELECTRIC                                11/29/2022       $                6,691.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.642 BODINE ELECTRIC                                11/29/2022       $                8,544.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.643 BODINE ELECTRIC                                12/8/2022        $                  428.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.644 BODINE ELECTRIC                                12/8/2022        $                  615.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 163
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.645 BODINE ELECTRIC                                12/8/2022        $                2,810.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.646 BODINE ELECTRIC                                12/8/2022        $                4,083.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.647 BODINE ELECTRIC                                12/8/2022        $                5,365.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.648 BODINE ELECTRIC                                1/6/2023         $                1,660.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 164
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.649 BODINE ELECTRIC                                1/6/2023         $                2,990.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.650 BODINE ELECTRIC                                1/6/2023         $                4,104.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.651 BODINE ELECTRIC                                1/6/2023         $                7,081.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.652 BODINE ELECTRIC                                1/26/2023        $                   95.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 165
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.653 BODINE ELECTRIC                                1/26/2023        $                  390.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.654 BODINE ELECTRIC                                1/26/2023        $                  390.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.655 BODINE ELECTRIC                                1/26/2023        $                  403.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.656 BODINE ELECTRIC                                1/26/2023        $                  498.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 166
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.657 BODINE ELECTRIC                                1/26/2023        $                  954.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.658 BODINE ELECTRIC                                1/26/2023        $                  996.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.659 BODINE ELECTRIC                                1/26/2023        $                1,011.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.660 BODINE ELECTRIC                                1/26/2023        $                1,096.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 167
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.661 BODINE ELECTRIC                                1/26/2023        $                1,099.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.662 BODINE ELECTRIC                                1/26/2023        $                1,299.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.663 BODINE ELECTRIC                                1/26/2023        $                1,304.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.664 BODINE ELECTRIC                                1/26/2023        $                1,410.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 168
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.665 BODINE ELECTRIC                                1/26/2023        $                1,495.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.666 BODINE ELECTRIC                                1/26/2023        $                1,750.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.667 BODINE ELECTRIC                                1/26/2023        $                1,909.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.668 BODINE ELECTRIC                                1/26/2023        $                2,028.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 169
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.669 BODINE ELECTRIC                                1/26/2023        $                2,327.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.670 BODINE ELECTRIC                                1/26/2023        $                2,934.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.671 BODINE ELECTRIC                                1/26/2023        $                3,190.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.672 BODINE ELECTRIC                                1/26/2023        $                3,535.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 170
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.673 BODINE ELECTRIC                                1/26/2023        $                3,788.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.674 BODINE ELECTRIC                                1/26/2023        $                4,126.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.675 BODINE ELECTRIC                                1/26/2023        $                7,860.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.676 BODINE ELECTRIC                                1/26/2023        $                8,505.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 171
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.677 BODINE ELECTRIC                                1/31/2023        $                  770.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.678 BODINE ELECTRIC                                1/31/2023        $                  797.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.679 BODINE ELECTRIC                                1/31/2023        $                3,365.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.680 BODINE ELECTRIC                                1/31/2023        $                6,697.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 172
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.681 BODINE ELECTRIC                                1/31/2023        $               15,762.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.682 BODINE ELECTRIC                                1/31/2023        $               21,051.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.683 BODINE ELECTRIC                                1/31/2023        $               30,637.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.684 BODINE ELECTRIC                                2/13/2023        $                1,426.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 173
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.685 BODINE ELECTRIC                                2/13/2023        $                2,999.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.686 BODINE ELECTRIC                                2/13/2023        $                2,999.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.687 BODINE ELECTRIC                                2/13/2023        $                2,999.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 976                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62525
             City                 State       ZIP Code



             Country


      3.688 BOSTON ANALYTICAL -R&D ONLY                    1/31/2023        $                3,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             14 MANOR PARKWAY                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SALEM                NH          03079
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 174
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.689 BOSTON ANALYTICAL -R&D ONLY                    1/31/2023        $               13,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             14 MANOR PARKWAY                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SALEM                NH          03079
             City                 State       ZIP Code



             Country


      3.690 BRYAN CAVE LEIGHTON PAISNER LLP                11/29/2022       $                  969.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 503089                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-3089
             City                 State       ZIP Code



             Country


      3.691 BRYAN CAVE LEIGHTON PAISNER LLP                11/29/2022       $                1,619.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 503089                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-3089
             City                 State       ZIP Code



             Country


      3.692 BRYAN CAVE LEIGHTON PAISNER LLP                11/29/2022       $                4,776.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 503089                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-3089
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 175
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.693 BRYAN CAVE LEIGHTON PAISNER LLP                12/22/2022       $                  403.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 503089                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-3089
             City                 State       ZIP Code



             Country


      3.694 BRYAN CAVE LEIGHTON PAISNER LLP                12/22/2022       $                1,292.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 503089                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-3089
             City                 State       ZIP Code



             Country


      3.695 BRYAN CAVE LEIGHTON PAISNER LLP                1/19/2023        $                  242.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 503089                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-3089
             City                 State       ZIP Code



             Country


      3.696 BRYAN CAVE LEIGHTON PAISNER LLP                1/19/2023        $                1,776.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 503089                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63150-3089
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 176
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.697 BUTLER SNOW LLP                                12/22/2022       $               28,351.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1020 HIGHLAND COLONY PARKWAY                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1400                                                                                              Other

             RIDGELAND            MS          39157
             City                 State       ZIP Code



             Country


      3.698 BUTLER SNOW LLP                                1/6/2023         $                3,358.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1020 HIGHLAND COLONY PARKWAY                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1400                                                                                              Other

             RIDGELAND            MS          39157
             City                 State       ZIP Code



             Country


      3.699 BUTLER SNOW LLP                                1/31/2023        $                1,636.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1020 HIGHLAND COLONY PARKWAY                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1400                                                                                              Other

             RIDGELAND            MS          39157
             City                 State       ZIP Code



             Country


      3.700 BUTLER SNOW LLP                                2/8/2023         $                  348.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1020 HIGHLAND COLONY PARKWAY                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1400                                                                                              Other

             RIDGELAND            MS          39157
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 177
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.701 CA-MCO HCPCS                                   12/22/2022       $                (102.99)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.702 CA-MCO HCPCS                                   12/22/2022       $                   11.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.703 CA-MCO HCPCS                                   12/22/2022       $                  243.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.704 CA-MCO HCPCS                                   12/22/2022       $                1,106.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 178
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.705 CA-MCO HCPCS                                   12/22/2022       $                4,797.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.706 CA-MCO HCPCS                                   12/22/2022       $                6,178.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.707 CA-MEDI-CAL                                    12/22/2022       $                (156.07)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.708 CA-MEDI-CAL                                    12/22/2022       $                 (95.00)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 179
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.709 CA-MEDI-CAL                                    12/22/2022       $              526,774.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.710 CA-MEDI-CAL ACA                                12/22/2022       $                (318.29)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.711 CA-MEDI-CAL ACA                                12/22/2022       $                (106.83)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country


      3.712 CA-MEDI-CAL ACA                                12/22/2022       $              211,756.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHCS ACCT SECT CASH RECEIPTS UNIT                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 997415 MS 1101                                                                                   Other

             SACRAMENTO           CA          95899-7415
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 180
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.713 CAMFIL - DP FILTERS -REMIT                     11/29/2022       $               18,721.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3302 SOLUTIONS CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3003
             City                 State       ZIP Code



             Country


      3.714 CAMFIL - DP FILTERS -REMIT                     12/29/2022       $                  709.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3302 SOLUTIONS CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3003
             City                 State       ZIP Code



             Country


      3.715 CAMFIL - DP FILTERS -REMIT                     12/29/2022       $               14,315.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3302 SOLUTIONS CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-3003
             City                 State       ZIP Code



             Country


      3.716 CASTER DEPOT                                   12/8/2022        $                  502.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9014                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 181
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.717 CASTER DEPOT                                   12/8/2022        $                2,947.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9014                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country


      3.718 CASTER DEPOT                                   1/12/2023        $                2,947.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9014                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country


      3.719 CASTER DEPOT                                   1/12/2023        $                4,546.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9014                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country


      3.720 CATALENT MICRON TECH -REMIT                    1/12/2023        $                1,190.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25111 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 182
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.721 CATALENT MICRON TECH -REMIT                    1/12/2023        $                2,570.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25111 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.722 CATALENT MICRON TECH -REMIT                    1/12/2023        $                4,140.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25111 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.723 CATALENT MICRON TECH -REMIT                    1/12/2023        $                4,640.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25111 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.724 CATALENT MICRON TECH -REMIT                    2/13/2023        $                4,640.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25111 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 183
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.725 CATALENT RTP -REMIT                            11/29/2022       $                  200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25109 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.726 CATALENT RTP -REMIT                            11/29/2022       $               21,396.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25109 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.727 CATALENT RTP -REMIT                            11/29/2022       $               27,253.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25109 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.728 CATALENT RTP -REMIT                            1/26/2023        $               10,478.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25109 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 184
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.729 CATALENT RTP -REMIT                            2/13/2023        $               37,415.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25109 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.730 CATALENT RTP -REMIT                            2/13/2023        $               48,059.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25109 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1251
             City                 State       ZIP Code



             Country


      3.731 CEDAR BROOK 5 CORPORATE CENTER LP              12/6/2022        $              101,299.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4A CEDAR BROOK DRIVE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


      3.732 CEDAR BROOK 5 CORPORATE CENTER LP              1/6/2023         $              102,331.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4A CEDAR BROOK DRIVE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 185
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.733 CEDAR BROOK 5 CORPORATE CENTER LP              2/13/2023        $                (119.10)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4A CEDAR BROOK DRIVE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


      3.734 CEDAR BROOK 5 CORPORATE CENTER LP              2/13/2023        $              102,331.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4A CEDAR BROOK DRIVE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


      3.735 CENTERPOINT VENTURE II LLC                     12/6/2022        $              130,326.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1808 SWIFT DRIVE SUITE A                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OAK BROOK            IL          60523-1501
             City                 State       ZIP Code



             Country


      3.736 CENTERPOINT VENTURE II LLC                     1/6/2023         $              136,766.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1808 SWIFT DRIVE SUITE A                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OAK BROOK            IL          60523-1501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 186
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.737 CENTERPOINT VENTURE II LLC                     2/8/2023         $              136,766.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1808 SWIFT DRIVE SUITE A                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OAK BROOK            IL          60523-1501
             City                 State       ZIP Code



             Country


      3.738 CENTRAL ILLINOIS SCALE COMPANY                 11/29/2022       $                  302.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.739 CENTRAL ILLINOIS SCALE COMPANY                 11/29/2022       $                2,375.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.740 CENTRAL ILLINOIS SCALE COMPANY                 12/8/2022        $               23,432.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 187
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.741 CENTRAL ILLINOIS SCALE COMPANY                 1/6/2023         $                  652.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.742 CENTRAL ILLINOIS SCALE COMPANY                 1/6/2023         $                1,034.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.743 CENTRAL ILLINOIS SCALE COMPANY                 1/6/2023         $                1,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.744 CENTRAL ILLINOIS SCALE COMPANY                 1/6/2023         $                3,280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 188
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.745 CENTRAL ILLINOIS SCALE COMPANY                 1/6/2023         $                7,234.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.746 CENTRAL ILLINOIS SCALE COMPANY                 1/26/2023        $                  275.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.747 CENTRAL ILLINOIS SCALE COMPANY                 1/26/2023        $                  678.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


      3.748 CENTRAL ILLINOIS SCALE COMPANY                 1/31/2023        $                6,959.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3158                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 189
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.749 CHARLES RIVER LABS -REMIT                      11/29/2022       $                   69.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.750 CHARLES RIVER LABS -REMIT                      11/29/2022       $                   69.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.751 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  128.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.752 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  128.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 190
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.753 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  128.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.754 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  198.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.755 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  198.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.756 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  198.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 191
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.757 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  209.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.758 CHARLES RIVER LABS -REMIT                      11/29/2022       $                  585.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.759 CHARLES RIVER LABS -REMIT                      12/8/2022        $                   69.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.760 CHARLES RIVER LABS -REMIT                      12/8/2022        $                  139.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 192
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.761 CHARLES RIVER LABS -REMIT                      12/8/2022        $                  139.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.762 CHARLES RIVER LABS -REMIT                      12/8/2022        $                  139.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.763 CHARLES RIVER LABS -REMIT                      12/8/2022        $                  139.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.764 CHARLES RIVER LABS -REMIT                      12/8/2022        $                  515.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 193
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.765 CHARLES RIVER LABS -REMIT                      1/12/2023        $                   69.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.766 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  121.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.767 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  128.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.768 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  139.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 194
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.769 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  158.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.770 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  198.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.771 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  268.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.772 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  386.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 195
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.773 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  386.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.774 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  455.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.775 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  483.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.776 CHARLES RIVER LABS -REMIT                      1/12/2023        $                  515.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 196
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.777 CHARLES RIVER LABS -REMIT                      1/31/2023        $                  128.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.778 CHARLES RIVER LABS -REMIT                      1/31/2023        $                  268.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.779 CHARLES RIVER LABS -REMIT                      1/31/2023        $                  386.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.780 CHARLES RIVER LABS -REMIT                      1/31/2023        $                  982.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 197
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.781 CHARLES RIVER LABS -REMIT                      2/13/2023        $                   69.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.782 CHARLES RIVER LABS -REMIT                      2/13/2023        $                  209.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             GPO BOX 27812                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7812
             City                 State       ZIP Code



             Country


      3.783 CHEM-AQUA INC                                  11/29/2022       $                  764.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23261 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1232
             City                 State       ZIP Code



             Country


      3.784 CHEM-AQUA INC                                  12/8/2022        $                  720.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23261 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1232
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 198
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.785 CHEM-AQUA INC                                  1/6/2023         $                1,073.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23261 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1232
             City                 State       ZIP Code



             Country


      3.786 CHEM-AQUA INC                                  1/6/2023         $                8,491.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23261 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1232
             City                 State       ZIP Code



             Country


      3.787 CHEM-AQUA INC                                  1/6/2023         $                8,491.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23261 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1232
             City                 State       ZIP Code



             Country


      3.788 CHEM-AQUA INC                                  1/31/2023        $                  764.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23261 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1232
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 199
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.789 CHEM-AQUA INC                                  1/31/2023        $                8,491.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23261 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1232
             City                 State       ZIP Code



             Country


      3.790 CHEMO IBERICA SA                               2/14/2023        $               76,050.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MANUEL POMBO ANGULA 28 - 3RD FLOOR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MADRID                           28050
             City                 State       ZIP Code

             SPAIN
             Country


      3.791 CHEMPOINT.COM                                  2/13/2023        $               36,815.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13727 COLLECTION CENTER DR                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.792 LP                                             12/6/2022        $                1,407.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 200
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.793 LP                                             12/6/2022        $                3,536.33
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.794 LP                                             12/6/2022        $                4,441.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.795 LP                                             12/6/2022        $               23,683.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.796 LP                                             1/6/2023         $                1,407.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 201
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.797 LP                                             1/6/2023         $                3,536.33
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.798 LP                                             1/6/2023         $                4,441.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.799 LP                                             1/6/2023         $               23,683.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.800 LP                                             2/8/2023         $                1,433.25
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 202
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.801 LP                                             2/8/2023         $                3,601.08
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.802 LP                                             2/8/2023         $                4,528.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


            CHICAGO INFILL INDUSTRIAL PROPERTIES                                                                     Secured debt
      3.803 LP                                             2/8/2023         $               24,147.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74008508                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-8508
             City                 State       ZIP Code



             Country


      3.804 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $               (8,749.20)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 203
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.805 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $               (2,572.69)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.806 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                (142.16)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.807 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                (121.16)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.808 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                (117.87)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 204
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.809 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                 (86.86)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.810 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                 (65.53)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.811 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                 (61.97)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.812 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                 (41.23)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 205
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.813 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                   31.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.814 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                   41.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.815 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                   64.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.816 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  101.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 206
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.817 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  123.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.818 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  123.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.819 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  159.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.820 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  165.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 207
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.821 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  181.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.822 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  186.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.823 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  270.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.824 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  271.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 208
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.825 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  292.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.826 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  981.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.827 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  981.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.828 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  981.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 209
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.829 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                  981.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.830 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.831 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.832 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 210
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.833 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.834 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.835 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.836 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 211
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.837 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,773.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.838 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,773.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.839 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                1,773.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.840 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                2,697.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 212
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.841 CINTAS GARMENT/CL ROOM -REMIT                  11/29/2022       $                9,125.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.842 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.843 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.844 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 213
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.845 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.846 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.847 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.848 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 214
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.849 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.850 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.851 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.852 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 215
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.853 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.854 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                  981.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.855 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                2,320.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.856 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                3,840.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 216
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.857 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                4,312.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.858 CINTAS GARMENT/CL ROOM -REMIT                  12/8/2022        $                4,363.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.859 CINTAS GARMENT/CL ROOM -REMIT                  12/15/2022       $                  981.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.860 CINTAS GARMENT/CL ROOM -REMIT                  12/15/2022       $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 217
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.861 CINTAS GARMENT/CL ROOM -REMIT                  12/15/2022       $                1,773.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.862 CINTAS GARMENT/CL ROOM -REMIT                  12/22/2022       $                   64.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.863 CINTAS GARMENT/CL ROOM -REMIT                  1/6/2023         $                  981.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.864 CINTAS GARMENT/CL ROOM -REMIT                  1/6/2023         $                1,030.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 218
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.865 CINTAS GARMENT/CL ROOM -REMIT                  1/6/2023         $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.866 CINTAS GARMENT/CL ROOM -REMIT                  1/6/2023         $                1,773.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.867 CINTAS GARMENT/CL ROOM -REMIT                  1/6/2023         $                1,935.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.868 CINTAS GARMENT/CL ROOM -REMIT                  1/6/2023         $                2,320.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 219
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.869 CINTAS GARMENT/CL ROOM -REMIT                  1/6/2023         $                3,925.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.870 CINTAS GARMENT/CL ROOM -REMIT                  1/12/2023        $                1,030.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.871 CINTAS GARMENT/CL ROOM -REMIT                  1/12/2023        $                1,935.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.872 CINTAS GARMENT/CL ROOM -REMIT                  1/12/2023        $                3,836.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 220
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.873 CINTAS GARMENT/CL ROOM -REMIT                  1/12/2023        $                3,840.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.874 CINTAS GARMENT/CL ROOM -REMIT                  1/19/2023        $                1,030.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.875 CINTAS GARMENT/CL ROOM -REMIT                  1/19/2023        $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.876 CINTAS GARMENT/CL ROOM -REMIT                  1/19/2023        $                1,935.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 221
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.877 CINTAS GARMENT/CL ROOM -REMIT                  1/31/2023        $                1,030.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.878 CINTAS GARMENT/CL ROOM -REMIT                  1/31/2023        $                1,558.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.879 CINTAS GARMENT/CL ROOM -REMIT                  1/31/2023        $                1,657.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.880 CINTAS GARMENT/CL ROOM -REMIT                  1/31/2023        $                1,935.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 222
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.881 CINTAS GARMENT/CL ROOM -REMIT                  1/31/2023        $                2,593.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.882 CINTAS GARMENT/CL ROOM -REMIT                  1/31/2023        $                3,835.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.883 CINTAS GARMENT/CL ROOM -REMIT                  1/31/2023        $                3,836.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.884 CINTAS GARMENT/CL ROOM -REMIT                  2/13/2023        $                1,657.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 223
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.885 CINTAS GARMENT/CL ROOM -REMIT                  2/13/2023        $                1,935.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.886 CINTAS GARMENT/CL ROOM -REMIT                  2/13/2023        $                4,047.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.887 CINTAS GARMENT/CL ROOM -REMIT                  2/13/2023        $                4,073.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 630803                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-6525
             City                 State       ZIP Code



             Country


      3.888 CIRCULAR EDGE LLC                              11/29/2022       $                  735.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 224
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.889 CIRCULAR EDGE LLC                              11/29/2022       $                4,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.890 CIRCULAR EDGE LLC                              11/29/2022       $                6,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.891 CIRCULAR EDGE LLC                              11/29/2022       $               11,100.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.892 CIRCULAR EDGE LLC                              11/29/2022       $               11,325.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 225
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.893 CIRCULAR EDGE LLC                              11/29/2022       $               12,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.894 CIRCULAR EDGE LLC                              11/29/2022       $               12,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.895 CIRCULAR EDGE LLC                              11/29/2022       $               12,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.896 CIRCULAR EDGE LLC                              1/12/2023        $                7,040.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 226
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.897 CIRCULAR EDGE LLC                              1/12/2023        $                9,520.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.898 CIRCULAR EDGE LLC                              1/12/2023        $                9,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.899 CIRCULAR EDGE LLC                              1/12/2023        $               11,120.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.900 CIRCULAR EDGE LLC                              1/12/2023        $               12,080.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 227
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.901 CIRCULAR EDGE LLC                              1/12/2023        $               12,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             399 CAMPUS DRIVE SUITE 102                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


      3.902 CITY OF DECATUR - UTILITIES BILL               11/29/2022       $                   22.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.903 CITY OF DECATUR - UTILITIES BILL               11/29/2022       $                  740.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.904 CITY OF DECATUR - UTILITIES BILL               12/22/2022       $                   21.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 228
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.905 CITY OF DECATUR - UTILITIES BILL               12/22/2022       $                  154.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.906 CITY OF DECATUR - UTILITIES BILL               12/22/2022       $                  597.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.907 CITY OF DECATUR - UTILITIES BILL               12/22/2022       $                  820.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.908 CITY OF DECATUR - UTILITIES BILL               12/22/2022       $               25,036.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 229
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.909 CITY OF DECATUR - UTILITIES BILL               1/19/2023        $                   21.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.910 CITY OF DECATUR - UTILITIES BILL               1/19/2023        $                  162.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.911 CITY OF DECATUR - UTILITIES BILL               1/19/2023        $                  808.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.912 CITY OF DECATUR - UTILITIES BILL               1/19/2023        $               24,468.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 230
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.913 CITY OF DECATUR - UTILITIES BILL               1/26/2023        $                  698.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.914 CITY OF DECATUR - UTILITIES BILL               2/13/2023        $                  154.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.915 CITY OF DECATUR - UTILITIES BILL               2/13/2023        $                  843.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country


      3.916 CITY OF DECATUR - UTILITIES BILL               2/13/2023        $               19,377.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE DEPARTMENT                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2578                                                                                             Other

             DECATUR              IL          62525-2578
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 231
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.917 CLARUSONE SOURCING SERVICES LLP                  11/29/2022     $               24,791.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Hanna Watson                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             TMF Group. 8th Floor, 20 Farringdon Street                                                              Other

             Kondon                             EC4A 4AB
             City                  State        ZIP Code

             United Kingdom
             Country


      3.918 CLARUSONE SOURCING SERVICES LLP                  11/29/2022     $              369,147.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Hanna Watson                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             TMF Group. 8th Floor, 20 Farringdon Street                                                              Other

             Kondon                             EC4A 4AB
             City                  State        ZIP Code

             United Kingdom
             Country


      3.919 COLBERT -REMIT                                   11/29/2022     $                1,056.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM          IL           60197-7846
             City                  State        ZIP Code



             Country


      3.920 COLBERT -REMIT                                   11/29/2022     $                1,138.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM          IL           60197-7846
             City                  State        ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 232
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.921 COLBERT -REMIT                                 11/29/2022       $                1,144.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.922 COLBERT -REMIT                                 11/29/2022       $                1,152.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.923 COLBERT -REMIT                                 11/29/2022       $                1,173.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.924 COLBERT -REMIT                                 11/29/2022       $                1,218.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 233
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.925 COLBERT -REMIT                                 11/29/2022       $                1,278.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.926 COLBERT -REMIT                                 11/29/2022       $                1,287.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.927 COLBERT -REMIT                                 11/29/2022       $                1,397.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.928 COLBERT -REMIT                                 11/29/2022       $                1,495.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 234
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.929 COLBERT -REMIT                                 11/29/2022       $                1,798.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.930 COLBERT -REMIT                                 11/29/2022       $                1,927.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.931 COLBERT -REMIT                                 11/29/2022       $                2,235.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.932 COLBERT -REMIT                                 11/29/2022       $                2,322.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 235
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.933 COLBERT -REMIT                                 11/29/2022       $                2,815.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.934 COLBERT -REMIT                                 11/29/2022       $                2,984.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.935 COLBERT -REMIT                                 11/29/2022       $                3,234.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.936 COLBERT -REMIT                                 11/29/2022       $                3,256.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 236
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.937 COLBERT -REMIT                                 11/29/2022       $                3,359.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.938 COLBERT -REMIT                                 11/29/2022       $                3,424.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.939 COLBERT -REMIT                                 11/29/2022       $                3,435.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.940 COLBERT -REMIT                                 11/29/2022       $                3,465.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 237
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.941 COLBERT -REMIT                                 11/29/2022       $                3,537.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.942 COLBERT -REMIT                                 11/29/2022       $                3,749.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.943 COLBERT -REMIT                                 11/29/2022       $                3,855.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.944 COLBERT -REMIT                                 11/29/2022       $                3,861.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 238
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.945 COLBERT -REMIT                                 11/29/2022       $                4,051.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.946 COLBERT -REMIT                                 11/29/2022       $                4,355.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.947 COLBERT -REMIT                                 11/29/2022       $                4,459.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.948 COLBERT -REMIT                                 11/29/2022       $                4,971.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 239
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.949 COLBERT -REMIT                                 11/29/2022       $                5,331.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.950 COLBERT -REMIT                                 11/29/2022       $                5,952.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.951 COLBERT -REMIT                                 11/29/2022       $                6,034.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.952 COLBERT -REMIT                                 11/29/2022       $                6,090.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 240
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.953 COLBERT -REMIT                                 11/29/2022       $                6,703.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.954 COLBERT -REMIT                                 11/29/2022       $                8,261.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.955 COLBERT -REMIT                                 11/29/2022       $               10,267.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.956 COLBERT -REMIT                                 12/8/2022        $               (1,798.52)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 241
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.957 COLBERT -REMIT                                 12/8/2022        $                1,050.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.958 COLBERT -REMIT                                 12/8/2022        $                2,842.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.959 COLBERT -REMIT                                 12/8/2022        $                2,972.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.960 COLBERT -REMIT                                 12/8/2022        $                4,882.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 242
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.961 COLBERT -REMIT                                 12/8/2022        $                8,137.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.962 COLBERT -REMIT                                 12/8/2022        $                9,630.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.963 COLBERT -REMIT                                 12/8/2022        $               20,368.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.964 COLBERT -REMIT                                 1/6/2023         $                3,918.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 243
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.965 COLBERT -REMIT                                 1/6/2023         $                4,293.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.966 COLBERT -REMIT                                 1/6/2023         $                4,733.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.967 COLBERT -REMIT                                 1/6/2023         $                6,468.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.968 COLBERT -REMIT                                 1/6/2023         $                6,476.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 244
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.969 COLBERT -REMIT                                 1/6/2023         $               11,762.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.970 COLBERT -REMIT                                 1/6/2023         $               35,383.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.971 COLBERT -REMIT                                 1/6/2023         $               38,188.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.972 COLBERT -REMIT                                 1/12/2023        $                  980.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 245
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.973 COLBERT -REMIT                                 1/12/2023        $                1,313.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.974 COLBERT -REMIT                                 1/12/2023        $                1,346.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.975 COLBERT -REMIT                                 1/12/2023        $                1,956.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.976 COLBERT -REMIT                                 1/12/2023        $                1,989.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 246
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.977 COLBERT -REMIT                                 1/12/2023        $                2,302.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.978 COLBERT -REMIT                                 1/12/2023        $                2,625.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.979 COLBERT -REMIT                                 1/12/2023        $                2,719.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.980 COLBERT -REMIT                                 1/12/2023        $                2,900.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 247
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.981 COLBERT -REMIT                                 1/12/2023        $                3,867.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.982 COLBERT -REMIT                                 1/12/2023        $                4,054.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.983 COLBERT -REMIT                                 1/12/2023        $                4,951.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.984 COLBERT -REMIT                                 1/12/2023        $                5,537.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 248
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.985 COLBERT -REMIT                                 1/12/2023        $                5,928.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.986 COLBERT -REMIT                                 1/12/2023        $                9,886.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.987 COLBERT -REMIT                                 1/12/2023        $               13,877.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.988 COLBERT -REMIT                                 1/12/2023        $               15,192.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 249
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.989 COLBERT -REMIT                                 1/31/2023        $                  498.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.990 COLBERT -REMIT                                 1/31/2023        $                  867.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.991 COLBERT -REMIT                                 1/31/2023        $                  921.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.992 COLBERT -REMIT                                 1/31/2023        $                1,313.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 250
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.993 COLBERT -REMIT                                 1/31/2023        $                1,317.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.994 COLBERT -REMIT                                 1/31/2023        $                1,356.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.995 COLBERT -REMIT                                 1/31/2023        $                1,475.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.996 COLBERT -REMIT                                 1/31/2023        $                2,362.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 251
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

      3.997 COLBERT -REMIT                                 1/31/2023        $                2,363.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.998 COLBERT -REMIT                                 1/31/2023        $                2,387.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


      3.999 COLBERT -REMIT                                 1/31/2023        $                2,511.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1000 COLBERT -REMIT                                 1/31/2023        $                3,156.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 252
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1001 COLBERT -REMIT                                 1/31/2023        $                3,524.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1002 COLBERT -REMIT                                 1/31/2023        $                4,278.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1003 COLBERT -REMIT                                 1/31/2023        $                4,407.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1004 COLBERT -REMIT                                 1/31/2023        $                4,656.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 253
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1005 COLBERT -REMIT                                 1/31/2023        $                4,805.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1006 COLBERT -REMIT                                 1/31/2023        $                5,318.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1007 COLBERT -REMIT                                 1/31/2023        $                5,479.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1008 COLBERT -REMIT                                 1/31/2023        $                5,550.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 254
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1009 COLBERT -REMIT                                 1/31/2023        $                5,739.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1010 COLBERT -REMIT                                 1/31/2023        $                6,125.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1011 COLBERT -REMIT                                 1/31/2023        $               10,170.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1012 COLBERT -REMIT                                 1/31/2023        $               15,147.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 255
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1013 COLBERT -REMIT                                 1/31/2023        $               16,734.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1014 COLBERT -REMIT                                 2/8/2023         $               17,625.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1015 COLBERT -REMIT                                 2/13/2023        $               (2,089.91)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1016 COLBERT -REMIT                                 2/13/2023        $                2,078.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 256
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1017 COLBERT -REMIT                                 2/13/2023        $                2,739.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1018 COLBERT -REMIT                                 2/13/2023        $                3,428.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1019 COLBERT -REMIT                                 2/13/2023        $                4,047.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1020 COLBERT -REMIT                                 2/13/2023        $                4,283.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 257
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1021 COLBERT -REMIT                                 2/13/2023        $                4,528.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1022 COLBERT -REMIT                                 2/13/2023        $                5,635.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7846                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7846
             City                 State       ZIP Code



             Country


     3.1023 COLD CHAIN TECH -REMIT                         1/12/2023        $               23,110.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 735875                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75373-5875
             City                 State       ZIP Code



             Country


     3.1024 COLORCON -REMIT                                2/8/2023         $               31,640.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 782685                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19178-2685
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 258
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1025 COMAR LLC                                      11/29/2022       $               (5,968.86)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1026 COMAR LLC                                      11/29/2022       $                (172.48)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1027 COMAR LLC                                      11/29/2022       $               48,947.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1028 COMAR LLC                                      1/6/2023         $                  172.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 259
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1029 COMAR LLC                                      1/6/2023         $                1,724.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1030 COMAR LLC                                      1/6/2023         $               25,145.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1031 COMAR LLC                                      1/12/2023        $               23,153.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1032 COMAR LLC                                      2/8/2023         $               32,482.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 260
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1033 COMAR LLC                                      2/8/2023         $               40,969.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1034 COMAR LLC                                      2/13/2023        $               30,775.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 12486                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-3586
             City                 State       ZIP Code



             Country


     3.1035 COMCAST                                        12/29/2022       $               24,589.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 37601                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19101-0601
             City                 State       ZIP Code



             Country


     3.1036 COMCAST                                        1/12/2023        $               26,950.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 37601                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19101-0601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 261
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1037 COMED                                          12/29/2022       $                   23.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1038 COMED                                          12/29/2022       $                   47.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1039 COMED                                          12/29/2022       $                   59.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1040 COMED                                          12/29/2022       $                   75.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 262
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1041 COMED                                          12/29/2022       $                   81.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1042 COMED                                          12/29/2022       $                  135.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1043 COMED                                          12/29/2022       $                  156.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1044 COMED                                          12/29/2022       $                  255.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 263
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1045 COMED                                          12/29/2022       $                  314.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1046 COMED                                          12/29/2022       $                  357.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1047 COMED                                          12/29/2022       $                  427.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1048 COMED                                          12/29/2022       $                  607.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 264
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1049 COMED                                          12/29/2022       $                1,770.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1050 COMED                                          12/29/2022       $                2,260.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1051 COMED                                          12/29/2022       $                6,674.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1052 COMED                                          1/12/2023        $                  230.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 265
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1053 COMED                                          1/12/2023        $                  347.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1054 COMED                                          1/12/2023        $                  483.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1055 COMED                                          1/12/2023        $                  522.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1056 COMED                                          1/12/2023        $                1,422.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 266
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1057 COMED                                          1/12/2023        $                1,882.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1058 COMED                                          1/19/2023        $                   23.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1059 COMED                                          1/19/2023        $                   27.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1060 COMED                                          1/19/2023        $                  545.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 267
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1061 COMED                                          1/19/2023        $                3,272.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1062 COMED                                          1/19/2023        $                7,120.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1063 COMED                                          1/31/2023        $                   68.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1064 COMED                                          2/13/2023        $                   25.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 268
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1065 COMED                                          2/13/2023        $                   87.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1066 COMED                                          2/13/2023        $                  349.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1067 COMED                                          2/13/2023        $                  469.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country


     3.1068 COMED                                          2/13/2023        $                1,667.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6111                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-6111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 269
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1069 CO-MEDICAID                                    12/22/2022       $               (3,722.15)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, 1570 GRANT STREET FOURTH
             FLOOR, ATTN MEDICAID DRUG REBATE                                                                        Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1070 CO-MEDICAID                                    12/22/2022       $                   (1.43)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, 1570 GRANT STREET FOURTH
             FLOOR, ATTN MEDICAID DRUG REBATE                                                                        Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1071 CO-MEDICAID                                    12/22/2022       $                   (1.25)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, 1570 GRANT STREET FOURTH
             FLOOR, ATTN MEDICAID DRUG REBATE                                                                        Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1072 CO-MEDICAID                                    12/22/2022       $               58,712.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, 1570 GRANT STREET FOURTH
             FLOOR, ATTN MEDICAID DRUG REBATE                                                                        Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 270
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1073 CO-MEDICAID CHIP                               12/22/2022       $                   (0.11)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, ATTN MEDI CHIP DRUG
             REBATE                                                                                                  Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1074 CO-MEDICAID CHIP                               12/22/2022       $                  275.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, ATTN MEDI CHIP DRUG
             REBATE                                                                                                  Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1075 CO-MEDICAID CHIP                               12/22/2022       $                7,594.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, ATTN MEDI CHIP DRUG
             REBATE                                                                                                  Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1076 CO-MEDICAID EXPANSION                          12/22/2022       $                   (4.04)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, ATTN MEDICAID EXP DRUG
             REBATE                                                                                                  Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 271
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1077 CO-MEDICAID EXPANSION                          12/22/2022       $                   (2.02)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, ATTN MEDICAID EXP DRUG
             REBATE                                                                                                  Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1078 CO-MEDICAID EXPANSION                          12/22/2022       $                1,099.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, ATTN MEDICAID EXP DRUG
             REBATE                                                                                                  Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1079 CO-MEDICAID EXPANSION                          12/22/2022       $               17,276.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CO DOHC POLICY AND FINANCING                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 5897, ATTN MEDICAID EXP DRUG
             REBATE                                                                                                  Other

             DENVER               CO          80217-5897
             City                 State       ZIP Code



             Country


     3.1080 COMPLETE CLEANING COMPANY INC                  11/29/2022       $                  280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 272
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1081 COMPLETE CLEANING COMPANY INC                  11/29/2022       $                  280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1082 COMPLETE CLEANING COMPANY INC                  11/29/2022       $                2,930.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1083 COMPLETE CLEANING COMPANY INC                  12/8/2022        $                2,930.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1084 COMPLETE CLEANING COMPANY INC                  12/8/2022        $                7,079.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 273
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1085 COMPLETE CLEANING COMPANY INC                  1/12/2023        $                  280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1086 COMPLETE CLEANING COMPANY INC                  1/12/2023        $                2,930.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1087 COMPLETE CLEANING COMPANY INC                  1/12/2023        $                7,079.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1088 COMPLETE CLEANING COMPANY INC                  2/13/2023        $                  280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 274
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1089 COMPLETE CLEANING COMPANY INC                  2/13/2023        $                2,930.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1090 COMPLETE CLEANING COMPANY INC                  2/13/2023        $                7,079.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             615 WHEAT LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOOD DALE            IL          60191-6599
             City                 State       ZIP Code



             Country


     3.1091 COMPLETE HEALTH MCO                            11/29/2022       $                 (15.33)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC COMPLETE HEALTH MCO                                                                             Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.1092 COMPLETE HEALTH MCO                            11/29/2022       $                    7.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC COMPLETE HEALTH MCO                                                                             Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 275
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1093 COMPLETE HEALTH MCO                            11/29/2022       $                   32.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC COMPLETE HEALTH MCO                                                                             Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.1094 COMPLETE HEALTH MCO                            11/29/2022       $                3,165.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC COMPLETE HEALTH MCO                                                                             Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.1095 COMPLETE HEALTH MCO                            11/29/2022       $               16,280.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC COMPLETE HEALTH MCO                                                                             Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.1096 COMRESOURCE INC                                2/13/2023        $                3,900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1159 DUBLIN RD SUITE 200                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             JEAN DENNEY                                                                                             Other

             COLUMBUS             OH          43215
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 276
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1097 COMRESOURCE INC                                2/13/2023        $                3,900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1159 DUBLIN RD SUITE 200                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             JEAN DENNEY                                                                                             Other

             COLUMBUS             OH          43215
             City                 State       ZIP Code



             Country


     3.1098 COMRESOURCE INC                                2/13/2023        $                3,900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1159 DUBLIN RD SUITE 200                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             JEAN DENNEY                                                                                             Other

             COLUMBUS             OH          43215
             City                 State       ZIP Code



             Country


     3.1099 COMRESOURCE INC                                2/13/2023        $               23,028.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1159 DUBLIN RD SUITE 200                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             JEAN DENNEY                                                                                             Other

             COLUMBUS             OH          43215
             City                 State       ZIP Code



             Country


     3.1100 CORDEN PHARMA SPA                              1/25/2023        $                  197.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 277
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1101 CORDEN PHARMA SPA                              1/25/2023        $                  350.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1102 CORDEN PHARMA SPA                              1/25/2023        $                1,332.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1103 CORDEN PHARMA SPA                              1/25/2023        $                1,596.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1104 CORDEN PHARMA SPA                              1/25/2023        $                1,874.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 278
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1105 CORDEN PHARMA SPA                              1/25/2023        $                2,096.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1106 CORDEN PHARMA SPA                              1/25/2023        $                2,424.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1107 CORDEN PHARMA SPA                              1/25/2023        $                3,003.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1108 CORDEN PHARMA SPA                              1/25/2023        $                5,342.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 279
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1109 CORDEN PHARMA SPA                              1/25/2023        $               15,283.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1110 CORDEN PHARMA SPA                              1/25/2023        $               17,940.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1111 CORDEN PHARMA SPA                              1/25/2023        $               20,071.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1112 CORDEN PHARMA SPA                              1/25/2023        $               20,310.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 280
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1113 CORDEN PHARMA SPA                              1/25/2023        $               36,963.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VIALE DELL INDUSTRIA, 3                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAPONAGO             MB          20867
             City                 State       ZIP Code

             ITALY
             Country


     3.1114 COZZOLI MACHINE COMPANY                        11/29/2022       $                3,841.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 SCHOOLHOUSE                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.1115 COZZOLI MACHINE COMPANY                        11/29/2022       $               10,820.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 SCHOOLHOUSE                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.1116 CROWN EQUIPMENT -REMIT                         11/29/2022       $                  491.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 281
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1117 CROWN EQUIPMENT -REMIT                         11/29/2022       $                  586.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1118 CROWN EQUIPMENT -REMIT                         12/8/2022        $                1,335.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1119 CROWN EQUIPMENT -REMIT                         1/31/2023        $               (3,223.29)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1120 CROWN EQUIPMENT -REMIT                         1/31/2023        $                (934.91)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 282
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1121 CROWN EQUIPMENT -REMIT                         1/31/2023        $                   97.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1122 CROWN EQUIPMENT -REMIT                         1/31/2023        $                   97.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1123 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  195.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1124 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  215.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 283
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1125 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  272.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1126 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  336.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1127 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  372.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1128 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  391.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 284
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1129 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  443.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1130 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  453.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1131 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  561.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1132 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  578.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 285
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1133 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  609.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1134 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  617.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1135 CROWN EQUIPMENT -REMIT                         1/31/2023        $                  934.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country


     3.1136 CROWN EQUIPMENT -REMIT                         1/31/2023        $                1,938.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45264-1173
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 286
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1137 CROWN EQUIPMENT -REMIT                          1/31/2023       $                3,053.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH           45264-1173
             City                 State        ZIP Code



             Country


     3.1138 CROWN EQUIPMENT -REMIT                          1/31/2023       $                3,223.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH           45264-1173
             City                 State        ZIP Code



             Country


     3.1139 CROWN EQUIPMENT -REMIT                          2/8/2023        $                  430.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 641173                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH           45264-1173
             City                 State        ZIP Code



             Country


     3.1140 C-SQUARED PHARMA LIMITED                        2/14/2023       $              440,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Andrew Badrot                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             Regus, Building 1000, City Gate, Mahon                                                                  Other

             Cork                              T12 W7CV
             City                 State        ZIP Code

             Ireland
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 287
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1141 CT LOGISTICS                                   1/6/2023         $                8,558.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12487 PLAZA DRIVE                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CLEVELAND            OH          44130
             City                 State       ZIP Code



             Country


     3.1142 CT LOGISTICS                                   1/6/2023         $                8,558.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12487 PLAZA DRIVE                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CLEVELAND            OH          44130
             City                 State       ZIP Code



             Country


     3.1143 CT-LIA                                         11/29/2022       $                (161.64)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1144 CT-LIA                                         11/29/2022       $                   (1.31)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 288
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1145 CT-LIA                                         11/29/2022       $                   (0.43)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1146 CT-LIA                                         11/29/2022       $                    0.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1147 CT-LIA                                         11/29/2022       $                    1.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1148 CT-LIA                                         11/29/2022       $               19,627.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 289
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1149 CT-MEDICAID                                    11/29/2022       $               (5,248.04)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1150 CT-MEDICAID                                    11/29/2022       $                   (1.23)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1151 CT-MEDICAID                                    11/29/2022       $                   (0.52)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1152 CT-MEDICAID                                    11/29/2022       $                    1.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 290
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1153 CT-MEDICAID                                    11/29/2022       $                    4.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1154 CT-MEDICAID                                    11/29/2022       $               49,623.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CT MEDICAL ASSISTANCE PROGRAM                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             DXC TECHNOLOGY, PO BOX 2951                                                                             Other

             HARTFORD             CT          06104
             City                 State       ZIP Code



             Country


     3.1155 CURIA GLOBAL INC -REMIT                        11/29/2022       $                1,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country


     3.1156 CURIA GLOBAL INC -REMIT                        11/29/2022       $                1,995.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 291
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1157 CURIA GLOBAL INC -REMIT                        11/29/2022       $                2,308.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country


     3.1158 CURIA GLOBAL INC -REMIT                        2/13/2023        $                  407.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country


     3.1159 CURIA GLOBAL INC -REMIT                        2/13/2023        $                2,671.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country


     3.1160 CURIA GLOBAL INC -REMIT                        2/13/2023        $                2,746.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 292
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1161 CURIA GLOBAL INC -REMIT                        2/13/2023        $                3,741.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country


     3.1162 CURIA GLOBAL INC -REMIT                        2/13/2023        $                3,770.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country


     3.1163 CURIA GLOBAL INC -REMIT                        2/13/2023        $                5,257.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country


     3.1164 CURIA GLOBAL INC -REMIT                        2/13/2023        $                5,827.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29224 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1292
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 293
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1165 DAHL COMPLIANCE CONSULTING LLC                 12/8/2022        $               19,687.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4809 W 148TH STREET                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEAWOOD              KS          66224
             City                 State       ZIP Code



             Country


     3.1166 DAHL COMPLIANCE CONSULTING LLC                 12/22/2022       $                6,093.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4809 W 148TH STREET                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEAWOOD              KS          66224
             City                 State       ZIP Code



             Country


     3.1167 DAHL COMPLIANCE CONSULTING LLC                 12/22/2022       $                9,375.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4809 W 148TH STREET                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEAWOOD              KS          66224
             City                 State       ZIP Code



             Country


     3.1168 DAHL COMPLIANCE CONSULTING LLC                 12/22/2022       $               16,362.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4809 W 148TH STREET                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEAWOOD              KS          66224
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 294
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1169 DAHL COMPLIANCE CONSULTING LLC                 1/26/2023        $               15,487.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4809 W 148TH STREET                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEAWOOD              KS          66224
             City                 State       ZIP Code



             Country


     3.1170 DELOITTE CONSULTING LLP                        11/29/2022       $               15,769.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 844717                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-4717
             City                 State       ZIP Code



             Country


     3.1171 DELOITTE CONSULTING LLP                        11/29/2022       $               15,769.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 844717                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-4717
             City                 State       ZIP Code



             Country


     3.1172 DELOITTE CONSULTING LLP                        1/12/2023        $               15,769.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 844717                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-4717
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 295
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.1173 Delta Dental                                    2/23/2023        $               70,000.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Bernard Glossy                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

             111 Shuman Blvd.,                                                                                        Other

             Naperville            IL          60563
             City                  State       ZIP Code



             Country


     3.1174 DELTA DENTAL OF ILLINOIS                        12/15/2022       $              102,768.77                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             PO BOX 803877                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             CHICAGO               IL          60680-3877
             City                  State       ZIP Code



             Country


     3.1175 DELTA DENTAL OF ILLINOIS                        1/12/2023        $               48,800.57                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             PO BOX 803877                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             CHICAGO               IL          60680-3877
             City                  State       ZIP Code



             Country


     3.1176 DELTA DENTAL OF ILLINOIS                        2/13/2023        $               51,338.21                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             PO BOX 803877                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             CHICAGO               IL          60680-3877
             City                  State       ZIP Code



             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 296
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1177 DELTA SYNTHETIC                                2/14/2023        $             (34,884.28)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Zeng Xiong & Jay Liu                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             15, Minsheng St., Tucheng Dist.                                                                         Other

             New Taipei City                   23679
             City                   State      ZIP Code

             Taiwan
             Country


     3.1178 DELTA SYNTHETIC                                2/14/2023        $                9,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Zeng Xiong & Jay Liu                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             15, Minsheng St., Tucheng Dist.                                                                         Other

             New Taipei City                   23679
             City                   State      ZIP Code

             Taiwan
             Country


     3.1179 DELTA SYNTHETIC                                2/14/2023        $               67,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Zeng Xiong & Jay Liu                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             15, Minsheng St., Tucheng Dist.                                                                         Other

             New Taipei City                   23679
             City                   State      ZIP Code

             Taiwan
             Country


     3.1180 DELTA SYNTHETIC                                2/14/2023        $              232,750.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Zeng Xiong & Jay Liu                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             15, Minsheng St., Tucheng Dist.                                                                         Other

             New Taipei City                   23679
             City                   State      ZIP Code

             Taiwan
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 297
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1181 DE-MCO                                         12/22/2022       $                 (34.31)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PROGRAM                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             645 PAPER MILL RD SUITE 1015                                                                            Other

             NEWARK               DE          19711
             City                 State       ZIP Code



             Country


     3.1182 DE-MCO                                         12/22/2022       $                   11.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PROGRAM                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             645 PAPER MILL RD SUITE 1015                                                                            Other

             NEWARK               DE          19711
             City                 State       ZIP Code



             Country


     3.1183 DE-MCO                                         12/22/2022       $                2,294.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PROGRAM                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             645 PAPER MILL RD SUITE 1015                                                                            Other

             NEWARK               DE          19711
             City                 State       ZIP Code



             Country


     3.1184 DE-MCO                                         12/22/2022       $               16,347.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PROGRAM                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             645 PAPER MILL RD SUITE 1015                                                                            Other

             NEWARK               DE          19711
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 298
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.1185 DENOVO (FORMERLY CD GROUP)                      12/8/2022        $               54,000.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             6400 LOOKOUT ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                      Services

             SUITE 101                                                                                                Other

             BOULDER               CO            80301
             City                  State         ZIP Code



             Country


     3.1186 DENOVO (FORMERLY CD GROUP)                      1/6/2023         $                  350.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             6400 LOOKOUT ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                      Services

             SUITE 101                                                                                                Other

             BOULDER               CO            80301
             City                  State         ZIP Code



             Country


     3.1187 DEPARTMENT OF VETERANS AFFAIRS                  11/29/2022       $               10,104.86                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Curtis M. Brinson                                                                                 5      Suppliers or vendors
             Street
                                                                                                                      Services
             National Acquisition Center, Federal Supply
             Schedule, P.O. Box 76, Bldg. 37                                                                          Other

             Hines                 IL            60141
             City                  State         ZIP Code



             Country


     3.1188 DEPT OF REVENUE KY                              12/15/2022       $                8,700.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             501 HIGH STREET                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             FRANKFORT             KY            40601
             City                  State         ZIP Code



             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 299
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1189 DEPT OF REVENUE MS                             12/15/2022       $              154,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 23075                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             JACKSON              MS          39225-3075
             City                 State       ZIP Code



             Country


     3.1190 DIAGRAPH MARKING AND CODING GROUP              1/26/2023        $                9,068.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DR STE 1234                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-1234
             City                 State       ZIP Code



             Country


     3.1191 DILIGENT CORPORATION                           1/19/2023        $               25,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419829                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9874
             City                 State       ZIP Code



             Country


     3.1192 DIRECT ENERGY BUSINESS MARKETING LLC 11/29/2022                 $               22,339.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIRECT ENERGY BUSINESS                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 32179                                                                                            Other

             NEW YORK             NY          10087-2179
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 300
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1193 DIRECT ENERGY BUSINESS MARKETING LLC 1/12/2023                  $               22,873.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIRECT ENERGY BUSINESS                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 32179                                                                                            Other

             NEW YORK             NY          10087-2179
             City                 State       ZIP Code



             Country


     3.1194 DIRECT ENERGY BUSINESS MARKETING LLC 1/26/2023                  $               25,915.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIRECT ENERGY BUSINESS                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 32179                                                                                            Other

             NEW YORK             NY          10087-2179
             City                 State       ZIP Code



             Country


     3.1195 DISC GRAPHICS INC DBA OLIVER INC               11/29/2022       $                5,876.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.1196 DISC GRAPHICS INC DBA OLIVER INC               11/29/2022       $                7,725.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 301
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1197 DISC GRAPHICS INC DBA OLIVER INC               11/29/2022       $                8,880.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.1198 DISC GRAPHICS INC DBA OLIVER INC               11/29/2022       $               13,793.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.1199 DISC GRAPHICS INC DBA OLIVER INC               11/29/2022       $               14,204.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.1200 DISC GRAPHICS INC DBA OLIVER INC               11/29/2022       $               14,204.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 302
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1201 DISC GRAPHICS INC DBA OLIVER INC               12/8/2022        $               12,529.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.1202 DISC GRAPHICS INC DBA OLIVER INC               1/23/2023        $                9,044.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.1203 DISC GRAPHICS INC DBA OLIVER INC               1/23/2023        $               13,024.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.1204 DISC GRAPHICS INC DBA OLIVER INC               1/23/2023        $               14,204.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             10 GILPIN AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 303
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.1205 DOMINO AMJET -REMIT                             12/8/2022        $                1,887.91                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             3809 COLLECTION CENTER DRIVE                                                                      5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             CHICAGO                IL         60693
             City                   State      ZIP Code



             Country


     3.1206 DOMINO AMJET -REMIT                             1/12/2023        $                5,145.29                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             3809 COLLECTION CENTER DRIVE                                                                      5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             CHICAGO                IL         60693
             City                   State      ZIP Code



             Country


     3.1207 DOMINO AMJET -REMIT                             1/12/2023        $               28,566.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             3809 COLLECTION CENTER DRIVE                                                                      5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             CHICAGO                IL         60693
             City                   State      ZIP Code



             Country


            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1208 LIMITED                                         11/29/2022       $               41,245.20
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 304
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name
            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1209 LIMITED                                         11/29/2022       $              325,837.08
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country


            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1210 LIMITED                                         1/5/2023         $               34,829.60
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country


            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1211 LIMITED                                         1/5/2023         $              108,419.64
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country


            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1212 LIMITED                                         1/5/2023         $              210,515.76
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 305
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name
            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1213 LIMITED                                         2/14/2023        $               41,040.00
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country


            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1214 LIMITED                                         2/14/2023        $              122,073.48
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country


            DOUGLAS PHARMACEUTICALS AMERICA                                                                           Secured debt
     3.1215 LIMITED                                         2/14/2023        $              144,527.49
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Jeffrey Douglas                                                                                   5      Suppliers or vendors
             Street
                                                                                                                      Services

             Central Park Drive, Lincoln                                                                              Other

             Auckland                          0610
             City                   State      ZIP Code

             New Zealand
             Country


     3.1216 E L PRUITT COMPANY                              1/6/2023         $                  150.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             PO BOX 3306                                                                                       5      Suppliers or vendors
             Street
                                                                                                                      Services

             ATTN A/R                                                                                                 Other

             SPRINGFIELD            IL         62708
             City                   State      ZIP Code



             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 306
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1217 E L PRUITT COMPANY                             1/6/2023         $                1,195.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1218 E L PRUITT COMPANY                             1/6/2023         $                1,597.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1219 E L PRUITT COMPANY                             1/6/2023         $                3,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1220 E L PRUITT COMPANY                             1/6/2023         $                6,015.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 307
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1221 E L PRUITT COMPANY                             1/12/2023        $                  980.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1222 E L PRUITT COMPANY                             1/12/2023        $                2,457.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1223 E L PRUITT COMPANY                             1/12/2023        $                2,540.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1224 E L PRUITT COMPANY                             1/12/2023        $                2,670.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 308
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1225 E L PRUITT COMPANY                             1/12/2023        $                8,972.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1226 E L PRUITT COMPANY                             1/12/2023        $               11,021.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1227 E L PRUITT COMPANY                             1/26/2023        $                  478.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1228 E L PRUITT COMPANY                             1/26/2023        $                1,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 309
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1229 E L PRUITT COMPANY                             1/26/2023        $                1,075.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1230 E L PRUITT COMPANY                             1/26/2023        $                1,739.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1231 E L PRUITT COMPANY                             1/26/2023        $                2,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1232 E L PRUITT COMPANY                             1/26/2023        $                3,485.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 310
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1233 E L PRUITT COMPANY                             1/26/2023        $                3,545.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1234 E L PRUITT COMPANY                             1/26/2023        $                3,885.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1235 E L PRUITT COMPANY                             1/26/2023        $                7,320.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1236 E L PRUITT COMPANY                             1/26/2023        $                7,496.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 311
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1237 E L PRUITT COMPANY                             1/31/2023        $                3,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1238 E L PRUITT COMPANY                             1/31/2023        $                5,835.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1239 E L PRUITT COMPANY                             2/13/2023        $                  500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1240 E L PRUITT COMPANY                             2/13/2023        $                  940.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 312
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1241 E L PRUITT COMPANY                             2/13/2023        $                3,715.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1242 E L PRUITT COMPANY                             2/13/2023        $                3,973.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1243 E L PRUITT COMPANY                             2/13/2023        $                9,780.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country


     3.1244 E L PRUITT COMPANY                             2/13/2023        $               16,865.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3306                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN A/R                                                                                                Other

             SPRINGFIELD          IL          62708
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 313
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1245 E-BEAM -REMIT                                  11/29/2022       $                1,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             270 H DUFFY AVEUNE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11801
             City                 State       ZIP Code



             Country


     3.1246 E-BEAM -REMIT                                  11/29/2022       $                1,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             270 H DUFFY AVEUNE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11801
             City                 State       ZIP Code



             Country


     3.1247 E-BEAM -REMIT                                  11/29/2022       $                3,203.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             270 H DUFFY AVEUNE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11801
             City                 State       ZIP Code



             Country


     3.1248 E-BEAM -REMIT                                  1/6/2023         $                3,206.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             270 H DUFFY AVEUNE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11801
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 314
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1249 E-BEAM -REMIT                                  2/13/2023        $                3,329.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             270 H DUFFY AVEUNE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11801
             City                 State       ZIP Code



             Country


     3.1250 ECOLAB                                         1/19/2023        $                  991.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 70343                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-0343
             City                 State       ZIP Code



             Country


     3.1251 ECOLAB                                         1/19/2023        $                1,409.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 70343                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-0343
             City                 State       ZIP Code



             Country


     3.1252 ECOLAB                                         1/19/2023        $                1,409.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 70343                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-0343
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 315
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1253 ECOLAB                                         1/19/2023        $                2,099.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 70343                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-0343
             City                 State       ZIP Code



             Country


     3.1254 ECOLAB                                         1/19/2023        $                2,517.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 70343                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-0343
             City                 State       ZIP Code



             Country


     3.1255 ECOLAB                                         1/19/2023        $                2,520.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 70343                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-0343
             City                 State       ZIP Code



             Country


     3.1256 ECOLAB                                         1/19/2023        $                2,840.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 70343                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-0343
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 316
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1257 ECONDISC CONTRACTING SOLUTIONS LLC             1/12/2023        $                  385.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25522 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1255
             City                 State       ZIP Code



             Country


     3.1258 ECONDISC CONTRACTING SOLUTIONS LLC             1/12/2023        $                1,207.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25522 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1255
             City                 State       ZIP Code



             Country


     3.1259 ECONDISC CONTRACTING SOLUTIONS LLC             1/12/2023        $                1,575.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25522 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1255
             City                 State       ZIP Code



             Country


     3.1260 ECONDISC CONTRACTING SOLUTIONS LLC             1/12/2023        $                4,340.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25522 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1255
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 317
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1261 ECONDISC CONTRACTING SOLUTIONS LLC             1/12/2023        $                7,637.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25522 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1255
             City                 State       ZIP Code



             Country


     3.1262 EDI STAFFING -REMIT                            11/29/2022       $               21,504.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 100895                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-4174
             City                 State       ZIP Code



             Country


     3.1263 EG LIFE SCIENCES LLC                           11/29/2022       $                9,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country


     3.1264 EG LIFE SCIENCES LLC                           12/8/2022        $                  207.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 318
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1265 EG LIFE SCIENCES LLC                           12/8/2022        $               13,708.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country


     3.1266 EG LIFE SCIENCES LLC                           1/31/2023        $                3,680.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country


     3.1267 EG LIFE SCIENCES LLC                           1/31/2023        $                3,852.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country


     3.1268 EG LIFE SCIENCES LLC                           1/31/2023        $                4,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 319
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1269 EG LIFE SCIENCES LLC                           1/31/2023        $                8,280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country


     3.1270 EG LIFE SCIENCES LLC                           1/31/2023        $               10,120.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 WALKERS BROOK DRIVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             6TH FLOOR                                                                                               Other

             READING              MA          01867
             City                 State       ZIP Code



             Country


     3.1271 ELM FREIGHT HANDLERS INC                       11/29/2022       $                   37.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1272 ELM FREIGHT HANDLERS INC                       11/29/2022       $                  360.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 320
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1273 ELM FREIGHT HANDLERS INC                       12/8/2022        $                3,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1274 ELM FREIGHT HANDLERS INC                       12/8/2022        $                7,766.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1275 ELM FREIGHT HANDLERS INC                       12/29/2022       $                   18.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1276 ELM FREIGHT HANDLERS INC                       12/29/2022       $                  360.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 321
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1277 ELM FREIGHT HANDLERS INC                       12/29/2022       $                3,136.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1278 ELM FREIGHT HANDLERS INC                       12/29/2022       $                7,766.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1279 ELM FREIGHT HANDLERS INC                       1/6/2023         $                   37.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1280 ELM FREIGHT HANDLERS INC                       1/6/2023         $                  111.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 322
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1281 ELM FREIGHT HANDLERS INC                       1/6/2023         $                  185.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1282 ELM FREIGHT HANDLERS INC                       1/6/2023         $                1,162.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1283 ELM FREIGHT HANDLERS INC                       1/6/2023         $                1,440.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1284 ELM FREIGHT HANDLERS INC                       1/6/2023         $                3,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 323
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1285 ELM FREIGHT HANDLERS INC                       1/6/2023         $                3,668.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1286 ELM FREIGHT HANDLERS INC                       2/13/2023        $                  166.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             50 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.1287 EMD MILLIPORE                                  11/29/2022       $               (1,642.23)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1288 EMD MILLIPORE                                  11/29/2022       $                1,661.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 324
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1289 EMD MILLIPORE                                  11/29/2022       $                3,765.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1290 EMD MILLIPORE                                  11/29/2022       $                4,672.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1291 EMD MILLIPORE                                  11/29/2022       $                6,900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1292 EMD MILLIPORE                                  11/29/2022       $               10,800.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 325
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1293 EMD MILLIPORE                                  12/8/2022        $                1,086.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1294 EMD MILLIPORE                                  12/8/2022        $                4,482.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1295 EMD MILLIPORE                                  12/8/2022        $                4,901.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1296 EMD MILLIPORE                                  12/8/2022        $                6,861.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 326
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1297 EMD MILLIPORE                                  12/8/2022        $               10,272.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1298 EMD MILLIPORE                                  1/6/2023         $                   45.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1299 EMD MILLIPORE                                  1/6/2023         $                  918.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1300 EMD MILLIPORE                                  1/6/2023         $                1,908.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 327
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1301 EMD MILLIPORE                                  1/6/2023         $                2,343.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1302 EMD MILLIPORE                                  1/6/2023         $                2,689.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1303 EMD MILLIPORE                                  1/6/2023         $                4,482.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1304 EMD MILLIPORE                                  1/6/2023         $               13,195.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 328
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1305 EMD MILLIPORE                                  1/12/2023        $                3,280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1306 EMD MILLIPORE                                  1/12/2023        $                4,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1307 EMD MILLIPORE                                  1/12/2023        $                5,268.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1308 EMD MILLIPORE                                  1/12/2023        $                7,650.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 329
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1309 EMD MILLIPORE                                  1/19/2023        $                1,902.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1310 EMD MILLIPORE                                  1/19/2023        $                5,850.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1311 EMD MILLIPORE                                  1/19/2023        $                6,649.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1312 EMD MILLIPORE                                  1/26/2023        $                5,635.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 330
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1313 EMD MILLIPORE                                  2/8/2023         $             (10,272.78)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1314 EMD MILLIPORE                                  2/8/2023         $                7,098.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1315 EMD MILLIPORE                                  2/8/2023         $                7,304.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1316 EMD MILLIPORE                                  2/8/2023         $               21,248.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 331
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1317 EMD MILLIPORE                                  2/13/2023        $                2,689.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1318 EMD MILLIPORE                                  2/13/2023        $                4,295.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1319 EMD MILLIPORE                                  2/13/2023        $               13,195.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25760 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673
             City                 State       ZIP Code



             Country


     3.1320 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                 (60.31)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 332
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1321 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                 (48.54)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1322 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                 (17.43)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1323 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  155.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1324 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  193.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 333
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1325 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  209.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1326 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  313.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1327 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  396.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1328 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  452.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 334
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1329 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  536.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1330 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  568.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1331 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  616.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1332 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  743.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 335
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1333 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  918.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1334 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  928.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1335 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  962.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1336 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  962.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 336
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1337 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  970.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1338 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  970.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1339 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  971.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1340 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                  971.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 337
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1341 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,071.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1342 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,136.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1343 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,136.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1344 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,189.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 338
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1345 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,300.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1346 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,301.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1347 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,301.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1348 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,485.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 339
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1349 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,571.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1350 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                1,576.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1351 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,177.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1352 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,221.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 340
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1353 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,222.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1354 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,222.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1355 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,417.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1356 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,429.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 341
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1357 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,490.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1358 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,667.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1359 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,937.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1360 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,938.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 342
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1361 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,960.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1362 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,960.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1363 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,960.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1364 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,961.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 343
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1365 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,961.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1366 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,967.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1367 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,983.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1368 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,989.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 344
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1369 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,989.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1370 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,989.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1371 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,990.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1372 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,990.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 345
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1373 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                2,990.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1374 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,181.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1375 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,181.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1376 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,231.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 346
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1377 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,274.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1378 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,292.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1379 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,731.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1380 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,731.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 347
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1381 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1382 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1383 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1384 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 348
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1385 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1386 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1387 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1388 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 349
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1389 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,747.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1390 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,747.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1391 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,747.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1392 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,806.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 350
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1393 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                3,806.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1394 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                4,292.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1395 EMPIRE FREIGHT LOGISTICS                       11/29/2022       $                8,155.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1396 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  145.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 351
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1397 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  234.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1398 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  294.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1399 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  382.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1400 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  475.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 352
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1401 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  486.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1402 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  507.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1403 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  571.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1404 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  671.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 353
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1405 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  752.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1406 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  780.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1407 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  882.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1408 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  971.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 354
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1409 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                  979.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1410 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                1,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1411 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                1,135.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1412 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                1,300.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 355
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1413 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                1,406.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1414 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                1,569.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1415 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,174.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1416 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,936.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 356
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1417 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,938.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1418 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,959.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1419 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,959.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1420 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,959.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 357
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1421 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,959.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1422 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,979.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1423 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,988.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1424 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,988.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 358
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1425 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,988.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1426 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,988.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1427 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,988.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1428 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                2,988.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 359
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1429 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1430 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1431 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1432 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 360
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1433 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1434 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1435 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1436 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                3,747.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 361
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1437 EMPIRE FREIGHT LOGISTICS                       12/8/2022        $                4,918.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1438 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                  167.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1439 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                  205.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1440 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                  482.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 362
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1441 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                  594.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1442 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                  845.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1443 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,022.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1444 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,125.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 363
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1445 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,136.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1446 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,194.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1447 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,300.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1448 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,352.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 364
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1449 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,397.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1450 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                1,466.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1451 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                2,156.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1452 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                2,960.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 365
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1453 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                2,989.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1454 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,102.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1455 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,169.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1456 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,259.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 366
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1457 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,274.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1458 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,274.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1459 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,401.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1460 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 367
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1461 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1462 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,910.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1463 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,910.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1464 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                3,931.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 368
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1465 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                4,917.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1466 EMPIRE FREIGHT LOGISTICS                       12/15/2022       $                8,970.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1467 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  217.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1468 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  241.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 369
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1469 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  247.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1470 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  310.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1471 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  353.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1472 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  365.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 370
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1473 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  455.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1474 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  469.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1475 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                  970.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1476 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,135.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 371
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1477 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,175.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1478 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,266.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1479 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,298.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1480 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,300.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 372
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1481 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,317.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1482 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,448.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1483 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,569.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1484 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,677.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 373
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1485 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                1,689.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1486 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,041.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1487 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,158.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1488 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,164.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 374
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1489 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,177.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1490 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,214.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1491 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1492 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,959.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 375
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1493 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,979.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1494 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                2,988.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1495 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,011.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1496 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,035.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 376
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1497 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,537.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1498 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,597.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1499 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,732.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1500 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,732.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 377
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1501 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,732.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1502 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,743.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1503 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                3,745.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1504 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                4,651.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 378
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1505 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                5,194.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1506 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                6,405.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1507 EMPIRE FREIGHT LOGISTICS                       12/22/2022       $                6,408.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1508 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                  191.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 379
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1509 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                  336.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1510 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                  449.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1511 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                  547.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1512 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                  671.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 380
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1513 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                  968.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1514 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,021.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1515 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,130.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1516 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,133.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 381
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1517 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,188.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1518 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,193.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1519 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,261.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1520 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,294.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 382
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1521 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,481.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1522 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                1,616.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1523 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,201.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1524 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,415.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 383
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1525 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,501.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1526 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,579.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1527 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,932.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1528 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,950.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 384
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1529 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,950.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1530 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,972.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1531 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,972.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1532 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,980.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 385
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1533 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                2,980.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1534 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                3,015.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1535 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                3,171.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1536 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                3,253.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 386
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1537 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                3,720.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1538 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                3,732.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1539 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                3,897.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1540 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $                8,265.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 387
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1541 EMPIRE FREIGHT LOGISTICS                       12/29/2022       $               22,047.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1542 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                  142.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1543 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                  142.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1544 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                  182.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 388
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1545 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                  502.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1546 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                  530.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1547 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                  547.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1548 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                1,130.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 389
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1549 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                1,470.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1550 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                1,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1551 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                2,174.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1552 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                2,927.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 390
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1553 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                2,927.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1554 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                2,940.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1555 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                2,940.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1556 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                2,972.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 391
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1557 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                3,607.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1558 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                3,607.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1559 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                3,720.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1560 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                4,898.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 392
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1561 EMPIRE FREIGHT LOGISTICS                       1/6/2023         $                4,898.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1562 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  140.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1563 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  140.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1564 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  145.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 393
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1565 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  159.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1566 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  160.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1567 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  164.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1568 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  224.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 394
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1569 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  289.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1570 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  294.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1571 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  334.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1572 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  366.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 395
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1573 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  519.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1574 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  626.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1575 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  876.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1576 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  878.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 396
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1577 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                  964.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1578 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                1,187.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1579 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                1,248.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1580 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                1,280.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 397
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1581 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                1,556.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1582 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,104.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1583 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,211.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1584 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,904.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 398
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1585 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,904.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1586 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,904.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1587 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,904.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1588 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,917.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 399
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1589 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,928.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1590 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,928.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1591 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,937.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1592 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,937.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 400
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1593 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,937.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1594 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,956.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1595 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,956.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1596 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,956.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 401
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1597 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                2,969.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1598 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,518.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1599 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,668.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1600 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,668.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 402
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1601 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,668.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1602 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,696.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1603 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,696.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1604 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,729.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 403
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1605 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,729.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1606 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,834.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1607 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                3,862.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1608 EMPIRE FREIGHT LOGISTICS                       1/12/2023        $                4,880.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 404
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1609 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  150.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1610 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  187.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1611 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  237.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1612 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  237.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 405
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1613 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  332.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1614 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  606.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1615 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  800.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1616 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                  998.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 406
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1617 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                1,267.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1618 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                1,274.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1619 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                1,294.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1620 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                1,323.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 407
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1621 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                2,375.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1622 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                2,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1623 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                2,904.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1624 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                2,919.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 408
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1625 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                2,919.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1626 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                2,923.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1627 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                2,937.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1628 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                3,372.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 409
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1629 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                3,478.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1630 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                3,646.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1631 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                3,646.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1632 EMPIRE FREIGHT LOGISTICS                       1/19/2023        $                3,668.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 410
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1633 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                  137.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1634 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                  138.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1635 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                  138.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1636 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                  227.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 411
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1637 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                  667.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1638 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                1,067.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1639 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                1,185.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1640 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                1,287.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 412
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1641 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                1,461.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1642 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                1,619.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1643 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                1,773.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1644 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                2,896.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 413
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1645 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                2,916.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1646 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                2,917.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1647 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                2,917.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1648 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                3,085.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 414
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1649 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                3,471.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1650 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                3,638.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1651 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                3,638.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1652 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                3,646.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 415
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1653 EMPIRE FREIGHT LOGISTICS                       1/26/2023        $                7,457.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1654 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                  138.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1655 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                  141.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1656 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                  163.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 416
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1657 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                  262.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1658 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                  598.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1659 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                  781.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1660 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                1,010.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 417
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1661 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                1,076.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1662 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                1,111.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1663 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                1,274.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1664 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                2,893.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 418
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1665 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                2,918.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1666 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                2,922.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1667 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                2,922.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1668 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                3,638.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 419
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1669 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                3,645.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1670 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                3,645.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1671 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                3,645.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1672 EMPIRE FREIGHT LOGISTICS                       1/31/2023        $                3,706.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 420
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1673 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                  138.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1674 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                  147.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1675 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                  359.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1676 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                  420.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 421
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1677 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                  695.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1678 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                  723.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1679 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                  971.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1680 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                1,272.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 422
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1681 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                1,552.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1682 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                2,375.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1683 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                2,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1684 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                2,893.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 423
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1685 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                2,896.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1686 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                2,916.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1687 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                3,101.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1688 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                3,640.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 424
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1689 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                3,640.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1690 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                3,645.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1691 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                3,687.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1692 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                3,807.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 425
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1693 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $                4,249.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1694 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $               17,205.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1695 EMPIRE FREIGHT LOGISTICS                       2/8/2023         $               26,962.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1696 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  137.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 426
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1697 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  199.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1698 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  213.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1699 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  220.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1700 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  270.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 427
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1701 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  316.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1702 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  320.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1703 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  357.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1704 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  510.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 428
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1705 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  541.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1706 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  577.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1707 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  687.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1708 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  816.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 429
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1709 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                  825.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1710 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,010.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1711 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,109.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1712 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,110.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 430
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1713 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,185.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1714 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,272.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1715 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,551.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1716 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,551.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 431
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1717 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,557.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1718 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,583.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1719 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                1,875.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1720 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                2,077.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 432
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1721 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                2,227.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1722 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                2,893.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1723 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                2,915.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1724 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                2,915.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 433
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1725 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                2,918.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1726 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                2,918.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1727 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                3,637.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1728 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                3,640.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 434
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1729 EMPIRE FREIGHT LOGISTICS                       2/13/2023        $                4,836.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             6567 KINNE ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DEWITT               NY          13214
             City                 State       ZIP Code



             Country


     3.1730 EQUINIX INC AR                                 1/6/2023         $               10,634.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 736031                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75373-6031
             City                 State       ZIP Code



             Country


     3.1731 ERNST & YOUNG LLP                              12/29/2022       $              480,077.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PNC BANK C/O ERNST & YOUNG US LLP                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             3712 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-3007
             City                 State       ZIP Code



             Country


     3.1732 ERNST & YOUNG LLP                              12/29/2022       $              483,629.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PNC BANK C/O ERNST & YOUNG US LLP                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             3712 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-3007
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 435
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):    23-10255

          Name

     3.1733 ESSENTIAL INGREDIENTS INC                        12/8/2022        $               22,702.37                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             2408 TECH CENTER PARKWAY SUITE 200                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services

                                                                                                                       Other

             LAWRENCEVILLE          GA          30043
             City                   State       ZIP Code



             Country


     3.1734 ETHYPHARM                                        11/29/2022       $               90,771.25                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country


     3.1735 ETHYPHARM                                        12/8/2022        $              142,077.87                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country


     3.1736 ETHYPHARM                                        1/5/2023         $               57,240.00                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 436
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):    23-10255

          Name

     3.1737 ETHYPHARM                                        1/5/2023         $              118,972.80                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country


     3.1738 ETHYPHARM                                        1/5/2023         $              357,742.61                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country


     3.1739 ETHYPHARM                                        1/24/2023        $               54,696.00                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country


     3.1740 ETHYPHARM                                        1/24/2023        $              119,491.20                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 437
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):    23-10255

          Name

     3.1741 ETHYPHARM                                        1/24/2023        $              238,723.20                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country


     3.1742 ETHYPHARM                                        2/7/2023         $               54,849.60                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Roseline Joannesse                                                                                 5      Suppliers or vendors
             Street
                                                                                                                       Services
             194 Bureaux de la Colline, Batiment D, 12eme
             etage                                                                                                     Other

             Saint-Cloud Cedex                  92213
             City                   State       ZIP Code

             France
             Country


     3.1743 EUROAPI USA                                      11/29/2022       $               19,000.00                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             100 SOMERSET CORPORATE BLVD                                                                        5      Suppliers or vendors
             Street
                                                                                                                       Services

             2ND FLOOR SUITE 100                                                                                       Other

             BRIDGEWATER            NJ          08807
             City                   State       ZIP Code



             Country


     3.1744 EUROAPI USA                                      11/29/2022       $               26,875.00                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             100 SOMERSET CORPORATE BLVD                                                                        5      Suppliers or vendors
             Street
                                                                                                                       Services

             2ND FLOOR SUITE 100                                                                                       Other

             BRIDGEWATER            NJ          08807
             City                   State       ZIP Code



             Country




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 438
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1745 EUROAPI USA                                    12/8/2022        $                3,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             100 SOMERSET CORPORATE BLVD                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             2ND FLOOR SUITE 100                                                                                     Other

             BRIDGEWATER          NJ          08807
             City                 State       ZIP Code



             Country


     3.1746 EUROAPI USA                                    12/8/2022        $                4,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             100 SOMERSET CORPORATE BLVD                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             2ND FLOOR SUITE 100                                                                                     Other

             BRIDGEWATER          NJ          08807
             City                 State       ZIP Code



             Country


     3.1747 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $             (13,440.00)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1748 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $               (1,920.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 439
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1749 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                1,468.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1750 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                1,647.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1751 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                2,068.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1752 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                2,202.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 440
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1753 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                2,210.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1754 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                3,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1755 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                3,670.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1756 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                4,512.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 441
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1757 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                4,512.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1758 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                5,760.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1759 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                8,840.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1760 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $                8,840.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 442
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1761 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $               13,440.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1762 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $               19,164.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1763 EUROFINS LANCASTER LAB -REMIT                  1/6/2023         $               26,838.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1764 EUROFINS LANCASTER LAB -REMIT                  1/26/2023        $               12,715.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 443
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1765 EUROFINS LANCASTER LAB -REMIT                  1/31/2023        $                1,034.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1766 EUROFINS LANCASTER LAB -REMIT                  1/31/2023        $                2,068.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1767 EUROFINS LANCASTER LAB -REMIT                  1/31/2023        $                6,765.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1768 EUROFINS LANCASTER LAB -REMIT                  2/8/2023         $                  376.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 444
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1769 EUROFINS LANCASTER LAB -REMIT                  2/8/2023         $                  902.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1770 EUROFINS LANCASTER LAB -REMIT                  2/8/2023         $                3,835.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1771 EUROFINS LANCASTER LAB -REMIT                  2/8/2023         $                5,113.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1772 EUROFINS LANCASTER LAB -REMIT                  2/13/2023        $                1,181.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 445
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1773 EUROFINS LANCASTER LAB -REMIT                  2/13/2023        $                2,068.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1774 EUROFINS LANCASTER LAB -REMIT                  2/13/2023        $                4,265.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1775 EUROFINS LANCASTER LAB -REMIT                  2/13/2023        $                5,239.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country


     3.1776 EUROFINS LANCASTER LAB -REMIT                  2/13/2023        $               15,785.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT #1999                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246-1999
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 446
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1777 EVERLIGHT CHEMICAL INDUSTRIAL CORP             11/29/2022       $               24,840.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN GRACE WEI                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             KUANYIN II PLANT, 12 INDUSTRILA THIRD RD
             KUANYIN DIST                                                                                            Other

             TAOYUAN CITY
             City                 State       ZIP Code

             TAIWAN
             Country


     3.1778 EVISORT INC                                    12/8/2022        $               19,375.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             548 MARKET ST                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PMB 20722                                                                                               Other

             SAN FRANCISCO        CA          94104-5401
             City                 State       ZIP Code



             Country


     3.1779 EVOQUA WATER TECHNOLOGIES LLC                  12/8/2022        $               (4,366.32)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1780 EVOQUA WATER TECHNOLOGIES LLC                  12/8/2022        $                  630.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 447
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1781 EVOQUA WATER TECHNOLOGIES LLC                  12/8/2022        $                1,359.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1782 EVOQUA WATER TECHNOLOGIES LLC                  12/8/2022        $                2,175.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1783 EVOQUA WATER TECHNOLOGIES LLC                  12/8/2022        $                2,667.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1784 EVOQUA WATER TECHNOLOGIES LLC                  12/8/2022        $                4,366.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 448
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1785 EVOQUA WATER TECHNOLOGIES LLC                  12/8/2022        $                6,384.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1786 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                  651.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1787 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                  651.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1788 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                1,144.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 449
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1789 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                1,144.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1790 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                1,359.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1791 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                2,797.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1792 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                3,490.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 450
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1793 EVOQUA WATER TECHNOLOGIES LLC                  1/6/2023         $                5,512.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1794 EVOQUA WATER TECHNOLOGIES LLC                  1/12/2023        $                2,261.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1795 EVOQUA WATER TECHNOLOGIES LLC                  1/26/2023        $                  555.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1796 EVOQUA WATER TECHNOLOGIES LLC                  1/26/2023        $                2,117.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 451
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1797 EVOQUA WATER TECHNOLOGIES LLC                  2/8/2023         $                  651.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1798 EVOQUA WATER TECHNOLOGIES LLC                  2/8/2023         $                1,144.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1799 EVOQUA WATER TECHNOLOGIES LLC                  2/8/2023         $                1,299.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1800 EVOQUA WATER TECHNOLOGIES LLC                  2/13/2023        $                  102.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 452
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1801 EVOQUA WATER TECHNOLOGIES LLC                  2/13/2023        $                1,359.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28563 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1285
             City                 State       ZIP Code



             Country


     3.1802 EXELA PHARMA SCIENCES                          1/19/2023        $              125,008.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1245 BLOWING ROCK BLVD                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LENOIR               NC          28645
             City                 State       ZIP Code



             Country


     3.1803 EYEMED VISION CARE - FIDELITY                  11/29/2022       $                6,955.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 632530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-2530
             City                 State       ZIP Code



             Country


     3.1804 EYEMED VISION CARE - FIDELITY                  1/12/2023        $                  717.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 632530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-2530
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 453
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1805 EYEMED VISION CARE - FIDELITY                  1/12/2023        $                7,160.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 632530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-2530
             City                 State       ZIP Code



             Country


     3.1806 EYEMED VISION CARE - FIDELITY                  1/19/2023        $                6,934.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 632530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-2530
             City                 State       ZIP Code



             Country


     3.1807 EYEMED VISION CARE - FIDELITY                  1/26/2023        $                  181.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 632530                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CINCINNATI           OH          45263-2530
             City                 State       ZIP Code



             Country


     3.1808 FASTENAL -REMIT                                12/8/2022        $                  155.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 454
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1809 FASTENAL -REMIT                                12/8/2022        $                  718.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1810 FASTENAL -REMIT                                12/8/2022        $                1,597.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1811 FASTENAL -REMIT                                12/8/2022        $                1,942.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1812 FASTENAL -REMIT                                1/31/2023        $                  113.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 455
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1813 FASTENAL -REMIT                                1/31/2023        $                  866.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1814 FASTENAL -REMIT                                1/31/2023        $                  968.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1815 FASTENAL -REMIT                                1/31/2023        $                1,485.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1816 FASTENAL -REMIT                                1/31/2023        $                1,646.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 456
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1817 FASTENAL -REMIT                                1/31/2023        $                2,078.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1818 FASTENAL -REMIT                                1/31/2023        $                2,218.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 1286                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WINONA               MN          55987-1286
             City                 State       ZIP Code



             Country


     3.1819 FEDEGARI TECHNOLOGIES INC                      11/29/2022       $                  690.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1228 BETHLEHEM PIKE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SELLERSVILLE         PA          18960
             City                 State       ZIP Code



             Country


     3.1820 FEDEGARI TECHNOLOGIES INC                      1/31/2023        $               23,189.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1228 BETHLEHEM PIKE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SELLERSVILLE         PA          18960
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 457
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1821 FEDEGARI TECHNOLOGIES INC                      1/31/2023        $               25,407.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1228 BETHLEHEM PIKE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SELLERSVILLE         PA          18960
             City                 State       ZIP Code



             Country


     3.1822 FEDERAL COMPLIANCE SOLUTIONS LLC               12/8/2022        $              177,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5 PENNSFORD LANE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MEDIA                PA          19063
             City                 State       ZIP Code



             Country


     3.1823 FEDERAL COMPLIANCE SOLUTIONS LLC               12/15/2022       $              197,732.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5 PENNSFORD LANE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MEDIA                PA          19063
             City                 State       ZIP Code



             Country


     3.1824 FEDERAL COMPLIANCE SOLUTIONS LLC               12/15/2022       $              200,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5 PENNSFORD LANE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MEDIA                PA          19063
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 458
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1825 FEDERAL COMPLIANCE SOLUTIONS LLC               1/13/2023        $              181,727.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5 PENNSFORD LANE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MEDIA                PA          19063
             City                 State       ZIP Code



             Country


     3.1826 FEDERAL COMPLIANCE SOLUTIONS LLC               2/13/2023        $              240,309.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5 PENNSFORD LANE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MEDIA                PA          19063
             City                 State       ZIP Code



             Country


     3.1827 FEDEX                                          11/29/2022       $                    9.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1828 FEDEX                                          11/29/2022       $                   17.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 459
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1829 FEDEX                                          11/29/2022       $                   19.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1830 FEDEX                                          11/29/2022       $                   19.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1831 FEDEX                                          11/29/2022       $                   36.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1832 FEDEX                                          11/29/2022       $                   38.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 460
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1833 FEDEX                                          11/29/2022       $                   54.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1834 FEDEX                                          11/29/2022       $                   69.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1835 FEDEX                                          11/29/2022       $                   88.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1836 FEDEX                                          11/29/2022       $                   90.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 461
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1837 FEDEX                                          11/29/2022       $                  195.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1838 FEDEX                                          11/29/2022       $                  410.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1839 FEDEX                                          11/29/2022       $                1,194.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1840 FEDEX                                          12/8/2022        $                   11.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 462
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1841 FEDEX                                          12/8/2022        $                   12.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1842 FEDEX                                          12/8/2022        $                   31.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1843 FEDEX                                          12/8/2022        $                   93.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1844 FEDEX                                          12/8/2022        $                  108.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 463
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1845 FEDEX                                          12/8/2022        $                  357.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1846 FEDEX                                          12/22/2022       $                    8.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1847 FEDEX                                          12/22/2022       $                   10.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1848 FEDEX                                          12/22/2022       $                   14.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 464
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1849 FEDEX                                          12/22/2022       $                   17.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1850 FEDEX                                          12/22/2022       $                   18.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1851 FEDEX                                          12/22/2022       $                   18.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1852 FEDEX                                          12/22/2022       $                   25.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 465
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1853 FEDEX                                          12/22/2022       $                   55.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1854 FEDEX                                          12/22/2022       $                   55.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1855 FEDEX                                          12/22/2022       $                   59.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1856 FEDEX                                          12/22/2022       $                   61.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 466
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1857 FEDEX                                          12/22/2022       $                   68.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1858 FEDEX                                          12/22/2022       $                   77.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1859 FEDEX                                          12/22/2022       $                   89.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1860 FEDEX                                          12/22/2022       $                  139.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 467
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1861 FEDEX                                          12/22/2022       $                  150.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1862 FEDEX                                          12/22/2022       $                  176.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1863 FEDEX                                          12/22/2022       $                  286.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1864 FEDEX                                          12/22/2022       $                  403.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 468
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1865 FEDEX                                          12/22/2022       $                  453.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1866 FEDEX                                          12/22/2022       $                  469.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1867 FEDEX                                          12/22/2022       $                  660.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1868 FEDEX                                          12/22/2022       $                5,249.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 469
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1869 FEDEX                                          12/29/2022       $                   56.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1870 FEDEX                                          12/29/2022       $                   68.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1871 FEDEX                                          12/29/2022       $                  122.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1872 FEDEX                                          12/29/2022       $                  167.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 470
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1873 FEDEX                                          12/29/2022       $                  169.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1874 FEDEX                                          1/6/2023         $                   25.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1875 FEDEX                                          1/6/2023         $                   58.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1876 FEDEX                                          1/6/2023         $                   64.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 471
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1877 FEDEX                                          1/6/2023         $                   66.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1878 FEDEX                                          1/6/2023         $                  143.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1879 FEDEX                                          1/6/2023         $                  213.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1880 FEDEX                                          1/6/2023         $                  282.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 472
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1881 FEDEX                                          1/12/2023        $                    6.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1882 FEDEX                                          1/12/2023        $                    9.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1883 FEDEX                                          1/12/2023        $                   15.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1884 FEDEX                                          1/12/2023        $                   22.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 473
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1885 FEDEX                                          1/12/2023        $                   37.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1886 FEDEX                                          1/12/2023        $                   39.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1887 FEDEX                                          1/12/2023        $                   55.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1888 FEDEX                                          1/12/2023        $                   61.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 474
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1889 FEDEX                                          1/12/2023        $                   65.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1890 FEDEX                                          1/12/2023        $                  429.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1891 FEDEX                                          1/12/2023        $                  634.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1892 FEDEX                                          1/19/2023        $                   10.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 475
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1893 FEDEX                                          1/19/2023        $                   21.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1894 FEDEX                                          1/19/2023        $                   66.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1895 FEDEX                                          1/19/2023        $                   74.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1896 FEDEX                                          1/19/2023        $                   88.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 476
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1897 FEDEX                                          1/19/2023        $                  287.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1898 FEDEX                                          1/26/2023        $                   12.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1899 FEDEX                                          1/26/2023        $                   13.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1900 FEDEX                                          1/26/2023        $                   22.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 477
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1901 FEDEX                                          1/26/2023        $                   45.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1902 FEDEX                                          1/26/2023        $                   48.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1903 FEDEX                                          1/26/2023        $                   94.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1904 FEDEX                                          1/26/2023        $                   97.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 478
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1905 FEDEX                                          1/26/2023        $                  124.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1906 FEDEX                                          1/26/2023        $                  360.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1907 FEDEX                                          1/26/2023        $                  449.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1908 FEDEX                                          2/8/2023         $                   29.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 479
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1909 FEDEX                                          2/8/2023         $                   59.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1910 FEDEX                                          2/8/2023         $                  151.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1911 FEDEX                                          2/8/2023         $                  446.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1912 FEDEX                                          2/8/2023         $                  595.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 480
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1913 FEDEX                                          2/13/2023        $                   12.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1914 FEDEX                                          2/13/2023        $                  146.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1915 FEDEX                                          2/13/2023        $                  230.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country


     3.1916 FEDEX                                          2/13/2023        $                  913.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 94515                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60094-4515
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 481
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1917 FEDEX CUSTOM CRITICAL                          11/29/2022       $                1,993.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1918 FEDEX CUSTOM CRITICAL                          11/29/2022       $                2,046.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1919 FEDEX CUSTOM CRITICAL                          11/29/2022       $                2,623.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1920 FEDEX CUSTOM CRITICAL                          12/8/2022        $                2,020.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 482
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1921 FEDEX CUSTOM CRITICAL                          12/8/2022        $                2,032.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1922 FEDEX CUSTOM CRITICAL                          12/8/2022        $                2,032.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1923 FEDEX CUSTOM CRITICAL                          12/8/2022        $                2,032.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1924 FEDEX CUSTOM CRITICAL                          12/8/2022        $                2,034.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 483
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1925 FEDEX CUSTOM CRITICAL                          12/8/2022        $                2,677.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1926 FEDEX CUSTOM CRITICAL                          12/22/2022       $                2,005.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1927 FEDEX CUSTOM CRITICAL                          12/22/2022       $                2,008.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1928 FEDEX CUSTOM CRITICAL                          12/22/2022       $                2,023.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 484
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1929 FEDEX CUSTOM CRITICAL                          12/22/2022       $                2,034.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1930 FEDEX CUSTOM CRITICAL                          12/22/2022       $                2,677.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1931 FEDEX CUSTOM CRITICAL                          12/22/2022       $                2,693.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1932 FEDEX CUSTOM CRITICAL                          12/22/2022       $                2,693.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 485
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1933 FEDEX CUSTOM CRITICAL                          12/29/2022       $                  350.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1934 FEDEX CUSTOM CRITICAL                          12/29/2022       $                  350.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1935 FEDEX CUSTOM CRITICAL                          12/29/2022       $                1,493.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1936 FEDEX CUSTOM CRITICAL                          1/6/2023         $                  350.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 486
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1937 FEDEX CUSTOM CRITICAL                          1/6/2023         $                1,967.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1938 FEDEX CUSTOM CRITICAL                          1/6/2023         $                2,005.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1939 FEDEX CUSTOM CRITICAL                          1/6/2023         $                2,577.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1940 FEDEX CUSTOM CRITICAL                          1/12/2023        $                2,005.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 487
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1941 FEDEX CUSTOM CRITICAL                          1/12/2023        $                2,032.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1942 FEDEX CUSTOM CRITICAL                          1/12/2023        $                2,629.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1943 FEDEX CUSTOM CRITICAL                          1/26/2023        $                2,008.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country


     3.1944 FEDEX CUSTOM CRITICAL                          1/26/2023        $                2,023.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 645135                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-5135
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 488
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1945 FILAMATIC                                      11/29/2022       $                6,422.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country


     3.1946 FILAMATIC                                      12/8/2022        $                6,770.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country


     3.1947 FILAMATIC                                      12/8/2022        $               11,725.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country


     3.1948 FILAMATIC                                      1/6/2023         $                1,621.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 489
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1949 FILAMATIC                                      1/6/2023         $                2,858.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country


     3.1950 FILAMATIC                                      1/6/2023         $                4,148.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country


     3.1951 FILAMATIC                                      1/6/2023         $                4,555.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country


     3.1952 FILAMATIC                                      1/6/2023         $                9,443.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21215
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 490
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1953 FILAMATIC                                      1/26/2023        $                7,514.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD           21215
             City                 State        ZIP Code



             Country


     3.1954 FILAMATIC                                      2/8/2023         $                6,087.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD           21215
             City                 State        ZIP Code



             Country


     3.1955 FILAMATIC                                      2/13/2023        $                3,162.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4119 FORDLEIGH RD                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD           21215
             City                 State        ZIP Code



             Country


     3.1956 FINE CHEMICALS CORP (PTY) LTD                  2/14/2023        $              147,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Hilton Mentor                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             15 Hawkins Avenue, Epping Industria, Epping                                                             Other

             Cape Town
             City                 State        ZIP Code

             South Africa
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 491
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1957 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                (493.16)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1958 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                   35.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1959 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  127.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1960 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  156.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 492
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1961 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  224.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1962 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  240.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1963 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  250.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1964 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  252.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 493
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1965 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  252.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1966 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  278.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1967 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  304.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1968 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  346.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 494
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1969 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  355.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1970 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  411.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1971 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  411.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1972 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  414.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 495
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1973 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  428.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1974 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  484.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1975 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  512.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1976 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  558.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 496
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1977 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  574.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1978 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  588.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1979 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  616.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1980 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  650.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 497
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1981 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  785.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1982 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  843.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1983 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                  939.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1984 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                1,148.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 498
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1985 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                1,324.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1986 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                1,451.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1987 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                1,487.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1988 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                1,805.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 499
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1989 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                2,576.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1990 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                2,865.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1991 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                3,338.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1992 FISHER SCIENTIFIC -REMIT                       11/29/2022       $                4,972.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 500
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1993 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                (787.47)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1994 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                   35.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1995 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                   61.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1996 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  137.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 501
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.1997 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  137.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1998 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  191.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.1999 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  414.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2000 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  488.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 502
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2001 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  545.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2002 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  653.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2003 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  787.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2004 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  821.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 503
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2005 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  893.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2006 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                  963.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2007 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                1,011.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2008 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                1,479.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 504
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2009 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                1,598.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2010 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                1,763.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2011 FISHER SCIENTIFIC -REMIT                       12/8/2022        $                3,688.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2012 FISHER SCIENTIFIC -REMIT                       1/6/2023         $               (1,043.78)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 505
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2013 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                 (89.94)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2014 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                   32.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2015 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                   56.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2016 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                   70.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 506
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2017 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                   78.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2018 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                   78.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2019 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  108.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2020 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  113.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 507
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2021 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  116.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2022 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  125.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2023 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  137.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2024 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  139.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 508
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2025 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  139.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2026 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  139.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2027 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  150.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2028 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  150.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 509
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2029 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  153.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2030 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  174.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2031 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  196.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2032 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  203.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 510
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2033 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  214.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2034 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  220.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2035 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  220.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2036 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  251.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 511
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2037 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  251.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2038 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  267.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2039 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  279.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2040 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  289.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 512
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2041 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  311.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2042 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  367.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2043 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  373.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2044 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  396.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 513
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2045 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  433.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2046 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  443.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2047 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  443.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2048 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  468.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 514
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2049 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  476.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2050 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  487.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2051 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  524.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2052 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  542.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 515
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2053 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  574.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2054 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  619.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2055 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  672.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2056 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  676.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 516
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2057 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  694.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2058 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  744.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2059 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  748.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2060 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  748.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 517
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2061 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  778.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2062 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  784.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2063 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  787.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2064 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  829.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 518
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2065 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  888.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2066 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  927.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2067 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  940.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2068 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  969.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 519
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2069 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  984.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2070 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  984.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2071 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  985.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2072 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                  996.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 520
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2073 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,043.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2074 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,043.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2075 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,076.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2076 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,101.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 521
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2077 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,166.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2078 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,243.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2079 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,308.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2080 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,366.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 522
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2081 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,464.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2082 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,515.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2083 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,763.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2084 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,850.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 523
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2085 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                1,952.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2086 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                2,215.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2087 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                2,306.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2088 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                2,326.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 524
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2089 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                3,333.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2090 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                3,425.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2091 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                3,728.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2092 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                4,320.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 525
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2093 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                5,377.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2094 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                6,765.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2095 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                8,212.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2096 FISHER SCIENTIFIC -REMIT                       1/6/2023         $                8,483.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 526
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2097 FISHER SCIENTIFIC -REMIT                       1/6/2023         $               23,059.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2098 FISHER SCIENTIFIC -REMIT                       1/6/2023         $               39,600.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2099 FISHER SCIENTIFIC -REMIT                       1/6/2023         $               39,600.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2100 FISHER SCIENTIFIC -REMIT                       1/26/2023        $               (2,098.54)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 527
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2101 FISHER SCIENTIFIC -REMIT                       1/26/2023        $               (1,576.72)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2102 FISHER SCIENTIFIC -REMIT                       1/26/2023        $               (1,334.15)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2103 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                (186.74)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2104 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                   75.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 528
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2105 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                   77.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2106 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                   78.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2107 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                   84.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2108 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                   88.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 529
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2109 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  133.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2110 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  139.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2111 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  143.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2112 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  176.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 530
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2113 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  181.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2114 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  187.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2115 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  194.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2116 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  220.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 531
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2117 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  220.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2118 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  223.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2119 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  233.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2120 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  242.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 532
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2121 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  263.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2122 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  283.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2123 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  286.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2124 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  296.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 533
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2125 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  367.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2126 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  545.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2127 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  574.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2128 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  592.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 534
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2129 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  661.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2130 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  670.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2131 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  722.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2132 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  727.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 535
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2133 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  950.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2134 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                  984.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2135 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,102.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2136 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,102.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 536
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2137 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,194.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2138 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,323.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2139 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,334.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2140 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,576.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 537
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2141 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,580.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2142 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,903.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2143 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                1,981.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2144 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                2,098.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 538
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2145 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                2,681.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2146 FISHER SCIENTIFIC -REMIT                       1/26/2023        $                6,065.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2147 FISHER SCIENTIFIC -REMIT                       1/31/2023        $             (39,039.84)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2148 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                   66.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 539
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2149 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                   81.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2150 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  137.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2151 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  186.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2152 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  203.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 540
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2153 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  221.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2154 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  270.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2155 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  274.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2156 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  434.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 541
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2157 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  563.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2158 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                  576.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2159 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                1,026.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2160 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                1,078.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 542
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2161 FISHER SCIENTIFIC -REMIT                       1/31/2023        $                5,914.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2162 FISHER SCIENTIFIC -REMIT                       1/31/2023        $               39,670.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2163 FISHER SCIENTIFIC -REMIT                       2/8/2023         $               (1,505.53)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2164 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                (250.92)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 543
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2165 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  110.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2166 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  120.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2167 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  148.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2168 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  258.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 544
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2169 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  337.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2170 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  343.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2171 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  536.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2172 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  592.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 545
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2173 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  755.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2174 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                  801.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2175 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                1,440.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2176 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                1,468.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 546
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2177 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                1,681.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2178 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                2,008.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2179 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                2,041.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2180 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                2,243.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 547
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2181 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                2,965.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2182 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                3,532.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2183 FISHER SCIENTIFIC -REMIT                       2/8/2023         $                3,882.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2184 FISHER SCIENTIFIC -REMIT                       2/13/2023        $               (1,084.45)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 548
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2185 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                (968.64)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2186 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                (137.45)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2187 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                (134.83)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2188 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                 (77.22)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 549
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2189 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                   74.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2190 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                   84.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2191 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                   89.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2192 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  146.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 550
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2193 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  225.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2194 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  234.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2195 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  330.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2196 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  338.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 551
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2197 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  372.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2198 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  417.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2199 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  743.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2200 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  903.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 552
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2201 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                  977.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2202 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                1,040.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2203 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                1,043.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2204 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                1,094.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 553
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2205 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                3,099.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2206 FISHER SCIENTIFIC -REMIT                       2/13/2023        $                5,530.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2207 FISHER SCIENTIFIC -REMIT                       2/13/2023        $               10,794.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2208 FISHER SCIENTIFIC -REMIT                       2/13/2023        $               42,485.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALL AKORN ACCOUNTS                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             13551 COLLECTIONS CTR DR                                                                                Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 554
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2209 FLAVINE NORTH AMERICA INC                      1/12/2023        $              170,325.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             61 SOUTH PARAMUS ROAD                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 565                                                                                               Other

             PARAMUS              NJ          07652
             City                 State       ZIP Code



             Country


     3.2210 FLAVINE NORTH AMERICA INC                      1/19/2023        $                1,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             61 SOUTH PARAMUS ROAD                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 565                                                                                               Other

             PARAMUS              NJ          07652
             City                 State       ZIP Code



             Country


     3.2211 FLAVINE NORTH AMERICA INC                      1/31/2023        $              660,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             61 SOUTH PARAMUS ROAD                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 565                                                                                               Other

             PARAMUS              NJ          07652
             City                 State       ZIP Code



             Country


     3.2212 FL-MCO PHARMACY                                12/22/2022       $               (2,709.76)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 555
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2213 FL-MCO PHARMACY                                12/22/2022       $                (110.08)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country


     3.2214 FL-MCO PHARMACY                                12/22/2022       $                   (2.41)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country


     3.2215 FL-MCO PHARMACY                                12/22/2022       $                  108.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country


     3.2216 FL-MCO PHARMACY                                12/22/2022       $              110,353.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 556
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2217 FL-MCO PHARMACY                                12/22/2022       $              665,841.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country


     3.2218 FL-MEDICAID                                    12/22/2022       $                   (3.32)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country


     3.2219 FL-MEDICAID                                    12/22/2022       $                   35.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country


     3.2220 FL-MEDICAID                                    12/22/2022       $               18,293.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FINANCE & ACCOUNTING/DRUG REBATE                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             2727 MAHAN DRIVE MAIL STOP #14                                                                          Other

             TALLAHASSEE          FL          32308
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 557
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2221 FLUTED PARTITION                               1/31/2023        $               10,230.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             850 UNION AVENUE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRIDGEPORT           CT           06607
             City                 State        ZIP Code



             Country


     3.2222 FOOD AND DRUG ADMINISTRATION                   12/8/2022        $               17,513.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Division of User Fee Management                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             10001 New Hampshire Ave                                                                                 Other

             Silver Spring        MD           20993
             City                 State        ZIP Code



             Country


     3.2223 FOOD AND DRUG ADMINISTRATION                   1/13/2023        $              240,582.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Division of User Fee Management                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             10001 New Hampshire Ave                                                                                 Other

             Silver Spring        MD           20993
             City                 State        ZIP Code



             Country


     3.2224 FOOD AND DRUG ADMINISTRATION                   1/19/2023        $              240,582.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Division of User Fee Management                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             10001 New Hampshire Ave                                                                                 Other

             Silver Spring        MD           20993
             City                 State        ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 558
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2225 FOOD AND DRUG ADMINISTRATION                    1/24/2023       $              240,582.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Division of User Fee Management                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             10001 New Hampshire Ave                                                                                 Other

             Silver Spring        MD           20993
             City                 State        ZIP Code



             Country


     3.2226 FOOD AND DRUG ADMINISTRATION                    1/30/2023       $              362,285.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Division of User Fee Management                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             10001 New Hampshire Ave                                                                                 Other

             Silver Spring        MD           20993
             City                 State        ZIP Code



             Country


     3.2227 FOOD AND DRUG ADMINISTRATION                    1/30/2023       $              571,642.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Division of User Fee Management                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             10001 New Hampshire Ave                                                                                 Other

             Silver Spring        MD           20993
             City                 State        ZIP Code



             Country


     3.2228 FREUDENBERG -REMIT                              11/29/2022      $                3,828.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL           60673-1236
             City                 State        ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 559
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2229 FREUDENBERG -REMIT                             1/6/2023         $               15,360.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2230 FREUDENBERG -REMIT                             1/6/2023         $               19,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2231 FREUDENBERG -REMIT                             1/6/2023         $               19,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2232 FREUDENBERG -REMIT                             1/6/2023         $               20,470.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 560
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2233 FREUDENBERG -REMIT                             1/6/2023         $               22,480.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2234 FREUDENBERG -REMIT                             2/13/2023        $                2,280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2235 FREUDENBERG -REMIT                             2/13/2023        $                4,030.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2236 FREUDENBERG -REMIT                             2/13/2023        $                5,668.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 561
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2237 FREUDENBERG -REMIT                             2/13/2023        $                5,875.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2238 FREUDENBERG -REMIT                             2/13/2023        $               48,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             INHEALTH TECHNOLOGIES                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             23686 NETWORK PLACE                                                                                     Other

             CHICAGO              IL          60673-1236
             City                 State       ZIP Code



             Country


     3.2239 FREYR INC                                      1/6/2023         $               32,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             150 COLLEGE RD WEST                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 102                                                                                               Other

             PRINCETON            NJ          08540
             City                 State       ZIP Code



             Country


     3.2240 GA-AMERIGROUP COM CARE CMO REBATE              12/22/2022       $                 (84.30)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMM HEALTH                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734669, ATTN AMERIGROUP CMTY
             CARE CMO REBA                                                                                           Other

             DALLAS               TX          75373-1426
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 562
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2241 GA-AMERIGROUP COM CARE CMO REBATE              12/22/2022       $               38,437.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMM HEALTH                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734669, ATTN AMERIGROUP CMTY
             CARE CMO REBA                                                                                           Other

             DALLAS               TX          75373-1426
             City                 State       ZIP Code



             Country


     3.2242 GA-CARESOURCE CMO REBATE                       12/22/2022       $                   (6.23)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMM HEALTH                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734669, ATTN CARESOURCE CMO
             REBATE                                                                                                  Other

             DALLAS               TX          75373-1426
             City                 State       ZIP Code



             Country


     3.2243 GA-CARESOURCE CMO REBATE                       12/22/2022       $               23,163.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMM HEALTH                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734669, ATTN CARESOURCE CMO
             REBATE                                                                                                  Other

             DALLAS               TX          75373-1426
             City                 State       ZIP Code



             Country


     3.2244 GA-MEDICAID                                    12/22/2022       $                (549.24)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMMUNITY HEALTH                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734668, ATTN GA FFS REBATE
             PROGRAM                                                                                                 Other

             DALLAS               TX          75373
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 563
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2245 GA-MEDICAID                                    12/22/2022       $               89,917.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMMUNITY HEALTH                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734668, ATTN GA FFS REBATE
             PROGRAM                                                                                                 Other

             DALLAS               TX          75373
             City                 State       ZIP Code



             Country


     3.2246 GA-PEACH STATE HLTH PLAN CMO REBATE            12/22/2022       $                (425.74)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMM HEALTH                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734669, ATTN PEACH STATE HLTH
             PLAN CMO REB                                                                                            Other

             DALLAS               TX          75373-1426
             City                 State       ZIP Code



             Country


     3.2247 GA-PEACH STATE HLTH PLAN CMO REBATE            12/22/2022       $               70,351.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF COMM HEALTH                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 734669, ATTN PEACH STATE HLTH
             PLAN CMO REB                                                                                            Other

             DALLAS               TX          75373-1426
             City                 State       ZIP Code



             Country


     3.2248 Gardaworld                                     2/17/2023        $              350,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Stephan Cretier                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             2300, Rue Emile-Belanger                                                                                Other

             St-Laurent           QC          H4R 3J4
             City                 State       ZIP Code

             Canada
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 564
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2249 GARDAWORLD SECURITY SERVICES -REMIT            11/29/2022       $                2,932.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2250 GARDAWORLD SECURITY SERVICES -REMIT            11/29/2022       $                6,233.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2251 GARDAWORLD SECURITY SERVICES -REMIT            11/29/2022       $                7,864.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2252 GARDAWORLD SECURITY SERVICES -REMIT            11/29/2022       $                7,913.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 565
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2253 GARDAWORLD SECURITY SERVICES -REMIT            11/29/2022       $                8,267.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2254 GARDAWORLD SECURITY SERVICES -REMIT            11/29/2022       $               13,442.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2255 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                2,458.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2256 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                2,638.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 566
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2257 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                2,817.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2258 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                6,040.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2259 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                6,245.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2260 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                6,426.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 567
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2261 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                7,808.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2262 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                7,946.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2263 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                8,098.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2264 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                8,206.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 568
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2265 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                8,254.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2266 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                8,310.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2267 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $                8,600.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2268 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $               12,491.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 569
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2269 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $               13,481.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2270 GARDAWORLD SECURITY SERVICES -REMIT            1/6/2023         $               13,558.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2271 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                   48.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2272 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                1,207.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 570
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2273 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                2,407.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2274 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                2,490.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2275 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                7,804.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2276 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                7,891.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 571
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2277 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                7,941.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2278 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                7,946.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2279 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                7,950.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2280 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                7,974.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 572
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2281 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                8,292.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2282 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $                8,296.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2283 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $               12,657.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country


     3.2284 GARDAWORLD SECURITY SERVICES -REMIT            1/31/2023        $               12,675.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 843886                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-3886
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 573
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2285 GATE SOFTWARE LLC                              2/13/2023        $               24,698.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             8400 E PRENTICE AVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1500                                                                                              Other
             GREENWOOD
             VILLAGE              CO          80111
             City                 State       ZIP Code



             Country


     3.2286 GENERICHEM - REMIT                             1/12/2023        $               73,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 457                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TOTOWA               NJ          07511-0457
             City                 State       ZIP Code



             Country


     3.2287 GERRESHEIMER GLASS INC                         11/29/2022       $               19,800.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country


     3.2288 GERRESHEIMER GLASS INC                         12/8/2022        $               30,374.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 574
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2289 GERRESHEIMER GLASS INC                         12/29/2022       $               66,728.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country


     3.2290 GERRESHEIMER GLASS INC                         1/26/2023        $               10,099.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country


     3.2291 GERRESHEIMER GLASS INC                         1/26/2023        $               34,640.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country


     3.2292 GERRESHEIMER GLASS INC                         1/31/2023        $               22,137.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 575
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2293 GERRESHEIMER GLASS INC                         2/8/2023         $               31,198.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country


     3.2294 GERRESHEIMER GLASS INC                         2/8/2023         $               71,699.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             537 CRYSTAL AVE                                                                                         Other

             VINELAND             NJ          08360
             City                 State       ZIP Code



             Country


     3.2295 GETINGE USA -REMIT                             11/29/2022       $               10,036.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 775436                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-5436
             City                 State       ZIP Code



             Country


     3.2296 GETINGE USA -REMIT                             1/31/2023        $                  693.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 775436                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-5436
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 576
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2297 GETINGE USA -REMIT                             1/31/2023        $                5,355.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 775436                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-5436
             City                 State       ZIP Code



             Country


     3.2298 GOLDEN STATE MEDICAL SUPPLY INC                11/29/2022       $              651,733.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5187 CAMINO RUIZ                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAMARILLO            CA          93012
             City                 State       ZIP Code



             Country


     3.2299 GOLDEN STATE MEDICAL SUPPLY INC                1/12/2023        $               10,297.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5187 CAMINO RUIZ                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAMARILLO            CA          93012
             City                 State       ZIP Code



             Country


     3.2300 GORDON FLESCH CO INC                           11/29/2022       $                   17.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 577
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2301 GORDON FLESCH CO INC                           11/29/2022       $                   41.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2302 GORDON FLESCH CO INC                           11/29/2022       $                  114.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2303 GORDON FLESCH CO INC                           11/29/2022       $                  127.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2304 GORDON FLESCH CO INC                           11/29/2022       $                  166.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 578
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2305 GORDON FLESCH CO INC                           11/29/2022       $                  243.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2306 GORDON FLESCH CO INC                           11/29/2022       $                  350.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2307 GORDON FLESCH CO INC                           11/29/2022       $                  431.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2308 GORDON FLESCH CO INC                           11/29/2022       $                  451.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 579
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2309 GORDON FLESCH CO INC                           11/29/2022       $                1,196.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2310 GORDON FLESCH CO INC                           12/8/2022        $                   73.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2311 GORDON FLESCH CO INC                           12/8/2022        $                  207.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2312 GORDON FLESCH CO INC                           1/12/2023        $                    5.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 580
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2313 GORDON FLESCH CO INC                           1/12/2023        $                    7.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2314 GORDON FLESCH CO INC                           1/12/2023        $                   10.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2315 GORDON FLESCH CO INC                           1/12/2023        $                   30.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2316 GORDON FLESCH CO INC                           1/12/2023        $                   49.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 581
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2317 GORDON FLESCH CO INC                           1/12/2023        $                   51.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2318 GORDON FLESCH CO INC                           1/12/2023        $                   55.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2319 GORDON FLESCH CO INC                           1/12/2023        $                   58.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2320 GORDON FLESCH CO INC                           1/12/2023        $                   77.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 582
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2321 GORDON FLESCH CO INC                           1/12/2023        $                  114.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2322 GORDON FLESCH CO INC                           1/12/2023        $                  119.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2323 GORDON FLESCH CO INC                           1/12/2023        $                  158.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2324 GORDON FLESCH CO INC                           1/12/2023        $                  197.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 583
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2325 GORDON FLESCH CO INC                           1/12/2023        $                  219.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2326 GORDON FLESCH CO INC                           1/12/2023        $                  256.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2327 GORDON FLESCH CO INC                           1/12/2023        $                  257.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2328 GORDON FLESCH CO INC                           1/12/2023        $                  267.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 584
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2329 GORDON FLESCH CO INC                           1/12/2023        $                  364.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2330 GORDON FLESCH CO INC                           1/12/2023        $                  377.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2331 GORDON FLESCH CO INC                           1/12/2023        $                  377.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2332 GORDON FLESCH CO INC                           1/12/2023        $                  393.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 585
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2333 GORDON FLESCH CO INC                           1/12/2023        $                  393.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2334 GORDON FLESCH CO INC                           1/12/2023        $                  414.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2335 GORDON FLESCH CO INC                           1/12/2023        $                  577.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2336 GORDON FLESCH CO INC                           1/12/2023        $                  660.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 586
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2337 GORDON FLESCH CO INC                           1/12/2023        $                  954.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2338 GORDON FLESCH CO INC                           1/12/2023        $                1,538.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2339 GORDON FLESCH CO INC                           1/12/2023        $                1,698.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2340 GORDON FLESCH CO INC                           1/12/2023        $                1,698.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 587
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2341 GORDON FLESCH CO INC                           1/12/2023        $                1,728.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2342 GORDON FLESCH CO INC                           1/12/2023        $                2,170.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2343 GORDON FLESCH CO INC                           1/12/2023        $               12,966.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2344 GORDON FLESCH CO INC                           1/31/2023        $                1,673.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 588
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2345 GORDON FLESCH CO INC                           2/13/2023        $                   25.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2346 GORDON FLESCH CO INC                           2/13/2023        $                  393.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2347 GORDON FLESCH CO INC                           2/13/2023        $               13,036.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BIN 88236                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILWAUKEE            WI          53288-0236
             City                 State       ZIP Code



             Country


     3.2348 GOVERNMENT COUNSEL LLC                         1/30/2023        $               10,438.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4 DOCKSIDE LANE #500                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KEY LARGO            FL          33037
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 589
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.2349 GP PHARM SA                                        12/29/2022    $                   35.89                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2350 GP PHARM SA                                        12/29/2022    $                  220.55                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2351 GP PHARM SA                                        12/29/2022    $                  426.41                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2352 GP PHARM SA                                        12/29/2022    $                1,069.06                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 590
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.2353 GP PHARM SA                                        12/29/2022    $                4,743.24                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2354 GP PHARM SA                                        12/29/2022    $                7,753.60                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2355 GP PHARM SA                                        12/29/2022    $               28,577.84                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2356 GP PHARM SA                                        12/29/2022    $              207,268.60                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 591
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.2357 GP PHARM SA                                        1/12/2023     $                   78.64                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2358 GP PHARM SA                                        1/12/2023     $                2,309.35                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2359 GP PHARM SA                                        1/27/2023     $                5,489.12                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2360 GP PHARM SA                                        1/27/2023     $               13,652.96                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 592
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.2361 GP PHARM SA                                        1/27/2023     $              161,144.64                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2362 GP PHARM SA                                        1/27/2023     $              169,308.48                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Berta Ponsati                                                                                     5      Suppliers or vendors
             Street
                                                                                                                      Services
             Placa de Europa 9-11, 13th floor, Hospitalet de
             Llobregat                                                                                                Other

             Barcelona                           08908
             City                   State        ZIP Code

             Spain
             Country


     3.2363 GRAINGER DECATUR                                   11/29/2022    $                   41.42                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             DEPT 865497671                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             PALATINE               IL           60038-0001
             City                   State        ZIP Code



             Country


     3.2364 GRAINGER DECATUR                                   11/29/2022    $                   53.95                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             DEPT 865497671                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             PALATINE               IL           60038-0001
             City                   State        ZIP Code



             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 593
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2365 GRAINGER DECATUR                               11/29/2022       $                  125.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2366 GRAINGER DECATUR                               11/29/2022       $                  178.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2367 GRAINGER DECATUR                               11/29/2022       $                  196.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2368 GRAINGER DECATUR                               11/29/2022       $                  443.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 594
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2369 GRAINGER DECATUR                               12/8/2022        $                   30.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2370 GRAINGER DECATUR                               12/8/2022        $                  371.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2371 GRAINGER DECATUR                               1/6/2023         $                   19.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2372 GRAINGER DECATUR                               1/6/2023         $                   66.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 595
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2373 GRAINGER DECATUR                               1/6/2023         $                   68.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2374 GRAINGER DECATUR                               1/6/2023         $                   70.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2375 GRAINGER DECATUR                               1/6/2023         $                   81.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2376 GRAINGER DECATUR                               1/6/2023         $                  158.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 596
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2377 GRAINGER DECATUR                               1/6/2023         $                  185.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2378 GRAINGER DECATUR                               1/6/2023         $                  197.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2379 GRAINGER DECATUR                               1/6/2023         $                  198.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2380 GRAINGER DECATUR                               1/6/2023         $                  223.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 597
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2381 GRAINGER DECATUR                               1/6/2023         $                  350.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2382 GRAINGER DECATUR                               1/6/2023         $                  679.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2383 GRAINGER DECATUR                               1/6/2023         $                  682.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2384 GRAINGER DECATUR                               1/6/2023         $                  836.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 598
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2385 GRAINGER DECATUR                               1/6/2023         $                  878.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2386 GRAINGER DECATUR                               1/6/2023         $                1,863.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2387 GRAINGER DECATUR                               1/12/2023        $                   29.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2388 GRAINGER DECATUR                               1/12/2023        $                  154.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 599
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2389 GRAINGER DECATUR                               1/12/2023        $                  324.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2390 GRAINGER DECATUR                               1/12/2023        $                  407.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2391 GRAINGER DECATUR                               1/12/2023        $                  700.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2392 GRAINGER DECATUR                               1/31/2023        $                   26.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 600
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2393 GRAINGER DECATUR                               1/31/2023        $                   55.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2394 GRAINGER DECATUR                               1/31/2023        $                  142.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2395 GRAINGER DECATUR                               1/31/2023        $                  278.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2396 GRAINGER DECATUR                               1/31/2023        $                  513.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 601
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2397 GRAINGER DECATUR                               1/31/2023        $                  652.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2398 GRAINGER DECATUR                               1/31/2023        $                  811.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2399 GRAINGER DECATUR                               1/31/2023        $                1,117.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2400 GRAINGER DECATUR                               2/8/2023         $                   99.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 602
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2401 GRAINGER DECATUR                               2/8/2023         $                  979.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2402 GRAINGER DECATUR                               2/13/2023        $                   29.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2403 GRAINGER DECATUR                               2/13/2023        $                2,052.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2404 GRAINGER HI-TECH                               11/29/2022       $                  147.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 603
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2405 GRAINGER HI-TECH                               11/29/2022       $                  235.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2406 GRAINGER HI-TECH                               11/29/2022       $                  254.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2407 GRAINGER HI-TECH                               11/29/2022       $                  413.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2408 GRAINGER HI-TECH                               11/29/2022       $                  540.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 604
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2409 GRAINGER HI-TECH                               11/29/2022       $                1,308.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2410 GRAINGER HI-TECH                               11/29/2022       $                3,652.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2411 GRAINGER HI-TECH                               11/29/2022       $                6,396.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2412 GRAINGER HI-TECH                               12/8/2022        $                   48.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 605
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2413 GRAINGER HI-TECH                               12/8/2022        $                  229.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2414 GRAINGER HI-TECH                               12/8/2022        $                  234.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2415 GRAINGER HI-TECH                               12/8/2022        $                  359.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2416 GRAINGER HI-TECH                               12/8/2022        $                  459.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 606
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2417 GRAINGER HI-TECH                               12/8/2022        $                2,255.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2418 GRAINGER HI-TECH                               12/8/2022        $               11,029.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2419 GRAINGER HI-TECH                               1/6/2023         $                   29.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2420 GRAINGER HI-TECH                               1/6/2023         $                   94.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 607
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2421 GRAINGER HI-TECH                               1/6/2023         $                  129.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2422 GRAINGER HI-TECH                               1/6/2023         $                  142.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2423 GRAINGER HI-TECH                               1/6/2023         $                  160.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2424 GRAINGER HI-TECH                               1/6/2023         $                  382.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 608
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2425 GRAINGER HI-TECH                               1/6/2023         $                  441.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2426 GRAINGER HI-TECH                               1/6/2023         $                  537.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2427 GRAINGER HI-TECH                               1/6/2023         $                  573.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2428 GRAINGER HI-TECH                               1/6/2023         $                  803.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 609
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2429 GRAINGER HI-TECH                               1/6/2023         $                  970.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2430 GRAINGER HI-TECH                               1/6/2023         $                1,582.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2431 GRAINGER HI-TECH                               1/6/2023         $                2,200.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2432 GRAINGER HI-TECH                               1/12/2023        $                    5.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 610
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2433 GRAINGER HI-TECH                               1/12/2023        $                   47.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2434 GRAINGER HI-TECH                               1/12/2023        $                   87.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2435 GRAINGER HI-TECH                               1/12/2023        $                   94.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2436 GRAINGER HI-TECH                               1/12/2023        $                  176.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 611
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2437 GRAINGER HI-TECH                               1/12/2023        $                  264.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2438 GRAINGER HI-TECH                               1/12/2023        $                  320.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2439 GRAINGER HI-TECH                               1/12/2023        $                2,241.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2440 GRAINGER HI-TECH                               1/31/2023        $                  142.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 612
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2441 GRAINGER HI-TECH                               1/31/2023        $                  243.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2442 GRAINGER HI-TECH                               1/31/2023        $                  425.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2443 GRAINGER HI-TECH                               1/31/2023        $                  451.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2444 GRAINGER HI-TECH                               1/31/2023        $                  505.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 613
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2445 GRAINGER HI-TECH                               1/31/2023        $                  925.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2446 GRAINGER HI-TECH                               1/31/2023        $                  926.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2447 GRAINGER HI-TECH                               1/31/2023        $                  942.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2448 GRAINGER HI-TECH                               1/31/2023        $                1,124.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 614
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2449 GRAINGER HI-TECH                               1/31/2023        $                4,485.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2450 GRAINGER HI-TECH                               2/8/2023         $                  255.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2451 GRAINGER HI-TECH                               2/8/2023         $                  483.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2452 GRAINGER HI-TECH                               2/8/2023         $                1,467.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 615
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2453 GRAINGER HI-TECH                               2/13/2023        $                   94.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2454 GRAINGER HI-TECH                               2/13/2023        $                  601.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2455 GRAINGER HI-TECH                               2/13/2023        $                1,723.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 865497671                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60038-0001
             City                 State       ZIP Code



             Country


     3.2456 GRANT THORNTON LLP                             11/29/2022       $                1,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 616
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2457 GRANT THORNTON LLP                             11/29/2022       $                1,560.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2458 GRANT THORNTON LLP                             11/29/2022       $                7,684.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2459 GRANT THORNTON LLP                             11/29/2022       $               15,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2460 GRANT THORNTON LLP                             11/29/2022       $               15,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 617
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2461 GRANT THORNTON LLP                             11/29/2022       $               17,821.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2462 GRANT THORNTON LLP                             11/29/2022       $               20,347.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2463 GRANT THORNTON LLP                             11/29/2022       $               27,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2464 GRANT THORNTON LLP                             11/29/2022       $               58,916.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 618
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2465 GRANT THORNTON LLP                             11/29/2022       $               82,487.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2466 GRANT THORNTON LLP                             1/5/2023         $                4,409.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2467 GRANT THORNTON LLP                             1/5/2023         $                6,303.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2468 GRANT THORNTON LLP                             1/5/2023         $               15,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 619
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2469 GRANT THORNTON LLP                             1/5/2023         $              211,402.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2470 GRANT THORNTON LLP                             1/12/2023        $               17,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33562 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-3500
             City                 State       ZIP Code



             Country


     3.2471 GUIDEPOINT SECURITY -REMIT                     12/8/2022        $               56,494.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 844716                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02284-4716
             City                 State       ZIP Code



             Country


     3.2472 GUIDEPOINT SECURITY -REMIT                     1/31/2023        $               91,630.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 844716                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02284-4716
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 620
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2473 GUIDEPOINT SECURITY -REMIT                     2/13/2023        $               43,120.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 844716                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02284-4716
             City                 State       ZIP Code



             Country


     3.2474 GURUNATH PADGAONKAR                            2/8/2023         $                5,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             324 Rustay Court                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             South Plainfield     NJ          07080
             City                 State       ZIP Code



             Country


     3.2475 Gurunath Padgaonkar                            2/23/2023        $               15,660.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                         Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                              5      Other      Consulting services



             City                 State       ZIP Code



             Country


     3.2476 H R STEWART INC                                11/29/2022       $                2,680.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             52 W CRYSTAL ST                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN SHEILA LUCCHETTI                                                                                   Other

             CARY                 IL          60013
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 621
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2477 H R STEWART INC                                1/31/2023        $                  431.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             52 W CRYSTAL ST                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN SHEILA LUCCHETTI                                                                                   Other

             CARY                 IL          60013
             City                 State       ZIP Code



             Country


     3.2478 H R STEWART INC                                1/31/2023        $                  455.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             52 W CRYSTAL ST                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN SHEILA LUCCHETTI                                                                                   Other

             CARY                 IL          60013
             City                 State       ZIP Code



             Country


     3.2479 H R STEWART INC                                1/31/2023        $                  510.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             52 W CRYSTAL ST                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN SHEILA LUCCHETTI                                                                                   Other

             CARY                 IL          60013
             City                 State       ZIP Code



             Country


     3.2480 H R STEWART INC                                1/31/2023        $                2,072.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             52 W CRYSTAL ST                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN SHEILA LUCCHETTI                                                                                   Other

             CARY                 IL          60013
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 622
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2481 H R STEWART INC                                1/31/2023        $                4,222.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             52 W CRYSTAL ST                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN SHEILA LUCCHETTI                                                                                   Other

             CARY                 IL          60013
             City                 State       ZIP Code



             Country


     3.2482 HAUPT PHARMA -R&D ONLY                         2/7/2023         $               22,051.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PFAFFENREIDERSTRASSE 5                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WOLFRATSHAUSEN                   82515
             City                 State       ZIP Code

             GERMANY
             Country


     3.2483 HEALTHCHECK360                                 11/29/2022       $                7,667.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 MAIN ST                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DUBUQUE              IA          52001
             City                 State       ZIP Code



             Country


     3.2484 HEALTHCHECK360                                 12/22/2022       $                7,162.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 MAIN ST                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DUBUQUE              IA          52001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 623
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2485 HEALTHCHECK360                                 12/22/2022       $               72,330.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 MAIN ST                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DUBUQUE              IA          52001
             City                 State       ZIP Code



             Country


     3.2486 HEALTHCHECK360                                 1/12/2023        $                6,993.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 MAIN ST                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DUBUQUE              IA          52001
             City                 State       ZIP Code



             Country


     3.2487 HEALTHY BLUE MCO                               11/29/2022       $                   (1.12)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC HEALTHY BLUE MCO                                                                                Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.2488 HEALTHY BLUE MCO                               11/29/2022       $                   26.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC HEALTHY BLUE MCO                                                                                Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 624
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2489 HEALTHY BLUE MCO                               11/29/2022       $                   69.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC HEALTHY BLUE MCO                                                                                Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.2490 HEALTHY BLUE MCO                               11/29/2022       $                3,735.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC HEALTHY BLUE MCO                                                                                Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.2491 HEALTHY BLUE MCO                               11/29/2022       $               30,229.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC HEALTHY BLUE MCO                                                                                Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.2492 HENDERSON CONSTRUCTORS INC                     1/19/2023        $              321,208.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             350 E BUTLER AVENUE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRITAIN          PA          18901
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 625
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2493 HERITAGE WELCH -REMIT                          11/29/2022       $                4,047.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2494 HERITAGE WELCH -REMIT                          11/29/2022       $                6,865.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2495 HERITAGE WELCH -REMIT                          1/12/2023        $                  864.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2496 HERITAGE WELCH -REMIT                          1/12/2023        $                1,387.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 626
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2497 HERITAGE WELCH -REMIT                          1/12/2023        $                1,871.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2498 HERITAGE WELCH -REMIT                          1/12/2023        $                4,342.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2499 HERITAGE WELCH -REMIT                          1/12/2023        $                4,853.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2500 HERITAGE WELCH -REMIT                          1/12/2023        $               16,600.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 627
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2501 HERITAGE WELCH -REMIT                          1/31/2023        $                2,151.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2502 HERITAGE WELCH -REMIT                          1/31/2023        $                2,744.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2503 HERITAGE WELCH -REMIT                          2/13/2023        $                2,916.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 856421                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-6421
             City                 State       ZIP Code



             Country


     3.2504 HI-MCO                                         12/22/2022       $                    0.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             HAWAII MEDICAID DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             CONDUENT STATE HEALTHCARE LLC, PO
             BOX 1480                                                                                                Other

             HONOLULU             HI          96806-1480
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 628
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2505 HI-MCO                                         12/22/2022       $                    0.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             HAWAII MEDICAID DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             CONDUENT STATE HEALTHCARE LLC, PO
             BOX 1480                                                                                                Other

             HONOLULU             HI          96806-1480
             City                 State       ZIP Code



             Country


     3.2506 HI-MCO                                         12/22/2022       $                    2.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             HAWAII MEDICAID DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             CONDUENT STATE HEALTHCARE LLC, PO
             BOX 1480                                                                                                Other

             HONOLULU             HI          96806-1480
             City                 State       ZIP Code



             Country


     3.2507 HI-MCO                                         12/22/2022       $                  867.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             HAWAII MEDICAID DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             CONDUENT STATE HEALTHCARE LLC, PO
             BOX 1480                                                                                                Other

             HONOLULU             HI          96806-1480
             City                 State       ZIP Code



             Country


     3.2508 HI-MCO                                         12/22/2022       $               11,873.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             HAWAII MEDICAID DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             CONDUENT STATE HEALTHCARE LLC, PO
             BOX 1480                                                                                                Other

             HONOLULU             HI          96806-1480
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 629
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2509 HOLLAND APPLIED TECHNOLOGIES INC               11/29/2022       $                  219.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2510 HOLLAND APPLIED TECHNOLOGIES INC               11/29/2022       $                  247.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2511 HOLLAND APPLIED TECHNOLOGIES INC               11/29/2022       $                1,367.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2512 HOLLAND APPLIED TECHNOLOGIES INC               11/29/2022       $                1,524.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 630
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2513 HOLLAND APPLIED TECHNOLOGIES INC               11/29/2022       $                2,307.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2514 HOLLAND APPLIED TECHNOLOGIES INC               11/29/2022       $                8,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2515 HOLLAND APPLIED TECHNOLOGIES INC               12/8/2022        $                2,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2516 HOLLAND APPLIED TECHNOLOGIES INC               12/8/2022        $               41,683.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 631
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2517 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                  185.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2518 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                  280.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2519 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                  282.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2520 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                  362.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 632
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2521 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                  742.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2522 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                  829.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2523 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                  832.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2524 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                1,086.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 633
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2525 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                1,102.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2526 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                1,138.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2527 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                2,478.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2528 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $                3,087.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 634
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2529 HOLLAND APPLIED TECHNOLOGIES INC               1/6/2023         $               19,619.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2530 HOLLAND APPLIED TECHNOLOGIES INC               1/12/2023        $                3,440.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2531 HOLLAND APPLIED TECHNOLOGIES INC               1/12/2023        $                4,482.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2532 HOLLAND APPLIED TECHNOLOGIES INC               1/12/2023        $               11,555.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 635
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2533 HOLLAND APPLIED TECHNOLOGIES INC               1/31/2023        $                3,045.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2534 HOLLAND APPLIED TECHNOLOGIES INC               2/8/2023         $                  121.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2535 HOLLAND APPLIED TECHNOLOGIES INC               2/8/2023         $                  438.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country


     3.2536 HOLLAND APPLIED TECHNOLOGIES INC               2/13/2023        $                4,027.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7050 HIGH GROVE BLVD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BURR RIDGE           IL          60527
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 636
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2537 HRLM CONSULTING LLC                            12/8/2022        $               24,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 OVERTON RD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OSSINING             NY          10562
             City                 State       ZIP Code



             Country


     3.2538 HRLM CONSULTING LLC                            12/15/2022       $               16,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 OVERTON RD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OSSINING             NY          10562
             City                 State       ZIP Code



             Country


     3.2539 HRLM CONSULTING LLC                            1/3/2023         $               17,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 OVERTON RD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OSSINING             NY          10562
             City                 State       ZIP Code



             Country


     3.2540 HRLM CONSULTING LLC                            1/26/2023        $               17,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 OVERTON RD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OSSINING             NY          10562
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 637
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2541 HRLM CONSULTING LLC                            2/13/2023        $               16,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 OVERTON RD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OSSINING             NY          10562
             City                 State       ZIP Code



             Country


            HUDSON VALLEY PLASTICS (FORMER                                                                           Secured debt
     3.2542 PIETRYKA)                                      1/12/2023        $                6,106.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             85 CHARLES COLMAN BLVD                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PAWLING              NY          12564
             City                 State       ZIP Code



             Country


            HUDSON VALLEY PLASTICS (FORMER                                                                           Secured debt
     3.2543 PIETRYKA)                                      1/12/2023        $                9,159.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             85 CHARLES COLMAN BLVD                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PAWLING              NY          12564
             City                 State       ZIP Code



             Country


            HUDSON VALLEY PLASTICS (FORMER                                                                           Secured debt
     3.2544 PIETRYKA)                                      1/19/2023        $                9,159.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             85 CHARLES COLMAN BLVD                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PAWLING              NY          12564
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 638
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            HUDSON VALLEY PLASTICS (FORMER                                                                           Secured debt
     3.2545 PIETRYKA)                                      1/31/2023        $                9,159.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             85 CHARLES COLMAN BLVD                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PAWLING              NY          12564
             City                 State       ZIP Code



             Country


     3.2546 IA-MCO                                         12/22/2022       $                    7.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 850195                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-0195
             City                 State       ZIP Code



             Country


     3.2547 IA-MCO                                         12/22/2022       $                3,053.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 850195                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-0195
             City                 State       ZIP Code



             Country


     3.2548 IA-MCO                                         12/22/2022       $               23,047.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 850195                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MINNEAPOLIS          MN          55485-0195
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 639
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2549 ICON (FORMERLY OPTUMINSIGHT 10-15)             11/29/2022       $               11,914.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4 INNOVATION DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DUNDAS               ON          L9H 7P3
             City                 State       ZIP Code

             CANADA
             Country


     3.2550 ICON (FORMERLY OPTUMINSIGHT 10-15)             1/12/2023        $                  179.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4 INNOVATION DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DUNDAS               ON          L9H 7P3
             City                 State       ZIP Code

             CANADA
             Country


     3.2551 ICON (FORMERLY OPTUMINSIGHT 10-15)             1/12/2023        $                9,372.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4 INNOVATION DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DUNDAS               ON          L9H 7P3
             City                 State       ZIP Code

             CANADA
             Country


     3.2552 ID-MEDICAID                                    12/22/2022       $                (168.31)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DOH AND WELFARE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             11013 W BROAD STREET SUITE 500, ATTN ID
             MEDI REBATE PROGRAM                                                                                     Other

             GLEN ALLEN           VA          23060
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 640
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2553 ID-MEDICAID                                    12/22/2022       $                   (1.06)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DOH AND WELFARE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             11013 W BROAD STREET SUITE 500, ATTN ID
             MEDI REBATE PROGRAM                                                                                     Other

             GLEN ALLEN           VA          23060
             City                 State       ZIP Code



             Country


     3.2554 ID-MEDICAID                                    12/22/2022       $                   (0.53)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DOH AND WELFARE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             11013 W BROAD STREET SUITE 500, ATTN ID
             MEDI REBATE PROGRAM                                                                                     Other

             GLEN ALLEN           VA          23060
             City                 State       ZIP Code



             Country


     3.2555 ID-MEDICAID                                    12/22/2022       $               12,343.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DOH AND WELFARE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             11013 W BROAD STREET SUITE 500, ATTN ID
             MEDI REBATE PROGRAM                                                                                     Other

             GLEN ALLEN           VA          23060
             City                 State       ZIP Code



             Country


     3.2556 IES ENGINEERS                                  11/28/2022       $               (9,777.24)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 641
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2557 IES ENGINEERS                                  11/28/2022       $                9,777.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country


     3.2558 IES ENGINEERS                                  12/8/2022        $                3,075.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country


     3.2559 IES ENGINEERS                                  12/8/2022        $                6,185.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country


     3.2560 IES ENGINEERS                                  12/8/2022        $                9,777.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 642
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2561 IES ENGINEERS                                  1/6/2023         $                4,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country


     3.2562 IES ENGINEERS                                  1/6/2023         $                5,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country


     3.2563 IES ENGINEERS                                  1/6/2023         $               11,651.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1720 WALTON ROAD                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLUE BELL            PA          19422
             City                 State       ZIP Code



             Country


     3.2564 IL-MCO                                         12/22/2022       $               (1,284.91)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 643
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2565 IL-MCO                                         12/22/2022       $                (167.04)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country


     3.2566 IL-MCO                                         12/22/2022       $                (146.68)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country


     3.2567 IL-MCO                                         12/22/2022       $                (139.48)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country


     3.2568 IL-MCO                                         12/22/2022       $               34,818.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 644
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2569 IL-MCO                                         12/22/2022       $              103,102.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country


     3.2570 IL-MEDICAID                                    12/22/2022       $                (149.12)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country


     3.2571 IL-MEDICAID                                    12/22/2022       $                9,367.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT HLTH & FML SRV RECOV UNIT/DPR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 19107                                                                                            Other

             SPRINGFIELD          IL          62794-9107
             City                 State       ZIP Code



             Country


     3.2572 IMA NORTH AMERICA INC                          11/29/2022       $               10,019.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 NEW LANCASTER ROAD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEOMINSTER           MA          01453
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 645
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2573 IMA NORTH AMERICA INC                          11/29/2022       $               22,879.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 NEW LANCASTER ROAD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEOMINSTER           MA          01453
             City                 State       ZIP Code



             Country


     3.2574 IMA NORTH AMERICA INC                          1/6/2023         $                  146.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 NEW LANCASTER ROAD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEOMINSTER           MA          01453
             City                 State       ZIP Code



             Country


     3.2575 IMA NORTH AMERICA INC                          1/6/2023         $               11,540.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 NEW LANCASTER ROAD                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LEOMINSTER           MA          01453
             City                 State       ZIP Code



             Country


     3.2576 IMCD GROUP (FORMERLY MUTCHLER)                 1/6/2023         $               53,672.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5168                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5168
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 646
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2577 IMCD GROUP (FORMERLY MUTCHLER)                 1/12/2023        $                1,699.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5168                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5168
             City                 State       ZIP Code



             Country


     3.2578 IMCD GROUP (FORMERLY MUTCHLER)                 1/12/2023        $               12,882.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5168                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-5168
             City                 State       ZIP Code



             Country


     3.2579 INDOFF INCORPORATED                            1/6/2023         $                1,233.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842808                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-2808
             City                 State       ZIP Code



             Country


     3.2580 INDOFF INCORPORATED                            1/6/2023         $               13,753.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842808                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KANSAS CITY          MO          64184-2808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 647
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2581 IN-MCO                                         12/22/2022       $                   (9.43)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country


     3.2582 IN-MCO                                         12/22/2022       $                   (1.19)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country


     3.2583 IN-MCO                                         12/22/2022       $                   (0.02)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country


     3.2584 IN-MCO                                         12/22/2022       $                  171.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 648
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2585 IN-MCO                                         12/22/2022       $                9,219.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country


     3.2586 IN-MCO                                         12/22/2022       $               52,689.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country


     3.2587 IN-MEDICAID                                    12/22/2022       $                   (3.69)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country


     3.2588 IN-MEDICAID                                    12/22/2022       $               14,979.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26593 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1265
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 649
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2589 INTERCHEM CORPORATION                          2/13/2023        $                1,817.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 RT 17 NORTH                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PARAMUS              NJ          07652-2819
             City                 State       ZIP Code



             Country


     3.2590 INTERCHEM CORPORATION                          2/13/2023        $               88,896.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 RT 17 NORTH                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PARAMUS              NJ          07652-2819
             City                 State       ZIP Code



             Country


     3.2591 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $                  313.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.2592 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $                  407.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 650
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2593 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $                1,712.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.2594 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $                2,211.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.2595 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $                2,431.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.2596 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $                3,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 651
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2597 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $                6,346.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.2598 INTERIOR SPECIALTY CONSTRUCTION                1/31/2023        $               47,360.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3233                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.2599 INTERNATIONAL MOLASSES CORP                    12/8/2022        $               44,833.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 898                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SADDLE BROOK         NJ          07663
             City                 State       ZIP Code



             Country


     3.2600 INTERNATIONAL MOLASSES CORP                    1/6/2023         $               37,635.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 898                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SADDLE BROOK         NJ          07663
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 652
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2601 INTERNATIONAL MOLASSES CORP                    1/6/2023         $               37,635.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 898                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SADDLE BROOK         NJ          07663
             City                 State       ZIP Code



             Country


     3.2602 INTERNATIONAL MOLASSES CORP                    1/6/2023         $               44,833.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 898                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SADDLE BROOK         NJ          07663
             City                 State       ZIP Code



             Country


     3.2603 INTERNATIONAL MOLASSES CORP                    1/12/2023        $               44,833.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 898                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SADDLE BROOK         NJ          07663
             City                 State       ZIP Code



             Country


     3.2604 INTERNATIONAL MOLASSES CORP                    2/13/2023        $               48,964.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 898                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SADDLE BROOK         NJ          07663
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 653
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2605 INTERTEK -REMIT                                11/29/2022       $               16,081.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 416482                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6482
             City                 State       ZIP Code



             Country


     3.2606 INTERTEK -REMIT                                1/31/2023        $                1,083.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 416482                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6482
             City                 State       ZIP Code



             Country


     3.2607 INTRALINKS INC                                 12/22/2022       $                7,408.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 392134                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-9134
             City                 State       ZIP Code



             Country


     3.2608 INTRALINKS INC                                 12/22/2022       $               37,427.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 392134                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-9134
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 654
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2609 INTRALINKS INC                                 12/22/2022       $              158,885.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 392134                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-9134
             City                 State       ZIP Code



             Country


     3.2610 IRON MOUNTAIN                                  11/29/2022       $                  325.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country


     3.2611 IRON MOUNTAIN                                  11/29/2022       $                2,082.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country


     3.2612 IRON MOUNTAIN                                  11/29/2022       $                2,446.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 655
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2613 IRON MOUNTAIN                                  11/29/2022       $                2,698.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country


     3.2614 IRON MOUNTAIN                                  11/29/2022       $                2,927.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country


     3.2615 IRON MOUNTAIN                                  12/8/2022        $                  325.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country


     3.2616 IRON MOUNTAIN                                  12/8/2022        $                  327.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 656
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2617 IRON MOUNTAIN                                  12/8/2022        $                5,804.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country


     3.2618 IRON MOUNTAIN                                  12/8/2022        $               13,905.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 27128                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-7128
             City                 State       ZIP Code



             Country


     3.2619 IRON MOUNTAIN RECORDS MANAGEMENT               11/29/2022       $                1,189.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 915004                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75391-5004
             City                 State       ZIP Code



             Country


     3.2620 IRON MOUNTAIN RECORDS MANAGEMENT               11/29/2022       $                3,683.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 915004                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75391-5004
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 657
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2621 IRON MOUNTAIN RECORDS MANAGEMENT               12/8/2022        $                2,065.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 915004                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75391-5004
             City                 State       ZIP Code



             Country


     3.2622 IRON MOUNTAIN RECORDS MANAGEMENT               12/8/2022        $                2,710.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 915004                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75391-5004
             City                 State       ZIP Code



             Country


     3.2623 JACKSON LEWIS PC                               12/8/2022        $                9,393.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 4169019                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6019
             City                 State       ZIP Code



             Country


     3.2624 JACKSON LEWIS PC                               12/8/2022        $               12,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 4169019                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6019
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 658
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2625 JACKSON LEWIS PC                               12/15/2022       $                1,015.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 4169019                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6019
             City                 State       ZIP Code



             Country


     3.2626 JACKSON LEWIS PC                               12/15/2022       $                1,635.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 4169019                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6019
             City                 State       ZIP Code



             Country


     3.2627 JACKSON LEWIS PC                               12/15/2022       $                2,295.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 4169019                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6019
             City                 State       ZIP Code



             Country


     3.2628 JACKSON LEWIS PC                               12/15/2022       $                7,830.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 4169019                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6019
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 659
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2629 JACKSON LEWIS PC                               12/15/2022       $               27,352.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 4169019                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-6019
             City                 State       ZIP Code



             Country


     3.2630 JAF LOGISTICS                                  1/19/2023        $                5,294.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1319 NORTH BROAD STREET                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HILLSIDE             NJ          07205
             City                 State       ZIP Code



             Country


     3.2631 JAF LOGISTICS                                  1/31/2023        $                2,165.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1319 NORTH BROAD STREET                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HILLSIDE             NJ          07205
             City                 State       ZIP Code



             Country


     3.2632 JAF LOGISTICS                                  2/8/2023         $                2,455.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1319 NORTH BROAD STREET                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HILLSIDE             NJ          07205
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 660
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2633 JDK GROUP SOLUTIONS LLC                        2/15/2023        $               10,376.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MARK BOYER                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             19502 E ROGERS POST RD                                                                                  Other

             CLAREMORE            OK          74019
             City                 State       ZIP Code



             Country


     3.2634 JDLR CONSULTING LLC                            12/8/2022        $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3521 SUTTON LOOP                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FREMONT              CA          94536
             City                 State       ZIP Code



             Country


     3.2635 JDLR CONSULTING LLC                            1/6/2023         $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3521 SUTTON LOOP                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FREMONT              CA          94536
             City                 State       ZIP Code



             Country


     3.2636 JDLR CONSULTING LLC                            1/31/2023        $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3521 SUTTON LOOP                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FREMONT              CA          94536
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 661
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2637 JDLR CONSULTING LLC                            2/8/2023         $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3521 SUTTON LOOP                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FREMONT              CA          94536
             City                 State       ZIP Code



             Country


     3.2638 Jimmy Cognata                                  2/23/2023        $                  370.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                         Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                              5      Other      Expense reimbursement



             City                 State       ZIP Code



             Country


     3.2639 JOHNSON CNTL FIRE FORMER SIMPLEX G             12/8/2022        $                1,071.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country


     3.2640 JOHNSON CNTL FIRE FORMER SIMPLEX G             12/8/2022        $                3,014.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 662
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2641 JOHNSON CNTL FIRE FORMER SIMPLEX G             12/8/2022        $                8,865.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country


     3.2642 JOHNSON CNTL FIRE FORMER SIMPLEX G             1/6/2023         $                4,750.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country


     3.2643 JOHNSON CNTL FIRE FORMER SIMPLEX G             1/12/2023        $                  633.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country


     3.2644 JOHNSON CNTL FIRE FORMER SIMPLEX G             1/12/2023        $                1,050.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 663
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2645 JOHNSON CNTL FIRE FORMER SIMPLEX G             1/31/2023        $                  849.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country


     3.2646 JOHNSON CNTL FIRE FORMER SIMPLEX G             1/31/2023        $                2,720.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 10320                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-0320
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2647 SOLUTIONS                                      12/8/2022        $                (419.16)
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2648 SOLUTIONS                                      12/8/2022        $                   70.55
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 664
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2649 SOLUTIONS                                      12/8/2022        $                  770.56
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2650 SOLUTIONS                                      12/8/2022        $                  995.28
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2651 SOLUTIONS                                      1/6/2023         $                  641.58
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2652 SOLUTIONS                                      1/6/2023         $                  903.48
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 665
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2653 SOLUTIONS                                      1/6/2023         $                1,927.63
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2654 SOLUTIONS                                      1/6/2023         $                2,644.46
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2655 SOLUTIONS                                      1/6/2023         $                3,317.63
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2656 SOLUTIONS                                      1/12/2023        $                2,214.30
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 666
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2657 SOLUTIONS                                      1/31/2023        $                2,878.44
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2658 SOLUTIONS                                      2/8/2023         $                   15.36
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2659 SOLUTIONS                                      2/8/2023         $               15,019.75
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2660 SOLUTIONS                                      2/13/2023        $                1,217.04
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 667
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2661 SOLUTIONS                                      2/13/2023        $                2,524.17
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


            JOHNSON CONTROLS SECURITY                                                                                Secured debt
     3.2662 SOLUTIONS                                      2/13/2023        $                5,062.56
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371967                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURG            PA          15250 7967
             City                 State       ZIP Code



             Country


     3.2663 JONES & SULLIVAN ENTERPRISES INC               1/6/2023         $               12,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2955 N DINNEEN STREET                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62526
             City                 State       ZIP Code



             Country


     3.2664 JP PARADISE LANDSCAPING LLC                    11/29/2022       $                5,214.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12 SYCORA LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ISLANDIA             NY          11749
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 668
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2665 JP PARADISE LANDSCAPING LLC                    12/8/2022        $                2,932.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12 SYCORA LN                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ISLANDIA             NY          11749
             City                 State       ZIP Code



             Country


     3.2666 JSKALDES CONSULTING LLC                        11/29/2022       $                3,552.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 EAST BECKS BLVD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RINGOES              NJ          08551
             City                 State       ZIP Code



             Country


     3.2667 JSKALDES CONSULTING LLC                        11/29/2022       $                3,552.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 EAST BECKS BLVD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RINGOES              NJ          08551
             City                 State       ZIP Code



             Country


     3.2668 JSKALDES CONSULTING LLC                        12/15/2022       $                8,244.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 EAST BECKS BLVD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RINGOES              NJ          08551
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 669
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2669 JSKALDES CONSULTING LLC                        1/12/2023        $                6,572.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 EAST BECKS BLVD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RINGOES              NJ          08551
             City                 State       ZIP Code



             Country


     3.2670 JSKALDES CONSULTING LLC                        1/31/2023        $                3,907.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 EAST BECKS BLVD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RINGOES              NJ          08551
             City                 State       ZIP Code



             Country


     3.2671 JSKALDES CONSULTING LLC                        2/8/2023         $                4,263.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 EAST BECKS BLVD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RINGOES              NJ          08551
             City                 State       ZIP Code



             Country


     3.2672 JSKALDES CONSULTING LLC                        2/17/2023        $               21,159.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             120 EAST BECKS BLVD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RINGOES              NJ          08551
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 670
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2673 KAMPS INC -REMIT                               12/8/2022        $               12,061.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2900 PEACH RIDGE AVE NW                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GRAND RAPIDS         MI          49534
             City                 State       ZIP Code



             Country


     3.2674 KAMPS INC -REMIT                               12/8/2022        $               12,061.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2900 PEACH RIDGE AVE NW                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GRAND RAPIDS         MI          49534
             City                 State       ZIP Code



             Country


     3.2675 KAMPS INC -REMIT                               2/8/2023         $               12,061.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2900 PEACH RIDGE AVE NW                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GRAND RAPIDS         MI          49534
             City                 State       ZIP Code



             Country


     3.2676 KERRY INGREDIENTS & FLAVOURS -REMIT            1/6/2023         $                7,306.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409141                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9141
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 671
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2677 KERRY INGREDIENTS & FLAVOURS -REMIT            1/6/2023         $               28,211.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409141                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9141
             City                 State       ZIP Code



             Country


     3.2678 KERRY INGREDIENTS & FLAVOURS -REMIT            1/12/2023        $               33,853.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409141                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9141
             City                 State       ZIP Code



             Country


     3.2679 KERRY INGREDIENTS & FLAVOURS -REMIT            1/19/2023        $               14,527.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409141                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9141
             City                 State       ZIP Code



             Country


     3.2680 KERRY INGREDIENTS & FLAVOURS -REMIT            1/31/2023        $                4,697.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409141                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9141
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 672
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2681 KERRY INGREDIENTS & FLAVOURS -REMIT            2/13/2023        $               33,853.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409141                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9141
             City                 State       ZIP Code



             Country


     3.2682 KINGFISHER INTERNATIONAL -R&D ONLY             11/29/2022       $               30,025.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country


     3.2683 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $             (27,225.00)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country


     3.2684 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $               11,070.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 673
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2685 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $               12,010.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country


     3.2686 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $               16,155.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country


     3.2687 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $               24,020.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country


     3.2688 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $               27,225.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 674
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2689 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $               36,900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country


     3.2690 KINGFISHER INTERNATIONAL -R&D ONLY             2/15/2023        $               37,695.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             165 MOSTAR ST UNIT 8                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             STOUFFVILLE          ON          L4A 0Y2
             City                 State       ZIP Code

             CANADA
             Country


     3.2691 KIRBY RISK CORPORATION                         12/8/2022        $                5,437.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27561 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1275
             City                 State       ZIP Code



             Country


     3.2692 KIRBY RISK CORPORATION                         1/26/2023        $                  411.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27561 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1275
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 675
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2693 KIRBY RISK CORPORATION                         1/26/2023        $                1,551.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27561 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1275
             City                 State       ZIP Code



             Country


     3.2694 KIRBY RISK CORPORATION                         1/26/2023        $                1,551.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27561 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1275
             City                 State       ZIP Code



             Country


     3.2695 KIRBY RISK CORPORATION                         1/26/2023        $                4,020.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27561 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1275
             City                 State       ZIP Code



             Country


     3.2696 KIRBY RISK CORPORATION                         1/26/2023        $                4,343.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27561 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1275
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 676
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2697 KIRBY RISK CORPORATION                         1/26/2023        $               16,001.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27561 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1275
             City                 State       ZIP Code



             Country


     3.2698 KRAFT CHEMICAL COMPANY                         1/12/2023        $                  689.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 75673                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CLEVELAND            OH          44101-4755
             City                 State       ZIP Code



             Country


     3.2699 KRAFT CHEMICAL COMPANY                         1/12/2023        $                3,757.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 75673                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CLEVELAND            OH          44101-4755
             City                 State       ZIP Code



             Country


     3.2700 KRAFT CHEMICAL COMPANY                         1/12/2023        $                6,444.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 75673                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CLEVELAND            OH          44101-4755
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 677
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2701 KS-MCO                                         12/22/2022       $                   (6.94)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTHCARE FINANCE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN DRUG REBATE, PO BOX 2428                                                                           Other

             TOPEKA               KS          66601
             City                 State       ZIP Code



             Country


     3.2702 KS-MCO                                         12/22/2022       $                   (3.46)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTHCARE FINANCE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN DRUG REBATE, PO BOX 2428                                                                           Other

             TOPEKA               KS          66601
             City                 State       ZIP Code



             Country


     3.2703 KS-MCO                                         12/22/2022       $                    3.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTHCARE FINANCE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN DRUG REBATE, PO BOX 2428                                                                           Other

             TOPEKA               KS          66601
             City                 State       ZIP Code



             Country


     3.2704 KS-MCO                                         12/22/2022       $                7,032.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTHCARE FINANCE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN DRUG REBATE, PO BOX 2428                                                                           Other

             TOPEKA               KS          66601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 678
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2705 KS-MCO                                         12/22/2022       $               10,126.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTHCARE FINANCE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN DRUG REBATE, PO BOX 2428                                                                           Other

             TOPEKA               KS          66601
             City                 State       ZIP Code



             Country


     3.2706 KS-MCO                                         12/22/2022       $               12,052.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTHCARE FINANCE                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN DRUG REBATE, PO BOX 2428                                                                           Other

             TOPEKA               KS          66601
             City                 State       ZIP Code



             Country


     3.2707 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $               (6,123.32)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2708 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $                  641.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 679
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2709 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $                1,249.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2710 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $                1,787.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2711 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $                3,125.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2712 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $                5,641.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 680
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2713 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $                5,672.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2714 KUEHNE & NAGEL SERVICES LTD                    11/29/2022       $                8,878.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2715 KUEHNE & NAGEL SERVICES LTD                    12/8/2022        $               (5,672.27)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2716 KUEHNE & NAGEL SERVICES LTD                    12/8/2022        $               (1,350.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 681
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2717 KUEHNE & NAGEL SERVICES LTD                    12/8/2022        $                5,147.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2718 KUEHNE & NAGEL SERVICES LTD                    12/8/2022        $               11,377.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2719 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  137.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2720 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  137.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 682
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2721 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2722 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2723 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2724 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 683
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2725 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2726 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2727 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2728 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 684
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2729 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2730 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                  727.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2731 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                2,375.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2732 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                3,202.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 685
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2733 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                5,678.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2734 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                6,327.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2735 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                6,475.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2736 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $                6,947.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 686
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2737 KUEHNE & NAGEL SERVICES LTD                    12/22/2022       $               32,032.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2738 KUEHNE & NAGEL SERVICES LTD                    12/29/2022       $               13,875.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2739 KUEHNE & NAGEL SERVICES LTD                    12/29/2022       $               26,509.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2740 KUEHNE & NAGEL SERVICES LTD                    1/6/2023         $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 687
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2741 KUEHNE & NAGEL SERVICES LTD                    1/6/2023         $                  300.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2742 KUEHNE & NAGEL SERVICES LTD                    1/6/2023         $                5,259.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2743 KUEHNE & NAGEL SERVICES LTD                    1/12/2023        $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2744 KUEHNE & NAGEL SERVICES LTD                    1/12/2023        $                8,390.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 688
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2745 KUEHNE & NAGEL SERVICES LTD                    1/19/2023        $               16,396.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2746 KUEHNE & NAGEL SERVICES LTD                    1/19/2023        $               18,125.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2747 KUEHNE & NAGEL SERVICES LTD                    1/19/2023        $               21,768.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2748 KUEHNE & NAGEL SERVICES LTD                    1/19/2023        $               47,768.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 689
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2749 KUEHNE & NAGEL SERVICES LTD                    1/26/2023        $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2750 KUEHNE & NAGEL SERVICES LTD                    1/26/2023        $                8,943.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2751 KUEHNE & NAGEL SERVICES LTD                    2/8/2023         $                  139.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2752 KUEHNE & NAGEL SERVICES LTD                    2/8/2023         $                2,460.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 690
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2753 KUEHNE & NAGEL SERVICES LTD                    2/13/2023        $                2,259.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2754 KUEHNE & NAGEL SERVICES LTD                    2/13/2023        $               14,863.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2755 KUEHNE & NAGEL SERVICES LTD                    2/13/2023        $               34,702.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2039
             City                 State       ZIP Code



             Country


     3.2756 KY-AETNA MCO                                   12/22/2022       $                    0.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAID SVCS PDL DRUG REB                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             275 E MAIN ST 6W-A, ATTN AETNA MCO
             PROG                                                                                                    Other

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 691
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2757 KY-AETNA MCO                                   12/22/2022       $                    2.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAID SVCS PDL DRUG REB                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             275 E MAIN ST 6W-A, ATTN AETNA MCO
             PROG                                                                                                    Other

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country


     3.2758 KY-AETNA MCO                                   12/22/2022       $                    2.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAID SVCS PDL DRUG REB                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             275 E MAIN ST 6W-A, ATTN AETNA MCO
             PROG                                                                                                    Other

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country


     3.2759 KY-AETNA MCO                                   12/22/2022       $                  596.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAID SVCS PDL DRUG REB                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             275 E MAIN ST 6W-A, ATTN AETNA MCO
             PROG                                                                                                    Other

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country


     3.2760 KY-AETNA MCO                                   12/22/2022       $               11,693.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAID SVCS PDL DRUG REB                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             275 E MAIN ST 6W-A, ATTN AETNA MCO
             PROG                                                                                                    Other

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 692
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2761 KY-MCO EXPANSION                               12/22/2022       $                 (36.88)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2762 KY-MCO EXPANSION                               12/22/2022       $                    3.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2763 KY-MCO EXPANSION                               12/22/2022       $                   35.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2764 KY-MCO EXPANSION                               12/22/2022       $                   47.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 693
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2765 KY-MCO EXPANSION                               12/22/2022       $                1,393.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2766 KY-MCO EXPANSION                               12/22/2022       $               21,071.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2767 KY-MEDICAID                                    12/22/2022       $                (166.64)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN DRUG REBATE PROGRAM, 275 EAST
             MAIN ST 6W C                                                                                            Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2768 KY-MEDICAID                                    12/22/2022       $               11,402.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN DRUG REBATE PROGRAM, 275 EAST
             MAIN ST 6W C                                                                                            Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 694
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2769 KY-WELLCARE                                    12/22/2022       $                    2.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2770 KY-WELLCARE                                    12/22/2022       $                    5.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2771 KY-WELLCARE                                    12/22/2022       $                   28.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2772 KY-WELLCARE                                    12/22/2022       $                   67.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 695
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2773 KY-WELLCARE                                    12/22/2022       $                2,607.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2774 KY-WELLCARE                                    12/22/2022       $               24,373.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF MEDICAID SERVICES                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF KY DRUG REBATE PROGRAM, 275
             EAST MAIN ST 6W C                                                                                       Other

             FRANKFORT            KY          40621-0001
             City                 State       ZIP Code



             Country


     3.2775 LA-MCO                                         12/22/2022       $                 (11.84)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country


     3.2776 LA-MCO                                         12/22/2022       $                   (5.28)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 696
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2777 LA-MCO                                         12/22/2022       $                   (4.66)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country


     3.2778 LA-MCO                                         12/22/2022       $                   (3.03)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country


     3.2779 LA-MCO                                         12/22/2022       $                   77.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country


     3.2780 LA-MCO                                         12/22/2022       $               90,631.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 697
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2781 LA-MCO EXPANSION                               12/22/2022       $                   (0.60)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country


     3.2782 LA-MCO EXPANSION                               12/22/2022       $                    2.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country


     3.2783 LA-MCO EXPANSION                               12/22/2022       $                   78.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country


     3.2784 LA-MCO EXPANSION                               12/22/2022       $               17,452.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             REBATE PAYMENTS                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             DHH DRUG, PO BOX 62951                                                                                  Other

             NEW ORLEANS          LA          70162
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 698
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2785 LASALLE NETWORK                                11/29/2022       $                  174.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2786 LASALLE NETWORK                                11/29/2022       $                1,628.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2787 LASALLE NETWORK                                11/29/2022       $                3,028.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2788 LASALLE NETWORK                                11/29/2022       $                3,085.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 699
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2789 LASALLE NETWORK                                11/29/2022       $                5,104.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2790 LASALLE NETWORK                                11/29/2022       $                5,835.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2791 LASALLE NETWORK                                12/22/2022       $                1,566.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2792 LASALLE NETWORK                                12/22/2022       $                1,571.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 700
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2793 LASALLE NETWORK                                12/22/2022       $                2,674.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2794 LASALLE NETWORK                                12/22/2022       $                2,678.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2795 LASALLE NETWORK                                12/22/2022       $                2,787.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2796 LASALLE NETWORK                                12/22/2022       $                2,913.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 701
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2797 LASALLE NETWORK                                12/22/2022       $                3,028.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2798 LASALLE NETWORK                                12/22/2022       $                3,184.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2799 LASALLE NETWORK                                12/22/2022       $                3,440.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2800 LASALLE NETWORK                                12/22/2022       $                3,484.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 702
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2801 LASALLE NETWORK                                12/22/2022       $                6,160.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2802 LASALLE NETWORK                                1/6/2023         $                2,426.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2803 LASALLE NETWORK                                1/6/2023         $                2,506.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2804 LASALLE NETWORK                                1/6/2023         $                5,289.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 703
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2805 LASALLE NETWORK                                1/12/2023        $                3,271.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2806 LASALLE NETWORK                                1/12/2023        $                6,358.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2807 LASALLE NETWORK                                1/26/2023        $                1,253.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2808 LASALLE NETWORK                                1/26/2023        $                1,462.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 704
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2809 LASALLE NETWORK                                1/26/2023        $                2,899.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2810 LASALLE NETWORK                                1/26/2023        $                4,529.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2811 LASALLE NETWORK                                2/8/2023         $                  835.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2812 LASALLE NETWORK                                2/8/2023         $                3,037.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 705
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2813 LASALLE NETWORK                                2/8/2023         $                3,484.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2814 LASALLE NETWORK                                2/8/2023         $                3,902.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 NORTH LASALLE STREET STE 2500                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60601
             City                 State       ZIP Code



             Country


     3.2815 LEADIANT FORMER SIGMA-TAU                      12/29/2022       $              158,679.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 79306                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21279
             City                 State       ZIP Code



             Country


     3.2816 LEADIANT FORMER SIGMA-TAU                      12/29/2022       $              210,006.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 79306                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BALTIMORE            MD          21279
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 706
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2817 LENTZ MILLING COMPANY                          1/6/2023         $               18,819.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2045 N 11TH STREET                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 13159                                                                                            Other

             READING              PA          19612-3159
             City                 State       ZIP Code



             Country


     3.2818 LES EMBALLAGES WINPAK                          12/14/2022       $               (5,963.30)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9003 PAYSPHERE CIRCLE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674
             City                 State       ZIP Code



             Country


     3.2819 LES EMBALLAGES WINPAK                          12/14/2022       $                5,963.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9003 PAYSPHERE CIRCLE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674
             City                 State       ZIP Code



             Country


     3.2820 LES EMBALLAGES WINPAK                          1/31/2023        $               72,108.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9003 PAYSPHERE CIRCLE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 707
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2821 LES EMBALLAGES WINPAK                          2/13/2023        $               13,020.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9003 PAYSPHERE CIRCLE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674
             City                 State       ZIP Code



             Country


     3.2822 LESMAN INSTRUMENT CO                           11/29/2022       $                  602.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7640                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7640
             City                 State       ZIP Code



             Country


     3.2823 LESMAN INSTRUMENT CO                           11/29/2022       $                4,134.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7640                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7640
             City                 State       ZIP Code



             Country


     3.2824 LESMAN INSTRUMENT CO                           12/8/2022        $                4,228.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7640                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7640
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 708
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2825 LESMAN INSTRUMENT CO                           2/13/2023        $                1,108.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7640                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7640
             City                 State       ZIP Code



             Country


     3.2826 LESMAN INSTRUMENT CO                           2/13/2023        $                1,214.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7640                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7640
             City                 State       ZIP Code



             Country


     3.2827 LESMAN INSTRUMENT CO                           2/13/2023        $               12,934.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7640                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7640
             City                 State       ZIP Code



             Country


     3.2828 LESMAN INSTRUMENT CO                           2/13/2023        $               13,028.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7640                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-7640
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 709
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2829 LGC STANDARDS -REMIT                           11/29/2022       $                1,618.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 360659                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-6659
             City                 State       ZIP Code



             Country


     3.2830 LGC STANDARDS -REMIT                           11/29/2022       $                1,960.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 360659                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-6659
             City                 State       ZIP Code



             Country


     3.2831 LGC STANDARDS -REMIT                           1/6/2023         $                1,760.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 360659                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-6659
             City                 State       ZIP Code



             Country


     3.2832 LGC STANDARDS -REMIT                           1/6/2023         $                3,854.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 360659                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-6659
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 710
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2833 LIQUENT LLC (CALYX)                            11/29/2022       $               25,062.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5282 PAYSPHERE CIRCLE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674
             City                 State       ZIP Code



             Country


     3.2834 LONZA WALKERSVILLE -REMIT                      1/6/2023         $               73,700.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12261 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.2835 MALIK & POPIEL PC                              12/22/2022       $                1,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2836 MALIK & POPIEL PC                              2/13/2023        $                  410.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 711
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2837 MALIK & POPIEL PC                              2/13/2023        $                  710.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2838 MALIK & POPIEL PC                              2/13/2023        $                1,040.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2839 MALIK & POPIEL PC                              2/13/2023        $                1,210.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2840 MALIK & POPIEL PC                              2/13/2023        $                1,515.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 712
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2841 MALIK & POPIEL PC                              2/13/2023        $                1,515.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2842 MALIK & POPIEL PC                              2/13/2023        $                1,515.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2843 MALIK & POPIEL PC                              2/13/2023        $                1,615.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2844 MALIK & POPIEL PC                              2/13/2023        $                1,710.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 713
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2845 MALIK & POPIEL PC                              2/13/2023        $                1,960.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2846 MALIK & POPIEL PC                              2/13/2023        $                2,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7606 TRANSIT ROAD SUITE 200                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BUFFALO              NY          14221
             City                 State       ZIP Code



             Country


     3.2847 MA-MCO                                         12/22/2022       $                  310.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MASSHEALTH                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services
             MANAGED CARE DRUG REBATE PRGM MCO,
             PO BOX 417688                                                                                           Other

             BOSTON               MA          02241-7688
             City                 State       ZIP Code



             Country


     3.2848 MA-MCO                                         12/22/2022       $               58,522.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MASSHEALTH                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services
             MANAGED CARE DRUG REBATE PRGM MCO,
             PO BOX 417688                                                                                           Other

             BOSTON               MA          02241-7688
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 714
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2849 MA-MEDICAID                                    12/22/2022       $             (17,843.14)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MASS HEALTH DRUG REBATE PROGRAM                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3070                                                                                             Other

             BOSTON               MA          02241-3070
             City                 State       ZIP Code



             Country


     3.2850 MA-MEDICAID                                    12/22/2022       $               (8,393.98)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MASS HEALTH DRUG REBATE PROGRAM                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3070                                                                                             Other

             BOSTON               MA          02241-3070
             City                 State       ZIP Code



             Country


     3.2851 MA-MEDICAID                                    12/22/2022       $               (3,385.94)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MASS HEALTH DRUG REBATE PROGRAM                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3070                                                                                             Other

             BOSTON               MA          02241-3070
             City                 State       ZIP Code



             Country


     3.2852 MA-MEDICAID                                    12/22/2022       $               (1,016.76)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MASS HEALTH DRUG REBATE PROGRAM                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3070                                                                                             Other

             BOSTON               MA          02241-3070
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 715
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2853 MA-MEDICAID                                    12/22/2022       $              143,219.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MASS HEALTH DRUG REBATE PROGRAM                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3070                                                                                             Other

             BOSTON               MA          02241-3070
             City                 State       ZIP Code



             Country


     3.2854 MANAGED HEALTHCARE ASSOC                       1/12/2023        $               36,353.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 931830                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          31193-1830
             City                 State       ZIP Code



             Country


     3.2855 MARCOR DEVELOPMENT -REMIT                      1/6/2023         $               81,699.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 785917                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19178-5917
             City                 State       ZIP Code



             Country


     3.2856 MARCOR DEVELOPMENT -REMIT                      1/6/2023         $               81,699.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 785917                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19178-5917
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 716
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2857 MARTIN PETERSEN COMPANY                        1/12/2023        $                1,611.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9800 55TH STREET                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KENOSHA              WI          53144
             City                 State       ZIP Code



             Country


     3.2858 MARTIN PETERSEN COMPANY                        1/12/2023        $                2,286.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9800 55TH STREET                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KENOSHA              WI          53144
             City                 State       ZIP Code



             Country


     3.2859 MARTIN PETERSEN COMPANY                        1/12/2023        $                5,730.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9800 55TH STREET                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KENOSHA              WI          53144
             City                 State       ZIP Code



             Country


     3.2860 MARTIN PETERSEN COMPANY                        1/12/2023        $                7,565.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             9800 55TH STREET                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             KENOSHA              WI          53144
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 717
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2861 MATHESON TRI-GAS -PITTSBORO IN                 1/6/2023         $                   38.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842724                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2724
             City                 State       ZIP Code



             Country


     3.2862 MATHESON TRI-GAS -PITTSBORO IN                 1/6/2023         $                2,683.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842724                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2724
             City                 State       ZIP Code



             Country


     3.2863 MATHESON TRI-GAS -PITTSBORO IN                 1/6/2023         $                3,408.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842724                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2724
             City                 State       ZIP Code



             Country


     3.2864 MATHESON TRI-GAS -PITTSBORO IN                 1/31/2023        $                3,220.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842724                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2724
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 718
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2865 MATHESON TRI-GAS -PITTSBORO IN                 1/31/2023        $                3,397.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842724                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2724
             City                 State       ZIP Code



             Country


     3.2866 MATHESON TRI-GAS -PITTSBORO IN                 2/8/2023         $                3,209.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842724                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2724
             City                 State       ZIP Code



             Country


     3.2867 MATHESON TRI-GAS -PITTSBORO IN                 2/8/2023         $                3,220.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842724                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2724
             City                 State       ZIP Code



             Country


     3.2868 MATRIX ABSENCE MANAGEMENT INC                  11/29/2022       $                7,770.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953217                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3217
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 719
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2869 MATRIX ABSENCE MANAGEMENT INC                  12/8/2022        $                4,553.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953217                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3217
             City                 State       ZIP Code



             Country


     3.2870 MATRIX ABSENCE MANAGEMENT INC                  12/8/2022        $                7,170.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953217                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3217
             City                 State       ZIP Code



             Country


     3.2871 MATRIX ABSENCE MANAGEMENT INC                  2/13/2023        $                5,638.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953217                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3217
             City                 State       ZIP Code



             Country


     3.2872 MATRIX ABSENCE MANAGEMENT INC                  2/13/2023        $                6,663.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953217                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3217
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 720
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2873 MCCRONE ASSOCIATES INC                         1/31/2023        $                  600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             850 PASQUINELLI DRIVE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTMONT             IL          60559-5531
             City                 State       ZIP Code



             Country


     3.2874 MCCRONE ASSOCIATES INC                         1/31/2023        $                6,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             850 PASQUINELLI DRIVE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTMONT             IL          60559-5531
             City                 State       ZIP Code



             Country


     3.2875 MCCRONE ASSOCIATES INC                         1/31/2023        $                8,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             850 PASQUINELLI DRIVE                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTMONT             IL          60559-5531
             City                 State       ZIP Code



             Country


     3.2876 MCKESSON DRUG REF -REMIT                       12/22/2022       $                  350.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 721
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2877 MCKESSON DRUG REF -REMIT                       12/22/2022       $                1,845.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country


     3.2878 MCKESSON DRUG REF -REMIT                       12/22/2022       $                9,320.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country


     3.2879 MCKESSON DRUG REF -REMIT                       12/29/2022       $                  762.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country


     3.2880 MCKESSON DRUG REF -REMIT                       12/29/2022       $                1,845.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 722
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2881 MCKESSON DRUG REF -REMIT                       12/29/2022       $                1,956.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country


     3.2882 MCKESSON DRUG REF -REMIT                       12/29/2022       $                1,956.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country


     3.2883 MCKESSON DRUG REF -REMIT                       12/29/2022       $                2,934.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country


     3.2884 MCKESSON DRUG REF -REMIT                       12/29/2022       $                8,988.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 723
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2885 MCKESSON DRUG REF -REMIT                       12/29/2022       $                9,320.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 848442                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-8442
             City                 State       ZIP Code



             Country


     3.2886 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                   28.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2887 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                   47.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2888 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                  222.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 724
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2889 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                  258.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2890 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                  261.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2891 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                  451.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2892 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                  469.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 725
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2893 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                  814.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2894 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                  957.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2895 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                1,464.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2896 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                1,608.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 726
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2897 MCMASTER-CARR SUPPLY COMPANY                   11/29/2022       $                3,385.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2898 MCMASTER-CARR SUPPLY COMPANY                   12/8/2022        $                   28.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2899 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                (666.90)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2900 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                   26.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 727
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2901 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                   39.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2902 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                   43.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2903 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                   80.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2904 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  130.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 728
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2905 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  177.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2906 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  224.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2907 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  273.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2908 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  296.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 729
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2909 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  344.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2910 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  428.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2911 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  525.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2912 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                  666.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 730
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2913 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                1,103.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2914 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                1,141.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2915 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                1,303.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2916 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                2,423.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 731
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2917 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                2,710.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2918 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                2,996.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2919 MCMASTER-CARR SUPPLY COMPANY                   1/12/2023        $                3,885.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2920 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                   39.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 732
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2921 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                   70.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2922 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                   91.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2923 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                   99.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2924 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  123.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 733
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2925 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  140.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2926 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  295.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2927 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  321.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2928 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  359.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 734
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2929 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  524.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2930 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  771.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2931 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  776.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2932 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                  777.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 735
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2933 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                2,166.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2934 MCMASTER-CARR SUPPLY COMPANY                   1/31/2023        $                2,432.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2935 MCMASTER-CARR SUPPLY COMPANY                   2/13/2023        $                   52.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2936 MCMASTER-CARR SUPPLY COMPANY                   2/13/2023        $                   79.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 736
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2937 MCMASTER-CARR SUPPLY COMPANY                   2/13/2023        $                   88.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2938 MCMASTER-CARR SUPPLY COMPANY                   2/13/2023        $                  197.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2939 MCMASTER-CARR SUPPLY COMPANY                   2/13/2023        $                  218.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2940 MCMASTER-CARR SUPPLY COMPANY                   2/13/2023        $                  876.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 737
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2941 MCMASTER-CARR SUPPLY COMPANY                   2/13/2023        $                2,309.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 7690                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-7690
             City                 State       ZIP Code



             Country


     3.2942 MCO MOLINA                                     12/22/2022       $                    6.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             KY STATE TREASURER                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             DEPARTMENT OF MEDICAID SERVICES, 275
             E MAIN ST 6W-A, ATTN DIRECTOR OF                                                                        Other
             PHARMACY SVCS

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country


     3.2943 MCO MOLINA                                     12/22/2022       $                   43.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             KY STATE TREASURER                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             DEPARTMENT OF MEDICAID SERVICES, 275
             E MAIN ST 6W-A, ATTN DIRECTOR OF                                                                        Other
             PHARMACY SVCS

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country


     3.2944 MCO MOLINA                                     12/22/2022       $                   46.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             KY STATE TREASURER                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             DEPARTMENT OF MEDICAID SERVICES, 275
             E MAIN ST 6W-A, ATTN DIRECTOR OF                                                                        Other
             PHARMACY SVCS

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 738
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2945 MCO MOLINA                                     12/22/2022       $                  903.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             KY STATE TREASURER                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             DEPARTMENT OF MEDICAID SERVICES, 275
             E MAIN ST 6W-A, ATTN DIRECTOR OF                                                                        Other
             PHARMACY SVCS

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country


     3.2946 MCO MOLINA                                     12/22/2022       $               12,504.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             KY STATE TREASURER                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             DEPARTMENT OF MEDICAID SERVICES, 275
             E MAIN ST 6W-A, ATTN DIRECTOR OF                                                                        Other
             PHARMACY SVCS

             FRANKFORT            KY          40621
             City                 State       ZIP Code



             Country


     3.2947 MD-MCHP MCO                                    12/22/2022       $                 (13.39)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2948 MD-MCHP MCO                                    12/22/2022       $                 (12.23)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 739
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2949 MD-MCHP MCO                                    12/22/2022       $               29,644.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2950 MD-MCO                                         12/22/2022       $                    1.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2951 MD-MCO                                         12/22/2022       $                    3.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2952 MD-MCO                                         12/22/2022       $                    6.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 740
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2953 MD-MCO                                         12/22/2022       $                  132.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2954 MD-MCO                                         12/22/2022       $                  241.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2955 MD-MCO                                         12/22/2022       $               23,984.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2956 MD-NEW ADULTS MCO                              12/22/2022       $                 (16.85)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 741
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2957 MD-NEW ADULTS MCO                              12/22/2022       $               11,333.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MD MEDICAL ASSISTANCE RECOVERIES                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services
             MEDICAID DRUG REBATE PROGRAMS, PO
             BOX 17185                                                                                               Other

             BALTIMORE            MD          21297-1185
             City                 State       ZIP Code



             Country


     3.2958 MEDICAL PACKAGING INC                          2/13/2023        $               28,884.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             8 KINGS COURT                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FLEMINGTON           NJ          08822
             City                 State       ZIP Code



             Country


     3.2959 MEDICAL PACKAGING INC                          2/13/2023        $               29,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             8 KINGS COURT                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FLEMINGTON           NJ          08822
             City                 State       ZIP Code



             Country


     3.2960 MEDICAL PACKAGING INC                          2/13/2023        $               40,375.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             8 KINGS COURT                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FLEMINGTON           NJ          08822
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 742
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2961 MEDICAL PACKAGING INC                          2/13/2023        $               40,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             8 KINGS COURT                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FLEMINGTON           NJ          08822
             City                 State       ZIP Code



             Country


     3.2962 MEDICARE GAP                                   12/9/2022        $            1,694,101.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO Box 1270                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             Lawrence             KS          66044
             City                 State       ZIP Code



             Country


     3.2963 ME-MEDICAID                                    12/22/2022       $                (250.94)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHHS RECEIVABLES-DRUG REBATE                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             C/O CASH RECEIPTS ME-MEDICAID, SHS# 11
             109 CAPITOL ST                                                                                          Other

             AUGUSTA              ME          04333-0011
             City                 State       ZIP Code



             Country


     3.2964 ME-MEDICAID                                    12/22/2022       $               11,966.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DHHS RECEIVABLES-DRUG REBATE                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services
             C/O CASH RECEIPTS ME-MEDICAID, SHS# 11
             109 CAPITOL ST                                                                                          Other

             AUGUSTA              ME          04333-0011
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 743
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2965 METTLER TOLEDO -REMIT                          11/29/2022       $                  314.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2966 METTLER TOLEDO -REMIT                          11/29/2022       $                2,941.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2967 METTLER TOLEDO -REMIT                          12/8/2022        $                  327.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2968 METTLER TOLEDO -REMIT                          12/8/2022        $                1,919.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 744
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2969 METTLER TOLEDO -REMIT                          1/6/2023         $               (9,299.39)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2970 METTLER TOLEDO -REMIT                          1/6/2023         $                  345.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2971 METTLER TOLEDO -REMIT                          1/6/2023         $                  990.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2972 METTLER TOLEDO -REMIT                          1/6/2023         $                2,771.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 745
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2973 METTLER TOLEDO -REMIT                          1/6/2023         $                9,299.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2974 METTLER TOLEDO -REMIT                          1/12/2023        $               (2,944.44)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2975 METTLER TOLEDO -REMIT                          1/12/2023        $                9,299.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2976 METTLER TOLEDO -REMIT                          1/31/2023        $                1,828.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 746
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2977 METTLER TOLEDO -REMIT                          1/31/2023        $                2,941.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2978 METTLER TOLEDO -REMIT                          2/13/2023        $                  274.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             22670 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1226
             City                 State       ZIP Code



             Country


     3.2979 MICROAGE                                       11/29/2022       $                   36.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2980 MICROAGE                                       11/29/2022       $                  244.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 747
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2981 MICROAGE                                       11/29/2022       $                1,998.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2982 MICROAGE                                       11/29/2022       $               38,514.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2983 MICROAGE                                       11/29/2022       $               53,171.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2984 MICROAGE                                       11/29/2022       $               93,782.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 748
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2985 MICROAGE                                       12/8/2022        $                  814.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2986 MICROAGE                                       12/8/2022        $               49,326.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2987 MICROAGE                                       12/29/2022       $               (1,087.94)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2988 MICROAGE                                       12/29/2022       $                   80.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 749
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2989 MICROAGE                                       12/29/2022       $                   84.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2990 MICROAGE                                       12/29/2022       $                  228.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2991 MICROAGE                                       12/29/2022       $                  321.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2992 MICROAGE                                       12/29/2022       $                  361.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 750
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2993 MICROAGE                                       12/29/2022       $                  832.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2994 MICROAGE                                       12/29/2022       $                  982.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2995 MICROAGE                                       12/29/2022       $                1,037.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2996 MICROAGE                                       12/29/2022       $                5,902.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 751
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.2997 MICROAGE                                       12/29/2022       $               11,028.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2998 MICROAGE                                       12/29/2022       $               11,244.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.2999 MICROAGE                                       12/29/2022       $               12,023.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3000 MICROAGE                                       12/29/2022       $               12,262.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 752
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3001 MICROAGE                                       12/29/2022       $               29,740.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3002 MICROAGE                                       1/12/2023        $                  152.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3003 MICROAGE                                       1/12/2023        $                  277.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3004 MICROAGE                                       1/12/2023        $                  408.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 753
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3005 MICROAGE                                       1/12/2023        $                  931.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3006 MICROAGE                                       1/12/2023        $                4,484.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3007 MICROAGE                                       1/12/2023        $               10,180.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3008 MICROAGE                                       1/12/2023        $               19,257.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 754
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3009 MICROAGE                                       1/12/2023        $               43,857.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93655                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAS VEGAS            NV          89193-3655
             City                 State       ZIP Code



             Country


     3.3010 Microage Frontier                              2/23/2023        $              322,007.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Kyle Yencer                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             15210 S 50TH St Ste 180,                                                                                Other

             Phoenix              AZ          85044-9136
             City                 State       ZIP Code



             Country


     3.3011 MICROBIOLOGICS INC                             12/8/2022        $                2,755.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 COOPER AVE N                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST CLOUD             MN          56303
             City                 State       ZIP Code



             Country


     3.3012 MICROBIOLOGICS INC                             2/13/2023        $                (387.10)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 COOPER AVE N                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST CLOUD             MN          56303
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 755
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3013 MICROBIOLOGICS INC                             2/13/2023        $                  221.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 COOPER AVE N                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST CLOUD             MN          56303
             City                 State       ZIP Code



             Country


     3.3014 MICROBIOLOGICS INC                             2/13/2023        $                1,434.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 COOPER AVE N                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST CLOUD             MN          56303
             City                 State       ZIP Code



             Country


     3.3015 MICROBIOLOGICS INC                             2/13/2023        $                4,033.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 COOPER AVE N                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST CLOUD             MN          56303
             City                 State       ZIP Code



             Country


     3.3016 MICROBIOLOGICS INC                             2/13/2023        $               13,268.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             200 COOPER AVE N                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST CLOUD             MN          56303
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 756
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3017 MIDCAP FINANCIAL TRUST IV Trust                12/1/2022        $              417,962.91         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MIDCAP FINANCIAL SERVICES LLC                                                                       Suppliers or vendors
             Street
                                                                                                                     Services

             7255 WOODMONT AVE                                                                                       Other

             BETHESDA             MD          20814
             City                 State       ZIP Code



             Country


     3.3018 MIDCAP FINANCIAL TRUST IV Trust                1/3/2023         $              449,496.16         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MIDCAP FINANCIAL SERVICES LLC                                                                       Suppliers or vendors
             Street
                                                                                                                     Services

             7255 WOODMONT AVE                                                                                       Other

             BETHESDA             MD          20814
             City                 State       ZIP Code



             Country


     3.3019 MIDCAP FINANCIAL TRUST IV Trust                1/19/2023        $            3,280,502.20         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MIDCAP FINANCIAL SERVICES LLC                                                                       Suppliers or vendors
             Street
                                                                                                                     Services

             7255 WOODMONT AVE                                                                                       Other

             BETHESDA             MD          20814
             City                 State       ZIP Code



             Country


     3.3020 MIDCAP FINANCIAL TRUST IV Trust                1/31/2023        $            1,367,650.00         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MIDCAP FINANCIAL SERVICES LLC                                                                       Suppliers or vendors
             Street
                                                                                                                     Services

             7255 WOODMONT AVE                                                                                       Other

             BETHESDA             MD          20814
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 757
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3021 MIDCAP FINANCIAL TRUST IV Trust                2/7/2023         $            2,416,284.46         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MIDCAP FINANCIAL SERVICES LLC                                                                       Suppliers or vendors
             Street
                                                                                                                     Services

             7255 WOODMONT AVE                                                                                       Other

             BETHESDA             MD          20814
             City                 State       ZIP Code



             Country


     3.3022 MIDCAP FINANCIAL TRUST IV Trust                2/14/2023        $            (186,241.22)         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MIDCAP FINANCIAL SERVICES LLC                                                                       Suppliers or vendors
             Street
                                                                                                                     Services

             7255 WOODMONT AVE                                                                                       Other

             BETHESDA             MD          20814
             City                 State       ZIP Code



             Country


     3.3023 MIDCAP FINANCIAL TRUST IV Trust                2/21/2023        $            5,609,728.59         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O MIDCAP FINANCIAL SERVICES LLC                                                                       Suppliers or vendors
             Street
                                                                                                                     Services

             7255 WOODMONT AVE                                                                                       Other

             BETHESDA             MD          20814
             City                 State       ZIP Code



             Country


     3.3024 MIKART INC                                     11/29/2022       $               (3,555.47)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 758
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3025 MIKART INC                                     11/29/2022       $                  900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3026 MIKART INC                                     11/29/2022       $                3,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3027 MIKART INC                                     11/29/2022       $                4,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3028 MIKART INC                                     11/29/2022       $                4,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 759
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3029 MIKART INC                                     11/29/2022       $                4,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3030 MIKART INC                                     11/29/2022       $                4,168.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3031 MIKART INC                                     11/29/2022       $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3032 MIKART INC                                     11/29/2022       $                5,775.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 760
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3033 MIKART INC                                     11/29/2022       $               10,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3034 MIKART INC                                     11/29/2022       $               10,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3035 MIKART INC                                     11/29/2022       $               10,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3036 MIKART INC                                     11/29/2022       $               13,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 761
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3037 MIKART INC                                     11/29/2022       $               13,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3038 MIKART INC                                     11/29/2022       $               16,275.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3039 MIKART INC                                     11/29/2022       $               17,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3040 MIKART INC                                     11/29/2022       $               21,450.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 762
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3041 MIKART INC                                     11/29/2022       $               50,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3042 MIKART INC                                     11/29/2022       $               50,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3043 MIKART INC                                     11/29/2022       $               52,767.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3044 MIKART INC                                     1/6/2023         $               21,254.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 763
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3045 MIKART INC                                     1/6/2023         $               80,235.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3046 MIKART INC                                     1/6/2023         $              161,799.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3047 MIKART INC                                     1/26/2023        $               97,260.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1750 CHATTAHOOCHEE AVE                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30318
             City                 State       ZIP Code



             Country


     3.3048 MI-MCO                                         12/22/2022       $                (200.09)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MI MCO PROGRAM DRUG                                                                     Other
             REBATE

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 764
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3049 MI-MCO                                         12/22/2022       $                    5.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MI MCO PROGRAM DRUG                                                                     Other
             REBATE

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country


     3.3050 MI-MCO                                         12/22/2022       $                   41.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MI MCO PROGRAM DRUG                                                                     Other
             REBATE

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country


     3.3051 MI-MCO                                         12/22/2022       $                   71.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MI MCO PROGRAM DRUG                                                                     Other
             REBATE

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country


     3.3052 MI-MCO                                         12/22/2022       $               26,758.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MI MCO PROGRAM DRUG                                                                     Other
             REBATE

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 765
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3053 MI-MCO                                         12/22/2022       $               81,963.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MI MCO PROGRAM DRUG                                                                     Other
             REBATE

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country


     3.3054 MI-MEDICAID                                    12/22/2022       $                (420.10)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MEDICAID DRUG REBATE                                                                    Other

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country


     3.3055 MI-MEDICAID                                    12/22/2022       $                 (14.69)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MEDICAID DRUG REBATE                                                                    Other

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country


     3.3056 MI-MEDICAID                                    12/22/2022       $                   (1.12)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MEDICAID DRUG REBATE                                                                    Other

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 766
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3057 MI-MEDICAID                                    12/22/2022       $               37,825.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MI DEPT OF HLTH AND HUMAN SVCS                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             STATE OF MICHIGAN DCH, DEPT 77951 PO
             BOX 77000, ATTN MEDICAID DRUG REBATE                                                                    Other

             DETROIT              MI          48277-7951
             City                 State       ZIP Code



             Country


     3.3058 MINDSHIFT TECHNOLOGIES INC                     1/12/2023        $                8,159.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             500 COMMACK RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 140                                                                                               Other

             COMMACK              NY          11725
             City                 State       ZIP Code



             Country


     3.3059 MINDSHIFT TECHNOLOGIES INC                     1/12/2023        $                8,159.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             500 COMMACK RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 140                                                                                               Other

             COMMACK              NY          11725
             City                 State       ZIP Code



             Country


     3.3060 MINI GRAPHICS INC                              11/29/2022       $                1,331.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 767
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3061 MINI GRAPHICS INC                              11/29/2022       $                1,637.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3062 MINI GRAPHICS INC                              11/29/2022       $                1,883.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3063 MINI GRAPHICS INC                              11/29/2022       $                1,935.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3064 MINI GRAPHICS INC                              11/29/2022       $                2,525.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 768
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3065 MINI GRAPHICS INC                              11/29/2022       $                2,953.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3066 MINI GRAPHICS INC                              11/29/2022       $                3,454.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3067 MINI GRAPHICS INC                              11/29/2022       $                3,577.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3068 MINI GRAPHICS INC                              11/29/2022       $                3,731.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 769
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3069 MINI GRAPHICS INC                              11/29/2022       $                3,986.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3070 MINI GRAPHICS INC                              11/29/2022       $                4,686.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3071 MINI GRAPHICS INC                              11/29/2022       $                5,645.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3072 MINI GRAPHICS INC                              11/29/2022       $                6,919.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 770
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3073 MINI GRAPHICS INC                              11/29/2022       $               10,689.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3074 MINI GRAPHICS INC                              11/29/2022       $               14,750.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3075 MINI GRAPHICS INC                              11/29/2022       $               25,339.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3076 MINI GRAPHICS INC                              12/8/2022        $                3,569.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 771
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3077 MINI GRAPHICS INC                              12/8/2022        $                4,052.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3078 MINI GRAPHICS INC                              12/8/2022        $                7,223.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3079 MINI GRAPHICS INC                              12/8/2022        $                7,525.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3080 MINI GRAPHICS INC                              12/8/2022        $                7,774.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 772
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3081 MINI GRAPHICS INC                              12/8/2022        $                8,104.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3082 MINI GRAPHICS INC                              1/6/2023         $                2,059.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3083 MINI GRAPHICS INC                              1/6/2023         $                2,489.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3084 MINI GRAPHICS INC                              1/6/2023         $                3,103.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 773
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3085 MINI GRAPHICS INC                              1/6/2023         $                3,266.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3086 MINI GRAPHICS INC                              1/6/2023         $                3,920.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3087 MINI GRAPHICS INC                              1/6/2023         $                4,031.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3088 MINI GRAPHICS INC                              1/6/2023         $                5,459.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 774
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3089 MINI GRAPHICS INC                              1/6/2023         $                9,720.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3090 MINI GRAPHICS INC                              1/6/2023         $               10,533.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3091 MINI GRAPHICS INC                              1/12/2023        $                4,351.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3092 MINI GRAPHICS INC                              1/12/2023        $                7,917.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 775
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3093 MINI GRAPHICS INC                              1/12/2023        $                7,917.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3094 MINI GRAPHICS INC                              1/12/2023        $                8,260.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3095 MINI GRAPHICS INC                              1/12/2023        $                8,491.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3096 MINI GRAPHICS INC                              1/31/2023        $                3,114.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 776
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3097 MINI GRAPHICS INC                              1/31/2023        $                5,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3098 MINI GRAPHICS INC                              1/31/2023        $                6,352.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3099 MINI GRAPHICS INC                              1/31/2023        $               10,887.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3100 MINI GRAPHICS INC                              1/31/2023        $               11,834.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 777
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3101 MINI GRAPHICS INC                              2/8/2023         $                3,326.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3102 MINI GRAPHICS INC                              2/8/2023         $                3,419.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3103 MINI GRAPHICS INC                              2/8/2023         $                3,510.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3104 MINI GRAPHICS INC                              2/8/2023         $                6,249.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 778
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3105 MINI GRAPHICS INC                              2/8/2023         $                9,389.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3106 MINI GRAPHICS INC                              2/8/2023         $                9,787.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3107 MINI GRAPHICS INC                              2/13/2023        $                1,994.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3108 MINI GRAPHICS INC                              2/13/2023        $                4,900.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 779
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3109 MINI GRAPHICS INC                              2/13/2023        $                5,515.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3110 MINI GRAPHICS INC                              2/13/2023        $                6,847.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3111 MINI GRAPHICS INC                              2/13/2023        $                8,550.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3112 MINI GRAPHICS INC                              2/13/2023        $                8,809.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 780
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3113 MINI GRAPHICS INC                              2/13/2023        $               14,948.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             140 COMMERCE DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAUPPAUGE            NY          11788
             City                 State       ZIP Code



             Country


     3.3114 MJS PACKAGING                                  11/29/2022       $               14,564.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3115 MJS PACKAGING                                  11/29/2022       $               20,923.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3116 MJS PACKAGING                                  11/29/2022       $               20,923.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 781
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3117 MJS PACKAGING                                  11/29/2022       $               22,114.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3118 MJS PACKAGING                                  11/29/2022       $               22,114.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3119 MJS PACKAGING                                  11/29/2022       $               22,114.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3120 MJS PACKAGING                                  11/29/2022       $               22,114.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 782
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3121 MJS PACKAGING                                  11/29/2022       $               39,340.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3122 MJS PACKAGING                                  11/29/2022       $               48,341.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3123 MJS PACKAGING                                  12/8/2022        $                5,663.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3124 MJS PACKAGING                                  12/8/2022        $                7,898.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 783
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3125 MJS PACKAGING                                  1/6/2023         $                4,946.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3126 MJS PACKAGING                                  1/6/2023         $               14,292.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3127 MJS PACKAGING                                  1/6/2023         $               14,292.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3128 MJS PACKAGING                                  1/6/2023         $               19,342.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 784
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3129 MJS PACKAGING                                  1/6/2023         $               20,918.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3130 MJS PACKAGING                                  1/6/2023         $               23,607.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3131 MJS PACKAGING                                  1/6/2023         $               34,104.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3132 MJS PACKAGING                                  1/6/2023         $               34,104.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 785
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3133 MJS PACKAGING                                  1/6/2023         $               37,884.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3134 MJS PACKAGING                                  1/6/2023         $               72,569.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3135 MJS PACKAGING                                  1/12/2023        $               13,824.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3136 MJS PACKAGING                                  1/12/2023        $               20,490.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 786
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3137 MJS PACKAGING                                  1/12/2023        $               34,104.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3138 MJS PACKAGING                                  1/12/2023        $               39,710.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3139 MJS PACKAGING                                  1/19/2023        $                4,946.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3140 MJS PACKAGING                                  1/26/2023        $               71,416.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 787
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3141 MJS PACKAGING                                  1/31/2023        $               25,915.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3142 MJS PACKAGING                                  2/8/2023         $               21,549.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3143 MJS PACKAGING                                  2/8/2023         $               22,161.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3144 MJS PACKAGING                                  2/8/2023         $               34,104.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 788
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3145 MJS PACKAGING                                  2/13/2023        $               10,864.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3146 MJS PACKAGING                                  2/13/2023        $               41,836.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3147 MJS PACKAGING                                  2/13/2023        $               51,493.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             35601 VERONICA ST                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVONIA              MI          48150
             City                 State       ZIP Code



             Country


     3.3148 MN-MCO                                         12/22/2022       $               (1,423.90)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 789
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3149 MN-MCO                                         12/22/2022       $                    9.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3150 MN-MCO                                         12/22/2022       $                   40.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3151 MN-MCO                                         12/22/2022       $                   57.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3152 MN-MCO                                         12/22/2022       $                   91.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 790
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3153 MN-MCO                                         12/22/2022       $               24,575.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3154 MN-MCO EXPANSION                               12/22/2022       $                    0.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3155 MN-MCO EXPANSION                               12/22/2022       $                    2.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3156 MN-MCO EXPANSION                               12/22/2022       $                   38.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 791
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3157 MN-MCO EXPANSION                               12/22/2022       $                1,418.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3158 MN-MCO EXPANSION                               12/22/2022       $               10,312.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3159 MN-MEDICAID                                    12/22/2022       $                (384.99)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3160 MN-MEDICAID                                    12/22/2022       $                    3.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 792
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3161 MN-MEDICAID                                    12/22/2022       $               18,707.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 64837                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST PAUL              MN          55164-0837
             City                 State       ZIP Code



             Country


     3.3162 MO-MEDICAID                                    12/22/2022       $                (652.34)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF SOCIAL SERVICES                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1116                                                                                             Other

             JEFFERSON CITY       MO          65102
             City                 State       ZIP Code



             Country


     3.3163 MO-MEDICAID                                    12/22/2022       $                (524.25)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF SOCIAL SERVICES                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1116                                                                                             Other

             JEFFERSON CITY       MO          65102
             City                 State       ZIP Code



             Country


     3.3164 MO-MEDICAID                                    12/22/2022       $                (201.63)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF SOCIAL SERVICES                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1116                                                                                             Other

             JEFFERSON CITY       MO          65102
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 793
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3165 MO-MEDICAID                                    12/22/2022       $                 (13.40)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF SOCIAL SERVICES                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1116                                                                                             Other

             JEFFERSON CITY       MO          65102
             City                 State       ZIP Code



             Country


     3.3166 MO-MEDICAID                                    12/22/2022       $                   (6.70)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF SOCIAL SERVICES                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1116                                                                                             Other

             JEFFERSON CITY       MO          65102
             City                 State       ZIP Code



             Country


     3.3167 MO-MEDICAID                                    12/22/2022       $               66,380.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPARTMENT OF SOCIAL SERVICES                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1116                                                                                             Other

             JEFFERSON CITY       MO          65102
             City                 State       ZIP Code



             Country


     3.3168 Monarch Strategic                              2/23/2023        $                8,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             18 W SHORE RD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 794
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3169 MONARCH STRATEGIC HR CONSULTING                12/8/2022        $                8,251.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             & COACHING LLC                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             18 W SHORE RD                                                                                           Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country


     3.3170 MONARCH STRATEGIC HR CONSULTING                12/8/2022        $               18,931.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             & COACHING LLC                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             18 W SHORE RD                                                                                           Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country


     3.3171 MONARCH STRATEGIC HR CONSULTING                12/15/2022       $               15,437.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             & COACHING LLC                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             18 W SHORE RD                                                                                           Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country


     3.3172 MONARCH STRATEGIC HR CONSULTING                12/15/2022       $               15,697.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             & COACHING LLC                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             18 W SHORE RD                                                                                           Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 795
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3173 MONARCH STRATEGIC HR CONSULTING                1/6/2023         $               40,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             & COACHING LLC                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             18 W SHORE RD                                                                                           Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country


     3.3174 MONARCH STRATEGIC HR CONSULTING                1/24/2023        $               40,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             & COACHING LLC                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             18 W SHORE RD                                                                                           Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country


     3.3175 MONARCH STRATEGIC HR CONSULTING                2/7/2023         $               38,646.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             & COACHING LLC                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             18 W SHORE RD                                                                                           Other

             BLOOMINGDALE         NJ          07403
             City                 State       ZIP Code



             Country


     3.3176 MOODY'S INVESTORS SERVICE INC                  1/17/2023        $               81,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 102597                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30368-0597
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 796
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3177 MORGAN DISTRIBUTING INC                        12/8/2022        $                1,255.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3425 N 22ND ST                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62526
             City                 State       ZIP Code



             Country


     3.3178 MORGAN DISTRIBUTING INC                        12/8/2022        $                7,785.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3425 N 22ND ST                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62526
             City                 State       ZIP Code



             Country


     3.3179 MOTION INDUSTRIES INC                          1/31/2023        $               (1,004.86)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3180 MOTION INDUSTRIES INC                          1/31/2023        $                (400.53)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 797
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3181 MOTION INDUSTRIES INC                          1/31/2023        $                   68.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3182 MOTION INDUSTRIES INC                          1/31/2023        $                   74.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3183 MOTION INDUSTRIES INC                          1/31/2023        $                  123.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3184 MOTION INDUSTRIES INC                          1/31/2023        $                  124.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 798
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3185 MOTION INDUSTRIES INC                          1/31/2023        $                  224.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3186 MOTION INDUSTRIES INC                          1/31/2023        $                  469.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3187 MOTION INDUSTRIES INC                          1/31/2023        $                  469.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3188 MOTION INDUSTRIES INC                          1/31/2023        $                  511.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 799
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3189 MOTION INDUSTRIES INC                          1/31/2023        $                  656.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3190 MOTION INDUSTRIES INC                          1/31/2023        $                  918.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3191 MOTION INDUSTRIES INC                          1/31/2023        $                1,372.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3192 MOTION INDUSTRIES INC                          1/31/2023        $                1,848.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 800
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3193 MOTION INDUSTRIES INC                          1/31/2023        $                2,459.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3194 MOTION INDUSTRIES INC                          1/31/2023        $                2,714.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3195 MOTION INDUSTRIES INC                          1/31/2023        $                6,688.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3196 MOTION INDUSTRIES INC                          1/31/2023        $                8,910.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 98412                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 801
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3197 MS PACKAGING & SUPPLY DISTRB CORP              11/29/2022       $               13,737.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3198 MS PACKAGING & SUPPLY DISTRB CORP              12/8/2022        $               11,180.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3199 MS PACKAGING & SUPPLY DISTRB CORP              1/12/2023        $                4,259.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3200 MS PACKAGING & SUPPLY DISTRB CORP              1/12/2023        $               13,737.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 802
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3201 MS PACKAGING & SUPPLY DISTRB CORP              1/12/2023        $               18,316.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3202 MS PACKAGING & SUPPLY DISTRB CORP              1/31/2023        $                3,903.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3203 MS PACKAGING & SUPPLY DISTRB CORP              1/31/2023        $                4,862.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3204 MS PACKAGING & SUPPLY DISTRB CORP              1/31/2023        $                8,452.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 803
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3205 MS PACKAGING & SUPPLY DISTRB CORP              1/31/2023        $                9,568.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3206 MS PACKAGING & SUPPLY DISTRB CORP              1/31/2023        $               11,316.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3207 MS PACKAGING & SUPPLY DISTRB CORP              1/31/2023        $               21,520.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country


     3.3208 MS PACKAGING & SUPPLY DISTRB CORP              1/31/2023        $               43,120.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             53 ZORN BLVD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             YAPANK               NY          11980
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 804
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3209 MSC INDUSTRIAL -REMIT                          11/29/2022       $                6,994.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953635                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3635
             City                 State       ZIP Code



             Country


     3.3210 MSC INDUSTRIAL -REMIT                          1/31/2023        $                  522.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953635                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3635
             City                 State       ZIP Code



             Country


     3.3211 MSC INDUSTRIAL -REMIT                          1/31/2023        $                1,056.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953635                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3635
             City                 State       ZIP Code



             Country


     3.3212 MSC INDUSTRIAL -REMIT                          2/13/2023        $                   52.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953635                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3635
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 805
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3213 MSC INDUSTRIAL -REMIT                          2/13/2023        $                   78.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 953635                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ST LOUIS             MO          63195-3635
             City                 State       ZIP Code



             Country


     3.3214 MSDS ONLINE INC                                12/8/2022        $               18,599.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             27185 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1271
             City                 State       ZIP Code



             Country


     3.3215 MSI BLUE                                       12/22/2022       $                8,701.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 823473                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19182-3473
             City                 State       ZIP Code



             Country


     3.3216 MSI BLUE                                       12/22/2022       $               18,029.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 823473                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19182-3473
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 806
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3217 MSI BLUE                                       12/22/2022       $               18,597.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 823473                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19182-3473
             City                 State       ZIP Code



             Country


     3.3218 MSI BLUE                                       12/22/2022       $               21,295.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 823473                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19182-3473
             City                 State       ZIP Code



             Country


     3.3219 MSI BLUE                                       12/22/2022       $               22,792.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 823473                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19182-3473
             City                 State       ZIP Code



             Country


     3.3220 MS-MCO MOLINA HEALTHCARE                       12/22/2022       $                    0.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MOLINA MCO                                                                        Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 807
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3221 MS-MCO MOLINA HEALTHCARE                       12/22/2022       $                    0.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MOLINA MCO                                                                        Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3222 MS-MCO MOLINA HEALTHCARE                       12/22/2022       $                    5.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MOLINA MCO                                                                        Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3223 MS-MCO MOLINA HEALTHCARE                       12/22/2022       $                  197.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MOLINA MCO                                                                        Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3224 MS-MCO MOLINA HEALTHCARE                       12/22/2022       $                7,609.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MOLINA MCO                                                                        Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 808
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3225 MS-MEDICAID                                    12/22/2022       $                (221.97)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MEDICAID                                                                          Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3226 MS-MEDICAID                                    12/22/2022       $                    8.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MEDICAID                                                                          Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3227 MS-MEDICAID                                    12/22/2022       $                   12.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MEDICAID                                                                          Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3228 MS-MEDICAID                                    12/22/2022       $                   44.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MEDICAID                                                                          Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 809
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3229 MS-MEDICAID                                    12/22/2022       $               21,534.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS MEDICAID                                                                          Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3230 MS-UNITED                                      12/22/2022       $                    4.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS UHC MCO                                                                           Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3231 MS-UNITED                                      12/22/2022       $                   81.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS UHC MCO                                                                           Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3232 MS-UNITED                                      12/22/2022       $                   83.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS UHC MCO                                                                           Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 810
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3233 MS-UNITED                                      12/22/2022       $                  136.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS UHC MCO                                                                           Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3234 MS-UNITED                                      12/22/2022       $                  752.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS UHC MCO                                                                           Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3235 MS-UNITED                                      12/22/2022       $               16,879.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6014                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN KATHERINE THOMAS UHC MCO                                                                           Other

             RIDGELAND            MS          39158-6014
             City                 State       ZIP Code



             Country


     3.3236 MULTI PACKAGING SOL -REMIT                     11/29/2022       $                4,034.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 811
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3237 MULTI PACKAGING SOL -REMIT                     11/29/2022       $                7,766.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3238 MULTI PACKAGING SOL -REMIT                     11/29/2022       $               11,203.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3239 MULTI PACKAGING SOL -REMIT                     1/6/2023         $                2,976.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3240 MULTI PACKAGING SOL -REMIT                     1/6/2023         $                3,646.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 812
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3241 MULTI PACKAGING SOL -REMIT                     1/6/2023         $                8,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3242 MULTI PACKAGING SOL -REMIT                     1/6/2023         $               13,121.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3243 MULTI PACKAGING SOL -REMIT                     1/6/2023         $               21,408.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3244 MULTI PACKAGING SOL -REMIT                     1/6/2023         $               29,276.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 813
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3245 MULTI PACKAGING SOL -REMIT                     1/12/2023        $               45,296.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3246 MULTI PACKAGING SOL -REMIT                     1/12/2023        $               50,745.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3247 MULTI PACKAGING SOL -REMIT                     1/31/2023        $                3,805.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3248 MULTI PACKAGING SOL -REMIT                     1/31/2023        $                4,052.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 814
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3249 MULTI PACKAGING SOL -REMIT                     1/31/2023        $                7,430.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3250 MULTI PACKAGING SOL -REMIT                     1/31/2023        $               10,632.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3251 MULTI PACKAGING SOL -REMIT                     1/31/2023        $               11,038.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3252 MULTI PACKAGING SOL -REMIT                     1/31/2023        $               49,953.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 815
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3253 MULTI PACKAGING SOL -REMIT                     2/8/2023         $                3,382.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3254 MULTI PACKAGING SOL -REMIT                     2/8/2023         $                8,007.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3255 MULTI PACKAGING SOL -REMIT                     2/8/2023         $               12,286.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             75 REMITTANCE DRIVE SUITE 3111                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60675-3111
             City                 State       ZIP Code



             Country


     3.3256 NAPP TECHNOLOGIES LLC                          2/13/2023        $               80,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CONTINENTAL PLAZA                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

             401 HACKENSACK AVE 9TH FLOOR                                                                            Other

             HACKENSACK           NJ          07601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 816
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3257 NATALIE SCHOLBERG                              1/26/2023        $                  616.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SILVER LAKE
             City                 State       ZIP Code



             Country


     3.3258 NATALIE SCHOLBERG                              1/26/2023        $                1,445.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country


     3.3259 NATALIE SCHOLBERG                              1/26/2023        $                1,790.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country


     3.3260 NATALIE SCHOLBERG                              1/26/2023        $               23,700.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 817
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3261 NATIONAL GRID                                  11/29/2022       $                  132.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3262 NATIONAL GRID                                  11/29/2022       $                  168.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3263 NATIONAL GRID                                  11/29/2022       $                  891.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3264 NATIONAL GRID                                  11/29/2022       $                  993.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 818
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3265 NATIONAL GRID                                  11/29/2022       $                1,966.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3266 NATIONAL GRID                                  11/29/2022       $                7,954.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3267 NATIONAL GRID                                  12/22/2022       $                  321.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3268 NATIONAL GRID                                  12/22/2022       $                  445.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 819
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3269 NATIONAL GRID                                  12/22/2022       $                1,184.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3270 NATIONAL GRID                                  12/22/2022       $                2,528.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3271 NATIONAL GRID                                  12/22/2022       $                4,509.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3272 NATIONAL GRID                                  12/22/2022       $               10,243.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 820
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3273 NATIONAL GRID                                  1/26/2023        $                  389.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3274 NATIONAL GRID                                  1/26/2023        $                  726.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3275 NATIONAL GRID                                  1/26/2023        $                2,144.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3276 NATIONAL GRID                                  1/26/2023        $                3,789.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 821
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3277 NATIONAL GRID                                  1/26/2023        $                6,446.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3278 NATIONAL GRID                                  1/26/2023        $               12,205.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 371382                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15250-7382
             City                 State       ZIP Code



             Country


     3.3279 NAVISITE LLC                                   1/6/2023         $               36,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCK BOX 5138                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 7247                                                                                             Other

             PHILADELPHIA         PA          19170-5138
             City                 State       ZIP Code



             Country


     3.3280 NAVISITE LLC                                   1/6/2023         $               94,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCK BOX 5138                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 7247                                                                                             Other

             PHILADELPHIA         PA          19170-5138
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 822
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3281 NC-MEDICAID                                    11/29/2022       $                (588.34)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NC DHHS DRUG REBATE CMS                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 602872                                                                                           Other

             CHARLOTTE            NC          28260-2872
             City                 State       ZIP Code



             Country


     3.3282 NC-MEDICAID                                    11/29/2022       $                 (33.42)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NC DHHS DRUG REBATE CMS                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 602872                                                                                           Other

             CHARLOTTE            NC          28260-2872
             City                 State       ZIP Code



             Country


     3.3283 NC-MEDICAID                                    11/29/2022       $                 (28.05)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NC DHHS DRUG REBATE CMS                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 602872                                                                                           Other

             CHARLOTTE            NC          28260-2872
             City                 State       ZIP Code



             Country


     3.3284 NC-MEDICAID                                    11/29/2022       $                 (12.73)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NC DHHS DRUG REBATE CMS                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 602872                                                                                           Other

             CHARLOTTE            NC          28260-2872
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 823
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3285 NC-MEDICAID                                    11/29/2022       $                   (2.59)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NC DHHS DRUG REBATE CMS                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 602872                                                                                           Other

             CHARLOTTE            NC          28260-2872
             City                 State       ZIP Code



             Country


     3.3286 NC-MEDICAID                                    11/29/2022       $               33,367.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NC DHHS DRUG REBATE CMS                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 602872                                                                                           Other

             CHARLOTTE            NC          28260-2872
             City                 State       ZIP Code



             Country


     3.3287 ND-MEDICAID                                    12/22/2022       $                 (71.86)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             600 E BLVD AVE DEPT 325                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN FISCAL DRUG REBATE PROGRAM                                                                         Other

             BISMARCK             ND          58505-0261
             City                 State       ZIP Code



             Country


     3.3288 ND-MEDICAID                                    12/22/2022       $               10,503.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             600 E BLVD AVE DEPT 325                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN FISCAL DRUG REBATE PROGRAM                                                                         Other

             BISMARCK             ND          58505-0261
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 824
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3289 NELSON LAB FAIRFIELD -REMIT                    11/29/2022       $                  337.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3290 NELSON LAB FAIRFIELD -REMIT                    11/29/2022       $                  342.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3291 NELSON LAB FAIRFIELD -REMIT                    11/29/2022       $                  706.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3292 NELSON LAB FAIRFIELD -REMIT                    11/29/2022       $                4,304.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 825
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3293 NELSON LAB FAIRFIELD -REMIT                    12/15/2022       $                  156.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3294 NELSON LAB FAIRFIELD -REMIT                    12/15/2022       $                1,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3295 NELSON LAB FAIRFIELD -REMIT                    1/6/2023         $                  337.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3296 NELSON LAB FAIRFIELD -REMIT                    1/6/2023         $                  884.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 826
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3297 NELSON LAB FAIRFIELD -REMIT                    1/26/2023        $                4,518.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3298 NELSON LAB FAIRFIELD -REMIT                    1/31/2023        $                3,622.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             734182 NETWORK PLACE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1734
             City                 State       ZIP Code



             Country


     3.3299 NELSON LABORATORIES BOZEMAN LLC                12/8/2022        $                2,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country


     3.3300 NELSON LABORATORIES BOZEMAN LLC                12/8/2022        $               14,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 827
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3301 NELSON LABORATORIES BOZEMAN LLC                1/6/2023         $                  160.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country


     3.3302 NELSON LABORATORIES BOZEMAN LLC                1/6/2023         $                  160.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country


     3.3303 NELSON LABORATORIES BOZEMAN LLC                1/6/2023         $                  160.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country


     3.3304 NELSON LABORATORIES BOZEMAN LLC                1/6/2023         $               90,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 828
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3305 NELSON LABORATORIES BOZEMAN LLC                1/19/2023        $                  160.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country


     3.3306 NELSON LABORATORIES BOZEMAN LLC                1/31/2023        $              135,900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772678                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BELLEVILLE           MI          48277-2678
             City                 State       ZIP Code



             Country


     3.3307 NESKO ELECTRIC COMPANY                         11/29/2022       $                8,786.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3111 S 26TH AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BROADVIEW            IL          60155
             City                 State       ZIP Code



             Country


     3.3308 NEW YORK POWER AUTHORITY                       11/29/2022       $               47,397.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             123 Main Street                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             White Plains         NY          10601
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 829
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3309 NEW YORK POWER AUTHORITY                       1/12/2023        $               40,519.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             123 Main Street                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             White Plains         NY          10601
             City                 State       ZIP Code



             Country


     3.3310 NEW YORK POWER AUTHORITY                       1/26/2023        $               40,860.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             123 Main Street                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             White Plains         NY          10601
             City                 State       ZIP Code



             Country


     3.3311 NEXTPHARMA -R&D ONLY                           1/25/2023        $                1,854.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALLPHAMED PHARBIL ARZNEIMITTEL GMBH                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             HILDEBRANDSTRABE 12, NIEDERSACHSEN                                                                      Other

             GOTTINGEN                        D-37081
             City                 State       ZIP Code

             GERMANY
             Country


     3.3312 NEXTPHARMA -R&D ONLY                           1/25/2023        $                5,976.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALLPHAMED PHARBIL ARZNEIMITTEL GMBH                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             HILDEBRANDSTRABE 12, NIEDERSACHSEN                                                                      Other

             GOTTINGEN                        D-37081
             City                 State       ZIP Code

             GERMANY
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 830
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3313 NEXTPHARMA -R&D ONLY                           1/25/2023        $               42,698.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALLPHAMED PHARBIL ARZNEIMITTEL GMBH                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             HILDEBRANDSTRABE 12, NIEDERSACHSEN                                                                      Other

             GOTTINGEN                        D-37081
             City                 State       ZIP Code

             GERMANY
             Country


     3.3314 NEXTPHARMA -R&D ONLY                           1/25/2023        $               57,204.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ALLPHAMED PHARBIL ARZNEIMITTEL GMBH                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             HILDEBRANDSTRABE 12, NIEDERSACHSEN                                                                      Other

             GOTTINGEN                        D-37081
             City                 State       ZIP Code

             GERMANY
             Country


     3.3315 NH-MCO                                         12/22/2022       $                 (66.89)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NH DHHS C/O OFFICE OF FINANCE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN NH MEDICAID DRUG REBATE, 129
             PLEASANT STREET                                                                                         Other

             CONCORD              NH          03301
             City                 State       ZIP Code



             Country


     3.3316 NH-MCO                                         12/22/2022       $                 (46.89)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NH DHHS C/O OFFICE OF FINANCE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN NH MEDICAID DRUG REBATE, 129
             PLEASANT STREET                                                                                         Other

             CONCORD              NH          03301
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 831
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3317 NH-MCO                                         12/22/2022       $                   (0.28)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NH DHHS C/O OFFICE OF FINANCE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN NH MEDICAID DRUG REBATE, 129
             PLEASANT STREET                                                                                         Other

             CONCORD              NH          03301
             City                 State       ZIP Code



             Country


     3.3318 NH-MCO                                         12/22/2022       $                    0.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NH DHHS C/O OFFICE OF FINANCE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN NH MEDICAID DRUG REBATE, 129
             PLEASANT STREET                                                                                         Other

             CONCORD              NH          03301
             City                 State       ZIP Code



             Country


     3.3319 NH-MCO                                         12/22/2022       $                2,585.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NH DHHS C/O OFFICE OF FINANCE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN NH MEDICAID DRUG REBATE, 129
             PLEASANT STREET                                                                                         Other

             CONCORD              NH          03301
             City                 State       ZIP Code



             Country


     3.3320 NH-MCO                                         12/22/2022       $               11,606.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NH DHHS C/O OFFICE OF FINANCE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN NH MEDICAID DRUG REBATE, 129
             PLEASANT STREET                                                                                         Other

             CONCORD              NH          03301
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 832
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3321 NIAGARA PHARMACEUTICALS INC                    11/29/2022       $                4,867.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             60 INNOVATION DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FLAMBOROUGH          ON          L9H 7P3
             City                 State       ZIP Code

             CANADA
             Country


     3.3322 NIAGARA PHARMACEUTICALS INC                    11/29/2022       $                8,294.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             60 INNOVATION DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FLAMBOROUGH          ON          L9H 7P3
             City                 State       ZIP Code

             CANADA
             Country


     3.3323 NIAGARA PHARMACEUTICALS INC                    11/29/2022       $                8,294.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             60 INNOVATION DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FLAMBOROUGH          ON          L9H 7P3
             City                 State       ZIP Code

             CANADA
             Country


            NIPRO PHARMAPACKAGING AMERICAS                                                                           Secured debt
     3.3324 CORP                                           11/29/2022       $              114,415.12
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1200 NORTH 10TH ST                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILLVILLE            NJ          08332
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 833
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            NIPRO PHARMAPACKAGING AMERICAS                                                                           Secured debt
     3.3325 CORP                                           1/26/2023        $               63,619.30
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1200 NORTH 10TH ST                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MILLVILLE            NJ          08332
             City                 State       ZIP Code



             Country


     3.3326 NJ-ENCOUNTER                                   12/22/2022       $                 (93.01)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             ENC PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3327 NJ-ENCOUNTER                                   12/22/2022       $                 (46.88)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             ENC PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3328 NJ-ENCOUNTER                                   12/22/2022       $                  114.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             ENC PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 834
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3329 NJ-ENCOUNTER                                   12/22/2022       $                  145.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             ENC PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3330 NJ-ENCOUNTER                                   12/22/2022       $               32,580.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             ENC PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3331 NJ-ENCOUNTER                                   12/22/2022       $               73,151.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             ENC PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3332 NJ-FX MCO                                      12/22/2022       $                   (5.36)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             FX-MCO PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 835
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3333 NJ-FX MCO                                      12/22/2022       $                   (1.71)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             FX-MCO PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3334 NJ-FX MCO                                      12/22/2022       $                    0.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             FX-MCO PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3335 NJ-FX MCO                                      12/22/2022       $                   58.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             FX-MCO PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3336 NJ-FX MCO                                      12/22/2022       $               11,825.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             FX-MCO PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 836
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3337 NJ-FX MCO                                      12/22/2022       $               25,086.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF MEDICAL ASSISTANC HEALTH SVC                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             FX-MCO PMDRP LOCKBOX 655, 200
             WOOLVERTON AVE BLDG 20                                                                                  Other

             TRENTON              NJ          08646
             City                 State       ZIP Code



             Country


     3.3338 NM-MCO                                         12/22/2022       $                    5.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ASD REVENUE & REPORTING BUREAU                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2348                                                                                             Other

             SANTA FE             NM          87504-2348
             City                 State       ZIP Code



             Country


     3.3339 NM-MCO                                         12/22/2022       $                   48.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ASD REVENUE & REPORTING BUREAU                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2348                                                                                             Other

             SANTA FE             NM          87504-2348
             City                 State       ZIP Code



             Country


     3.3340 NM-MCO                                         12/22/2022       $                  314.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ASD REVENUE & REPORTING BUREAU                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2348                                                                                             Other

             SANTA FE             NM          87504-2348
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 837
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3341 NM-MCO                                         12/22/2022       $                  373.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ASD REVENUE & REPORTING BUREAU                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2348                                                                                             Other

             SANTA FE             NM          87504-2348
             City                 State       ZIP Code



             Country


     3.3342 NM-MCO                                         12/22/2022       $               29,672.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ASD REVENUE & REPORTING BUREAU                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2348                                                                                             Other

             SANTA FE             NM          87504-2348
             City                 State       ZIP Code



             Country


     3.3343 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $                (903.79)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3344 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $                2,146.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 838
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3345 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $                3,168.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3346 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $                3,659.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3347 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $                4,236.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3348 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $                5,120.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 839
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3349 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $                6,626.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3350 NORTH AMERICAN CORPORATION OF IL               1/19/2023        $               14,213.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3351 NORTH AMERICAN CORPORATION OF IL               1/26/2023        $                6,820.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3352 NORTH AMERICAN CORPORATION OF IL               1/31/2023        $               (2,111.39)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 840
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3353 NORTH AMERICAN CORPORATION OF IL               1/31/2023        $                6,290.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2101 CLAIRE CT                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GLENVIEW             IL          60025
             City                 State       ZIP Code



             Country


     3.3354 NORTH SHORE GAS                                11/29/2022       $                   91.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3355 NORTH SHORE GAS                                11/29/2022       $                  764.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3356 NORTH SHORE GAS                                11/29/2022       $                1,062.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 841
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3357 NORTH SHORE GAS                                11/29/2022       $                1,181.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3358 NORTH SHORE GAS                                12/29/2022       $                  138.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3359 NORTH SHORE GAS                                12/29/2022       $                  192.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3360 NORTH SHORE GAS                                12/29/2022       $                  212.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 842
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3361 NORTH SHORE GAS                                12/29/2022       $                  745.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3362 NORTH SHORE GAS                                12/29/2022       $                1,715.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3363 NORTH SHORE GAS                                12/29/2022       $                1,756.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3364 NORTH SHORE GAS                                12/29/2022       $                2,399.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 843
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3365 NORTH SHORE GAS                                1/26/2023        $                  153.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3366 NORTH SHORE GAS                                1/26/2023        $                  203.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3367 NORTH SHORE GAS                                1/26/2023        $                  277.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3368 NORTH SHORE GAS                                1/26/2023        $                1,260.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 844
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3369 NORTH SHORE GAS                                1/31/2023        $                1,708.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3370 NORTH SHORE GAS                                1/31/2023        $                1,918.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3371 NORTH SHORE GAS                                1/31/2023        $                2,847.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 6050                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         WI          60197-6050
             City                 State       ZIP Code



             Country


     3.3372 NSF HEALTH SCIENCES -REMIT                     11/29/2022       $               67,143.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT LOCKBOX #771380                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 77000                                                                                            Other

             DETROIT              MI          48277
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 845
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3373 NSF HEALTH SCIENCES -REMIT                     11/29/2022       $              561,960.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT LOCKBOX #771380                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 77000                                                                                            Other

             DETROIT              MI          48277
             City                 State       ZIP Code



             Country


     3.3374 NV-MCO1 UNITED                                 12/22/2022       $                    1.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country


     3.3375 NV-MCO1 UNITED                                 12/22/2022       $                   17.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country


     3.3376 NV-MCO1 UNITED                                 12/22/2022       $                3,137.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 846
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3377 NV-MCO1 UNITED                                 12/22/2022       $               15,574.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country


     3.3378 NV-MCO2 AMERIGROUP                             12/22/2022       $                    1.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country


     3.3379 NV-MCO2 AMERIGROUP                             12/22/2022       $                8,246.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country


     3.3380 NV-MEDICAID                                    12/22/2022       $                 (27.62)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 847
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3381 NV-MEDICAID                                    12/22/2022       $                  176.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country


     3.3382 NV-MEDICAID                                    12/22/2022       $               24,884.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DRUG REBATE PAYMENTS                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 845937                                                                                           Other

             LOS ANGELES          CA          90084-5937
             City                 State       ZIP Code



             Country


     3.3383 NY-MCO                                         12/22/2022       $                (135.25)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF HEALTH                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 412205, ATTN NY MEDICAID MCO
             REBATE PROGRAM                                                                                          Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3384 NY-MCO                                         12/22/2022       $                   23.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF HEALTH                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 412205, ATTN NY MEDICAID MCO
             REBATE PROGRAM                                                                                          Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 848
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3385 NY-MCO                                         12/22/2022       $                   48.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF HEALTH                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 412205, ATTN NY MEDICAID MCO
             REBATE PROGRAM                                                                                          Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3386 NY-MCO                                         12/22/2022       $                  137.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF HEALTH                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 412205, ATTN NY MEDICAID MCO
             REBATE PROGRAM                                                                                          Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3387 NY-MCO                                         12/22/2022       $               38,613.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF HEALTH                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 412205, ATTN NY MEDICAID MCO
             REBATE PROGRAM                                                                                          Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3388 NY-MCO                                         12/22/2022       $              263,096.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF HEALTH                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 412205, ATTN NY MEDICAID MCO
             REBATE PROGRAM                                                                                          Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 849
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3389 NY-MEDICAID                                    12/22/2022       $                (553.67)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NY MEDICAID FFS REBATE PROGRAM DRUG                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 412205                                                                                           Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3390 NY-MEDICAID                                    12/22/2022       $                (146.95)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NY MEDICAID FFS REBATE PROGRAM DRUG                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 412205                                                                                           Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3391 NY-MEDICAID                                    12/22/2022       $                (108.03)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NY MEDICAID FFS REBATE PROGRAM DRUG                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 412205                                                                                           Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3392 NY-MEDICAID                                    12/22/2022       $                   (0.22)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NY MEDICAID FFS REBATE PROGRAM DRUG                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 412205                                                                                           Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 850
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3393 NY-MEDICAID                                    12/22/2022       $               58,578.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             NY MEDICAID FFS REBATE PROGRAM DRUG                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 412205                                                                                           Other

             BOSTON               MA          02241-2205
             City                 State       ZIP Code



             Country


     3.3394 NYSIF DISABILITY BENEFITS                      12/15/2022       $               14,486.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5520                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BINGHAMPTON          NY          13902-5520
             City                 State       ZIP Code



             Country


     3.3395 NYSIF DISABILITY BENEFITS                      1/26/2023        $               14,486.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5520                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BINGHAMPTON          NY          13902-5520
             City                 State       ZIP Code



             Country


     3.3396 NYSIF DISABILITY BENEFITS                      2/13/2023        $               14,496.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5520                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BINGHAMPTON          NY          13902-5520
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 851
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3397 NY-STATE EPIC                                  12/22/2022       $                (355.13)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE COMMERCE PLAZA                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             99 WASHINGTON AVE, 14TH FL STE 432,
             ATTN NY EPIC PROGRAM                                                                                    Other

             ALBANY               NY          12210
             City                 State       ZIP Code



             Country


     3.3398 NY-STATE EPIC                                  12/22/2022       $                   (0.35)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE COMMERCE PLAZA                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             99 WASHINGTON AVE, 14TH FL STE 432,
             ATTN NY EPIC PROGRAM                                                                                    Other

             ALBANY               NY          12210
             City                 State       ZIP Code



             Country


     3.3399 NY-STATE EPIC                                  12/22/2022       $                   (0.34)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE COMMERCE PLAZA                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             99 WASHINGTON AVE, 14TH FL STE 432,
             ATTN NY EPIC PROGRAM                                                                                    Other

             ALBANY               NY          12210
             City                 State       ZIP Code



             Country


     3.3400 NY-STATE EPIC                                  12/22/2022       $               33,052.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE COMMERCE PLAZA                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services
             99 WASHINGTON AVE, 14TH FL STE 432,
             ATTN NY EPIC PROGRAM                                                                                    Other

             ALBANY               NY          12210
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 852
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3401 OH-MCO                                         12/22/2022       $                (202.03)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3402 OH-MCO                                         12/22/2022       $                 (59.48)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3403 OH-MCO                                         12/22/2022       $                 (20.53)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3404 OH-MCO                                         12/22/2022       $                    3.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 853
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3405 OH-MCO                                         12/22/2022       $               62,376.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3406 OH-MCO                                         12/22/2022       $              133,174.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3407 OH-MEDICAID                                    12/22/2022       $                (633.47)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3408 OH-MEDICAID                                    12/22/2022       $                 (17.20)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 854
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3409 OH-MEDICAID                                    12/22/2022       $                   (4.69)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3410 OH-MEDICAID                                    12/22/2022       $               27,728.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHIO DEPT OF MEDICAID - DRUG REBATE                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             KEY BANK, PO BOX 712110                                                                                 Other

             CINCINNATI           OH          45271-2110
             City                 State       ZIP Code



             Country


     3.3411 O'JEA & ASSOCIATES INC                         12/27/2022       $               26,875.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             KEVIN BAIN                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

             4088 EAST LAKE RD                                                                                       Other

             CANANDAIGUA          NY          14424
             City                 State       ZIP Code



             Country


     3.3412 OK-MEDICAID                                    11/29/2022       $                (679.24)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN FINANCE DIVISION                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             DRUG REBATE PROGRAM, PO BOX 18299                                                                       Other

             OKLAHOMA CITY        OK          73154-0299
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 855
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3413 OK-MEDICAID                                    11/29/2022       $                   (1.69)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN FINANCE DIVISION                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             DRUG REBATE PROGRAM, PO BOX 18299                                                                       Other

             OKLAHOMA CITY        OK          73154-0299
             City                 State       ZIP Code



             Country


     3.3414 OK-MEDICAID                                    11/29/2022       $                   (1.27)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN FINANCE DIVISION                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             DRUG REBATE PROGRAM, PO BOX 18299                                                                       Other

             OKLAHOMA CITY        OK          73154-0299
             City                 State       ZIP Code



             Country


     3.3415 OK-MEDICAID                                    11/29/2022       $               70,409.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN FINANCE DIVISION                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             DRUG REBATE PROGRAM, PO BOX 18299                                                                       Other

             OKLAHOMA CITY        OK          73154-0299
             City                 State       ZIP Code



             Country


     3.3416 OLYMPIC WEB DESIGN INC                         1/27/2023        $                   86.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 856
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3417 OLYMPIC WEB DESIGN INC                         1/27/2023        $                   86.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3418 OLYMPIC WEB DESIGN INC                         1/27/2023        $                  152.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3419 OLYMPIC WEB DESIGN INC                         1/27/2023        $                  166.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3420 OLYMPIC WEB DESIGN INC                         1/27/2023        $                  166.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 857
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3421 OLYMPIC WEB DESIGN INC                         1/27/2023        $                  220.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3422 OLYMPIC WEB DESIGN INC                         1/27/2023        $                  357.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3423 OLYMPIC WEB DESIGN INC                         1/27/2023        $                  495.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3424 OLYMPIC WEB DESIGN INC                         1/27/2023        $                  710.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 858
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3425 OLYMPIC WEB DESIGN INC                         1/27/2023        $                1,599.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3426 OLYMPIC WEB DESIGN INC                         1/27/2023        $                1,599.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3427 OLYMPIC WEB DESIGN INC                         1/27/2023        $                2,868.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3428 OLYMPIC WEB DESIGN INC                         1/27/2023        $                8,156.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 859
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3429 OLYMPIC WEB DESIGN INC                         1/27/2023        $                9,185.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12128 NORTH DIVISION STREET                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 138                                                                                               Other

             SPOKANE              WA          99218
             City                 State       ZIP Code



             Country


     3.3430 OPTIMA MACHINERY CORP                          12/8/2022        $                  661.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country


     3.3431 OPTIMA MACHINERY CORP                          12/8/2022        $               16,869.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country


     3.3432 OPTIMA MACHINERY CORP                          1/12/2023        $                  170.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 860
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3433 OPTIMA MACHINERY CORP                          1/12/2023        $                  287.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country


     3.3434 OPTIMA MACHINERY CORP                          1/12/2023        $                  757.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country


     3.3435 OPTIMA MACHINERY CORP                          1/12/2023        $                2,350.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country


     3.3436 OPTIMA MACHINERY CORP                          1/12/2023        $               17,440.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 861
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3437 OPTIMA MACHINERY CORP                          1/12/2023        $               21,039.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1330 CONTRACT DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREEN BAY            WI          54304
             City                 State       ZIP Code



             Country


     3.3438 OR-MCO                                         12/22/2022       $                    2.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHA RECEIPTING UNIT/DRUG REBATE                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN OREGON DRUG REBATE PROGRAM,
             500 SUMMER STREET NE E-08                                                                               Other

             SALEM                OR          97301-1077
             City                 State       ZIP Code



             Country


     3.3439 OR-MCO                                         12/22/2022       $                   56.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHA RECEIPTING UNIT/DRUG REBATE                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN OREGON DRUG REBATE PROGRAM,
             500 SUMMER STREET NE E-08                                                                               Other

             SALEM                OR          97301-1077
             City                 State       ZIP Code



             Country


     3.3440 OR-MCO                                         12/22/2022       $                  115.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHA RECEIPTING UNIT/DRUG REBATE                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN OREGON DRUG REBATE PROGRAM,
             500 SUMMER STREET NE E-08                                                                               Other

             SALEM                OR          97301-1077
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 862
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3441 OR-MCO                                         12/22/2022       $                  165.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHA RECEIPTING UNIT/DRUG REBATE                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN OREGON DRUG REBATE PROGRAM,
             500 SUMMER STREET NE E-08                                                                               Other

             SALEM                OR          97301-1077
             City                 State       ZIP Code



             Country


     3.3442 OR-MCO                                         12/22/2022       $               10,955.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHA RECEIPTING UNIT/DRUG REBATE                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN OREGON DRUG REBATE PROGRAM,
             500 SUMMER STREET NE E-08                                                                               Other

             SALEM                OR          97301-1077
             City                 State       ZIP Code



             Country


     3.3443 OR-MCO                                         12/22/2022       $               36,011.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             OHA RECEIPTING UNIT/DRUG REBATE                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services
             ATTN OREGON DRUG REBATE PROGRAM,
             500 SUMMER STREET NE E-08                                                                               Other

             SALEM                OR          97301-1077
             City                 State       ZIP Code



             Country


     3.3444 OTIS ELEVATOR - SPRINGFIELD IL                 11/29/2022       $               51,945.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73579                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7579
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 863
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3445 OXFORD GLOBAL RESOURCES LLC                    11/29/2022       $                4,160.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3256                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-3256
             City                 State       ZIP Code



             Country


     3.3446 OXFORD GLOBAL RESOURCES LLC                    11/29/2022       $                5,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3256                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-3256
             City                 State       ZIP Code



             Country


     3.3447 PACKAGE DEVELOPMENT                            1/26/2023        $               35,995.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             100 ROUNDHILL DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROCKWAY              NJ          07866
             City                 State       ZIP Code



             Country


     3.3448 PACKAGE DEVELOPMENT                            1/26/2023        $               36,121.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             100 ROUNDHILL DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROCKWAY              NJ          07866
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 864
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3449 PACKAGE DEVELOPMENT                            2/13/2023        $               36,938.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             100 ROUNDHILL DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROCKWAY              NJ          07866
             City                 State       ZIP Code



             Country


     3.3450 PACKAGE DEVELOPMENT                            2/13/2023        $               37,754.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             100 ROUNDHILL DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROCKWAY              NJ          07866
             City                 State       ZIP Code



             Country


     3.3451 PALL CORPORATION                               12/8/2022        $                1,072.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3452 PALL CORPORATION                               12/8/2022        $                4,044.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 865
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3453 PALL CORPORATION                               12/8/2022        $                4,420.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3454 PALL CORPORATION                               12/8/2022        $                7,165.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3455 PALL CORPORATION                               1/6/2023         $                5,690.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3456 PALL CORPORATION                               1/6/2023         $                7,741.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 866
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3457 PALL CORPORATION                               1/6/2023         $                8,122.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3458 PALL CORPORATION                               1/6/2023         $               13,628.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3459 PALL CORPORATION                               1/6/2023         $               28,062.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3460 PALL CORPORATION                               1/11/2023        $             (66,650.00)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 867
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3461 PALL CORPORATION                               1/11/2023        $                5,257.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3462 PALL CORPORATION                               1/11/2023        $                5,276.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3463 PALL CORPORATION                               1/11/2023        $                8,318.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3464 PALL CORPORATION                               1/11/2023        $               47,799.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 868
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3465 PALL CORPORATION                               1/12/2023        $                2,262.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3466 PALL CORPORATION                               1/19/2023        $                  301.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3467 PALL CORPORATION                               1/19/2023        $                1,981.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3468 PALL CORPORATION                               1/19/2023        $                5,485.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 869
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3469 PALL CORPORATION                               1/19/2023        $               12,930.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3470 PALL CORPORATION                               1/19/2023        $               18,487.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3471 PALL CORPORATION                               1/26/2023        $               39,990.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country


     3.3472 PALL CORPORATION                               1/31/2023        $                5,739.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 419501                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 870
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3473 PA-MCO                                         12/22/2022       $                (230.81)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PA DOHS                                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 780634                                                                                           Other

             PHILADELPHIA         PA          19178-0634
             City                 State       ZIP Code



             Country


     3.3474 PA-MCO                                         12/22/2022       $                   (0.33)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PA DOHS                                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 780634                                                                                           Other

             PHILADELPHIA         PA          19178-0634
             City                 State       ZIP Code



             Country


     3.3475 PA-MCO                                         12/22/2022       $                   21.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PA DOHS                                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 780634                                                                                           Other

             PHILADELPHIA         PA          19178-0634
             City                 State       ZIP Code



             Country


     3.3476 PA-MCO                                         12/22/2022       $               83,227.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PA DOHS                                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 780634                                                                                           Other

             PHILADELPHIA         PA          19178-0634
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 871
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3477 PA-MCO                                         12/22/2022       $              177,895.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PA DOHS                                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 780634                                                                                           Other

             PHILADELPHIA         PA          19178-0634
             City                 State       ZIP Code



             Country


     3.3478 PARK PLACE TECHNOLOGIES                        12/8/2022        $                8,085.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 78000                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             DEPT 781156                                                                                             Other

             DETROIT              MI          48278-1156
             City                 State       ZIP Code



             Country


     3.3479 PATHEON PHARMA -REMIT                          11/29/2022       $              198,538.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 744994                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              GA          30374-4994
             City                 State       ZIP Code



             Country


     3.3480 PATHEON PHARMA -REMIT                          12/8/2022        $                1,664.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 744994                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              GA          30374-4994
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 872
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3481 PATHEON PHARMA -REMIT                          12/8/2022        $               11,415.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 744994                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              GA          30374-4994
             City                 State       ZIP Code



             Country


     3.3482 PAVEMASTER ASPHALT & SEALING INC               11/29/2022       $               10,688.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             516 PINE AIR DRIVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BAY SHORE            NY          11706
             City                 State       ZIP Code



             Country


     3.3483 PDQ HEALTHCARE INFORMATION                     11/29/2022       $               12,953.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 191                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CARLE PLACE          NY          11514
             City                 State       ZIP Code



             Country


     3.3484 PDQ HEALTHCARE INFORMATION                     11/29/2022       $               14,553.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 191                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CARLE PLACE          NY          11514
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 873
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3485 PERFORMANCE VALIDATION -REMIT                  11/29/2022       $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7096 DEPT 254                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             INDIANAPOLIS         IN          46207
             City                 State       ZIP Code



             Country


     3.3486 PERFORMANCE VALIDATION -REMIT                  11/29/2022       $                5,224.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7096 DEPT 254                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             INDIANAPOLIS         IN          46207
             City                 State       ZIP Code



             Country


     3.3487 PERFORMANCE VALIDATION -REMIT                  1/31/2023        $                  472.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7096 DEPT 254                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             INDIANAPOLIS         IN          46207
             City                 State       ZIP Code



             Country


     3.3488 PERFORMANCE VALIDATION -REMIT                  1/31/2023        $                2,430.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7096 DEPT 254                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             INDIANAPOLIS         IN          46207
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 874
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3489 PESTALOZZI ATTORNEYS AT LAW LTD                12/8/2022        $                   95.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.3490 PESTALOZZI ATTORNEYS AT LAW LTD                12/8/2022        $                1,560.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.3491 PESTALOZZI ATTORNEYS AT LAW LTD                12/15/2022       $                   91.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.3492 PESTALOZZI ATTORNEYS AT LAW LTD                12/15/2022       $                5,245.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 875
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3493 PESTALOZZI ATTORNEYS AT LAW LTD                12/23/2022       $                    1.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.3494 PESTALOZZI ATTORNEYS AT LAW LTD                12/23/2022       $                  357.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.3495 PESTALOZZI ATTORNEYS AT LAW LTD                1/27/2023        $                (488.34)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.3496 PESTALOZZI ATTORNEYS AT LAW LTD                1/27/2023        $                3,119.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOWENSTRASSE 1                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ZURICH                           CH-8001
             City                 State       ZIP Code

             SWITZERLAND
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 876
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3497 PHARMACEUTICALS RETURNS SERVICE                12/22/2022       $               42,423.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             720 HEARTLAND DR SUITE B                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SUGAR GROVE          IL          60554
             City                 State       ZIP Code



             Country


     3.3498 PHARMACEUTICALS RETURNS SERVICE                12/22/2022       $               97,091.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             720 HEARTLAND DR SUITE B                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SUGAR GROVE          IL          60554
             City                 State       ZIP Code



             Country


     3.3499 PHARMACEUTICALS RETURNS SERVICE                1/26/2023        $               22,139.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             720 HEARTLAND DR SUITE B                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SUGAR GROVE          IL          60554
             City                 State       ZIP Code



             Country


     3.3500 PHARMACEUTICALS RETURNS SERVICE                1/26/2023        $               96,387.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             720 HEARTLAND DR SUITE B                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SUGAR GROVE          IL          60554
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 877
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3501 PHARMAPORTS LLC                                2/13/2023        $              169,650.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN JACK YEN                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             1 E UWCHLAN AVE STE 116                                                                                 Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.3502 PHARM-RX CHEMICAL CORP                         1/19/2023        $               32,025.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             299 MARKET STREET SUITE 410                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SADDLE BROOK         NJ          07663
             City                 State       ZIP Code



             Country


     3.3503 PHENOMENEX INC -REMIT                          11/29/2022       $                  949.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3504 PHENOMENEX INC -REMIT                          11/29/2022       $                  958.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 878
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3505 PHENOMENEX INC -REMIT                          11/29/2022       $                3,673.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3506 PHENOMENEX INC -REMIT                          1/6/2023         $                  778.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3507 PHENOMENEX INC -REMIT                          1/6/2023         $                1,440.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3508 PHENOMENEX INC -REMIT                          1/6/2023         $                1,877.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 879
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3509 PHENOMENEX INC -REMIT                          1/6/2023         $                3,496.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3510 PHENOMENEX INC -REMIT                          1/6/2023         $                4,330.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3511 PHENOMENEX INC -REMIT                          1/6/2023         $                4,747.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3512 PHENOMENEX INC -REMIT                          1/12/2023        $                3,376.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 880
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3513 PHENOMENEX INC -REMIT                          1/31/2023        $                1,399.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3514 PHENOMENEX INC -REMIT                          1/31/2023        $                1,905.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3515 PHENOMENEX INC -REMIT                          1/31/2023        $                3,192.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country


     3.3516 PHENOMENEX INC -REMIT                          2/13/2023        $                  960.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 749397                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 881
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3517 PLATINUM PRESS INC                             11/29/2022       $                8,863.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3518 PLATINUM PRESS INC                             11/29/2022       $               12,691.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3519 PLATINUM PRESS INC                             11/29/2022       $               14,655.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3520 PLATINUM PRESS INC                             12/29/2022       $               (3,198.55)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 882
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3521 PLATINUM PRESS INC                             12/29/2022       $                5,470.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3522 PLATINUM PRESS INC                             12/29/2022       $                8,310.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3523 PLATINUM PRESS INC                             12/29/2022       $                9,034.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3524 PLATINUM PRESS INC                             12/29/2022       $                9,686.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 883
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3525 PLATINUM PRESS INC                             12/29/2022       $               12,303.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3526 PLATINUM PRESS INC                             12/29/2022       $               15,688.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3527 PLATINUM PRESS INC                             12/29/2022       $               27,803.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3528 PLATINUM PRESS INC                             12/29/2022       $               30,123.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 884
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3529 PLATINUM PRESS INC                             12/29/2022       $               50,691.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3530 PLATINUM PRESS INC                             1/6/2023         $                4,440.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3531 PLATINUM PRESS INC                             1/6/2023         $               18,276.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3532 PLATINUM PRESS INC                             1/12/2023        $               (3,198.55)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 885
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3533 PLATINUM PRESS INC                             1/12/2023        $               55,487.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3534 PLATINUM PRESS INC                             1/20/2023        $             (31,763.82)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3535 PLATINUM PRESS INC                             1/20/2023        $               31,763.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3536 PLATINUM PRESS INC                             1/31/2023        $             (35,523.23)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 886
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3537 PLATINUM PRESS INC                             1/31/2023        $                2,176.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3538 PLATINUM PRESS INC                             1/31/2023        $               12,829.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3539 PLATINUM PRESS INC                             1/31/2023        $               35,523.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3540 PLATINUM PRESS INC                             1/31/2023        $               35,931.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 887
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3541 PLATINUM PRESS INC                             1/31/2023        $               36,425.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3542 PLATINUM PRESS INC                             1/31/2023        $               44,919.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3543 PLATINUM PRESS INC                             1/31/2023        $               59,544.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country


     3.3544 PLATINUM PRESS INC                             2/8/2023         $               12,607.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4251 EMPIRE RD                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FORT WORTH           TX          76155
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 888
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3545 PMT FORKLIFT CORP                              12/8/2022        $                  543.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             275 GREAT EAST NECK ROAD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST BABYLON         NY          11704
             City                 State       ZIP Code



             Country


     3.3546 PMT FORKLIFT CORP                              1/12/2023        $                  543.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             275 GREAT EAST NECK ROAD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST BABYLON         NY          11704
             City                 State       ZIP Code



             Country


     3.3547 PMT FORKLIFT CORP                              1/12/2023        $                  787.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             275 GREAT EAST NECK ROAD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST BABYLON         NY          11704
             City                 State       ZIP Code



             Country


     3.3548 PMT FORKLIFT CORP                              1/12/2023        $                  787.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             275 GREAT EAST NECK ROAD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST BABYLON         NY          11704
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 889
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3549 PMT FORKLIFT CORP                              1/12/2023        $                7,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             275 GREAT EAST NECK ROAD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST BABYLON         NY          11704
             City                 State       ZIP Code



             Country


     3.3550 PMT FORKLIFT CORP                              1/31/2023        $                  543.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             275 GREAT EAST NECK ROAD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST BABYLON         NY          11704
             City                 State       ZIP Code



             Country


     3.3551 PMT FORKLIFT CORP                              1/31/2023        $                  787.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             275 GREAT EAST NECK ROAD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WEST BABYLON         NY          11704
             City                 State       ZIP Code



             Country


     3.3552 POWER SUPPLY OF ILLINOIS INC                   11/29/2022       $                   70.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 890
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3553 POWER SUPPLY OF ILLINOIS INC                   11/29/2022       $                  156.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country


     3.3554 POWER SUPPLY OF ILLINOIS INC                   11/29/2022       $                2,032.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country


     3.3555 POWER SUPPLY OF ILLINOIS INC                   1/12/2023        $                  608.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country


     3.3556 POWER SUPPLY OF ILLINOIS INC                   1/12/2023        $                1,808.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 891
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3557 POWER SUPPLY OF ILLINOIS INC                   1/12/2023        $                8,092.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country


     3.3558 POWER SUPPLY OF ILLINOIS INC                   1/31/2023        $                  814.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country


     3.3559 POWER SUPPLY OF ILLINOIS INC                   2/13/2023        $                  249.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country


     3.3560 POWER SUPPLY OF ILLINOIS INC                   2/13/2023        $                1,831.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 776816                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60677-6816
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 892
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3561 POYNTER SHEET METAL INC                        11/29/2022       $                2,978.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3562 POYNTER SHEET METAL INC                        12/8/2022        $                1,414.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3563 POYNTER SHEET METAL INC                        12/8/2022        $                4,282.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3564 POYNTER SHEET METAL INC                        1/26/2023        $                1,315.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 893
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3565 POYNTER SHEET METAL INC                        1/26/2023        $                4,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3566 POYNTER SHEET METAL INC                        1/26/2023        $                5,802.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3567 POYNTER SHEET METAL INC                        1/26/2023        $                7,128.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3568 POYNTER SHEET METAL INC                        1/26/2023        $               10,576.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 894
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3569 POYNTER SHEET METAL INC                        1/31/2023        $                2,309.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3570 POYNTER SHEET METAL INC                        1/31/2023        $                4,127.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3571 POYNTER SHEET METAL INC                        1/31/2023        $                6,527.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3572 POYNTER SHEET METAL INC                        2/13/2023        $                  926.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 895
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3573 POYNTER SHEET METAL INC                        2/13/2023        $                2,938.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             775 COMMERCE PARKWAY WEST DR                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             GREENWOOD            IN          46143
             City                 State       ZIP Code



             Country


     3.3574 PPC FLEXIBLE -REMIT                            1/12/2023        $                7,648.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29476 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1294
             City                 State       ZIP Code



             Country


     3.3575 PPC FLEXIBLE -REMIT                            1/12/2023        $                8,415.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             29476 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1294
             City                 State       ZIP Code



             Country


     3.3576 PPD DEVELOPMENT                                1/6/2023         $                  449.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 896
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3577 PPD DEVELOPMENT                                1/6/2023         $                  776.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3578 PPD DEVELOPMENT                                1/6/2023         $                  836.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3579 PPD DEVELOPMENT                                1/6/2023         $                1,277.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3580 PPD DEVELOPMENT                                1/6/2023         $                2,607.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 897
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3581 PPD DEVELOPMENT                                1/6/2023         $                8,332.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3582 PPD DEVELOPMENT                                1/6/2023         $                8,332.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3583 PPD DEVELOPMENT                                1/6/2023         $                9,945.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3584 PPD DEVELOPMENT                                1/6/2023         $               10,589.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 898
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3585 PPD DEVELOPMENT                                1/12/2023        $                2,620.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3586 PPD DEVELOPMENT                                1/12/2023        $                3,394.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3587 PPD DEVELOPMENT                                1/12/2023        $               16,505.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3588 PPD DEVELOPMENT                                1/12/2023        $               27,650.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 899
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3589 PPD DEVELOPMENT                                1/19/2023        $                2,375.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3590 PPD DEVELOPMENT                                1/19/2023        $               15,405.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3591 PPD DEVELOPMENT                                2/13/2023        $               (7,780.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3592 PPD DEVELOPMENT                                2/13/2023        $                   30.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 900
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3593 PPD DEVELOPMENT                                2/13/2023        $                2,138.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3594 PPD DEVELOPMENT                                2/13/2023        $                8,332.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3595 PPD DEVELOPMENT                                2/13/2023        $               10,275.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3596 PPD DEVELOPMENT                                2/13/2023        $               20,215.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 901
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3597 PPD DEVELOPMENT                                2/13/2023        $               28,038.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             26361 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1263
             City                 State       ZIP Code



             Country


     3.3598 PREMIER GROUP                                  1/12/2023        $               16,389.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1119 CAMPUS DRIVE WEST                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             MORGANVILLE          NJ          07751
             City                 State       ZIP Code



             Country


     3.3599 PREMIER HEALTHCARE SOLUTIONS                   12/8/2022        $                8,333.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5882 COLLECTIONS CENTER DRIVE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.3600 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $                   (2.08)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 902
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3601 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $               16,666.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country


     3.3602 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $               17,091.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country


     3.3603 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $               21,365.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country


     3.3604 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $               22,629.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 903
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3605 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $               30,826.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country


     3.3606 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $               31,915.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country


     3.3607 PREMIER PURCHASING PARTNERS LP                 1/12/2023        $               37,071.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 847650                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90084-7650
             City                 State       ZIP Code



             Country


     3.3608 PRIDE CHEMICAL (ALCOHOL) -REMIT                11/29/2022       $                8,496.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 904
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3609 PRIDE CHEMICAL (ALCOHOL) -REMIT                11/29/2022       $               27,403.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3610 PRIDE CHEMICAL (ALCOHOL) -REMIT                11/29/2022       $               28,133.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3611 PRIDE CHEMICAL (ALCOHOL) -REMIT                11/29/2022       $               28,320.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3612 PRIDE CHEMICAL (ALCOHOL) -REMIT                12/8/2022        $               33,727.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 905
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3613 PRIDE CHEMICAL (ALCOHOL) -REMIT                1/6/2023         $               28,611.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3614 PRIDE CHEMICAL (ALCOHOL) -REMIT                1/6/2023         $               33,727.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3615 PRIDE CHEMICAL (ALCOHOL) -REMIT                1/20/2023        $               27,416.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3616 PRIDE CHEMICAL (ALCOHOL) -REMIT                2/13/2023        $                8,496.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 906
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3617 PRIDE CHEMICAL (ALCOHOL) -REMIT                2/13/2023        $               27,092.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3618 PRIDE CHEMICAL (ALCOHOL) -REMIT                2/13/2023        $               27,223.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3619 PRIDE CHEMICAL (ALCOHOL) -REMIT                2/13/2023        $               33,727.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 36207                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07188-6207
             City                 State       ZIP Code



             Country


     3.3620 PRIMERA ANALYTICAL SOLUTIONS CORP              11/29/2022       $                5,819.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             259 WALL STREET                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PRINCETON            NJ          08540
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 907
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3621 PRIMERA ANALYTICAL SOLUTIONS CORP              12/8/2022        $               46,850.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             259 WALL STREET                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PRINCETON            NJ          08540
             City                 State       ZIP Code



             Country


     3.3622 PRIMERA ANALYTICAL SOLUTIONS CORP              1/19/2023        $                3,575.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             259 WALL STREET                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PRINCETON            NJ          08540
             City                 State       ZIP Code



             Country


     3.3623 PRIMERA ANALYTICAL SOLUTIONS CORP              1/19/2023        $               21,300.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             259 WALL STREET                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PRINCETON            NJ          08540
             City                 State       ZIP Code



             Country


     3.3624 PRIMERA ANALYTICAL SOLUTIONS CORP              1/31/2023        $                9,100.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             259 WALL STREET                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PRINCETON            NJ          08540
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 908
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3625 PRIMERA ANALYTICAL SOLUTIONS CORP              2/8/2023         $                3,375.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             259 WALL STREET                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PRINCETON            NJ          08540
             City                 State       ZIP Code



             Country


     3.3626 PROPHARMA GROUP LLC                            12/22/2022       $                  945.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 HILLGROVE AVE SUITE 201                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTERN SPRINGS IL               60558
             City                 State       ZIP Code



             Country


     3.3627 PROPHARMA GROUP LLC                            12/22/2022       $               25,728.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 HILLGROVE AVE SUITE 201                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTERN SPRINGS IL               60558
             City                 State       ZIP Code



             Country


     3.3628 PROPHARMA GROUP LLC                            1/12/2023        $               10,531.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 HILLGROVE AVE SUITE 201                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTERN SPRINGS IL               60558
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 909
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3629 PROPHARMA GROUP LLC                            2/13/2023        $               21,376.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             800 HILLGROVE AVE SUITE 201                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTERN SPRINGS IL               60558
             City                 State       ZIP Code



             Country


     3.3630 PROVIDENT LIFE AND ACCIDENT INS CO             12/29/2022       $                9,758.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             RETAIL LOCKBOX DEPARTMENT                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 740592                                                                                           Other

             ATLANTA              GA          30374-0592
             City                 State       ZIP Code



             Country


     3.3631 PROVIDENT LIFE AND ACCIDENT INS CO             1/31/2023        $                8,535.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             RETAIL LOCKBOX DEPARTMENT                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 740592                                                                                           Other

             ATLANTA              GA          30374-0592
             City                 State       ZIP Code



             Country


     3.3632 PROVIDENT LIFE AND ACCIDENT INS CO             2/13/2023        $                9,105.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             RETAIL LOCKBOX DEPARTMENT                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 740592                                                                                           Other

             ATLANTA              GA          30374-0592
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 910
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3633 PSE&G CO - FOR SOMERSET                        12/8/2022        $               34,542.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3634 PSE&G CO - FOR SOMERSET                        12/22/2022       $                   79.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3635 PSE&G CO - FOR SOMERSET                        12/22/2022       $                  131.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3636 PSE&G CO - FOR SOMERSET                        12/22/2022       $                  175.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 911
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3637 PSE&G CO - FOR SOMERSET                        12/22/2022       $                  235.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3638 PSE&G CO - FOR SOMERSET                        12/22/2022       $                  295.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3639 PSE&G CO - FOR SOMERSET                        12/22/2022       $                  490.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3640 PSE&G CO - FOR SOMERSET                        12/22/2022       $                  795.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 912
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3641 PSE&G CO - FOR SOMERSET                        12/22/2022       $               11,639.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3642 PSE&G CO - FOR SOMERSET                        12/22/2022       $               22,608.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3643 PSE&G CO - FOR SOMERSET                        1/12/2023        $               33,650.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3644 PSE&G CO - FOR SOMERSET                        1/26/2023        $                  141.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 913
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3645 PSE&G CO - FOR SOMERSET                        1/26/2023        $                  175.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3646 PSE&G CO - FOR SOMERSET                        1/26/2023        $                  220.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3647 PSE&G CO - FOR SOMERSET                        1/26/2023        $                  375.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3648 PSE&G CO - FOR SOMERSET                        1/26/2023        $                  393.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 914
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3649 PSE&G CO - FOR SOMERSET                        1/26/2023        $                  707.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3650 PSE&G CO - FOR SOMERSET                        1/26/2023        $                  883.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3651 PSE&G CO - FOR SOMERSET                        1/26/2023        $                5,378.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3652 PSE&G CO - FOR SOMERSET                        1/26/2023        $               11,527.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 915
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3653 PSE&G CO - FOR SOMERSET                        2/8/2023         $               34,906.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 14444                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW BRUNSWICK        NJ          08906-4444
             City                 State       ZIP Code



             Country


     3.3654 PSEG LONG ISLAND                               11/29/2022       $                  944.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3655 PSEG LONG ISLAND                               11/29/2022       $                1,132.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3656 PSEG LONG ISLAND                               11/29/2022       $                1,407.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 916
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3657 PSEG LONG ISLAND                               11/29/2022       $                3,085.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3658 PSEG LONG ISLAND                               11/29/2022       $                3,170.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3659 PSEG LONG ISLAND                               11/29/2022       $                3,486.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3660 PSEG LONG ISLAND                               11/29/2022       $                3,874.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 917
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3661 PSEG LONG ISLAND                               11/29/2022       $                7,030.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3662 PSEG LONG ISLAND                               11/29/2022       $               16,817.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3663 PSEG LONG ISLAND                               12/8/2022        $                  636.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3664 PSEG LONG ISLAND                               12/8/2022        $                1,908.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 918
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3665 PSEG LONG ISLAND                               12/22/2022       $                1,470.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3666 PSEG LONG ISLAND                               12/29/2022       $                1,311.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3667 PSEG LONG ISLAND                               12/29/2022       $                2,866.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3668 PSEG LONG ISLAND                               12/29/2022       $                2,890.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 919
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3669 PSEG LONG ISLAND                               12/29/2022       $                3,347.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3670 PSEG LONG ISLAND                               12/29/2022       $                6,441.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3671 PSEG LONG ISLAND                               12/29/2022       $               14,350.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3672 PSEG LONG ISLAND                               1/12/2023        $                  793.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 920
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3673 PSEG LONG ISLAND                               1/19/2023        $                4,401.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3674 PSEG LONG ISLAND                               1/26/2023        $                1,153.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3675 PSEG LONG ISLAND                               1/26/2023        $                1,735.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3676 PSEG LONG ISLAND                               1/26/2023        $                5,696.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 921
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3677 PSEG LONG ISLAND                               1/31/2023        $                1,528.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3678 PSEG LONG ISLAND                               1/31/2023        $                2,587.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3679 PSEG LONG ISLAND                               1/31/2023        $                2,849.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3680 PSEG LONG ISLAND                               1/31/2023        $                3,153.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 922
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3681 PSEG LONG ISLAND                               1/31/2023        $                6,469.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3682 PSEG LONG ISLAND                               1/31/2023        $               11,975.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3683 PSEG LONG ISLAND                               2/8/2023         $                1,515.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3684 PSEG LONG ISLAND                               2/8/2023         $                1,625.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 923
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3685 PSEG LONG ISLAND                               2/8/2023         $                1,984.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3686 PSEG LONG ISLAND                               2/8/2023         $                2,168.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9039                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HICKSVILLE           NY          11802-9039
             City                 State       ZIP Code



             Country


     3.3687 QUALANEX LLC                                   1/12/2023        $               23,444.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MAIL CODE 5-CO                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             ONE WEST FOURTH ST SUITE 500                                                                            Other

             WINSTON-SALEM        NC          27101
             City                 State       ZIP Code



             Country


     3.3688 QUALANEX LLC                                   1/12/2023        $               26,051.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MAIL CODE 5-CO                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             ONE WEST FOURTH ST SUITE 500                                                                            Other

             WINSTON-SALEM        NC          27101
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 924
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3689 QUALANEX LLC                                   1/12/2023        $               36,250.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MAIL CODE 5-CO                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             ONE WEST FOURTH ST SUITE 500                                                                            Other

             WINSTON-SALEM        NC          27101
             City                 State       ZIP Code



             Country


     3.3690 QUALANEX LLC                                   1/12/2023        $               40,484.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MAIL CODE 5-CO                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             ONE WEST FOURTH ST SUITE 500                                                                            Other

             WINSTON-SALEM        NC          27101
             City                 State       ZIP Code



             Country


     3.3691 QUALANEX LLC                                   1/12/2023        $               43,109.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MAIL CODE 5-CO                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             ONE WEST FOURTH ST SUITE 500                                                                            Other

             WINSTON-SALEM        NC          27101
             City                 State       ZIP Code



             Country


     3.3692 QUALANEX LLC                                   1/12/2023        $               88,504.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MAIL CODE 5-CO                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             ONE WEST FOURTH ST SUITE 500                                                                            Other

             WINSTON-SALEM        NC          27101
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 925
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.3693 QUALIFYZE GMBH                                  11/29/2022       $                  168.51                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3694 QUALIFYZE GMBH                                  11/29/2022       $                2,000.58                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3695 QUALIFYZE GMBH                                  1/12/2023        $                  246.35                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3696 QUALIFYZE GMBH                                  1/12/2023        $                  358.93                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 926
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.3697 QUALIFYZE GMBH                                  1/12/2023        $                1,942.08                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3698 QUALIFYZE GMBH                                  1/12/2023        $                3,470.82                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3699 QUALIFYZE GMBH                                  1/25/2023        $                  122.75                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3700 QUALIFYZE GMBH                                  1/25/2023        $                2,818.85                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 927
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):    23-10255

          Name

     3.3701 QUALIFYZE GMBH                                  2/1/2023         $                  244.37                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3702 QUALIFYZE GMBH                                  2/1/2023         $                4,144.54                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             Taunusanlage 8                                                                                    5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             Frankfurt am Main                 60329
             City                  State       ZIP Code

             Germany
             Country


     3.3703 QUANTIC GROUP LTD                               11/29/2022       $               22,525.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                        5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             LIVINGSTON            NJ          07039
             City                  State       ZIP Code



             Country


     3.3704 QUANTIC GROUP LTD                               12/8/2022        $                2,385.00                Secured debt
             Creditor's Name
                                                                                                                      Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                        5      Suppliers or vendors
             Street
                                                                                                                      Services

                                                                                                                      Other

             LIVINGSTON            NJ          07039
             City                  State       ZIP Code



             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 928
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3705 QUANTIC GROUP LTD                              12/8/2022        $                4,240.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVINGSTON           NJ          07039
             City                 State       ZIP Code



             Country


     3.3706 QUANTIC GROUP LTD                              1/12/2023        $                1,325.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVINGSTON           NJ          07039
             City                 State       ZIP Code



             Country


     3.3707 QUANTIC GROUP LTD                              1/12/2023        $                6,625.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVINGSTON           NJ          07039
             City                 State       ZIP Code



             Country


     3.3708 QUANTIC GROUP LTD                              1/12/2023        $               20,249.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVINGSTON           NJ          07039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 929
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3709 QUANTIC GROUP LTD                              1/31/2023        $                1,457.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVINGSTON           NJ          07039
             City                 State       ZIP Code



             Country


     3.3710 QUANTIC GROUP LTD                              1/31/2023        $               54,119.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             5N REGENT STREET SUITE 502                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LIVINGSTON           NJ          07039
             City                 State       ZIP Code



             Country


     3.3711 QUINCY COMPRESSOR -REMIT                       1/31/2023        $                1,007.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 3427 LOCKBOX 893427                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 123427                                                                                           Other

             DALLAS               TX          75312-3427
             City                 State       ZIP Code



             Country


     3.3712 QUINCY COMPRESSOR -REMIT                       1/31/2023        $                1,117.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 3427 LOCKBOX 893427                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 123427                                                                                           Other

             DALLAS               TX          75312-3427
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 930
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3713 QUINCY COMPRESSOR -REMIT                       1/31/2023        $                3,258.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 3427 LOCKBOX 893427                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 123427                                                                                           Other

             DALLAS               TX          75312-3427
             City                 State       ZIP Code



             Country


     3.3714 QUINCY COMPRESSOR -REMIT                       1/31/2023        $                5,461.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 3427 LOCKBOX 893427                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 123427                                                                                           Other

             DALLAS               TX          75312-3427
             City                 State       ZIP Code



             Country


     3.3715 QUINCY COMPRESSOR -REMIT                       1/31/2023        $                5,749.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 3427 LOCKBOX 893427                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 123427                                                                                           Other

             DALLAS               TX          75312-3427
             City                 State       ZIP Code



             Country


     3.3716 QUINCY COMPRESSOR -REMIT                       2/13/2023        $                1,374.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 3427 LOCKBOX 893427                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 123427                                                                                           Other

             DALLAS               TX          75312-3427
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 931
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3717 RANDSTAD                                       11/29/2022       $               13,290.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3718 RANDSTAD                                       11/29/2022       $               13,894.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3719 RANDSTAD                                       12/15/2022       $               12,264.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3720 RANDSTAD                                       12/15/2022       $               15,750.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 932
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3721 RANDSTAD                                       12/22/2022       $               10,992.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3722 RANDSTAD                                       12/22/2022       $               13,214.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3723 RANDSTAD                                       12/29/2022       $                1,056.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3724 RANDSTAD                                       1/26/2023        $                8,405.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 933
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3725 RANDSTAD                                       1/26/2023        $               11,754.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3726 RANDSTAD                                       1/26/2023        $               11,816.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3727 RANDSTAD                                       1/26/2023        $               12,058.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3728 RANDSTAD                                       1/31/2023        $                7,116.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 934
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3729 RANDSTAD                                       1/31/2023        $                7,224.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3730 RANDSTAD                                       1/31/2023        $                9,984.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 2084                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-2084
             City                 State       ZIP Code



             Country


     3.3731 RATTPACK & CO OG                               1/27/2023        $                  264.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             WELLOCH 1                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DORNBIRN                         6850
             City                 State       ZIP Code

             AUSTRIA
             Country


     3.3732 RATTPACK & CO OG                               1/27/2023        $                3,614.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             WELLOCH 1                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DORNBIRN                         6850
             City                 State       ZIP Code

             AUSTRIA
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 935
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3733 RATTPACK & CO OG                               1/27/2023        $                4,887.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             WELLOCH 1                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DORNBIRN                         6850
             City                 State       ZIP Code

             AUSTRIA
             Country


     3.3734 RATTPACK & CO OG                               1/27/2023        $               66,729.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             WELLOCH 1                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DORNBIRN                         6850
             City                 State       ZIP Code

             AUSTRIA
             Country


     3.3735 REED-LANE INC                                  12/8/2022        $               50,915.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             359 NEWARK POMPTON TURNPIKE                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAYNE                NJ          07470
             City                 State       ZIP Code



             Country


     3.3736 REED-LANE INC                                  1/12/2023        $                1,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             359 NEWARK POMPTON TURNPIKE                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAYNE                NJ          07470
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 936
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3737 REED-LANE INC                                  1/23/2023        $                1,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             359 NEWARK POMPTON TURNPIKE                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAYNE                NJ          07470
             City                 State       ZIP Code



             Country


     3.3738 REED-LANE INC                                  1/23/2023        $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             359 NEWARK POMPTON TURNPIKE                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAYNE                NJ          07470
             City                 State       ZIP Code



             Country


     3.3739 REED-LANE INC                                  2/13/2023        $                1,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             359 NEWARK POMPTON TURNPIKE                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAYNE                NJ          07470
             City                 State       ZIP Code



             Country


     3.3740 RELIANCE STANDARD LIFE INSURANCE CO            11/29/2022       $               58,415.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 937
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3741 RELIANCE STANDARD LIFE INSURANCE CO            1/6/2023         $               10,353.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country


     3.3742 RELIANCE STANDARD LIFE INSURANCE CO            1/6/2023         $               10,376.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country


     3.3743 RELIANCE STANDARD LIFE INSURANCE CO            1/6/2023         $               10,425.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country


     3.3744 RELIANCE STANDARD LIFE INSURANCE CO            1/12/2023        $               10,326.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 938
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3745 RELIANCE STANDARD LIFE INSURANCE CO            1/12/2023        $               52,192.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country


     3.3746 RELIANCE STANDARD LIFE INSURANCE CO            1/12/2023        $               54,011.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country


     3.3747 RELIANCE STANDARD LIFE INSURANCE CO            1/12/2023        $               54,728.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3124                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOUTHEASTERN         PA          19398-3124
             City                 State       ZIP Code



             Country


     3.3748 RICKY SIMMS CLEANING SERVICE LLC               11/29/2022       $                4,784.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 939
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3749 RICKY SIMMS CLEANING SERVICE LLC               12/8/2022        $                7,618.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country


     3.3750 RICKY SIMMS CLEANING SERVICE LLC               1/6/2023         $                4,188.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country


     3.3751 RICKY SIMMS CLEANING SERVICE LLC               2/13/2023        $             (10,497.23)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country


     3.3752 RICKY SIMMS CLEANING SERVICE LLC               2/13/2023        $                  373.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 940
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3753 RICKY SIMMS CLEANING SERVICE LLC               2/13/2023        $                  719.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country


     3.3754 RICKY SIMMS CLEANING SERVICE LLC               2/13/2023        $                6,309.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country


     3.3755 RICKY SIMMS CLEANING SERVICE LLC               2/13/2023        $               10,497.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             45 EARDLEY ROAD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EDISON               NJ          08817
             City                 State       ZIP Code



             Country


     3.3756 RI-MCO                                         12/22/2022       $                8,793.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DXC TECHNOLOGY                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2006                                                                                             Other

             WARWICK              RI          02887-2006
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 941
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3757 RI-MCO                                         12/22/2022       $               16,573.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DXC TECHNOLOGY                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2006                                                                                             Other

             WARWICK              RI          02887-2006
             City                 State       ZIP Code



             Country


     3.3758 RITE HITE ARBON EQUIPMENT                      11/29/2022       $                3,693.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O ARBON EQUIPMENT CORP                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             25464 NETWORK PL                                                                                        Other

             CHICAGO              IL          60603
             City                 State       ZIP Code



             Country


     3.3759 RITE HITE ARBON EQUIPMENT                      11/29/2022       $                4,453.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O ARBON EQUIPMENT CORP                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             25464 NETWORK PL                                                                                        Other

             CHICAGO              IL          60603
             City                 State       ZIP Code



             Country


     3.3760 RITE HITE ARBON EQUIPMENT                      12/8/2022        $                  164.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O ARBON EQUIPMENT CORP                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             25464 NETWORK PL                                                                                        Other

             CHICAGO              IL          60603
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 942
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3761 RITE HITE ARBON EQUIPMENT                      12/8/2022        $                3,193.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O ARBON EQUIPMENT CORP                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             25464 NETWORK PL                                                                                        Other

             CHICAGO              IL          60603
             City                 State       ZIP Code



             Country


     3.3762 RITE HITE ARBON EQUIPMENT                      2/8/2023         $                  675.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O ARBON EQUIPMENT CORP                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             25464 NETWORK PL                                                                                        Other

             CHICAGO              IL          60603
             City                 State       ZIP Code



             Country


     3.3763 RITE HITE ARBON EQUIPMENT                      2/8/2023         $                2,096.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O ARBON EQUIPMENT CORP                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             25464 NETWORK PL                                                                                        Other

             CHICAGO              IL          60603
             City                 State       ZIP Code



             Country


     3.3764 RITE HITE ARBON EQUIPMENT                      2/8/2023         $                4,978.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             C/O ARBON EQUIPMENT CORP                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             25464 NETWORK PL                                                                                        Other

             CHICAGO              IL          60603
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 943
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3765 ROADTEX TRANSPORTATION                         11/29/2022       $                  197.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3766 ROADTEX TRANSPORTATION                         11/29/2022       $                  197.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3767 ROADTEX TRANSPORTATION                         11/29/2022       $                  197.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3768 ROADTEX TRANSPORTATION                         11/29/2022       $                  197.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 944
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3769 ROADTEX TRANSPORTATION                         11/29/2022       $                  197.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3770 ROADTEX TRANSPORTATION                         11/29/2022       $                  197.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3771 ROADTEX TRANSPORTATION                         11/29/2022       $                  197.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3772 ROADTEX TRANSPORTATION                         11/29/2022       $                  207.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 945
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3773 ROADTEX TRANSPORTATION                         11/29/2022       $                  212.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3774 ROADTEX TRANSPORTATION                         11/29/2022       $                  212.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3775 ROADTEX TRANSPORTATION                         11/29/2022       $                  212.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3776 ROADTEX TRANSPORTATION                         11/29/2022       $                  212.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 946
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3777 ROADTEX TRANSPORTATION                         11/29/2022       $                  212.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3778 ROADTEX TRANSPORTATION                         11/29/2022       $                  225.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3779 ROADTEX TRANSPORTATION                         11/29/2022       $                  227.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3780 ROADTEX TRANSPORTATION                         11/29/2022       $                  239.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 947
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3781 ROADTEX TRANSPORTATION                         11/29/2022       $                  241.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3782 ROADTEX TRANSPORTATION                         11/29/2022       $                  246.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3783 ROADTEX TRANSPORTATION                         11/29/2022       $                  246.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3784 ROADTEX TRANSPORTATION                         11/29/2022       $                  256.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 948
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3785 ROADTEX TRANSPORTATION                         11/29/2022       $                  280.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3786 ROADTEX TRANSPORTATION                         11/29/2022       $                  280.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3787 ROADTEX TRANSPORTATION                         11/29/2022       $                  282.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3788 ROADTEX TRANSPORTATION                         11/29/2022       $                  282.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 949
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3789 ROADTEX TRANSPORTATION                         11/29/2022       $                  282.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3790 ROADTEX TRANSPORTATION                         11/29/2022       $                  284.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3791 ROADTEX TRANSPORTATION                         11/29/2022       $                  286.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3792 ROADTEX TRANSPORTATION                         11/29/2022       $                  287.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 950
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3793 ROADTEX TRANSPORTATION                         11/29/2022       $                  314.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3794 ROADTEX TRANSPORTATION                         11/29/2022       $                  315.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3795 ROADTEX TRANSPORTATION                         11/29/2022       $                  316.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3796 ROADTEX TRANSPORTATION                         11/29/2022       $                  317.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 951
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3797 ROADTEX TRANSPORTATION                         11/29/2022       $                  317.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3798 ROADTEX TRANSPORTATION                         11/29/2022       $                  317.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3799 ROADTEX TRANSPORTATION                         11/29/2022       $                  317.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3800 ROADTEX TRANSPORTATION                         11/29/2022       $                  325.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 952
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3801 ROADTEX TRANSPORTATION                         11/29/2022       $                  327.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3802 ROADTEX TRANSPORTATION                         11/29/2022       $                  328.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3803 ROADTEX TRANSPORTATION                         11/29/2022       $                  331.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3804 ROADTEX TRANSPORTATION                         11/29/2022       $                  331.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 953
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3805 ROADTEX TRANSPORTATION                         11/29/2022       $                  340.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3806 ROADTEX TRANSPORTATION                         11/29/2022       $                  346.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3807 ROADTEX TRANSPORTATION                         11/29/2022       $                  364.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3808 ROADTEX TRANSPORTATION                         11/29/2022       $                  364.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 954
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3809 ROADTEX TRANSPORTATION                         11/29/2022       $                  373.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3810 ROADTEX TRANSPORTATION                         11/29/2022       $                  376.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3811 ROADTEX TRANSPORTATION                         11/29/2022       $                  385.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3812 ROADTEX TRANSPORTATION                         11/29/2022       $                  397.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 955
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3813 ROADTEX TRANSPORTATION                         11/29/2022       $                  401.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3814 ROADTEX TRANSPORTATION                         11/29/2022       $                  411.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3815 ROADTEX TRANSPORTATION                         11/29/2022       $                  416.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3816 ROADTEX TRANSPORTATION                         11/29/2022       $                  447.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 956
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3817 ROADTEX TRANSPORTATION                         11/29/2022       $                  452.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3818 ROADTEX TRANSPORTATION                         11/29/2022       $                  465.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3819 ROADTEX TRANSPORTATION                         11/29/2022       $                  476.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3820 ROADTEX TRANSPORTATION                         11/29/2022       $                  485.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 957
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3821 ROADTEX TRANSPORTATION                         11/29/2022       $                  489.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3822 ROADTEX TRANSPORTATION                         11/29/2022       $                  489.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3823 ROADTEX TRANSPORTATION                         11/29/2022       $                  501.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3824 ROADTEX TRANSPORTATION                         11/29/2022       $                  501.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 958
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3825 ROADTEX TRANSPORTATION                         11/29/2022       $                  501.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3826 ROADTEX TRANSPORTATION                         11/29/2022       $                  505.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3827 ROADTEX TRANSPORTATION                         11/29/2022       $                  511.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3828 ROADTEX TRANSPORTATION                         11/29/2022       $                  543.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 959
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3829 ROADTEX TRANSPORTATION                         11/29/2022       $                  566.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3830 ROADTEX TRANSPORTATION                         11/29/2022       $                  655.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3831 ROADTEX TRANSPORTATION                         11/29/2022       $                  694.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3832 ROADTEX TRANSPORTATION                         11/29/2022       $                  746.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 960
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3833 ROADTEX TRANSPORTATION                         11/29/2022       $                  750.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3834 ROADTEX TRANSPORTATION                         11/29/2022       $                  757.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3835 ROADTEX TRANSPORTATION                         11/29/2022       $                  849.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3836 ROADTEX TRANSPORTATION                         11/29/2022       $                  894.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 961
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3837 ROADTEX TRANSPORTATION                         11/29/2022       $                  930.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3838 ROADTEX TRANSPORTATION                         11/29/2022       $                  953.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3839 ROADTEX TRANSPORTATION                         11/29/2022       $                  988.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3840 ROADTEX TRANSPORTATION                         11/29/2022       $                1,323.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 962
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3841 ROADTEX TRANSPORTATION                         11/29/2022       $                1,324.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3842 ROADTEX TRANSPORTATION                         11/29/2022       $                1,330.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3843 ROADTEX TRANSPORTATION                         11/29/2022       $                1,571.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3844 ROADTEX TRANSPORTATION                         11/29/2022       $                1,644.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 963
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3845 ROADTEX TRANSPORTATION                         11/29/2022       $                2,050.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3846 ROADTEX TRANSPORTATION                         12/8/2022        $                  206.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3847 ROADTEX TRANSPORTATION                         12/8/2022        $                  206.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3848 ROADTEX TRANSPORTATION                         12/8/2022        $                  206.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 964
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3849 ROADTEX TRANSPORTATION                         12/8/2022        $                  206.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3850 ROADTEX TRANSPORTATION                         12/8/2022        $                  212.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3851 ROADTEX TRANSPORTATION                         12/8/2022        $                  212.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3852 ROADTEX TRANSPORTATION                         12/8/2022        $                  212.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 965
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3853 ROADTEX TRANSPORTATION                         12/8/2022        $                  215.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3854 ROADTEX TRANSPORTATION                         12/8/2022        $                  225.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3855 ROADTEX TRANSPORTATION                         12/8/2022        $                  234.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3856 ROADTEX TRANSPORTATION                         12/8/2022        $                  279.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 966
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3857 ROADTEX TRANSPORTATION                         12/8/2022        $                  283.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3858 ROADTEX TRANSPORTATION                         12/8/2022        $                  283.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3859 ROADTEX TRANSPORTATION                         12/8/2022        $                  284.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3860 ROADTEX TRANSPORTATION                         12/8/2022        $                  288.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 967
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3861 ROADTEX TRANSPORTATION                         12/8/2022        $                  289.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3862 ROADTEX TRANSPORTATION                         12/8/2022        $                  294.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3863 ROADTEX TRANSPORTATION                         12/8/2022        $                  303.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3864 ROADTEX TRANSPORTATION                         12/8/2022        $                  313.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 968
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3865 ROADTEX TRANSPORTATION                         12/8/2022        $                  313.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3866 ROADTEX TRANSPORTATION                         12/8/2022        $                  315.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3867 ROADTEX TRANSPORTATION                         12/8/2022        $                  317.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3868 ROADTEX TRANSPORTATION                         12/8/2022        $                  321.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 969
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3869 ROADTEX TRANSPORTATION                         12/8/2022        $                  324.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3870 ROADTEX TRANSPORTATION                         12/8/2022        $                  336.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3871 ROADTEX TRANSPORTATION                         12/8/2022        $                  364.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3872 ROADTEX TRANSPORTATION                         12/8/2022        $                  365.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 970
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3873 ROADTEX TRANSPORTATION                         12/8/2022        $                  407.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3874 ROADTEX TRANSPORTATION                         12/8/2022        $                  468.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3875 ROADTEX TRANSPORTATION                         12/8/2022        $                  474.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3876 ROADTEX TRANSPORTATION                         12/8/2022        $                  484.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 971
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3877 ROADTEX TRANSPORTATION                         12/8/2022        $                  500.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3878 ROADTEX TRANSPORTATION                         12/8/2022        $                  517.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3879 ROADTEX TRANSPORTATION                         12/8/2022        $                  541.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3880 ROADTEX TRANSPORTATION                         12/8/2022        $                  572.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 972
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3881 ROADTEX TRANSPORTATION                         12/8/2022        $                  806.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3882 ROADTEX TRANSPORTATION                         12/8/2022        $                1,032.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3883 ROADTEX TRANSPORTATION                         12/8/2022        $                1,132.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3884 ROADTEX TRANSPORTATION                         12/22/2022       $                  197.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 973
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3885 ROADTEX TRANSPORTATION                         12/22/2022       $                  197.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3886 ROADTEX TRANSPORTATION                         12/22/2022       $                  197.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3887 ROADTEX TRANSPORTATION                         12/22/2022       $                  205.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3888 ROADTEX TRANSPORTATION                         12/22/2022       $                  205.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 974
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3889 ROADTEX TRANSPORTATION                         12/22/2022       $                  206.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3890 ROADTEX TRANSPORTATION                         12/22/2022       $                  209.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3891 ROADTEX TRANSPORTATION                         12/22/2022       $                  209.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3892 ROADTEX TRANSPORTATION                         12/22/2022       $                  211.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 975
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3893 ROADTEX TRANSPORTATION                         12/22/2022       $                  212.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3894 ROADTEX TRANSPORTATION                         12/22/2022       $                  212.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3895 ROADTEX TRANSPORTATION                         12/22/2022       $                  218.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3896 ROADTEX TRANSPORTATION                         12/22/2022       $                  242.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 976
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3897 ROADTEX TRANSPORTATION                         12/22/2022       $                  244.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3898 ROADTEX TRANSPORTATION                         12/22/2022       $                  276.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3899 ROADTEX TRANSPORTATION                         12/22/2022       $                  280.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3900 ROADTEX TRANSPORTATION                         12/22/2022       $                  280.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 977
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3901 ROADTEX TRANSPORTATION                         12/22/2022       $                  282.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3902 ROADTEX TRANSPORTATION                         12/22/2022       $                  282.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3903 ROADTEX TRANSPORTATION                         12/22/2022       $                  283.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3904 ROADTEX TRANSPORTATION                         12/22/2022       $                  284.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 978
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3905 ROADTEX TRANSPORTATION                         12/22/2022       $                  285.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3906 ROADTEX TRANSPORTATION                         12/22/2022       $                  287.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3907 ROADTEX TRANSPORTATION                         12/22/2022       $                  288.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3908 ROADTEX TRANSPORTATION                         12/22/2022       $                  310.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 979
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3909 ROADTEX TRANSPORTATION                         12/22/2022       $                  311.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3910 ROADTEX TRANSPORTATION                         12/22/2022       $                  313.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3911 ROADTEX TRANSPORTATION                         12/22/2022       $                  315.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3912 ROADTEX TRANSPORTATION                         12/22/2022       $                  315.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 980
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3913 ROADTEX TRANSPORTATION                         12/22/2022       $                  317.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3914 ROADTEX TRANSPORTATION                         12/22/2022       $                  322.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3915 ROADTEX TRANSPORTATION                         12/22/2022       $                  330.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3916 ROADTEX TRANSPORTATION                         12/22/2022       $                  332.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 981
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3917 ROADTEX TRANSPORTATION                         12/22/2022       $                  333.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3918 ROADTEX TRANSPORTATION                         12/22/2022       $                  338.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3919 ROADTEX TRANSPORTATION                         12/22/2022       $                  341.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3920 ROADTEX TRANSPORTATION                         12/22/2022       $                  343.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 982
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3921 ROADTEX TRANSPORTATION                         12/22/2022       $                  352.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3922 ROADTEX TRANSPORTATION                         12/22/2022       $                  355.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3923 ROADTEX TRANSPORTATION                         12/22/2022       $                  362.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3924 ROADTEX TRANSPORTATION                         12/22/2022       $                  363.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 983
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3925 ROADTEX TRANSPORTATION                         12/22/2022       $                  367.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3926 ROADTEX TRANSPORTATION                         12/22/2022       $                  375.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3927 ROADTEX TRANSPORTATION                         12/22/2022       $                  377.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3928 ROADTEX TRANSPORTATION                         12/22/2022       $                  407.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 984
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3929 ROADTEX TRANSPORTATION                         12/22/2022       $                  439.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3930 ROADTEX TRANSPORTATION                         12/22/2022       $                  440.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3931 ROADTEX TRANSPORTATION                         12/22/2022       $                  441.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3932 ROADTEX TRANSPORTATION                         12/22/2022       $                  442.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 985
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3933 ROADTEX TRANSPORTATION                         12/22/2022       $                  465.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3934 ROADTEX TRANSPORTATION                         12/22/2022       $                  467.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3935 ROADTEX TRANSPORTATION                         12/22/2022       $                  469.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3936 ROADTEX TRANSPORTATION                         12/22/2022       $                  495.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 986
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3937 ROADTEX TRANSPORTATION                         12/22/2022       $                  500.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3938 ROADTEX TRANSPORTATION                         12/22/2022       $                  501.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3939 ROADTEX TRANSPORTATION                         12/22/2022       $                  512.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3940 ROADTEX TRANSPORTATION                         12/22/2022       $                  539.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 987
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3941 ROADTEX TRANSPORTATION                         12/22/2022       $                  560.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3942 ROADTEX TRANSPORTATION                         12/22/2022       $                  568.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3943 ROADTEX TRANSPORTATION                         12/22/2022       $                  605.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3944 ROADTEX TRANSPORTATION                         12/22/2022       $                  606.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 988
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3945 ROADTEX TRANSPORTATION                         12/22/2022       $                  610.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3946 ROADTEX TRANSPORTATION                         12/22/2022       $                  613.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3947 ROADTEX TRANSPORTATION                         12/22/2022       $                  649.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3948 ROADTEX TRANSPORTATION                         12/22/2022       $                  842.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 989
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3949 ROADTEX TRANSPORTATION                         12/22/2022       $                  989.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3950 ROADTEX TRANSPORTATION                         12/22/2022       $                1,137.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3951 ROADTEX TRANSPORTATION                         12/22/2022       $                1,279.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3952 ROADTEX TRANSPORTATION                         12/22/2022       $                1,323.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 990
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3953 ROADTEX TRANSPORTATION                         12/22/2022       $                1,453.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3954 ROADTEX TRANSPORTATION                         12/22/2022       $                1,550.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3955 ROADTEX TRANSPORTATION                         12/22/2022       $                1,614.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3956 ROADTEX TRANSPORTATION                         12/22/2022       $                2,168.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 991
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3957 ROADTEX TRANSPORTATION                         12/22/2022       $                2,245.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3958 ROADTEX TRANSPORTATION                         12/22/2022       $                2,405.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3959 ROADTEX TRANSPORTATION                         1/6/2023         $                  192.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3960 ROADTEX TRANSPORTATION                         1/6/2023         $                  204.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 992
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3961 ROADTEX TRANSPORTATION                         1/6/2023         $                  207.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3962 ROADTEX TRANSPORTATION                         1/6/2023         $                  207.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3963 ROADTEX TRANSPORTATION                         1/6/2023         $                  207.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3964 ROADTEX TRANSPORTATION                         1/6/2023         $                  209.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 993
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3965 ROADTEX TRANSPORTATION                         1/6/2023         $                  219.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3966 ROADTEX TRANSPORTATION                         1/6/2023         $                  221.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3967 ROADTEX TRANSPORTATION                         1/6/2023         $                  222.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3968 ROADTEX TRANSPORTATION                         1/6/2023         $                  224.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 994
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3969 ROADTEX TRANSPORTATION                         1/6/2023         $                  236.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3970 ROADTEX TRANSPORTATION                         1/6/2023         $                  239.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3971 ROADTEX TRANSPORTATION                         1/6/2023         $                  242.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3972 ROADTEX TRANSPORTATION                         1/6/2023         $                  249.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 995
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3973 ROADTEX TRANSPORTATION                         1/6/2023         $                  257.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3974 ROADTEX TRANSPORTATION                         1/6/2023         $                  265.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3975 ROADTEX TRANSPORTATION                         1/6/2023         $                  272.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3976 ROADTEX TRANSPORTATION                         1/6/2023         $                  275.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 996
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3977 ROADTEX TRANSPORTATION                         1/6/2023         $                  275.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3978 ROADTEX TRANSPORTATION                         1/6/2023         $                  276.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3979 ROADTEX TRANSPORTATION                         1/6/2023         $                  276.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3980 ROADTEX TRANSPORTATION                         1/6/2023         $                  278.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 997
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3981 ROADTEX TRANSPORTATION                         1/6/2023         $                  279.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3982 ROADTEX TRANSPORTATION                         1/6/2023         $                  281.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3983 ROADTEX TRANSPORTATION                         1/6/2023         $                  284.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3984 ROADTEX TRANSPORTATION                         1/6/2023         $                  298.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 998
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3985 ROADTEX TRANSPORTATION                         1/6/2023         $                  298.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3986 ROADTEX TRANSPORTATION                         1/6/2023         $                  303.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3987 ROADTEX TRANSPORTATION                         1/6/2023         $                  305.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3988 ROADTEX TRANSPORTATION                         1/6/2023         $                  308.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 999
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3989 ROADTEX TRANSPORTATION                         1/6/2023         $                  311.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3990 ROADTEX TRANSPORTATION                         1/6/2023         $                  318.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3991 ROADTEX TRANSPORTATION                         1/6/2023         $                  320.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3992 ROADTEX TRANSPORTATION                         1/6/2023         $                  320.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1000
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3993 ROADTEX TRANSPORTATION                         1/6/2023         $                  323.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3994 ROADTEX TRANSPORTATION                         1/6/2023         $                  332.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3995 ROADTEX TRANSPORTATION                         1/6/2023         $                  338.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3996 ROADTEX TRANSPORTATION                         1/6/2023         $                  350.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1001
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.3997 ROADTEX TRANSPORTATION                         1/6/2023         $                  350.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3998 ROADTEX TRANSPORTATION                         1/6/2023         $                  352.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.3999 ROADTEX TRANSPORTATION                         1/6/2023         $                  367.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4000 ROADTEX TRANSPORTATION                         1/6/2023         $                  373.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1002
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4001 ROADTEX TRANSPORTATION                         1/6/2023         $                  382.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4002 ROADTEX TRANSPORTATION                         1/6/2023         $                  382.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4003 ROADTEX TRANSPORTATION                         1/6/2023         $                  395.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4004 ROADTEX TRANSPORTATION                         1/6/2023         $                  402.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1003
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4005 ROADTEX TRANSPORTATION                         1/6/2023         $                  403.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4006 ROADTEX TRANSPORTATION                         1/6/2023         $                  419.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4007 ROADTEX TRANSPORTATION                         1/6/2023         $                  433.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4008 ROADTEX TRANSPORTATION                         1/6/2023         $                  465.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1004
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4009 ROADTEX TRANSPORTATION                         1/6/2023         $                  481.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4010 ROADTEX TRANSPORTATION                         1/6/2023         $                  498.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4011 ROADTEX TRANSPORTATION                         1/6/2023         $                  498.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4012 ROADTEX TRANSPORTATION                         1/6/2023         $                  522.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1005
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4013 ROADTEX TRANSPORTATION                         1/6/2023         $                  549.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4014 ROADTEX TRANSPORTATION                         1/6/2023         $                  562.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4015 ROADTEX TRANSPORTATION                         1/6/2023         $                  578.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4016 ROADTEX TRANSPORTATION                         1/6/2023         $                  640.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1006
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4017 ROADTEX TRANSPORTATION                         1/6/2023         $                  730.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4018 ROADTEX TRANSPORTATION                         1/6/2023         $                  787.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4019 ROADTEX TRANSPORTATION                         1/6/2023         $                1,116.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4020 ROADTEX TRANSPORTATION                         1/6/2023         $                1,477.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1007
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4021 ROADTEX TRANSPORTATION                         1/6/2023         $                1,671.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4022 ROADTEX TRANSPORTATION                         1/6/2023         $                2,054.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4023 ROADTEX TRANSPORTATION                         1/6/2023         $                2,807.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4024 ROADTEX TRANSPORTATION                         1/12/2023        $                  189.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1008
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4025 ROADTEX TRANSPORTATION                         1/12/2023        $                  204.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4026 ROADTEX TRANSPORTATION                         1/12/2023        $                  204.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4027 ROADTEX TRANSPORTATION                         1/12/2023        $                  204.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4028 ROADTEX TRANSPORTATION                         1/12/2023        $                  218.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1009
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4029 ROADTEX TRANSPORTATION                         1/12/2023        $                  270.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4030 ROADTEX TRANSPORTATION                         1/12/2023        $                  271.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4031 ROADTEX TRANSPORTATION                         1/12/2023        $                  282.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4032 ROADTEX TRANSPORTATION                         1/12/2023        $                  282.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1010
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4033 ROADTEX TRANSPORTATION                         1/12/2023        $                  289.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4034 ROADTEX TRANSPORTATION                         1/12/2023        $                  301.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4035 ROADTEX TRANSPORTATION                         1/12/2023        $                  310.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4036 ROADTEX TRANSPORTATION                         1/12/2023        $                  312.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1011
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4037 ROADTEX TRANSPORTATION                         1/12/2023        $                  321.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4038 ROADTEX TRANSPORTATION                         1/12/2023        $                  324.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4039 ROADTEX TRANSPORTATION                         1/12/2023        $                  359.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4040 ROADTEX TRANSPORTATION                         1/12/2023        $                  424.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1012
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4041 ROADTEX TRANSPORTATION                         1/12/2023        $                  450.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4042 ROADTEX TRANSPORTATION                         1/12/2023        $                  474.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4043 ROADTEX TRANSPORTATION                         1/19/2023        $                  196.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4044 ROADTEX TRANSPORTATION                         1/19/2023        $                  200.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1013
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4045 ROADTEX TRANSPORTATION                         1/19/2023        $                  213.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4046 ROADTEX TRANSPORTATION                         1/19/2023        $                  215.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4047 ROADTEX TRANSPORTATION                         1/19/2023        $                  238.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4048 ROADTEX TRANSPORTATION                         1/19/2023        $                  262.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1014
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4049 ROADTEX TRANSPORTATION                         1/19/2023        $                  272.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4050 ROADTEX TRANSPORTATION                         1/19/2023        $                  289.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4051 ROADTEX TRANSPORTATION                         1/19/2023        $                  297.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4052 ROADTEX TRANSPORTATION                         1/19/2023        $                  301.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1015
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4053 ROADTEX TRANSPORTATION                         1/19/2023        $                  306.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4054 ROADTEX TRANSPORTATION                         1/19/2023        $                  308.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4055 ROADTEX TRANSPORTATION                         1/19/2023        $                  308.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4056 ROADTEX TRANSPORTATION                         1/19/2023        $                  309.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1016
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4057 ROADTEX TRANSPORTATION                         1/19/2023        $                  309.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4058 ROADTEX TRANSPORTATION                         1/19/2023        $                  313.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4059 ROADTEX TRANSPORTATION                         1/19/2023        $                  336.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4060 ROADTEX TRANSPORTATION                         1/19/2023        $                  361.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1017
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4061 ROADTEX TRANSPORTATION                         1/19/2023        $                  363.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4062 ROADTEX TRANSPORTATION                         1/19/2023        $                  367.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4063 ROADTEX TRANSPORTATION                         1/19/2023        $                  368.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4064 ROADTEX TRANSPORTATION                         1/19/2023        $                  376.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1018
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4065 ROADTEX TRANSPORTATION                         1/19/2023        $                  393.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4066 ROADTEX TRANSPORTATION                         1/19/2023        $                  399.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4067 ROADTEX TRANSPORTATION                         1/19/2023        $                  415.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4068 ROADTEX TRANSPORTATION                         1/19/2023        $                  432.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1019
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4069 ROADTEX TRANSPORTATION                         1/19/2023        $                  445.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4070 ROADTEX TRANSPORTATION                         1/19/2023        $                  475.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4071 ROADTEX TRANSPORTATION                         1/19/2023        $                  505.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4072 ROADTEX TRANSPORTATION                         1/19/2023        $                  515.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1020
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4073 ROADTEX TRANSPORTATION                         1/19/2023        $                  691.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4074 ROADTEX TRANSPORTATION                         1/19/2023        $                  752.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4075 ROADTEX TRANSPORTATION                         1/19/2023        $                1,547.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4076 ROADTEX TRANSPORTATION                         1/26/2023        $                  186.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1021
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4077 ROADTEX TRANSPORTATION                         1/26/2023        $                  195.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4078 ROADTEX TRANSPORTATION                         1/26/2023        $                  200.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4079 ROADTEX TRANSPORTATION                         1/26/2023        $                  212.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4080 ROADTEX TRANSPORTATION                         1/26/2023        $                  232.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1022
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4081 ROADTEX TRANSPORTATION                         1/26/2023        $                  242.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4082 ROADTEX TRANSPORTATION                         1/26/2023        $                  275.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4083 ROADTEX TRANSPORTATION                         1/26/2023        $                  296.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4084 ROADTEX TRANSPORTATION                         1/26/2023        $                  298.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1023
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4085 ROADTEX TRANSPORTATION                         1/26/2023        $                  299.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4086 ROADTEX TRANSPORTATION                         1/26/2023        $                  300.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4087 ROADTEX TRANSPORTATION                         1/26/2023        $                  307.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4088 ROADTEX TRANSPORTATION                         1/26/2023        $                  307.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1024
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4089 ROADTEX TRANSPORTATION                         1/26/2023        $                  319.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4090 ROADTEX TRANSPORTATION                         1/26/2023        $                  354.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4091 ROADTEX TRANSPORTATION                         1/26/2023        $                  381.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4092 ROADTEX TRANSPORTATION                         1/26/2023        $                  429.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1025
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4093 ROADTEX TRANSPORTATION                         1/26/2023        $                  438.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4094 ROADTEX TRANSPORTATION                         1/26/2023        $                  443.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4095 ROADTEX TRANSPORTATION                         1/26/2023        $                  464.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4096 ROADTEX TRANSPORTATION                         1/26/2023        $                  473.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1026
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4097 ROADTEX TRANSPORTATION                         1/26/2023        $                  572.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4098 ROADTEX TRANSPORTATION                         1/26/2023        $                  661.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4099 ROADTEX TRANSPORTATION                         1/26/2023        $                1,233.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4100 ROADTEX TRANSPORTATION                         1/31/2023        $                  186.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1027
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4101 ROADTEX TRANSPORTATION                         1/31/2023        $                  187.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4102 ROADTEX TRANSPORTATION                         1/31/2023        $                  195.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4103 ROADTEX TRANSPORTATION                         1/31/2023        $                  195.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4104 ROADTEX TRANSPORTATION                         1/31/2023        $                  200.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1028
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4105 ROADTEX TRANSPORTATION                         1/31/2023        $                  201.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4106 ROADTEX TRANSPORTATION                         1/31/2023        $                  201.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4107 ROADTEX TRANSPORTATION                         1/31/2023        $                  203.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4108 ROADTEX TRANSPORTATION                         1/31/2023        $                  233.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1029
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4109 ROADTEX TRANSPORTATION                         1/31/2023        $                  250.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4110 ROADTEX TRANSPORTATION                         1/31/2023        $                  266.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4111 ROADTEX TRANSPORTATION                         1/31/2023        $                  267.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4112 ROADTEX TRANSPORTATION                         1/31/2023        $                  267.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1030
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4113 ROADTEX TRANSPORTATION                         1/31/2023        $                  267.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4114 ROADTEX TRANSPORTATION                         1/31/2023        $                  267.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4115 ROADTEX TRANSPORTATION                         1/31/2023        $                  271.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4116 ROADTEX TRANSPORTATION                         1/31/2023        $                  272.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1031
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4117 ROADTEX TRANSPORTATION                         1/31/2023        $                  272.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4118 ROADTEX TRANSPORTATION                         1/31/2023        $                  279.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4119 ROADTEX TRANSPORTATION                         1/31/2023        $                  287.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4120 ROADTEX TRANSPORTATION                         1/31/2023        $                  292.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1032
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4121 ROADTEX TRANSPORTATION                         1/31/2023        $                  297.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4122 ROADTEX TRANSPORTATION                         1/31/2023        $                  308.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4123 ROADTEX TRANSPORTATION                         1/31/2023        $                  330.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4124 ROADTEX TRANSPORTATION                         1/31/2023        $                  342.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1033
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4125 ROADTEX TRANSPORTATION                         1/31/2023        $                  378.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4126 ROADTEX TRANSPORTATION                         1/31/2023        $                  381.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4127 ROADTEX TRANSPORTATION                         1/31/2023        $                  419.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4128 ROADTEX TRANSPORTATION                         1/31/2023        $                  442.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1034
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4129 ROADTEX TRANSPORTATION                         1/31/2023        $                  534.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4130 ROADTEX TRANSPORTATION                         1/31/2023        $                  543.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4131 ROADTEX TRANSPORTATION                         1/31/2023        $                  562.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4132 ROADTEX TRANSPORTATION                         1/31/2023        $                  567.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1035
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4133 ROADTEX TRANSPORTATION                         1/31/2023        $                2,196.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4134 ROADTEX TRANSPORTATION                         1/31/2023        $                2,501.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4135 ROADTEX TRANSPORTATION                         2/8/2023         $                  195.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4136 ROADTEX TRANSPORTATION                         2/8/2023         $                  196.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1036
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4137 ROADTEX TRANSPORTATION                         2/8/2023         $                  213.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4138 ROADTEX TRANSPORTATION                         2/8/2023         $                  218.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4139 ROADTEX TRANSPORTATION                         2/8/2023         $                  228.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4140 ROADTEX TRANSPORTATION                         2/8/2023         $                  241.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1037
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4141 ROADTEX TRANSPORTATION                         2/8/2023         $                  261.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4142 ROADTEX TRANSPORTATION                         2/8/2023         $                  266.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4143 ROADTEX TRANSPORTATION                         2/8/2023         $                  272.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4144 ROADTEX TRANSPORTATION                         2/8/2023         $                  296.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1038
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4145 ROADTEX TRANSPORTATION                         2/8/2023         $                  298.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4146 ROADTEX TRANSPORTATION                         2/8/2023         $                  302.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4147 ROADTEX TRANSPORTATION                         2/8/2023         $                  305.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4148 ROADTEX TRANSPORTATION                         2/8/2023         $                  308.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1039
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4149 ROADTEX TRANSPORTATION                         2/8/2023         $                  312.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4150 ROADTEX TRANSPORTATION                         2/8/2023         $                  352.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4151 ROADTEX TRANSPORTATION                         2/8/2023         $                  357.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4152 ROADTEX TRANSPORTATION                         2/8/2023         $                  357.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1040
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4153 ROADTEX TRANSPORTATION                         2/8/2023         $                  359.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4154 ROADTEX TRANSPORTATION                         2/8/2023         $                  418.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4155 ROADTEX TRANSPORTATION                         2/8/2023         $                  418.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4156 ROADTEX TRANSPORTATION                         2/8/2023         $                  458.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1041
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4157 ROADTEX TRANSPORTATION                         2/8/2023         $                  463.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4158 ROADTEX TRANSPORTATION                         2/8/2023         $                  473.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4159 ROADTEX TRANSPORTATION                         2/8/2023         $                  477.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4160 ROADTEX TRANSPORTATION                         2/8/2023         $                  496.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1042
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4161 ROADTEX TRANSPORTATION                         2/8/2023         $                  542.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4162 ROADTEX TRANSPORTATION                         2/8/2023         $                  678.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4163 ROADTEX TRANSPORTATION                         2/8/2023         $                  733.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4164 ROADTEX TRANSPORTATION                         2/8/2023         $                  759.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1043
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4165 ROADTEX TRANSPORTATION                         2/8/2023         $                1,009.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4166 ROADTEX TRANSPORTATION                         2/13/2023        $                  186.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4167 ROADTEX TRANSPORTATION                         2/13/2023        $                  195.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4168 ROADTEX TRANSPORTATION                         2/13/2023        $                  200.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1044
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4169 ROADTEX TRANSPORTATION                         2/13/2023        $                  212.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4170 ROADTEX TRANSPORTATION                         2/13/2023        $                  212.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4171 ROADTEX TRANSPORTATION                         2/13/2023        $                  264.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4172 ROADTEX TRANSPORTATION                         2/13/2023        $                  270.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1045
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4173 ROADTEX TRANSPORTATION                         2/13/2023        $                  271.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4174 ROADTEX TRANSPORTATION                         2/13/2023        $                  271.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4175 ROADTEX TRANSPORTATION                         2/13/2023        $                  273.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4176 ROADTEX TRANSPORTATION                         2/13/2023        $                  275.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1046
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4177 ROADTEX TRANSPORTATION                         2/13/2023        $                  277.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4178 ROADTEX TRANSPORTATION                         2/13/2023        $                  278.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4179 ROADTEX TRANSPORTATION                         2/13/2023        $                  291.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4180 ROADTEX TRANSPORTATION                         2/13/2023        $                  298.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1047
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4181 ROADTEX TRANSPORTATION                         2/13/2023        $                  300.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4182 ROADTEX TRANSPORTATION                         2/13/2023        $                  310.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4183 ROADTEX TRANSPORTATION                         2/13/2023        $                  315.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4184 ROADTEX TRANSPORTATION                         2/13/2023        $                  322.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1048
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4185 ROADTEX TRANSPORTATION                         2/13/2023        $                  333.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4186 ROADTEX TRANSPORTATION                         2/13/2023        $                  340.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4187 ROADTEX TRANSPORTATION                         2/13/2023        $                  343.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4188 ROADTEX TRANSPORTATION                         2/13/2023        $                  358.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1049
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4189 ROADTEX TRANSPORTATION                         2/13/2023        $                  360.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4190 ROADTEX TRANSPORTATION                         2/13/2023        $                  360.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4191 ROADTEX TRANSPORTATION                         2/13/2023        $                  372.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4192 ROADTEX TRANSPORTATION                         2/13/2023        $                  375.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1050
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4193 ROADTEX TRANSPORTATION                         2/13/2023        $                  391.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4194 ROADTEX TRANSPORTATION                         2/13/2023        $                  443.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4195 ROADTEX TRANSPORTATION                         2/13/2023        $                  462.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4196 ROADTEX TRANSPORTATION                         2/13/2023        $                  473.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1051
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4197 ROADTEX TRANSPORTATION                         2/13/2023        $                  475.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4198 ROADTEX TRANSPORTATION                         2/13/2023        $                  477.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4199 ROADTEX TRANSPORTATION                         2/13/2023        $                  492.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4200 ROADTEX TRANSPORTATION                         2/13/2023        $                  556.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1052
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4201 ROADTEX TRANSPORTATION                         2/13/2023        $                  557.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4202 ROADTEX TRANSPORTATION                         2/13/2023        $                1,147.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4203 ROADTEX TRANSPORTATION                         2/13/2023        $                1,249.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4204 ROADTEX TRANSPORTATION                         2/13/2023        $                1,249.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13 JENSON DRIVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1053
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4205 ROBERT HALF MGMT RESOURCES                     11/29/2022       $               12,465.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12400 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4206 ROBERT HALF MGMT RESOURCES                     12/22/2022       $               12,013.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12400 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4207 ROBERT HALF MGMT RESOURCES                     1/19/2023        $                7,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12400 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4208 ROBERT HALF MGMT RESOURCES                     1/19/2023        $                7,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12400 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1054
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4209 RX SOURCING STRATEGIES LLC                     11/29/2022       $               37,872.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             16150 MAIN CIRCLE DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 220                                                                                               Other

             CHESTERFIELD         MO          63017
             City                 State       ZIP Code



             Country


     3.4210 SAFETYCALL INTERNATIONAL LLC                   11/29/2022       $                  230.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3600 AMERICAN BLVD W                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 725                                                                                               Other

             BLOOMINGTON          MN          55431
             City                 State       ZIP Code



             Country


     3.4211 SAFETYCALL INTERNATIONAL LLC                   11/29/2022       $                2,493.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3600 AMERICAN BLVD W                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 725                                                                                               Other

             BLOOMINGTON          MN          55431
             City                 State       ZIP Code



             Country


     3.4212 SAFETYCALL INTERNATIONAL LLC                   1/12/2023        $                2,081.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3600 AMERICAN BLVD W                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 725                                                                                               Other

             BLOOMINGTON          MN          55431
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1055
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4213 SAFETYCALL INTERNATIONAL LLC                   1/12/2023        $                2,300.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3600 AMERICAN BLVD W                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 725                                                                                               Other

             BLOOMINGTON          MN          55431
             City                 State       ZIP Code



             Country


     3.4214 SAFETYCALL INTERNATIONAL LLC                   1/12/2023        $                4,837.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3600 AMERICAN BLVD W                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 725                                                                                               Other

             BLOOMINGTON          MN          55431
             City                 State       ZIP Code



             Country


     3.4215 SAFETYCALL INTERNATIONAL LLC                   1/26/2023        $                2,223.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             3600 AMERICAN BLVD W                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 725                                                                                               Other

             BLOOMINGTON          MN          55431
             City                 State       ZIP Code



             Country


     3.4216 SAMS CLUB                                      11/29/2022       $               39,932.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BANK OF AMERICA                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 50787                                                                                            Other

             ST LOUIS             MO          63150-0787
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1056
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4217 SANNOVA ANALYTICAL INC                         11/29/2022       $                3,150.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             155 PIERCE STREET                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4218 SANNOVA ANALYTICAL INC                         11/29/2022       $                7,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             155 PIERCE STREET                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4219 SANNOVA ANALYTICAL INC                         1/12/2023        $                1,635.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             155 PIERCE STREET                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country


     3.4220 SANNOVA ANALYTICAL INC                         1/31/2023        $               22,370.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             155 PIERCE STREET                                                                                5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SOMERSET             NJ          08873
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1057
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4221 SC-FIRST CHOICE                                12/22/2022       $                    0.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MMA SC MEDICAID FFS PRGM DRUG REBT                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 60009                                                                                            Other

             CHARLOTTE            NC          28260-0009
             City                 State       ZIP Code



             Country


     3.4222 SC-FIRST CHOICE                                12/22/2022       $                1,497.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MMA SC MEDICAID FFS PRGM DRUG REBT                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 60009                                                                                            Other

             CHARLOTTE            NC          28260-0009
             City                 State       ZIP Code



             Country


     3.4223 SC-FIRST CHOICE                                12/22/2022       $                9,167.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MMA SC MEDICAID FFS PRGM DRUG REBT                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 60009                                                                                            Other

             CHARLOTTE            NC          28260-0009
             City                 State       ZIP Code



             Country


     3.4224 SCISAFE INC                                    12/8/2022        $                  106.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1058
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4225 SCISAFE INC                                    12/8/2022        $                8,530.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4226 SCISAFE INC                                    1/6/2023         $                4,299.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4227 SCISAFE INC                                    1/6/2023         $               11,195.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4228 SCISAFE INC                                    1/12/2023        $                  106.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1059
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4229 SCISAFE INC                                    1/12/2023        $                  110.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4230 SCISAFE INC                                    1/12/2023        $                1,023.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4231 SCISAFE INC                                    1/12/2023        $                8,530.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4232 SCISAFE INC                                    1/26/2023        $                   85.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1060
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4233 SCISAFE INC                                    1/26/2023        $                  106.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4234 SCISAFE INC                                    2/8/2023         $                1,023.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4235 SCISAFE INC                                    2/8/2023         $                8,554.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7 CORPORATE DRIVE UNIT D                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CRANBURY             NJ          08512
             City                 State       ZIP Code



             Country


     3.4236 SC-MEDICAID                                    12/22/2022       $                 (68.24)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MMA SC MEDICAID FFS PRGM DRUG REBT                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 60009                                                                                            Other

             CHARLOTTE            NC          28260-0009
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1061
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4237 SC-MEDICAID                                    12/22/2022       $                8,259.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             MMA SC MEDICAID FFS PRGM DRUG REBT                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 60009                                                                                            Other

             CHARLOTTE            NC          28260-0009
             City                 State       ZIP Code



             Country


     3.4238 SGD NORTH AMERICA INC                          11/30/2022       $               12,544.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 137                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TROUT RUN            PA          17771
             City                 State       ZIP Code



             Country


     3.4239 SGD NORTH AMERICA INC                          12/8/2022        $                  229.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 137                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TROUT RUN            PA          17771
             City                 State       ZIP Code



             Country


     3.4240 SGD SA - NORTH AMERICA OFFICE                  1/12/2023        $              109,885.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             900 THIRD AVENUE, 4TH FLOOR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10022
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1062
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4241 SGD SA - NORTH AMERICA OFFICE                  1/12/2023        $              109,885.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             900 THIRD AVENUE, 4TH FLOOR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10022
             City                 State       ZIP Code



             Country


     3.4242 SGD SA - NORTH AMERICA OFFICE                  2/13/2023        $              109,885.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             900 THIRD AVENUE, 4TH FLOOR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10022
             City                 State       ZIP Code



             Country


     3.4243 SGS NORTH AMERICA                              11/29/2022       $                  192.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4244 SGS NORTH AMERICA                              11/29/2022       $                  192.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1063
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4245 SGS NORTH AMERICA                              11/29/2022       $                  850.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4246 SGS NORTH AMERICA                              11/29/2022       $                3,237.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4247 SGS NORTH AMERICA                              12/8/2022        $                1,955.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4248 SGS NORTH AMERICA                              12/8/2022        $               59,783.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1064
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4249 SGS NORTH AMERICA                              1/6/2023         $                1,270.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4250 SGS NORTH AMERICA                              1/6/2023         $                1,270.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4251 SGS NORTH AMERICA                              1/6/2023         $                1,918.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4252 SGS NORTH AMERICA                              1/6/2023         $                2,176.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1065
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4253 SGS NORTH AMERICA                              2/8/2023         $                  192.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4254 SGS NORTH AMERICA                              2/8/2023         $                1,599.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4255 SGS NORTH AMERICA                              2/8/2023         $                2,131.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country


     3.4256 SGS NORTH AMERICA                              2/8/2023         $                2,131.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             CITIBANK                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 2502                                                                                             Other

             CAROL STREAM         IL          60132-2502
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1066
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4257 SHIMADZU SCIENTIFIC -REMIT                     11/29/2022       $               31,530.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BOX 200511                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-0511
             City                 State       ZIP Code



             Country


     3.4258 SHIMADZU SCIENTIFIC -REMIT                     1/31/2023        $                  237.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             BOX 200511                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15251-0511
             City                 State       ZIP Code



             Country


     3.4259 SIEGFRIED IRVINE -R&D ONLY                     1/6/2023         $               10,189.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA SIEGFRIED IRVINE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             9342 JERONIMO ROAD                                                                                      Other

             IRVINE               CA          92618
             City                 State       ZIP Code



             Country


     3.4260 SIEGFRIED IRVINE -R&D ONLY                     1/31/2023        $               25,072.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA SIEGFRIED IRVINE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             9342 JERONIMO ROAD                                                                                      Other

             IRVINE               CA          92618
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1067
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4261 SIEGFRIED IRVINE -R&D ONLY                     1/31/2023        $              101,644.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA SIEGFRIED IRVINE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             9342 JERONIMO ROAD                                                                                      Other

             IRVINE               CA          92618
             City                 State       ZIP Code



             Country


     3.4262 SIEGFRIED IRVINE -R&D ONLY                     1/31/2023        $              150,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA SIEGFRIED IRVINE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             9342 JERONIMO ROAD                                                                                      Other

             IRVINE               CA          92618
             City                 State       ZIP Code



             Country


     3.4263 SIEGFRIED IRVINE -R&D ONLY                     2/8/2023         $                5,387.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA SIEGFRIED IRVINE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             9342 JERONIMO ROAD                                                                                      Other

             IRVINE               CA          92618
             City                 State       ZIP Code



             Country


     3.4264 SIEGFRIED IRVINE -R&D ONLY                     2/13/2023        $               10,004.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA SIEGFRIED IRVINE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             9342 JERONIMO ROAD                                                                                      Other

             IRVINE               CA          92618
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1068
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4265 SIEGFRIED IRVINE -R&D ONLY                     2/13/2023        $               24,520.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DBA SIEGFRIED IRVINE                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             9342 JERONIMO ROAD                                                                                      Other

             IRVINE               CA          92618
             City                 State       ZIP Code



             Country


     3.4266 SIEGFRIED USA INC                              2/8/2023         $              527,100.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             33 INDUSTRIAL PARK ROAD                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PENNSVILLE           NJ          08070
             City                 State       ZIP Code



             Country


     3.4267 SIGMA ALDRICH -REMIT                           11/29/2022       $                   75.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4268 SIGMA ALDRICH -REMIT                           11/29/2022       $                   88.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1069
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4269 SIGMA ALDRICH -REMIT                           11/29/2022       $                   90.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4270 SIGMA ALDRICH -REMIT                           11/29/2022       $                  123.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4271 SIGMA ALDRICH -REMIT                           11/29/2022       $                  128.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4272 SIGMA ALDRICH -REMIT                           11/29/2022       $                  164.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1070
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4273 SIGMA ALDRICH -REMIT                           11/29/2022       $                  180.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4274 SIGMA ALDRICH -REMIT                           11/29/2022       $                  191.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4275 SIGMA ALDRICH -REMIT                           11/29/2022       $                  263.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4276 SIGMA ALDRICH -REMIT                           11/29/2022       $                  361.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1071
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4277 SIGMA ALDRICH -REMIT                           11/29/2022       $                  475.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4278 SIGMA ALDRICH -REMIT                           11/29/2022       $                  482.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4279 SIGMA ALDRICH -REMIT                           11/29/2022       $                  643.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4280 SIGMA ALDRICH -REMIT                           11/29/2022       $                  670.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1072
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4281 SIGMA ALDRICH -REMIT                           11/29/2022       $                  999.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4282 SIGMA ALDRICH -REMIT                           11/29/2022       $                1,127.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4283 SIGMA ALDRICH -REMIT                           11/29/2022       $                1,701.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4284 SIGMA ALDRICH -REMIT                           12/8/2022        $                   39.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1073
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4285 SIGMA ALDRICH -REMIT                           12/8/2022        $                   98.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4286 SIGMA ALDRICH -REMIT                           12/8/2022        $                  148.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4287 SIGMA ALDRICH -REMIT                           12/8/2022        $                  338.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4288 SIGMA ALDRICH -REMIT                           12/8/2022        $                3,699.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1074
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4289 SIGMA ALDRICH -REMIT                           1/6/2023         $                   33.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4290 SIGMA ALDRICH -REMIT                           1/6/2023         $                   55.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4291 SIGMA ALDRICH -REMIT                           1/6/2023         $                   56.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4292 SIGMA ALDRICH -REMIT                           1/6/2023         $                   62.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1075
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4293 SIGMA ALDRICH -REMIT                           1/6/2023         $                   65.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4294 SIGMA ALDRICH -REMIT                           1/6/2023         $                  122.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4295 SIGMA ALDRICH -REMIT                           1/6/2023         $                  133.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4296 SIGMA ALDRICH -REMIT                           1/6/2023         $                  154.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1076
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4297 SIGMA ALDRICH -REMIT                           1/6/2023         $                  156.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4298 SIGMA ALDRICH -REMIT                           1/6/2023         $                  266.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4299 SIGMA ALDRICH -REMIT                           1/6/2023         $                  271.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4300 SIGMA ALDRICH -REMIT                           1/6/2023         $                  283.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1077
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4301 SIGMA ALDRICH -REMIT                           1/6/2023         $                  326.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4302 SIGMA ALDRICH -REMIT                           1/6/2023         $                  354.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4303 SIGMA ALDRICH -REMIT                           1/6/2023         $                  358.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4304 SIGMA ALDRICH -REMIT                           1/6/2023         $                  418.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1078
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4305 SIGMA ALDRICH -REMIT                           1/6/2023         $                  475.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4306 SIGMA ALDRICH -REMIT                           1/6/2023         $                  578.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4307 SIGMA ALDRICH -REMIT                           1/6/2023         $                  634.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4308 SIGMA ALDRICH -REMIT                           1/6/2023         $                  636.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1079
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4309 SIGMA ALDRICH -REMIT                           1/6/2023         $                  802.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4310 SIGMA ALDRICH -REMIT                           1/6/2023         $                1,293.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4311 SIGMA ALDRICH -REMIT                           1/6/2023         $                1,467.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4312 SIGMA ALDRICH -REMIT                           1/6/2023         $                1,596.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1080
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4313 SIGMA ALDRICH -REMIT                           1/6/2023         $                2,550.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4314 SIGMA ALDRICH -REMIT                           1/6/2023         $                4,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4315 SIGMA ALDRICH -REMIT                           1/12/2023        $               (5,268.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4316 SIGMA ALDRICH -REMIT                           1/12/2023        $                   71.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1081
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4317 SIGMA ALDRICH -REMIT                           1/12/2023        $                  198.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4318 SIGMA ALDRICH -REMIT                           1/12/2023        $                  271.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4319 SIGMA ALDRICH -REMIT                           1/12/2023        $                  354.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4320 SIGMA ALDRICH -REMIT                           1/12/2023        $                  436.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1082
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4321 SIGMA ALDRICH -REMIT                           1/12/2023        $                1,072.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4322 SIGMA ALDRICH -REMIT                           1/12/2023        $                2,434.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4323 SIGMA ALDRICH -REMIT                           1/12/2023        $                2,863.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4324 SIGMA ALDRICH -REMIT                           1/19/2023        $                   35.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1083
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4325 SIGMA ALDRICH -REMIT                           1/19/2023        $                   89.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4326 SIGMA ALDRICH -REMIT                           1/19/2023        $                  263.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4327 SIGMA ALDRICH -REMIT                           1/19/2023        $                  367.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4328 SIGMA ALDRICH -REMIT                           1/19/2023        $                  405.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1084
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4329 SIGMA ALDRICH -REMIT                           1/19/2023        $                  669.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4330 SIGMA ALDRICH -REMIT                           1/19/2023        $                  697.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4331 SIGMA ALDRICH -REMIT                           1/19/2023        $                  872.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4332 SIGMA ALDRICH -REMIT                           1/19/2023        $                4,008.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1085
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4333 SIGMA ALDRICH -REMIT                           1/26/2023        $                  351.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4334 SIGMA ALDRICH -REMIT                           1/26/2023        $                1,072.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4335 SIGMA ALDRICH -REMIT                           1/31/2023        $                   62.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4336 SIGMA ALDRICH -REMIT                           1/31/2023        $                  357.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1086
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4337 SIGMA ALDRICH -REMIT                           1/31/2023        $                  590.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4338 SIGMA ALDRICH -REMIT                           1/31/2023        $                  806.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4339 SIGMA ALDRICH -REMIT                           1/31/2023        $                1,640.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4340 SIGMA ALDRICH -REMIT                           2/8/2023         $                   89.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1087
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4341 SIGMA ALDRICH -REMIT                           2/8/2023         $                  218.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4342 SIGMA ALDRICH -REMIT                           2/8/2023         $                2,096.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4343 SIGMA ALDRICH -REMIT                           2/13/2023        $                  343.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4344 SIGMA ALDRICH -REMIT                           2/13/2023        $                  547.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1088
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4345 SIGMA ALDRICH -REMIT                           2/13/2023        $                1,197.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 535182                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30353-5182
             City                 State       ZIP Code



             Country


     3.4346 SILLS CUMMIS & GROSS PC                        11/28/2022       $                  202.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4347 SILLS CUMMIS & GROSS PC                        11/28/2022       $                  270.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4348 SILLS CUMMIS & GROSS PC                        11/28/2022       $                  810.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1089
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4349 SILLS CUMMIS & GROSS PC                        11/28/2022       $                1,957.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4350 SILLS CUMMIS & GROSS PC                        11/28/2022       $                2,916.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4351 SILLS CUMMIS & GROSS PC                        11/28/2022       $                4,050.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4352 SILLS CUMMIS & GROSS PC                        11/28/2022       $                5,044.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1090
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4353 SILLS CUMMIS & GROSS PC                        12/27/2022       $                  742.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4354 SILLS CUMMIS & GROSS PC                        12/27/2022       $               18,958.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4355 SILLS CUMMIS & GROSS PC                        12/30/2022       $                  540.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4356 SILLS CUMMIS & GROSS PC                        12/30/2022       $                  945.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1091
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4357 SILLS CUMMIS & GROSS PC                        12/30/2022       $                2,281.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4358 SILLS CUMMIS & GROSS PC                        12/30/2022       $               13,061.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4359 SILLS CUMMIS & GROSS PC                        2/14/2023        $               14,287.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ONE RIVERFRONT PLAZA                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ACCOUNTS RECEIVABLE                                                                                Other

             NEWARK               NJ          07102
             City                 State       ZIP Code



             Country


     3.4360 SKAN US INC                                    1/6/2023         $                4,132.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7409 ACC BLVD SUITE 200                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27617
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1092
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4361 SKAN US INC                                    1/6/2023         $               70,936.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7409 ACC BLVD SUITE 200                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27617
             City                 State       ZIP Code



             Country


     3.4362 SKAN US INC                                    1/12/2023        $                1,217.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7409 ACC BLVD SUITE 200                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27617
             City                 State       ZIP Code



             Country


     3.4363 SKAN US INC                                    1/19/2023        $               13,711.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             7409 ACC BLVD SUITE 200                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27617
             City                 State       ZIP Code



             Country


     3.4364 SOLARWINDS                                     1/26/2023        $               38,211.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO Box 730720                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75373-0720
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1093
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4365 SOLVAY USA -REMIT                              11/29/2022       $               21,643.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23424 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1234
             City                 State       ZIP Code



             Country


     3.4366 SOLVAY USA -REMIT                              2/13/2023        $               64,929.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             23424 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1234
             City                 State       ZIP Code



             Country


     3.4367 SONITROL CHICAGO & GR LAKES                    1/31/2023        $                  404.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9512                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country


     3.4368 SONITROL CHICAGO & GR LAKES                    1/31/2023        $                1,013.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9512                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1094
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4369 SONITROL CHICAGO & GR LAKES                    1/31/2023        $                1,742.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9512                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country


     3.4370 SONITROL CHICAGO & GR LAKES                    1/31/2023        $                2,137.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9512                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country


     3.4371 SONITROL CHICAGO & GR LAKES                    1/31/2023        $                5,220.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT 9512                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 30516                                                                                            Other

             LANSING              MI          48909-8016
             City                 State       ZIP Code



             Country


     3.4372 SOTAX                                          12/8/2022        $               37,690.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2400 COMPUTER DR                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTBOROUGH          MA          01581
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1095
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4373 SOTAX                                          1/26/2023        $                4,146.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2400 COMPUTER DR                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WESTBOROUGH          MA          01581
             City                 State       ZIP Code



             Country


     3.4374 SOURCE ONE PACKAGING -REMIT                    1/12/2023        $               11,442.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             STERLING NATIONAL BANK                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75359                                                                                            Other

             CHICAGO              IL          60675-5359
             City                 State       ZIP Code



             Country


     3.4375 SOURCE ONE PACKAGING -REMIT                    1/31/2023        $                4,476.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             STERLING NATIONAL BANK                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75359                                                                                            Other

             CHICAGO              IL          60675-5359
             City                 State       ZIP Code



             Country


     3.4376 SOURCE ONE PACKAGING -REMIT                    1/31/2023        $                6,285.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             STERLING NATIONAL BANK                                                                           5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75359                                                                                            Other

             CHICAGO              IL          60675-5359
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1096
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4377 SPACEKRAFT (INT'L PAPER) -REMIT                11/29/2022       $                4,787.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1689 SOLUTIONS CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             BOX 771689                                                                                              Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4378 SPACEKRAFT (INT'L PAPER) -REMIT                1/6/2023         $                4,787.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1689 SOLUTIONS CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             BOX 771689                                                                                              Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4379 SPACEKRAFT (INT'L PAPER) -REMIT                1/6/2023         $                4,944.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1689 SOLUTIONS CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

             BOX 771689                                                                                              Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4380 SPECGX -REMIT                                  12/8/2022        $                2,070.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3542                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-3542
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1097
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4381 SPECGX -REMIT                                  2/13/2023        $               14,956.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 3542                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60132-3542
             City                 State       ZIP Code



             Country


     3.4382 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                   97.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4383 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                  256.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4384 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                  360.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1098
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4385 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                  367.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4386 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                  436.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4387 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                  824.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4388 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                  839.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1099
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4389 SPECTRUM CHEMICAL -REMIT                       11/29/2022       $                3,764.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4390 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $               (2,332.80)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4391 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                (834.24)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4392 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                   63.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1100
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4393 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                   98.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4394 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  100.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4395 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  114.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4396 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  132.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1101
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4397 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  137.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4398 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  167.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4399 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  229.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4400 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  265.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1102
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4401 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  299.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4402 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  366.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4403 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  459.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4404 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  468.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1103
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4405 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                  517.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4406 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                1,856.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4407 SPECTRUM CHEMICAL -REMIT                       1/6/2023         $                3,664.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4408 SPECTRUM CHEMICAL -REMIT                       1/12/2023        $                  138.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1104
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4409 SPECTRUM CHEMICAL -REMIT                       1/12/2023        $                  190.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4410 SPECTRUM CHEMICAL -REMIT                       1/12/2023        $                  209.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4411 SPECTRUM CHEMICAL -REMIT                       1/12/2023        $                  260.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4412 SPECTRUM CHEMICAL -REMIT                       1/19/2023        $                   68.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1105
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4413 SPECTRUM CHEMICAL -REMIT                       1/19/2023        $                  305.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4414 SPECTRUM CHEMICAL -REMIT                       1/19/2023        $                  436.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4415 SPECTRUM CHEMICAL -REMIT                       1/19/2023        $                  579.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4416 SPECTRUM CHEMICAL -REMIT                       1/31/2023        $                  441.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1106
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4417 SPECTRUM CHEMICAL -REMIT                       2/13/2023        $                   71.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4418 SPECTRUM CHEMICAL -REMIT                       2/13/2023        $                  323.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4419 SPECTRUM CHEMICAL -REMIT                       2/13/2023        $                  455.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4420 SPECTRUM CHEMICAL -REMIT                       2/13/2023        $                1,050.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1107
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4421 SPECTRUM CHEMICAL -REMIT                       2/13/2023        $                1,188.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4422 SPECTRUM CHEMICAL -REMIT                       2/13/2023        $                2,552.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740894                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0894
             City                 State       ZIP Code



             Country


     3.4423 SST CORPORATION                                1/12/2023        $               60,578.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 LANE ROAD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 450                                                                                               Other

             FAIRFIELD            NJ          07004
             City                 State       ZIP Code



             Country


     3.4424 SST CORPORATION                                1/12/2023        $              521,493.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             55 LANE ROAD                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 450                                                                                               Other

             FAIRFIELD            NJ          07004
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1108
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            STANDARD & POORS RATINGS SERVICES                                                                        Secured debt
     3.4425 LLC                                            1/6/2023         $               83,000.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2542 COLLECTION CENTER DR                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60393
             City                 State       ZIP Code



             Country


     3.4426 STANTEC                                        11/29/2022       $               27,775.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13980 COLLECTIONS CENTER DR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4427 STANTEC                                        1/12/2023        $                4,560.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13980 COLLECTIONS CENTER DR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4428 STAUFFER GLOVE & SAFETY                        1/19/2023        $               11,131.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 45                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RED HILL             PA          18076-0045
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1109
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4429 STERIGENICS GAMMA -REMIT                       11/29/2022       $                1,728.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4430 STERIGENICS GAMMA -REMIT                       11/29/2022       $                3,953.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4431 STERIGENICS GAMMA -REMIT                       11/29/2022       $                8,751.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4432 STERIGENICS GAMMA -REMIT                       12/8/2022        $                1,714.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1110
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4433 STERIGENICS GAMMA -REMIT                       12/15/2022       $                1,714.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4434 STERIGENICS GAMMA -REMIT                       12/15/2022       $                1,721.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4435 STERIGENICS GAMMA -REMIT                       12/15/2022       $                1,721.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4436 STERIGENICS GAMMA -REMIT                       12/15/2022       $                1,735.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1111
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4437 STERIGENICS GAMMA -REMIT                       12/22/2022       $                1,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4438 STERIGENICS GAMMA -REMIT                       12/22/2022       $                1,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4439 STERIGENICS GAMMA -REMIT                       12/22/2022       $                1,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4440 STERIGENICS GAMMA -REMIT                       12/22/2022       $                1,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1112
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4441 STERIGENICS GAMMA -REMIT                       12/22/2022       $                1,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4442 STERIGENICS GAMMA -REMIT                       12/22/2022       $                1,714.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4443 STERIGENICS GAMMA -REMIT                       12/29/2022       $               22,183.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4444 STERIGENICS GAMMA -REMIT                       1/6/2023         $                2,794.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1113
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4445 STERIGENICS GAMMA -REMIT                       1/6/2023         $                2,794.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4446 STERIGENICS GAMMA -REMIT                       1/12/2023        $                1,714.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4447 STERIGENICS GAMMA -REMIT                       1/12/2023        $                6,178.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4448 STERIGENICS GAMMA -REMIT                       1/26/2023        $                1,721.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1114
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4449 STERIGENICS GAMMA -REMIT                       1/26/2023        $                2,189.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4450 STERIGENICS GAMMA -REMIT                       2/13/2023        $                2,203.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4451 STERIGENICS GAMMA -REMIT                       2/13/2023        $                4,393.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             37244 EAGLE WAY                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60678-1372
             City                 State       ZIP Code



             Country


     3.4452 STERIGENICS LAB -REMIT                         12/29/2022       $               18,772.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 93178                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-3178
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1115
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4453 STERILINE NORTH AMERICA INC                    1/12/2023        $                2,134.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             872 - 62ND ST CIR EAST #105                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRADENTON            FL          34208
             City                 State       ZIP Code



             Country


     3.4454 STERILINE NORTH AMERICA INC                    1/12/2023        $                3,159.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             872 - 62ND ST CIR EAST #105                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRADENTON            FL          34208
             City                 State       ZIP Code



             Country


     3.4455 STERILINE NORTH AMERICA INC                    1/12/2023        $               15,644.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             872 - 62ND ST CIR EAST #105                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRADENTON            FL          34208
             City                 State       ZIP Code



             Country


     3.4456 STERILINE NORTH AMERICA INC                    1/12/2023        $               27,852.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             872 - 62ND ST CIR EAST #105                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRADENTON            FL          34208
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1116
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4457 STERIS & ISOMEDIX -REMIT                       11/29/2022       $                4,474.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4458 STERIS & ISOMEDIX -REMIT                       11/29/2022       $               10,056.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4459 STERIS & ISOMEDIX -REMIT                       11/29/2022       $               13,252.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4460 STERIS & ISOMEDIX -REMIT                       1/6/2023         $                2,049.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1117
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4461 STERIS & ISOMEDIX -REMIT                       1/6/2023         $                2,623.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4462 STERIS & ISOMEDIX -REMIT                       1/6/2023         $                4,344.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4463 STERIS & ISOMEDIX -REMIT                       1/6/2023         $                8,850.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4464 STERIS & ISOMEDIX -REMIT                       1/6/2023         $                8,850.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1118
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4465 STERIS & ISOMEDIX -REMIT                       1/12/2023        $                2,624.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4466 STERIS & ISOMEDIX -REMIT                       1/31/2023        $                3,974.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4467 STERIS & ISOMEDIX -REMIT                       1/31/2023        $               15,040.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4468 STERIS & ISOMEDIX -REMIT                       2/13/2023        $                4,744.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1119
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4469 STERIS & ISOMEDIX -REMIT                       2/13/2023        $                4,744.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LOCKBOX # 771652                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             1652 SOLUTION CENTER                                                                                    Other

             CHICAGO              IL          60677-1006
             City                 State       ZIP Code



             Country


     3.4470 STIRA PHARMACEUTICALS LLC                      1/31/2023        $              200,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             161 DWIGHT PLACE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FAIRFIELD            NJ          07004
             City                 State       ZIP Code



             Country


     3.4471 SUEZ WTS -REMIT                                11/29/2022       $               16,009.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13256 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4472 SUEZ WTS -REMIT                                12/22/2022       $                  116.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13256 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1120
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4473 SUEZ WTS -REMIT                                12/22/2022       $                  550.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13256 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4474 SUEZ WTS -REMIT                                12/22/2022       $                6,694.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13256 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4475 SUEZ WTS -REMIT                                1/12/2023        $                1,760.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13256 COLLECTIONS CENTER DRIVE                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4476 SUPPLYONE PHILADELPHIA INC                     12/8/2022        $               (2,442.26)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1090 THOMAS BUSCH MEMORIAL HWY                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PENNSAUKEN           NJ          08110
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1121
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):    23-10255

          Name

     3.4477 SUPPLYONE PHILADELPHIA INC                       12/8/2022        $                3,360.00                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             1090 THOMAS BUSCH MEMORIAL HWY                                                                     5      Suppliers or vendors
             Street
                                                                                                                       Services

                                                                                                                       Other

             PENNSAUKEN             NJ          08110
             City                   State       ZIP Code



             Country


     3.4478 SUPPLYONE PHILADELPHIA INC                       12/8/2022        $                4,273.21                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             1090 THOMAS BUSCH MEMORIAL HWY                                                                     5      Suppliers or vendors
             Street
                                                                                                                       Services

                                                                                                                       Other

             PENNSAUKEN             NJ          08110
             City                   State       ZIP Code



             Country


     3.4479 SUPPLYONE PHILADELPHIA INC                       2/8/2023         $                2,912.00                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             1090 THOMAS BUSCH MEMORIAL HWY                                                                     5      Suppliers or vendors
             Street
                                                                                                                       Services

                                                                                                                       Other

             PENNSAUKEN             NJ          08110
             City                   State       ZIP Code



             Country


     3.4480 SWISS CAP AG                                     11/30/2022       $               22,051.00                Secured debt
             Creditor's Name
                                                                                                                       Unsecured loan repayments

             Dr. Christian Luftensteiner                                                                        5      Suppliers or vendors
             Street
                                                                                                                       Services

             Husenstrasse 35                                                                                           Other

             Kirchberg              SG          9533
             City                   State       ZIP Code

             Switzerland
             Country




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1122
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4481 INVENTIV)                                      11/29/2022       $                  160.55
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4482 INVENTIV)                                      12/8/2022        $                  574.61
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4483 INVENTIV)                                      12/8/2022        $               20,453.23
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4484 INVENTIV)                                      1/6/2023         $                   32.70
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1123
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4485 INVENTIV)                                      1/6/2023         $                   37.64
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4486 INVENTIV)                                      1/6/2023         $                  155.97
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4487 INVENTIV)                                      1/6/2023         $                  157.32
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4488 INVENTIV)                                      1/6/2023         $                  942.96
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1124
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4489 INVENTIV)                                      1/6/2023         $               20,147.11
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4490 INVENTIV)                                      1/6/2023         $               89,382.25
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4491 INVENTIV)                                      1/6/2023         $               92,045.16
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4492 INVENTIV)                                      2/13/2023        $                (174.13)
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1125
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4493 INVENTIV)                                      2/13/2023        $                   27.09
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4494 INVENTIV)                                      2/13/2023        $                  159.84
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4495 INVENTIV)                                      2/13/2023        $                  167.52
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4496 INVENTIV)                                      2/13/2023        $                  317.83
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1126
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4497 INVENTIV)                                      2/13/2023        $               20,382.01
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNEOS HEALTH CONSULTING (WAS                                                                            Secured debt
     3.4498 INVENTIV)                                      2/13/2023        $              139,649.83
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 80368                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             RALEIGH              NC          27263
             City                 State       ZIP Code



             Country


            SYNTEGON PHARMA TECHNOLOGY                                                                               Secured debt
     3.4499 FORMER R BOSC                                  11/29/2022       $               14,586.40
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 74889                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-4889
             City                 State       ZIP Code



             Country


     3.4500 SYNTEGON -WAS BOSCH PKG                        1/31/2023        $                7,398.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             36809 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-6800
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1127
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4501 SYNTEGON -WAS BOSCH PKG                        1/31/2023        $               10,716.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             36809 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-6800
             City                 State       ZIP Code



             Country


     3.4502 SYNTEGON -WAS BOSCH PKG                        1/31/2023        $               11,644.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             36809 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-6800
             City                 State       ZIP Code



             Country


     3.4503 SYNTEGON -WAS BOSCH PKG                        1/31/2023        $               17,102.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             36809 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-6800
             City                 State       ZIP Code



             Country


     3.4504 SYNTEGON -WAS BOSCH PKG                        2/13/2023        $                  236.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             36809 TREASURY CENTER                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60694-6800
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1128
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            SYSTEM ONE HOLDINGS LLC ( FORMER                                                                         Secured debt
     3.4505 JOULE)                                         11/29/2022       $               14,133.40
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644722                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-4722
             City                 State       ZIP Code



             Country


            SYSTEM ONE HOLDINGS LLC ( FORMER                                                                         Secured debt
     3.4506 JOULE)                                         11/29/2022       $               14,139.20
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644722                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-4722
             City                 State       ZIP Code



             Country


            SYSTEM ONE HOLDINGS LLC ( FORMER                                                                         Secured debt
     3.4507 JOULE)                                         12/8/2022        $                    7.06
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644722                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-4722
             City                 State       ZIP Code



             Country


            SYSTEM ONE HOLDINGS LLC ( FORMER                                                                         Secured debt
     3.4508 JOULE)                                         12/8/2022        $                8,904.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644722                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-4722
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1129
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            SYSTEM ONE HOLDINGS LLC ( FORMER                                                                         Secured debt
     3.4509 JOULE)                                         1/26/2023        $                8,947.20
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 644722                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-4722
             City                 State       ZIP Code



             Country


     3.4510 TARISHI JHA                                    12/8/2022        $               16,758.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country


     3.4511 TARISHI JHA                                    12/15/2022       $               17,640.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country


     3.4512 TARISHI JHA                                    1/6/2023         $               15,876.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1130
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4513 TARISHI JHA                                    2/8/2023         $                5,292.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country


     3.4514 TARISHI JHA                                    2/8/2023         $                5,480.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country


     3.4515 TARISHI JHA                                    2/8/2023         $               15,876.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country


     3.4516 Tarishi Jha                                    2/22/2023        $               10,033.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             Address On File                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other


             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1131
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4517 TATE & LYLE SOLUTIONS DIRECT -REMIT            11/29/2022       $               97,971.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 102468                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PASADENA             CA          91189-2468
             City                 State       ZIP Code



             Country


     3.4518 TAYLOR MADE LANDSCAPING                        1/19/2023        $                1,452.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1792 N RT 121                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62526
             City                 State       ZIP Code



             Country


     3.4519 TAYLOR MADE LANDSCAPING                        1/19/2023        $                1,814.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1792 N RT 121                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62526
             City                 State       ZIP Code



             Country


     3.4520 TAYLOR MADE LANDSCAPING                        1/19/2023        $                1,825.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1792 N RT 121                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62526
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1132
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4521 TAYLOR MADE LANDSCAPING                        1/19/2023        $                3,923.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1792 N RT 121                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DECATUR              IL          62526
             City                 State       ZIP Code



             Country


     3.4522 TERGUS PHARMA                                  11/29/2022       $                2,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country


     3.4523 TERGUS PHARMA                                  1/12/2023        $               (7,200.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country


     3.4524 TERGUS PHARMA                                  1/12/2023        $               (4,800.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1133
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4525 TERGUS PHARMA                                  1/12/2023        $                  456.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country


     3.4526 TERGUS PHARMA                                  1/12/2023        $                2,839.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country


     3.4527 TERGUS PHARMA                                  1/12/2023        $                9,600.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country


     3.4528 TERGUS PHARMA                                  1/12/2023        $               14,400.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1134
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4529 TERGUS PHARMA                                  1/12/2023        $               16,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4018 STIRRUP CREEK DRIVE                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DURHAM               NC          27703
             City                 State       ZIP Code



             Country


     3.4530 TEVA API INC -REMIT                            12/29/2022       $              576,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 412310                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-2310
             City                 State       ZIP Code



             Country


     3.4531 TEVA API INC -REMIT                            1/5/2023         $              341,775.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 412310                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-2310
             City                 State       ZIP Code



             Country


     3.4532 TEVA API INC -REMIT                            1/26/2023        $               51,750.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 412310                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-2310
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1135
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4533 TEVA API INC -REMIT                            1/26/2023        $               70,378.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 412310                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-2310
             City                 State       ZIP Code



             Country


     3.4534 TEVA API INC -REMIT                            2/13/2023        $              341,250.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 412310                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-2310
             City                 State       ZIP Code



             Country


     3.4535 TEVA API INC -REMIT                            2/13/2023        $              576,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 412310                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BOSTON               MA          02241-2310
             City                 State       ZIP Code



             Country


     3.4536 THE HARTFORD                                   12/30/2022       $                   70.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 660916                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75266-0916
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1136
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4537 THE HARTFORD                                   12/30/2022       $              548,245.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 660916                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75266-0916
             City                 State       ZIP Code



             Country


     3.4538 THE TRAINING CENTER GROUP LLC                  2/13/2023        $                6,048.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             113 MONMOUTH RD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1                                                                                                 Other

             WRIGHTSTOWN          NJ          08562
             City                 State       ZIP Code



             Country


     3.4539 THE TRAINING CENTER GROUP LLC                  2/13/2023        $                6,730.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             113 MONMOUTH RD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1                                                                                                 Other

             WRIGHTSTOWN          NJ          08562
             City                 State       ZIP Code



             Country


     3.4540 THE TRAINING CENTER GROUP LLC                  2/13/2023        $                9,744.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             113 MONMOUTH RD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1                                                                                                 Other

             WRIGHTSTOWN          NJ          08562
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1137
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4541 THE TRAINING CENTER GROUP LLC                  2/13/2023        $               25,627.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             113 MONMOUTH RD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1                                                                                                 Other

             WRIGHTSTOWN          NJ          08562
             City                 State       ZIP Code



             Country


     3.4542 THE TRAINING CENTER GROUP LLC                  2/13/2023        $               30,240.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             113 MONMOUTH RD                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

             SUITE 1                                                                                                 Other

             WRIGHTSTOWN          NJ          08562
             City                 State       ZIP Code



             Country


     3.4543 THERMO ELECTRON NA -REMIT                      12/8/2022        $                1,095.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 742775                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374-2775
             City                 State       ZIP Code



             Country


     3.4544 THERMO ELECTRON NA -REMIT                      12/8/2022        $                4,047.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 742775                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374-2775
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1138
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4545 THERMO ELECTRON NA -REMIT                      1/12/2023        $                  629.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 742775                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374-2775
             City                 State       ZIP Code



             Country


     3.4546 THERMO ELECTRON NA -REMIT                      1/12/2023        $                3,538.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 742775                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374-2775
             City                 State       ZIP Code



             Country


     3.4547 THERMO ELECTRON NA -REMIT                      1/12/2023        $                4,669.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 742775                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374-2775
             City                 State       ZIP Code



             Country


     3.4548 THERMO ELECTRON NA -REMIT                      1/31/2023        $                1,095.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 742775                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374-2775
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1139
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4549 THERMO ELECTRON NA -REMIT                      1/31/2023        $                3,203.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 742775                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30374-2775
             City                 State       ZIP Code



             Country


     3.4550 THORNTON WELDING                               11/29/2022       $                  828.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4350 RT 48 NORTH                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3155                                                                                             Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.4551 THORNTON WELDING                               12/8/2022        $                2,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4350 RT 48 NORTH                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3155                                                                                             Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


     3.4552 THORNTON WELDING                               1/19/2023        $                1,891.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4350 RT 48 NORTH                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3155                                                                                             Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1140
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4553 THORNTON WELDING                               1/19/2023        $                2,813.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4350 RT 48 NORTH                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 3155                                                                                             Other

             DECATUR              IL          62524
             City                 State       ZIP Code



             Country


            TIEFENBACHER API & INGREDIENTS -R&D                                                                      Secured debt
     3.4554 ONLY                                           1/19/2023        $                  764.50
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VAN-DER SMISSEN S-STRASSE 1-2                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAMBURG                          22767
             City                 State       ZIP Code

             GERMANY
             Country


            TIEFENBACHER API & INGREDIENTS -R&D                                                                      Secured debt
     3.4555 ONLY                                           1/19/2023        $                8,624.84
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VAN-DER SMISSEN S-STRASSE 1-2                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAMBURG                          22767
             City                 State       ZIP Code

             GERMANY
             Country


            TIEFENBACHER API & INGREDIENTS -R&D                                                                      Secured debt
     3.4556 ONLY                                           2/7/2023         $                1,996.19
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VAN-DER SMISSEN S-STRASSE 1-2                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAMBURG                          22767
             City                 State       ZIP Code

             GERMANY
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1141
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            TIEFENBACHER API & INGREDIENTS -R&D                                                                      Secured debt
     3.4557 ONLY                                           2/7/2023         $               44,854.24
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VAN-DER SMISSEN S-STRASSE 1-2                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAMBURG                          22767
             City                 State       ZIP Code

             GERMANY
             Country


            TIEFENBACHER API & INGREDIENTS -R&D                                                                      Secured debt
     3.4558 ONLY                                           2/14/2023        $                6,571.11
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VAN-DER SMISSEN S-STRASSE 1-2                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAMBURG                          22767
             City                 State       ZIP Code

             GERMANY
             Country


            TIEFENBACHER API & INGREDIENTS -R&D                                                                      Secured debt
     3.4559 ONLY                                           2/14/2023        $              150,615.03
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             VAN-DER SMISSEN S-STRASSE 1-2                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HAMBURG                          22767
             City                 State       ZIP Code

             GERMANY
             Country


     3.4560 TN-MEDICAID                                    12/22/2022       $                   35.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FFS DEPT 554 SUPP DEPT 6300                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1142
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4561 TN-MEDICAID                                    12/22/2022       $                   93.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FFS DEPT 554 SUPP DEPT 6300                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246
             City                 State       ZIP Code



             Country


     3.4562 TN-MEDICAID                                    12/22/2022       $              145,163.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             FFS DEPT 554 SUPP DEPT 6300                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 11407                                                                                            Other

             BIRMINGHAM           AL          35246
             City                 State       ZIP Code



             Country


     3.4563 TNR RESOURCES LLC                              12/8/2022        $                2,187.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1616 MULBERRY DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAKE VILLA           IL          60046
             City                 State       ZIP Code



             Country


     3.4564 TNR RESOURCES LLC                              12/8/2022        $                3,675.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1616 MULBERRY DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAKE VILLA           IL          60046
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1143
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4565 TNR RESOURCES LLC                              1/12/2023        $                  437.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1616 MULBERRY DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAKE VILLA           IL          60046
             City                 State       ZIP Code



             Country


     3.4566 TNR RESOURCES LLC                              1/12/2023        $                3,062.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1616 MULBERRY DRIVE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LAKE VILLA           IL          60046
             City                 State       ZIP Code



             Country


     3.4567 TORONTO RESEARCH CHEMICALS INC                 11/29/2022       $                1,158.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4568 TORONTO RESEARCH CHEMICALS INC                 12/8/2022        $                  175.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1144
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4569 TORONTO RESEARCH CHEMICALS INC                 12/8/2022        $                  759.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4570 TORONTO RESEARCH CHEMICALS INC                 12/22/2022       $                2,426.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4571 TORONTO RESEARCH CHEMICALS INC                 12/29/2022       $                2,655.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4572 TORONTO RESEARCH CHEMICALS INC                 1/6/2023         $                  983.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1145
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4573 TORONTO RESEARCH CHEMICALS INC                 1/19/2023        $                  488.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4574 TORONTO RESEARCH CHEMICALS INC                 1/19/2023        $                  818.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4575 TORONTO RESEARCH CHEMICALS INC                 1/31/2023        $                  588.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4576 TORONTO RESEARCH CHEMICALS INC                 1/31/2023        $                1,026.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1146
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4577 TORONTO RESEARCH CHEMICALS INC                 2/8/2023         $                  630.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             20 MARTIN ROSS AVE                                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             TORONTO              ON          M3J 2K8
             City                 State       ZIP Code

             CANADA
             Country


     3.4578 TPM LABORATORIES INC                           1/6/2023         $                6,873.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1165 MARLKRESS ROAD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             UNIT D                                                                                                  Other

             CHERRY HILL          NJ          08003
             City                 State       ZIP Code



             Country


     3.4579 TPM LABORATORIES INC                           1/12/2023        $                8,722.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1165 MARLKRESS ROAD                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

             UNIT D                                                                                                  Other

             CHERRY HILL          NJ          08003
             City                 State       ZIP Code



             Country


     3.4580 TSO GENERAL CORP                               11/29/2022       $                2,665.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             81 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1147
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4581 TSO GENERAL CORP                               11/29/2022       $                4,915.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             81 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.4582 TSO GENERAL CORP                               2/8/2023         $                  779.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             81 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.4583 TSO GENERAL CORP                               2/8/2023         $                  860.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             81 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country


     3.4584 TSO GENERAL CORP                               2/8/2023         $                  913.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             81 EMJAY BLVD                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRENTWOOD            NY          11717
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1148
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4585 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                1,977.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4586 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                1,982.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4587 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                2,860.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4588 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                2,875.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1149
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4589 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                2,961.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4590 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                2,963.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4591 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                2,971.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4592 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                2,971.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1150
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4593 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                2,974.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4594 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                4,910.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4595 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                4,977.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4596 TUCKER COMPANY WORLDWIDE INC                   11/29/2022       $                4,977.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1151
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4597 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                1,982.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4598 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                2,875.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4599 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                2,972.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4600 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                2,974.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1152
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4601 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                4,999.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4602 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                4,999.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4603 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                4,999.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4604 TUCKER COMPANY WORLDWIDE INC                   12/8/2022        $                4,999.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1153
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4605 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                1,966.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4606 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                1,966.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4607 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                1,973.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4608 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                1,978.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1154
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4609 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                1,981.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4610 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                1,981.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4611 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                1,982.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4612 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,830.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1155
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4613 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,851.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4614 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,872.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4615 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,872.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4616 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,875.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1156
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4617 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,940.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4618 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,942.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4619 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,955.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4620 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,957.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1157
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4621 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,963.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4622 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,969.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4623 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,969.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4624 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,971.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1158
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4625 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,972.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4626 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                2,974.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4627 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,910.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4628 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,963.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1159
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4629 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,963.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4630 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,963.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4631 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,994.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4632 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,994.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1160
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4633 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,994.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4634 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,994.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4635 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,999.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4636 TUCKER COMPANY WORLDWIDE INC                   1/12/2023        $                4,999.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1161
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4637 TUCKER COMPANY WORLDWIDE INC                   1/19/2023        $                2,806.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4638 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                1,950.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4639 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                1,957.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4640 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                2,785.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1162
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4641 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                2,905.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4642 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                2,909.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4643 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                2,911.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4644 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                2,923.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1163
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4645 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                2,923.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4646 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                2,925.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4647 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                4,866.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4648 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                4,866.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1164
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4649 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                4,897.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4650 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                4,897.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4651 TUCKER COMPANY WORLDWIDE INC                   1/26/2023        $                4,897.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4652 TUCKER COMPANY WORLDWIDE INC                   1/31/2023        $                1,948.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1165
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4653 TUCKER COMPANY WORLDWIDE INC                   1/31/2023        $                2,779.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4654 TUCKER COMPANY WORLDWIDE INC                   1/31/2023        $                2,907.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4655 TUCKER COMPANY WORLDWIDE INC                   1/31/2023        $                3,394.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4656 TUCKER COMPANY WORLDWIDE INC                   1/31/2023        $                4,857.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1166
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4657 TUCKER COMPANY WORLDWIDE INC                   2/8/2023         $                1,950.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4658 TUCKER COMPANY WORLDWIDE INC                   2/8/2023         $                2,785.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4659 TUCKER COMPANY WORLDWIDE INC                   2/8/2023         $                3,808.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4660 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                1,948.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1167
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4661 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,421.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4662 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,421.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4663 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,562.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4664 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,779.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1168
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4665 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,903.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4666 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,905.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4667 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,907.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4668 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,909.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1169
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4669 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                2,911.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4670 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                4,857.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4671 TUCKER COMPANY WORLDWIDE INC                   2/13/2023        $                4,866.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             56 N HADDON AVE                                                                                  5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             HADDONFIELD          NJ          08033
             City                 State       ZIP Code



             Country


     3.4672 TX-MCO                                         12/22/2022       $                (213.67)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470, PO BOX 149055                                                                           Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1170
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4673 TX-MCO                                         12/22/2022       $                (179.92)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470, PO BOX 149055                                                                           Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country


     3.4674 TX-MCO                                         12/22/2022       $                (115.22)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470, PO BOX 149055                                                                           Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country


     3.4675 TX-MCO                                         12/22/2022       $                   (8.28)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470, PO BOX 149055                                                                           Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country


     3.4676 TX-MCO                                         12/22/2022       $              418,743.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470, PO BOX 149055                                                                           Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1171
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4677 TX-MCO EFMAP                                   12/22/2022       $                   (0.58)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470                                                                                          Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country


     3.4678 TX-MCO EFMAP                                   12/22/2022       $                   (0.47)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470                                                                                          Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country


     3.4679 TX-MCO EFMAP                                   12/22/2022       $               34,706.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCT OPERATIONS DRUG REBATES                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN ARTS 1470                                                                                          Other

             AUSTIN               TX          78714
             City                 State       ZIP Code



             Country


     3.4680 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                  316.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1172
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4681 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                  494.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4682 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                  984.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4683 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                1,060.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4684 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                1,355.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1173
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4685 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                1,905.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4686 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                2,016.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4687 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                2,840.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4688 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                2,850.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1174
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4689 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                2,913.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4690 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                3,073.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4691 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                3,110.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4692 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                4,884.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1175
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4693 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                6,495.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4694 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                6,495.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4695 U S PHARMACOPEIAL -REMIT                       11/29/2022       $                8,318.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4696 U S PHARMACOPEIAL -REMIT                       12/8/2022        $               (7,650.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1176
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4697 U S PHARMACOPEIAL -REMIT                       12/8/2022        $                  830.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4698 U S PHARMACOPEIAL -REMIT                       12/8/2022        $                1,708.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4699 U S PHARMACOPEIAL -REMIT                       12/8/2022        $                1,880.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4700 U S PHARMACOPEIAL -REMIT                       12/8/2022        $                1,912.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1177
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4701 U S PHARMACOPEIAL -REMIT                       12/8/2022        $                2,525.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4702 U S PHARMACOPEIAL -REMIT                       12/15/2022       $                3,279.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4703 U S PHARMACOPEIAL -REMIT                       12/15/2022       $                7,650.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4704 U S PHARMACOPEIAL -REMIT                       12/15/2022       $               13,267.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1178
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4705 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                  352.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4706 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                  812.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4707 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                  881.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4708 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                1,060.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1179
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4709 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                2,650.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4710 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                2,650.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4711 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                2,896.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4712 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                3,012.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1180
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4713 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                4,606.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4714 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                5,546.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4715 U S PHARMACOPEIAL -REMIT                       12/29/2022       $                7,310.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4716 U S PHARMACOPEIAL -REMIT                       1/6/2023         $                  828.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1181
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4717 U S PHARMACOPEIAL -REMIT                       1/6/2023         $                1,060.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4718 U S PHARMACOPEIAL -REMIT                       1/6/2023         $                1,218.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4719 U S PHARMACOPEIAL -REMIT                       1/6/2023         $                7,032.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4720 U S PHARMACOPEIAL -REMIT                       1/12/2023        $                1,230.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1182
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4721 U S PHARMACOPEIAL -REMIT                       1/12/2023        $                1,301.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4722 U S PHARMACOPEIAL -REMIT                       1/12/2023        $                2,492.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4723 U S PHARMACOPEIAL -REMIT                       1/19/2023        $                1,325.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4724 U S PHARMACOPEIAL -REMIT                       1/19/2023        $                1,325.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1183
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4725 U S PHARMACOPEIAL -REMIT                       1/19/2023        $                1,905.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4726 U S PHARMACOPEIAL -REMIT                       1/19/2023        $                2,279.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4727 U S PHARMACOPEIAL -REMIT                       1/19/2023        $                2,765.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4728 U S PHARMACOPEIAL -REMIT                       1/19/2023        $                4,115.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1184
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4729 U S PHARMACOPEIAL -REMIT                       1/19/2023        $               11,163.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4730 U S PHARMACOPEIAL -REMIT                       1/26/2023        $                  838.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4731 U S PHARMACOPEIAL -REMIT                       1/26/2023        $                1,806.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4732 U S PHARMACOPEIAL -REMIT                       1/26/2023        $                3,130.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1185
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4733 U S PHARMACOPEIAL -REMIT                       1/26/2023        $                3,779.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4734 U S PHARMACOPEIAL -REMIT                       1/26/2023        $                5,602.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4735 U S PHARMACOPEIAL -REMIT                       1/31/2023        $                1,325.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4736 U S PHARMACOPEIAL -REMIT                       2/8/2023         $                1,724.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1186
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4737 U S PHARMACOPEIAL -REMIT                       2/8/2023         $                5,217.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4738 U S PHARMACOPEIAL -REMIT                       2/13/2023        $                  265.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4739 U S PHARMACOPEIAL -REMIT                       2/13/2023        $                1,554.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4740 U S PHARMACOPEIAL -REMIT                       2/13/2023        $                1,676.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1187
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4741 U S PHARMACOPEIAL -REMIT                       2/13/2023        $                2,900.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4742 U S PHARMACOPEIAL -REMIT                       2/13/2023        $                3,500.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4743 U S PHARMACOPEIAL -REMIT                       2/13/2023        $                4,270.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country


     3.4744 U S PHARMACOPEIAL -REMIT                       2/13/2023        $                7,538.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 21845                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10087-1845
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1188
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4745 UL VERIFICATION SERVICES INC                   11/29/2022       $               10,902.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             62045 COLLECTIONS CENTER DR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693-0620
             City                 State       ZIP Code



             Country


     3.4746 UL VERIFICATION SERVICES INC                   1/12/2023        $                4,010.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             62045 COLLECTIONS CENTER DR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693-0620
             City                 State       ZIP Code



             Country


     3.4747 UL VERIFICATION SERVICES INC                   1/19/2023        $                8,793.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             62045 COLLECTIONS CENTER DR                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693-0620
             City                 State       ZIP Code



             Country


     3.4748 ULINE -REMIT                                   11/29/2022       $                   63.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1189
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4749 ULINE -REMIT                                   11/29/2022       $                   93.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4750 ULINE -REMIT                                   11/29/2022       $                  115.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4751 ULINE -REMIT                                   11/29/2022       $                  124.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4752 ULINE -REMIT                                   11/29/2022       $                  183.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1190
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4753 ULINE -REMIT                                   11/29/2022       $                  212.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4754 ULINE -REMIT                                   11/29/2022       $                  302.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4755 ULINE -REMIT                                   11/29/2022       $                  379.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4756 ULINE -REMIT                                   11/29/2022       $                  481.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1191
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4757 ULINE -REMIT                                   11/29/2022       $                  569.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4758 ULINE -REMIT                                   11/29/2022       $                  646.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4759 ULINE -REMIT                                   11/29/2022       $                  961.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4760 ULINE -REMIT                                   11/29/2022       $                1,077.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1192
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4761 ULINE -REMIT                                   11/29/2022       $                1,175.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4762 ULINE -REMIT                                   11/29/2022       $                3,273.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4763 ULINE -REMIT                                   11/29/2022       $                3,612.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4764 ULINE -REMIT                                   11/29/2022       $                6,317.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1193
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4765 ULINE -REMIT                                   12/8/2022        $                (290.50)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4766 ULINE -REMIT                                   12/8/2022        $                (115.50)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4767 ULINE -REMIT                                   12/8/2022        $                   16.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4768 ULINE -REMIT                                   12/8/2022        $                  189.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1194
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4769 ULINE -REMIT                                   12/8/2022        $                  191.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4770 ULINE -REMIT                                   12/8/2022        $                  211.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4771 ULINE -REMIT                                   12/8/2022        $                  269.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4772 ULINE -REMIT                                   12/8/2022        $                  290.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1195
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4773 ULINE -REMIT                                   12/8/2022        $                  441.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4774 ULINE -REMIT                                   12/8/2022        $                  613.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4775 ULINE -REMIT                                   12/8/2022        $                9,668.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4776 ULINE -REMIT                                   1/12/2023        $                   37.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1196
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4777 ULINE -REMIT                                   1/12/2023        $                   57.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4778 ULINE -REMIT                                   1/12/2023        $                   70.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4779 ULINE -REMIT                                   1/12/2023        $                   78.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4780 ULINE -REMIT                                   1/12/2023        $                   99.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1197
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4781 ULINE -REMIT                                   1/12/2023        $                  112.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4782 ULINE -REMIT                                   1/12/2023        $                  115.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4783 ULINE -REMIT                                   1/12/2023        $                  122.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4784 ULINE -REMIT                                   1/12/2023        $                  122.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1198
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4785 ULINE -REMIT                                   1/12/2023        $                  124.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4786 ULINE -REMIT                                   1/12/2023        $                  158.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4787 ULINE -REMIT                                   1/12/2023        $                  192.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4788 ULINE -REMIT                                   1/12/2023        $                  218.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1199
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4789 ULINE -REMIT                                   1/12/2023        $                  227.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4790 ULINE -REMIT                                   1/12/2023        $                  311.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4791 ULINE -REMIT                                   1/12/2023        $                  325.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4792 ULINE -REMIT                                   1/12/2023        $                  431.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1200
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4793 ULINE -REMIT                                   1/12/2023        $                  493.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4794 ULINE -REMIT                                   1/12/2023        $                  561.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4795 ULINE -REMIT                                   1/12/2023        $                  573.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4796 ULINE -REMIT                                   1/12/2023        $                  823.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1201
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4797 ULINE -REMIT                                   1/12/2023        $                  965.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4798 ULINE -REMIT                                   1/12/2023        $                  995.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4799 ULINE -REMIT                                   1/12/2023        $                1,215.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4800 ULINE -REMIT                                   1/12/2023        $                2,020.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1202
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4801 ULINE -REMIT                                   1/12/2023        $                3,612.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4802 ULINE -REMIT                                   1/12/2023        $                9,716.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4803 ULINE -REMIT                                   1/31/2023        $                  163.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4804 ULINE -REMIT                                   1/31/2023        $                  189.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1203
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4805 ULINE -REMIT                                   1/31/2023        $                  214.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4806 ULINE -REMIT                                   1/31/2023        $                  380.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4807 ULINE -REMIT                                   1/31/2023        $                  549.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4808 ULINE -REMIT                                   1/31/2023        $                  573.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1204
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4809 ULINE -REMIT                                   1/31/2023        $                  680.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4810 ULINE -REMIT                                   1/31/2023        $                  757.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4811 ULINE -REMIT                                   1/31/2023        $                4,818.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4812 ULINE -REMIT                                   2/8/2023         $                  208.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1205
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4813 ULINE -REMIT                                   2/8/2023         $                  795.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4814 ULINE -REMIT                                   2/8/2023         $                2,123.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4815 ULINE -REMIT                                   2/13/2023        $                  180.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4816 ULINE -REMIT                                   2/13/2023        $                  250.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1206
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4817 ULINE -REMIT                                   2/13/2023        $                1,283.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ATTN A/R                                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 88741                                                                                            Other

             CHICAGO              IL          60680-1741
             City                 State       ZIP Code



             Country


     3.4818 UNITED COOLING & REFRIGERATION INC             11/29/2022       $                2,059.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country


     3.4819 UNITED COOLING & REFRIGERATION INC             1/19/2023        $                  869.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country


     3.4820 UNITED COOLING & REFRIGERATION INC             1/19/2023        $                2,059.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1207
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4821 UNITED COOLING & REFRIGERATION INC             1/19/2023        $               22,295.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country


     3.4822 UNITED COOLING & REFRIGERATION INC             1/26/2023        $                2,320.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country


     3.4823 UNITED COOLING & REFRIGERATION INC             2/13/2023        $                  356.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country


     3.4824 UNITED COOLING & REFRIGERATION INC             2/13/2023        $                  721.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1208
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4825 UNITED COOLING & REFRIGERATION INC             2/13/2023        $                2,059.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             397 HOPE AVE                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ROSELLE              NJ          07203
             City                 State       ZIP Code



             Country


     3.4826 UNITED HEALTHCARE MCO                          11/29/2022       $                 (44.96)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC UNITED HEALTHCARE MCO                                                                           Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.4827 UNITED HEALTHCARE MCO                          11/29/2022       $                 (12.51)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC UNITED HEALTHCARE MCO                                                                           Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.4828 UNITED HEALTHCARE MCO                          11/29/2022       $                   58.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC UNITED HEALTHCARE MCO                                                                           Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1209
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4829 UNITED HEALTHCARE MCO                          11/29/2022       $                  116.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC UNITED HEALTHCARE MCO                                                                           Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.4830 UNITED HEALTHCARE MCO                          11/29/2022       $               17,474.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC UNITED HEALTHCARE MCO                                                                           Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.4831 UNITED PARCEL SERVICE                          11/29/2022       $                  166.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4832 UNITED PARCEL SERVICE                          11/29/2022       $                  171.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1210
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4833 UNITED PARCEL SERVICE                          11/29/2022       $                  252.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4834 UNITED PARCEL SERVICE                          11/29/2022       $                  289.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4835 UNITED PARCEL SERVICE                          11/29/2022       $                  289.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4836 UNITED PARCEL SERVICE                          11/29/2022       $                  360.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1211
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4837 UNITED PARCEL SERVICE                          11/29/2022       $                  442.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4838 UNITED PARCEL SERVICE                          11/29/2022       $                  627.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4839 UNITED PARCEL SERVICE                          11/29/2022       $                  745.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4840 UNITED PARCEL SERVICE                          11/29/2022       $                  757.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1212
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4841 UNITED PARCEL SERVICE                          11/29/2022       $                1,091.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4842 UNITED PARCEL SERVICE                          11/29/2022       $                1,375.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4843 UNITED PARCEL SERVICE                          11/29/2022       $                7,011.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4844 UNITED PARCEL SERVICE                          11/29/2022       $               13,467.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1213
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4845 UNITED PARCEL SERVICE                          11/29/2022       $               19,180.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4846 UNITED PARCEL SERVICE                          11/29/2022       $               20,910.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4847 UNITED PARCEL SERVICE                          12/8/2022        $                  137.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4848 UNITED PARCEL SERVICE                          12/8/2022        $                  141.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1214
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4849 UNITED PARCEL SERVICE                          12/8/2022        $                  320.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4850 UNITED PARCEL SERVICE                          12/8/2022        $                  363.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4851 UNITED PARCEL SERVICE                          12/8/2022        $                  517.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4852 UNITED PARCEL SERVICE                          12/8/2022        $                1,674.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1215
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4853 UNITED PARCEL SERVICE                          12/8/2022        $                5,346.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4854 UNITED PARCEL SERVICE                          12/8/2022        $               14,080.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4855 UNITED PARCEL SERVICE                          12/22/2022       $                 (96.97)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4856 UNITED PARCEL SERVICE                          12/22/2022       $                   50.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1216
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4857 UNITED PARCEL SERVICE                          12/22/2022       $                  172.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4858 UNITED PARCEL SERVICE                          12/22/2022       $                  193.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4859 UNITED PARCEL SERVICE                          12/22/2022       $                  221.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4860 UNITED PARCEL SERVICE                          12/22/2022       $                  253.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1217
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4861 UNITED PARCEL SERVICE                          12/22/2022       $                  300.61                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4862 UNITED PARCEL SERVICE                          12/22/2022       $                  334.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4863 UNITED PARCEL SERVICE                          12/22/2022       $                  368.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4864 UNITED PARCEL SERVICE                          12/22/2022       $                  375.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1218
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4865 UNITED PARCEL SERVICE                          12/22/2022       $                  382.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4866 UNITED PARCEL SERVICE                          12/22/2022       $                  457.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4867 UNITED PARCEL SERVICE                          12/22/2022       $                  487.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4868 UNITED PARCEL SERVICE                          12/22/2022       $                  871.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1219
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4869 UNITED PARCEL SERVICE                          12/22/2022       $                  991.82                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4870 UNITED PARCEL SERVICE                          12/22/2022       $                1,090.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4871 UNITED PARCEL SERVICE                          12/22/2022       $                1,398.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4872 UNITED PARCEL SERVICE                          12/22/2022       $                1,522.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1220
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4873 UNITED PARCEL SERVICE                          12/22/2022       $                1,712.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4874 UNITED PARCEL SERVICE                          12/22/2022       $                4,147.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4875 UNITED PARCEL SERVICE                          12/22/2022       $                4,865.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4876 UNITED PARCEL SERVICE                          12/22/2022       $               15,732.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1221
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4877 UNITED PARCEL SERVICE                          12/22/2022       $               28,577.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4878 UNITED PARCEL SERVICE                          12/22/2022       $               30,079.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4879 UNITED PARCEL SERVICE                          12/29/2022       $                   46.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4880 UNITED PARCEL SERVICE                          12/29/2022       $                   58.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1222
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4881 UNITED PARCEL SERVICE                          12/29/2022       $                   73.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4882 UNITED PARCEL SERVICE                          12/29/2022       $                  209.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4883 UNITED PARCEL SERVICE                          12/29/2022       $                  393.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4884 UNITED PARCEL SERVICE                          12/29/2022       $                4,025.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1223
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4885 UNITED PARCEL SERVICE                          12/29/2022       $                4,030.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4886 UNITED PARCEL SERVICE                          12/29/2022       $               19,291.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4887 UNITED PARCEL SERVICE                          1/6/2023         $                   10.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4888 UNITED PARCEL SERVICE                          1/6/2023         $                   57.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1224
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4889 UNITED PARCEL SERVICE                          1/6/2023         $                  223.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4890 UNITED PARCEL SERVICE                          1/6/2023         $                  228.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4891 UNITED PARCEL SERVICE                          1/6/2023         $                  488.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4892 UNITED PARCEL SERVICE                          1/6/2023         $                  611.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1225
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4893 UNITED PARCEL SERVICE                          1/6/2023         $                  864.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4894 UNITED PARCEL SERVICE                          1/6/2023         $               24,081.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4895 UNITED PARCEL SERVICE                          1/6/2023         $               45,586.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4896 UNITED PARCEL SERVICE                          1/12/2023        $                   18.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1226
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4897 UNITED PARCEL SERVICE                          1/12/2023        $                   51.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4898 UNITED PARCEL SERVICE                          1/12/2023        $                  120.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4899 UNITED PARCEL SERVICE                          1/12/2023        $                  227.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4900 UNITED PARCEL SERVICE                          1/12/2023        $                  326.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1227
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4901 UNITED PARCEL SERVICE                          1/12/2023        $                  692.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4902 UNITED PARCEL SERVICE                          1/12/2023        $               10,054.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4903 UNITED PARCEL SERVICE                          1/12/2023        $               22,194.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4904 UNITED PARCEL SERVICE                          1/19/2023        $                   26.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1228
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4905 UNITED PARCEL SERVICE                          1/19/2023        $                   77.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4906 UNITED PARCEL SERVICE                          1/19/2023        $                  114.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4907 UNITED PARCEL SERVICE                          1/19/2023        $                  196.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4908 UNITED PARCEL SERVICE                          1/19/2023        $                  249.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1229
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4909 UNITED PARCEL SERVICE                          1/19/2023        $                  428.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4910 UNITED PARCEL SERVICE                          1/19/2023        $                2,000.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4911 UNITED PARCEL SERVICE                          1/19/2023        $               17,831.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4912 UNITED PARCEL SERVICE                          1/26/2023        $                   15.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1230
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4913 UNITED PARCEL SERVICE                          1/26/2023        $                   30.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4914 UNITED PARCEL SERVICE                          1/26/2023        $                  133.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4915 UNITED PARCEL SERVICE                          1/26/2023        $                  149.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4916 UNITED PARCEL SERVICE                          1/26/2023        $                  705.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1231
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4917 UNITED PARCEL SERVICE                          1/26/2023        $                1,224.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4918 UNITED PARCEL SERVICE                          1/26/2023        $                3,007.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4919 UNITED PARCEL SERVICE                          1/26/2023        $               18,257.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4920 UNITED PARCEL SERVICE                          2/8/2023         $                  150.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1232
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4921 UNITED PARCEL SERVICE                          2/8/2023         $                  175.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4922 UNITED PARCEL SERVICE                          2/8/2023         $                  222.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4923 UNITED PARCEL SERVICE                          2/8/2023         $                  252.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4924 UNITED PARCEL SERVICE                          2/8/2023         $                  298.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1233
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4925 UNITED PARCEL SERVICE                          2/8/2023         $                1,349.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4926 UNITED PARCEL SERVICE                          2/8/2023         $               22,420.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4927 UNITED PARCEL SERVICE                          2/13/2023        $                   62.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4928 UNITED PARCEL SERVICE                          2/13/2023        $                  185.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1234
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4929 UNITED PARCEL SERVICE                          2/13/2023        $                  296.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4930 UNITED PARCEL SERVICE                          2/13/2023        $                  419.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4931 UNITED PARCEL SERVICE                          2/13/2023        $                  856.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4932 UNITED PARCEL SERVICE                          2/13/2023        $                1,120.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1235
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4933 UNITED PARCEL SERVICE                          2/13/2023        $               18,594.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 809488                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60680-9488
             City                 State       ZIP Code



             Country


     3.4934 UNIVAR (BERKELEY) -REMIT                       11/29/2022       $                1,260.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13009 COLLECTIONS CTR DR                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4935 UNIVAR (BERKELEY) -REMIT                       11/29/2022       $                1,614.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13009 COLLECTIONS CTR DR                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4936 UNIVAR (BERKELEY) -REMIT                       11/29/2022       $                9,185.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13009 COLLECTIONS CTR DR                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1236
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4937 UNIVAR (BERKELEY) -REMIT                       1/12/2023        $                   70.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13009 COLLECTIONS CTR DR                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4938 UNIVAR (BERKELEY) -REMIT                       1/12/2023        $                1,635.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             13009 COLLECTIONS CTR DR                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.4939 UPS SUPPLY CHAIN SOLUTIONS INC                 11/29/2022       $                   19.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4940 UPS SUPPLY CHAIN SOLUTIONS INC                 12/8/2022        $                  321.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1237
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4941 UPS SUPPLY CHAIN SOLUTIONS INC                 12/8/2022        $                  944.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4942 UPS SUPPLY CHAIN SOLUTIONS INC                 12/8/2022        $               10,754.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4943 UPS SUPPLY CHAIN SOLUTIONS INC                 12/8/2022        $               41,650.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4944 UPS SUPPLY CHAIN SOLUTIONS INC                 12/15/2022       $                    1.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1238
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4945 UPS SUPPLY CHAIN SOLUTIONS INC                 12/15/2022       $               21,899.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4946 UPS SUPPLY CHAIN SOLUTIONS INC                 12/22/2022       $                    1.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4947 UPS SUPPLY CHAIN SOLUTIONS INC                 12/22/2022       $               20,497.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4948 UPS SUPPLY CHAIN SOLUTIONS INC                 12/22/2022       $               23,380.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1239
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4949 UPS SUPPLY CHAIN SOLUTIONS INC                 12/29/2022       $               43,649.08                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4950 UPS SUPPLY CHAIN SOLUTIONS INC                 1/6/2023         $               11,909.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4951 UPS SUPPLY CHAIN SOLUTIONS INC                 1/12/2023        $                   86.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4952 UPS SUPPLY CHAIN SOLUTIONS INC                 1/12/2023        $                2,774.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1240
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4953 UPS SUPPLY CHAIN SOLUTIONS INC                 1/12/2023        $               20,003.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4954 UPS SUPPLY CHAIN SOLUTIONS INC                 1/19/2023        $                4,620.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4955 UPS SUPPLY CHAIN SOLUTIONS INC                 1/19/2023        $               39,117.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4956 UPS SUPPLY CHAIN SOLUTIONS INC                 1/26/2023        $               12,309.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1241
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4957 UPS SUPPLY CHAIN SOLUTIONS INC                 1/26/2023        $               29,009.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4958 UPS SUPPLY CHAIN SOLUTIONS INC                 2/8/2023         $                   63.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4959 UPS SUPPLY CHAIN SOLUTIONS INC                 2/13/2023        $                  380.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4960 UPS SUPPLY CHAIN SOLUTIONS INC                 2/13/2023        $                2,246.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1242
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4961 UPS SUPPLY CHAIN SOLUTIONS INC                 2/13/2023        $               12,898.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4962 UPS SUPPLY CHAIN SOLUTIONS INC                 2/13/2023        $               21,514.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             28013 NETWORK PLACE                                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1280
             City                 State       ZIP Code



             Country


     3.4963 UT-MCOU OBRA                                   12/22/2022       $                 (10.32)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LB 413133                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             UTAH STATE TREASURER, PO BOX 35146                                                                      Other

             SEATTLE              WA          98124-5146
             City                 State       ZIP Code



             Country


     3.4964 UT-MCOU OBRA                                   12/22/2022       $                   (7.60)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LB 413133                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             UTAH STATE TREASURER, PO BOX 35146                                                                      Other

             SEATTLE              WA          98124-5146
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1243
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4965 UT-MCOU OBRA                                   12/22/2022       $                   33.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LB 413133                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             UTAH STATE TREASURER, PO BOX 35146                                                                      Other

             SEATTLE              WA          98124-5146
             City                 State       ZIP Code



             Country


     3.4966 UT-MCOU OBRA                                   12/22/2022       $                   83.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LB 413133                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             UTAH STATE TREASURER, PO BOX 35146                                                                      Other

             SEATTLE              WA          98124-5146
             City                 State       ZIP Code



             Country


     3.4967 UT-MCOU OBRA                                   12/22/2022       $                  697.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LB 413133                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             UTAH STATE TREASURER, PO BOX 35146                                                                      Other

             SEATTLE              WA          98124-5146
             City                 State       ZIP Code



             Country


     3.4968 UT-MCOU OBRA                                   12/22/2022       $               10,780.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             LB 413133                                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             UTAH STATE TREASURER, PO BOX 35146                                                                      Other

             SEATTLE              WA          98124-5146
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1244
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4969 VA-CCC PLUS MCO DRUG REBATE                    12/22/2022       $                    1.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 75991, ATTN CCC PLUS MCO DRUG
             REBATE                                                                                                  Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4970 VA-CCC PLUS MCO DRUG REBATE                    12/22/2022       $                    4.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 75991, ATTN CCC PLUS MCO DRUG
             REBATE                                                                                                  Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4971 VA-CCC PLUS MCO DRUG REBATE                    12/22/2022       $                   44.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 75991, ATTN CCC PLUS MCO DRUG
             REBATE                                                                                                  Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4972 VA-CCC PLUS MCO DRUG REBATE                    12/22/2022       $                   52.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 75991, ATTN CCC PLUS MCO DRUG
             REBATE                                                                                                  Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1245
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4973 VA-CCC PLUS MCO DRUG REBATE                    12/22/2022       $                  514.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 75991, ATTN CCC PLUS MCO DRUG
             REBATE                                                                                                  Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4974 VA-CCC PLUS MCO DRUG REBATE                    12/22/2022       $               19,992.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 75991, ATTN CCC PLUS MCO DRUG
             REBATE                                                                                                  Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4975 VAISALA INC                                    11/29/2022       $                  344.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 19486                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-9486
             City                 State       ZIP Code



             Country


     3.4976 VAISALA INC                                    11/29/2022       $                  622.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 19486                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-9486
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1246
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4977 VAISALA INC                                    1/12/2023        $                4,068.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 19486                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-9486
             City                 State       ZIP Code



             Country


     3.4978 VAISALA INC                                    1/12/2023        $               20,035.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 19486                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-9486
             City                 State       ZIP Code



             Country


     3.4979 VAISALA INC                                    2/13/2023        $                1,721.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT CH 19486                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PALATINE             IL          60055-9486
             City                 State       ZIP Code



             Country


     3.4980 VA-MEDALLION 4 EXPANSION REBATE                12/22/2022       $                   (1.33)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991                                                                                            Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1247
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4981 VA-MEDALLION 4 EXPANSION REBATE                12/22/2022       $                    0.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991                                                                                            Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4982 VA-MEDALLION 4 EXPANSION REBATE                12/22/2022       $                  149.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991                                                                                            Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4983 VA-MEDALLION 4 EXPANSION REBATE                12/22/2022       $                  347.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991                                                                                            Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4984 VA-MEDALLION 4 EXPANSION REBATE                12/22/2022       $               12,719.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991                                                                                            Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1248
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4985 VA-MEDALLION 4 MCO                             12/22/2022       $                    0.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991, ATTN MEDALLION 4 MCO                                                                      Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4986 VA-MEDALLION 4 MCO                             12/22/2022       $                    3.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991, ATTN MEDALLION 4 MCO                                                                      Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4987 VA-MEDALLION 4 MCO                             12/22/2022       $                  191.27                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991, ATTN MEDALLION 4 MCO                                                                      Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country


     3.4988 VA-MEDALLION 4 MCO                             12/22/2022       $               47,151.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DEPT OF MEDICAL ASST SVCS                                                                        5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 75991, ATTN MEDALLION 4 MCO                                                                      Other

             BALTIMORE            MD          75991-5991
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1249
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4989 VEEVA SYSTEMS INC                              11/29/2022       $                  825.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740434                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0434
             City                 State       ZIP Code



             Country


     3.4990 VEEVA SYSTEMS INC                              11/29/2022       $                2,475.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740434                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0434
             City                 State       ZIP Code



             Country


     3.4991 VEEVA SYSTEMS INC                              11/29/2022       $               11,760.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740434                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0434
             City                 State       ZIP Code



             Country


     3.4992 VEEVA SYSTEMS INC                              11/29/2022       $              578,004.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740434                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0434
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1250
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4993 VEEVA SYSTEMS INC                              1/6/2023         $                  825.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740434                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0434
             City                 State       ZIP Code



             Country


     3.4994 VEEVA SYSTEMS INC                              1/6/2023         $                2,475.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 740434                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOS ANGELES          CA          90074-0434
             City                 State       ZIP Code



             Country


     3.4995 VEOLIA ES TECHNICAL SOLUTIONS                  11/29/2022       $                6,518.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.4996 VEOLIA ES TECHNICAL SOLUTIONS                  11/29/2022       $                7,489.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1251
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.4997 VEOLIA ES TECHNICAL SOLUTIONS                  11/29/2022       $                7,713.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.4998 VEOLIA ES TECHNICAL SOLUTIONS                  11/29/2022       $                9,679.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.4999 VEOLIA ES TECHNICAL SOLUTIONS                  11/29/2022       $               12,565.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5000 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                2,083.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1252
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5001 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                2,869.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5002 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                2,903.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5003 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                3,012.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5004 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                3,098.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1253
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5005 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                3,158.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5006 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                3,297.48                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5007 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                3,343.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5008 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                3,360.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1254
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5009 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                3,463.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5010 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                4,111.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5011 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                4,224.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5012 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                4,849.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1255
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5013 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                5,047.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5014 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                5,327.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5015 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                5,534.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5016 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                6,074.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1256
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5017 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                6,189.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5018 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                8,154.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5019 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                8,319.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5020 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                8,369.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1257
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5021 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                8,632.99                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5022 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                8,729.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5023 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                8,857.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5024 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                9,151.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1258
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5025 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                9,474.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5026 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $                9,949.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5027 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               10,733.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5028 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               11,321.16                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1259
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5029 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               11,423.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5030 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               11,423.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5031 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               11,756.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5032 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               12,294.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1260
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5033 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               12,868.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5034 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               12,973.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5035 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               13,006.29                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5036 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $               22,809.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1261
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5037 VEOLIA ES TECHNICAL SOLUTIONS                  1/6/2023         $              105,859.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5038 VEOLIA ES TECHNICAL SOLUTIONS                  1/12/2023        $                6,707.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5039 VEOLIA ES TECHNICAL SOLUTIONS                  1/19/2023        $                3,387.70                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5040 VEOLIA ES TECHNICAL SOLUTIONS                  1/19/2023        $                4,414.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1262
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5041 VEOLIA ES TECHNICAL SOLUTIONS                  1/19/2023        $                4,606.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5042 VEOLIA ES TECHNICAL SOLUTIONS                  1/19/2023        $                8,885.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5043 VEOLIA ES TECHNICAL SOLUTIONS                  1/19/2023        $                9,541.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5044 VEOLIA ES TECHNICAL SOLUTIONS                  1/19/2023        $               14,167.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1263
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5045 VEOLIA ES TECHNICAL SOLUTIONS                  1/19/2023        $               17,947.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5046 VEOLIA ES TECHNICAL SOLUTIONS                  1/26/2023        $                3,911.75                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5047 VEOLIA ES TECHNICAL SOLUTIONS                  1/26/2023        $                7,981.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5048 VEOLIA ES TECHNICAL SOLUTIONS                  1/26/2023        $               11,521.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1264
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5049 VEOLIA ES TECHNICAL SOLUTIONS                  1/26/2023        $               11,668.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5050 VEOLIA ES TECHNICAL SOLUTIONS                  1/31/2023        $                8,119.43                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5051 VEOLIA ES TECHNICAL SOLUTIONS                  2/8/2023         $               20,022.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5052 VEOLIA ES TECHNICAL SOLUTIONS                  2/13/2023        $                6,544.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1265
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5053 VEOLIA ES TECHNICAL SOLUTIONS                  2/13/2023        $               11,469.66                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5054 VEOLIA ES TECHNICAL SOLUTIONS                  2/13/2023        $               18,675.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 73709                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-7709
             City                 State       ZIP Code



             Country


     3.5055 VERIZON WIRELESS                               11/29/2022       $               12,179.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 16810                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-6810
             City                 State       ZIP Code



             Country


     3.5056 VERIZON WIRELESS                               1/26/2023        $                6,377.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 16810                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-6810
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1266
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5057 VERIZON WIRELESS                               1/26/2023        $               11,313.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 16810                                                                                     5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEWARK               NJ          07101-6810
             City                 State       ZIP Code



             Country


     3.5058 VERONICA DEVELOPMENT ASSOCIATES LLC            12/6/2022        $               (7,056.95)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 NORTH BRIDGE STREET                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRIDGEPORT           NJ          08807
             City                 State       ZIP Code



             Country


     3.5059 VERONICA DEVELOPMENT ASSOCIATES LLC            12/6/2022        $               84,683.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 NORTH BRIDGE STREET                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRIDGEPORT           NJ          08807
             City                 State       ZIP Code



             Country


     3.5060 VERONICA DEVELOPMENT ASSOCIATES LLC            1/6/2023         $               84,683.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 NORTH BRIDGE STREET                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRIDGEPORT           NJ          08807
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1267
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5061 VERONICA DEVELOPMENT ASSOCIATES LLC            2/13/2023        $               84,683.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             400 NORTH BRIDGE STREET                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             BRIDGEPORT           NJ          08807
             City                 State       ZIP Code



             Country


     3.5062 VERTEX INC                                     1/12/2023        $               10,841.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             25528 NETWORK PL                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60673-1255
             City                 State       ZIP Code



             Country


     3.5063 VIDEOJET -REMIT                                1/12/2023        $                8,750.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12113 COLLECTION CENTER DRIVE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.5064 VIDEOJET -REMIT                                1/12/2023        $                8,750.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12113 COLLECTION CENTER DRIVE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1268
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5065 VIDEOJET -REMIT                                1/31/2023        $                1,464.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12113 COLLECTION CENTER DRIVE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.5066 VIDEOJET -REMIT                                1/31/2023        $                2,309.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12113 COLLECTION CENTER DRIVE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.5067 VIDEOJET -REMIT                                1/31/2023        $                3,042.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12113 COLLECTION CENTER DRIVE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country


     3.5068 VIDEOJET -REMIT                                2/13/2023        $                8,750.91                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             12113 COLLECTION CENTER DRIVE                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60693
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1269
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5069 VIZIENT SUPPLY (FORMER NOVATION)               11/29/2022       $                   14.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842175                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2175
             City                 State       ZIP Code



             Country


     3.5070 VIZIENT SUPPLY (FORMER NOVATION)               11/29/2022       $                  250.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842175                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2175
             City                 State       ZIP Code



             Country


     3.5071 VIZIENT SUPPLY (FORMER NOVATION)               11/29/2022       $                  303.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842175                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2175
             City                 State       ZIP Code



             Country


     3.5072 VIZIENT SUPPLY (FORMER NOVATION)               11/29/2022       $                  340.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842175                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2175
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1270
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5073 VIZIENT SUPPLY (FORMER NOVATION)               2/8/2023         $                2,354.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842175                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2175
             City                 State       ZIP Code



             Country


     3.5074 VIZIENT SUPPLY (FORMER NOVATION)               2/8/2023         $              105,055.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842175                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2175
             City                 State       ZIP Code



             Country


     3.5075 VIZIENT SUPPLY (FORMER NOVATION)               2/8/2023         $              191,075.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 842175                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75284-2175
             City                 State       ZIP Code



             Country


     3.5076 VT-MEDICAID                                    12/22/2022       $                 (59.24)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             STATE AGENCY OF HUMAN SVCS DVHA-AR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1335                                                                                             Other

             WILLISTON            VT          05495-1645
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1271
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5077 VT-MEDICAID                                    12/22/2022       $                8,790.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             STATE AGENCY OF HUMAN SVCS DVHA-AR                                                               5      Suppliers or vendors
             Street
                                                                                                                     Services

             PO BOX 1335                                                                                             Other

             WILLISTON            VT          05495-1645
             City                 State       ZIP Code



             Country


     3.5078 VWR INTERNATIONAL                              11/29/2022       $                  101.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5079 VWR INTERNATIONAL                              11/29/2022       $                  144.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5080 VWR INTERNATIONAL                              11/29/2022       $                  157.86                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1272
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5081 VWR INTERNATIONAL                              11/29/2022       $                  183.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5082 VWR INTERNATIONAL                              11/29/2022       $                  260.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5083 VWR INTERNATIONAL                              11/29/2022       $                  265.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5084 VWR INTERNATIONAL                              11/29/2022       $                  301.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1273
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5085 VWR INTERNATIONAL                              11/29/2022       $                  378.01                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5086 VWR INTERNATIONAL                              11/29/2022       $                1,060.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5087 VWR INTERNATIONAL                              11/29/2022       $                1,475.31                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5088 VWR INTERNATIONAL                              11/29/2022       $                1,748.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1274
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5089 VWR INTERNATIONAL                              11/29/2022       $                2,236.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5090 VWR INTERNATIONAL                              11/29/2022       $                2,617.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5091 VWR INTERNATIONAL                              11/29/2022       $                2,807.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5092 VWR INTERNATIONAL                              11/29/2022       $                4,835.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1275
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5093 VWR INTERNATIONAL                              12/8/2022        $                   55.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5094 VWR INTERNATIONAL                              12/8/2022        $                   76.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5095 VWR INTERNATIONAL                              12/8/2022        $                  299.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5096 VWR INTERNATIONAL                              12/8/2022        $                  705.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1276
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5097 VWR INTERNATIONAL                              12/8/2022        $                1,999.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5098 VWR INTERNATIONAL                              12/8/2022        $                2,694.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5099 VWR INTERNATIONAL                              12/8/2022        $                6,537.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5100 VWR INTERNATIONAL                              1/6/2023         $                   86.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1277
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5101 VWR INTERNATIONAL                              1/6/2023         $                  193.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5102 VWR INTERNATIONAL                              1/6/2023         $                  260.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5103 VWR INTERNATIONAL                              1/6/2023         $                  269.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5104 VWR INTERNATIONAL                              1/6/2023         $                  359.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1278
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5105 VWR INTERNATIONAL                              1/6/2023         $                  389.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5106 VWR INTERNATIONAL                              1/6/2023         $                  506.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5107 VWR INTERNATIONAL                              1/6/2023         $                  525.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5108 VWR INTERNATIONAL                              1/6/2023         $                  562.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1279
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5109 VWR INTERNATIONAL                              1/6/2023         $                  705.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5110 VWR INTERNATIONAL                              1/6/2023         $                  774.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5111 VWR INTERNATIONAL                              1/6/2023         $                  775.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5112 VWR INTERNATIONAL                              1/6/2023         $                  826.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1280
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5113 VWR INTERNATIONAL                              1/6/2023         $                  921.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5114 VWR INTERNATIONAL                              1/6/2023         $                1,031.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5115 VWR INTERNATIONAL                              1/6/2023         $                1,094.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5116 VWR INTERNATIONAL                              1/6/2023         $                1,162.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1281
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5117 VWR INTERNATIONAL                              1/6/2023         $                1,209.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5118 VWR INTERNATIONAL                              1/6/2023         $                1,454.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5119 VWR INTERNATIONAL                              1/6/2023         $                1,542.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5120 VWR INTERNATIONAL                              1/6/2023         $                1,700.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1282
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5121 VWR INTERNATIONAL                              1/6/2023         $                1,803.97                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5122 VWR INTERNATIONAL                              1/6/2023         $                2,184.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5123 VWR INTERNATIONAL                              1/6/2023         $                2,565.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5124 VWR INTERNATIONAL                              1/6/2023         $                6,214.33                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1283
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5125 VWR INTERNATIONAL                              1/6/2023         $               10,871.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5126 VWR INTERNATIONAL                              1/6/2023         $               10,871.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5127 VWR INTERNATIONAL                              1/6/2023         $               18,337.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5128 VWR INTERNATIONAL                              1/6/2023         $               18,337.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1284
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5129 VWR INTERNATIONAL                              1/12/2023        $                  128.88                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5130 VWR INTERNATIONAL                              1/12/2023        $                  132.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5131 VWR INTERNATIONAL                              1/12/2023        $                  310.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5132 VWR INTERNATIONAL                              1/12/2023        $                  379.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1285
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5133 VWR INTERNATIONAL                              1/12/2023        $                  398.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5134 VWR INTERNATIONAL                              1/12/2023        $                  491.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5135 VWR INTERNATIONAL                              1/12/2023        $                  585.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5136 VWR INTERNATIONAL                              1/12/2023        $                  874.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1286
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5137 VWR INTERNATIONAL                              1/12/2023        $                  952.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5138 VWR INTERNATIONAL                              1/12/2023        $                  971.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5139 VWR INTERNATIONAL                              1/12/2023        $                1,010.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5140 VWR INTERNATIONAL                              1/12/2023        $                2,849.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1287
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5141 VWR INTERNATIONAL                              1/26/2023        $                  141.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5142 VWR INTERNATIONAL                              1/26/2023        $                  152.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5143 VWR INTERNATIONAL                              1/26/2023        $                  178.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5144 VWR INTERNATIONAL                              1/26/2023        $                  388.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1288
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5145 VWR INTERNATIONAL                              1/26/2023        $                  406.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5146 VWR INTERNATIONAL                              1/26/2023        $                  552.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5147 VWR INTERNATIONAL                              1/26/2023        $                  803.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5148 VWR INTERNATIONAL                              1/26/2023        $                7,855.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1289
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5149 VWR INTERNATIONAL                              1/26/2023        $               10,298.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5150 VWR INTERNATIONAL                              1/26/2023        $               10,871.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5151 VWR INTERNATIONAL                              1/26/2023        $               18,337.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5152 VWR INTERNATIONAL                              1/31/2023        $                  168.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1290
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5153 VWR INTERNATIONAL                              1/31/2023        $                  202.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5154 VWR INTERNATIONAL                              1/31/2023        $                  270.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5155 VWR INTERNATIONAL                              1/31/2023        $                  274.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5156 VWR INTERNATIONAL                              1/31/2023        $                  312.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1291
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5157 VWR INTERNATIONAL                              1/31/2023        $                  678.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5158 VWR INTERNATIONAL                              2/8/2023         $                  185.05                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5159 VWR INTERNATIONAL                              2/8/2023         $                  436.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5160 VWR INTERNATIONAL                              2/8/2023         $                  719.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1292
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5161 VWR INTERNATIONAL                              2/8/2023         $                1,047.54                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5162 VWR INTERNATIONAL                              2/8/2023         $                2,917.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5163 VWR INTERNATIONAL                              2/13/2023        $                  199.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5164 VWR INTERNATIONAL                              2/13/2023        $                  387.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1293
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5165 VWR INTERNATIONAL                              2/13/2023        $                  522.02                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5166 VWR INTERNATIONAL                              2/13/2023        $                  532.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5167 VWR INTERNATIONAL                              2/13/2023        $                  941.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5168 VWR INTERNATIONAL                              2/13/2023        $                1,170.64                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1294
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5169 VWR INTERNATIONAL                              2/13/2023        $                2,390.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5170 VWR INTERNATIONAL                              2/13/2023        $                2,929.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P. O. BOX 640169                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15264-0169
             City                 State       ZIP Code



             Country


     3.5171 WALGREEN COMPANY                               11/29/2022       $                9,420.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 653039                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75265-3039
             City                 State       ZIP Code



             Country


     3.5172 WALGREEN COMPANY                               12/8/2022        $               39,409.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 653039                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75265-3039
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1295
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5173 WALGREEN COMPANY                               12/27/2022       $               11,107.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 653039                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75265-3039
             City                 State       ZIP Code



             Country


     3.5174 WALGREEN COMPANY                               1/12/2023        $                7,754.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 653039                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DALLAS               TX          75265-3039
             City                 State       ZIP Code



             Country


     3.5175 WALGREENS BOOTS ALLIANCE DEV GMBH              12/9/2022        $                    0.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCOUNTS PAYABLE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             UNTERMATTWEG 8                                                                                          Other

             BERNE                            CH-3027
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.5176 WALGREENS BOOTS ALLIANCE DEV GMBH              12/9/2022        $                1,695.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCOUNTS PAYABLE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             UNTERMATTWEG 8                                                                                          Other

             BERNE                            CH-3027
             City                 State       ZIP Code

             SWITZERLAND
             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1296
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5177 WALGREENS BOOTS ALLIANCE DEV GMBH              12/9/2022        $              259,758.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCOUNTS PAYABLE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             UNTERMATTWEG 8                                                                                          Other

             BERNE                            CH-3027
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.5178 WALGREENS BOOTS ALLIANCE DEV GMBH              12/27/2022       $                1,682.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCOUNTS PAYABLE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             UNTERMATTWEG 8                                                                                          Other

             BERNE                            CH-3027
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.5179 WALGREENS BOOTS ALLIANCE DEV GMBH              12/27/2022       $              245,418.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             ACCOUNTS PAYABLE                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             UNTERMATTWEG 8                                                                                          Other

             BERNE                            CH-3027
             City                 State       ZIP Code

             SWITZERLAND
             Country


     3.5180 WA-MCO                                         12/22/2022       $             (31,001.21)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9501                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OLYMPIA              WA          98507-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1297
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5181 WA-MCO                                         12/22/2022       $                 (19.75)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9501                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OLYMPIA              WA          98507-9501
             City                 State       ZIP Code



             Country


     3.5182 WA-MCO                                         12/22/2022       $                    0.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9501                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OLYMPIA              WA          98507-9501
             City                 State       ZIP Code



             Country


     3.5183 WA-MCO                                         12/22/2022       $                    9.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9501                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OLYMPIA              WA          98507-9501
             City                 State       ZIP Code



             Country


     3.5184 WA-MCO                                         12/22/2022       $                9,895.62                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9501                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OLYMPIA              WA          98507-9501
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1298
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5185 WA-MCO                                         12/22/2022       $               69,231.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9501                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             OLYMPIA              WA          98507-9501
             City                 State       ZIP Code



             Country


     3.5186 WAREHOUSE DIRECT                               12/8/2022        $                   32.38                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5187 WAREHOUSE DIRECT                               12/8/2022        $                   42.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5188 WAREHOUSE DIRECT                               12/8/2022        $                   56.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1299
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5189 WAREHOUSE DIRECT                               12/8/2022        $                   71.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5190 WAREHOUSE DIRECT                               12/8/2022        $                   88.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5191 WAREHOUSE DIRECT                               12/8/2022        $                   95.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5192 WAREHOUSE DIRECT                               12/8/2022        $                  108.12                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1300
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5193 WAREHOUSE DIRECT                               12/8/2022        $                  116.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5194 WAREHOUSE DIRECT                               12/8/2022        $                  176.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5195 WAREHOUSE DIRECT                               12/8/2022        $                  225.84                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5196 WAREHOUSE DIRECT                               12/8/2022        $                  269.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1301
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5197 WAREHOUSE DIRECT                               12/8/2022        $                  299.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5198 WAREHOUSE DIRECT                               12/8/2022        $                  341.87                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5199 WAREHOUSE DIRECT                               12/8/2022        $                  460.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5200 WAREHOUSE DIRECT                               12/8/2022        $                  615.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1302
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5201 WAREHOUSE DIRECT                               12/8/2022        $                  690.44                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5202 WAREHOUSE DIRECT                               12/8/2022        $                2,327.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5203 WAREHOUSE DIRECT                               2/15/2023        $                    6.68                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5204 WAREHOUSE DIRECT                               2/15/2023        $                    7.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1303
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5205 WAREHOUSE DIRECT                               2/15/2023        $                    8.42                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5206 WAREHOUSE DIRECT                               2/15/2023        $                   12.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5207 WAREHOUSE DIRECT                               2/15/2023        $                   13.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5208 WAREHOUSE DIRECT                               2/15/2023        $                   15.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1304
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5209 WAREHOUSE DIRECT                               2/15/2023        $                   16.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5210 WAREHOUSE DIRECT                               2/15/2023        $                   25.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5211 WAREHOUSE DIRECT                               2/15/2023        $                   28.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5212 WAREHOUSE DIRECT                               2/15/2023        $                   43.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1305
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5213 WAREHOUSE DIRECT                               2/15/2023        $                   43.96                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5214 WAREHOUSE DIRECT                               2/15/2023        $                   46.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5215 WAREHOUSE DIRECT                               2/15/2023        $                   52.67                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5216 WAREHOUSE DIRECT                               2/15/2023        $                   59.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1306
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5217 WAREHOUSE DIRECT                               2/15/2023        $                   65.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5218 WAREHOUSE DIRECT                               2/15/2023        $                   72.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5219 WAREHOUSE DIRECT                               2/15/2023        $                   79.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5220 WAREHOUSE DIRECT                               2/15/2023        $                   87.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1307
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5221 WAREHOUSE DIRECT                               2/15/2023        $                   88.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5222 WAREHOUSE DIRECT                               2/15/2023        $                   89.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5223 WAREHOUSE DIRECT                               2/15/2023        $                   97.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5224 WAREHOUSE DIRECT                               2/15/2023        $                   97.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1308
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5225 WAREHOUSE DIRECT                               2/15/2023        $                  104.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5226 WAREHOUSE DIRECT                               2/15/2023        $                  106.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5227 WAREHOUSE DIRECT                               2/15/2023        $                  106.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5228 WAREHOUSE DIRECT                               2/15/2023        $                  112.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1309
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5229 WAREHOUSE DIRECT                               2/15/2023        $                  115.19                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5230 WAREHOUSE DIRECT                               2/15/2023        $                  124.17                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5231 WAREHOUSE DIRECT                               2/15/2023        $                  125.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5232 WAREHOUSE DIRECT                               2/15/2023        $                  133.55                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1310
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5233 WAREHOUSE DIRECT                               2/15/2023        $                  143.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5234 WAREHOUSE DIRECT                               2/15/2023        $                  175.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5235 WAREHOUSE DIRECT                               2/15/2023        $                  192.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5236 WAREHOUSE DIRECT                               2/15/2023        $                  210.73                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1311
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5237 WAREHOUSE DIRECT                               2/15/2023        $                  216.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5238 WAREHOUSE DIRECT                               2/15/2023        $                  248.14                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5239 WAREHOUSE DIRECT                               2/15/2023        $                  270.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5240 WAREHOUSE DIRECT                               2/15/2023        $                  271.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1312
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5241 WAREHOUSE DIRECT                               2/15/2023        $                  285.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5242 WAREHOUSE DIRECT                               2/15/2023        $                  336.58                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5243 WAREHOUSE DIRECT                               2/15/2023        $                  368.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5244 WAREHOUSE DIRECT                               2/15/2023        $                  371.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1313
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5245 WAREHOUSE DIRECT                               2/15/2023        $                  396.23                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5246 WAREHOUSE DIRECT                               2/15/2023        $                  417.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5247 WAREHOUSE DIRECT                               2/15/2023        $                  427.06                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5248 WAREHOUSE DIRECT                               2/15/2023        $                  436.46                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1314
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5249 WAREHOUSE DIRECT                               2/15/2023        $                  439.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5250 WAREHOUSE DIRECT                               2/15/2023        $                  450.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5251 WAREHOUSE DIRECT                               2/15/2023        $                  471.79                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5252 WAREHOUSE DIRECT                               2/15/2023        $                  575.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1315
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5253 WAREHOUSE DIRECT                               2/15/2023        $                  588.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5254 WAREHOUSE DIRECT                               2/15/2023        $                  702.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5255 WAREHOUSE DIRECT                               2/15/2023        $                  714.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5256 WAREHOUSE DIRECT                               2/15/2023        $                  857.93                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1316
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5257 WAREHOUSE DIRECT                               2/15/2023        $                  918.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5258 WAREHOUSE DIRECT                               2/15/2023        $                  997.11                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5259 WAREHOUSE DIRECT                               2/15/2023        $                1,039.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5260 WAREHOUSE DIRECT                               2/15/2023        $                1,074.89                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1317
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5261 WAREHOUSE DIRECT                               2/15/2023        $                1,090.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5262 WAREHOUSE DIRECT                               2/15/2023        $                1,112.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5263 WAREHOUSE DIRECT                               2/15/2023        $                1,112.71                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5264 WAREHOUSE DIRECT                               2/15/2023        $                1,183.26                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1318
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5265 WAREHOUSE DIRECT                               2/15/2023        $                1,587.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5266 WAREHOUSE DIRECT                               2/15/2023        $                1,678.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5267 WAREHOUSE DIRECT                               2/15/2023        $                1,721.21                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2001 S MOUNT PROSPECT RD                                                                         5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DES PLAINES          IL          60018-1808
             City                 State       ZIP Code



             Country


     3.5268 WASTE MANAGEMENT                               12/8/2022        $                  138.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1319
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5269 WASTE MANAGEMENT                               12/29/2022       $                1,724.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5270 WASTE MANAGEMENT                               12/29/2022       $               19,306.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5271 WASTE MANAGEMENT                               12/29/2022       $               20,174.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5272 WASTE MANAGEMENT                               12/29/2022       $               21,417.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1320
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5273 WASTE MANAGEMENT                               12/29/2022       $               21,603.78                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5274 WASTE MANAGEMENT                               1/6/2023         $                  472.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5275 WASTE MANAGEMENT                               1/12/2023        $                  492.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5276 WASTE MANAGEMENT                               1/12/2023        $               21,417.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1321
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5277 WASTE MANAGEMENT                               1/19/2023        $                1,058.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5278 WASTE MANAGEMENT                               1/26/2023        $                1,666.57                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5279 WASTE MANAGEMENT                               2/8/2023         $                1,014.24                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5280 WASTE MANAGEMENT                               2/8/2023         $               19,052.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1322
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5281 WASTE MANAGEMENT                               2/13/2023        $                  522.94                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             P.O. BOX 4648                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CAROL STREAM         IL          60197-4648
             City                 State       ZIP Code



             Country


     3.5282 WATERS TECHNOLOGIES CORP -REMIT                11/29/2022       $                  603.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5283 WATERS TECHNOLOGIES CORP -REMIT                11/29/2022       $                  620.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5284 WATERS TECHNOLOGIES CORP -REMIT                11/29/2022       $                  780.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1323
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5285 WATERS TECHNOLOGIES CORP -REMIT                11/29/2022       $                3,678.52                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5286 WATERS TECHNOLOGIES CORP -REMIT                12/8/2022        $                1,366.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5287 WATERS TECHNOLOGIES CORP -REMIT                12/8/2022        $                4,722.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5288 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $               (2,250.00)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1324
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5289 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                  280.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5290 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                  583.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5291 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                  608.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5292 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                  683.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1325
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5293 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                  912.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5294 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                2,287.34                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5295 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                4,638.45                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5296 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $                7,839.65                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1326
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5297 WATERS TECHNOLOGIES CORP -REMIT                1/12/2023        $               18,765.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5298 WATERS TECHNOLOGIES CORP -REMIT                1/19/2023        $                3,829.25                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5299 WATERS TECHNOLOGIES CORP -REMIT                1/26/2023        $                  683.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7410591                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60674-0591
             City                 State       ZIP Code



             Country


     3.5300 WATSON-MARLOW -REMIT                           12/8/2022        $                2,815.07                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 536285                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15253-5904
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1327
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5301 WATSON-MARLOW -REMIT                           1/31/2023        $               22,365.56                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 536285                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PITTSBURGH           PA          15253-5904
             City                 State       ZIP Code



             Country


     3.5302 WELLCARE MCO                                   11/29/2022       $                    0.98                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC WELLCARE MCO                                                                                    Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.5303 WELLCARE MCO                                   11/29/2022       $                    4.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC WELLCARE MCO                                                                                    Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.5304 WELLCARE MCO                                   11/29/2022       $                  141.39                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC WELLCARE MCO                                                                                    Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1328
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5305 WELLCARE MCO                                   11/29/2022       $                  250.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC WELLCARE MCO                                                                                    Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.5306 WELLCARE MCO                                   11/29/2022       $               17,582.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 935889                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

             ATTN NC WELLCARE MCO                                                                                    Other

             ATLANTA              GA          31193-5889
             City                 State       ZIP Code



             Country


     3.5307 WEST PHARMA SERVICES                           11/29/2022       $             (29,102.98)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5308 WEST PHARMA SERVICES                           11/29/2022       $             (29,102.98)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1329
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5309 WEST PHARMA SERVICES                           11/29/2022       $               15,080.59                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5310 WEST PHARMA SERVICES                           11/29/2022       $               16,054.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5311 WEST PHARMA SERVICES                           11/29/2022       $               24,352.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5312 WEST PHARMA SERVICES                           11/29/2022       $               69,590.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1330
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5313 WEST PHARMA SERVICES                           12/8/2022        $               14,938.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5314 WEST PHARMA SERVICES                           12/29/2022       $                2,616.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5315 WEST PHARMA SERVICES                           12/29/2022       $                5,343.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5316 WEST PHARMA SERVICES                           12/29/2022       $               10,648.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1331
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5317 WEST PHARMA SERVICES                           12/29/2022       $               14,938.80                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5318 WEST PHARMA SERVICES                           12/29/2022       $               51,085.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5319 WEST PHARMA SERVICES                           12/29/2022       $               69,676.47                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5320 WEST PHARMA SERVICES                           1/6/2023         $                5,195.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1332
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5321 WEST PHARMA SERVICES                           1/6/2023         $               33,813.40                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5322 WEST PHARMA SERVICES                           1/12/2023        $               82,011.81                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5323 WEST PHARMA SERVICES                           1/26/2023        $               21,056.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5324 WEST PHARMA SERVICES                           1/31/2023        $                2,620.13                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1333
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5325 WEST PHARMA SERVICES                           1/31/2023        $               10,627.03                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5326 WEST PHARMA SERVICES                           1/31/2023        $               18,625.63                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5327 WEST PHARMA SERVICES                           1/31/2023        $               19,472.35                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5328 WEST PHARMA SERVICES                           2/8/2023         $               32,797.53                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1334
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5329 WEST PHARMA SERVICES                           2/8/2023         $               68,677.74                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5330 WEST PHARMA SERVICES                           2/8/2023         $              131,798.77                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5331 WEST PHARMA SERVICES                           2/13/2023        $               82,144.51                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             530 HERMAN O WEST DRIVE                                                                          5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             EXTON                PA          19341
             City                 State       ZIP Code



             Country


     3.5332 WESTCO FG CORPORATION                          1/12/2023        $                1,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1335
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5333 WESTCO FG CORPORATION                          1/12/2023        $                3,800.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country


     3.5334 WESTCO FG CORPORATION                          1/12/2023        $                4,886.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country


     3.5335 WESTCO FG CORPORATION                          1/12/2023        $               11,217.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country


     3.5336 WESTCO FG CORPORATION                          1/12/2023        $               12,750.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1336
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5337 WESTCO FG CORPORATION                          1/26/2023        $                1,200.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country


     3.5338 WESTCO FG CORPORATION                          1/26/2023        $                3,743.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country


     3.5339 WESTCO FG CORPORATION                          1/31/2023        $               14,486.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             101 CORTLANDT STREET                                                                             5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             SLEEPY HOLLOW        NY          10591
             City                 State       ZIP Code



             Country


     3.5340 WESTROCK -REMIT                                11/29/2022       $                4,562.04                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1337
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5341 WESTROCK -REMIT                                11/29/2022       $                5,048.10                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5342 WESTROCK -REMIT                                11/29/2022       $                6,510.37                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5343 WESTROCK -REMIT                                12/8/2022        $                3,258.60                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5344 WESTROCK -REMIT                                1/6/2023         $                1,936.95                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1338
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5345 WESTROCK -REMIT                                1/6/2023         $                6,517.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5346 WESTROCK -REMIT                                1/6/2023         $               10,572.30                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5347 WESTROCK -REMIT                                1/12/2023        $               18,750.83                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5348 WESTROCK -REMIT                                1/31/2023        $                6,690.92                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1339
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5349 WESTROCK -REMIT                                2/8/2023         $                2,137.15                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5350 WESTROCK -REMIT                                2/13/2023        $                6,517.20                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 409813                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             ATLANTA              GA          30384-9813
             City                 State       ZIP Code



             Country


     3.5351 WEX                                            2/23/2023        $               50,668.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             1700 E. Golf Rd.                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

             Suite 1000                                                                                              Other

             Schaumburg           IL          60173
             City                 State       ZIP Code



             Country


     3.5352 WILKENS-ANDERSON COMPANY                       1/12/2023        $                  111.90                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4525 WEST DIVISION ST                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60651
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1340
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5353 WILKENS-ANDERSON COMPANY                       1/12/2023        $                2,909.76                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4525 WEST DIVISION ST                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60651
             City                 State       ZIP Code



             Country


     3.5354 WILKENS-ANDERSON COMPANY                       1/12/2023        $                5,022.72                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4525 WEST DIVISION ST                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60651
             City                 State       ZIP Code



             Country


     3.5355 WILKENS-ANDERSON COMPANY                       1/12/2023        $               18,749.28                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4525 WEST DIVISION ST                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60651
             City                 State       ZIP Code



             Country


     3.5356 WILKENS-ANDERSON COMPANY                       2/8/2023         $                1,656.36                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             4525 WEST DIVISION ST                                                                            5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             CHICAGO              IL          60651
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1341
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5357 WILMERHALE                                     1/5/2023         $               13,231.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7247-8760                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19170-8760
             City                 State       ZIP Code



             Country


     3.5358 WILMERHALE                                     1/24/2023        $                3,735.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7247-8760                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19170-8760
             City                 State       ZIP Code



             Country


     3.5359 WILMERHALE                                     1/31/2023        $                2,555.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7247-8760                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19170-8760
             City                 State       ZIP Code



             Country


     3.5360 WILMERHALE                                     2/9/2023         $                9,276.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 7247-8760                                                                                 5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             PHILADELPHIA         PA          19170-8760
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1342
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5361 WILMINGTON SAVINGS FUND SOCIETY FSB            1/24/2023        $               25,000.00         5      Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             500 DELAWARE AVENUE                                                                                     Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WILMINGTON           DE          19801
             City                 State       ZIP Code



             Country


     3.5362 WI-MEDICAID                                    12/22/2022       $               (2,855.35)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTH CARE ACCESS &ACCTBLTY                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             DRUG REBATE PROGRAM, 313 BLETTNER
             BLVD                                                                                                    Other

             MADISON              WI          53784
             City                 State       ZIP Code



             Country


     3.5363 WI-MEDICAID                                    12/22/2022       $                   (8.11)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTH CARE ACCESS &ACCTBLTY                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             DRUG REBATE PROGRAM, 313 BLETTNER
             BLVD                                                                                                    Other

             MADISON              WI          53784
             City                 State       ZIP Code



             Country


     3.5364 WI-MEDICAID                                    12/22/2022       $                   (4.98)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTH CARE ACCESS &ACCTBLTY                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             DRUG REBATE PROGRAM, 313 BLETTNER
             BLVD                                                                                                    Other

             MADISON              WI          53784
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1343
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5365 WI-MEDICAID                                    12/22/2022       $                   (0.60)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTH CARE ACCESS &ACCTBLTY                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             DRUG REBATE PROGRAM, 313 BLETTNER
             BLVD                                                                                                    Other

             MADISON              WI          53784
             City                 State       ZIP Code



             Country


     3.5366 WI-MEDICAID                                    12/22/2022       $               57,331.49                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTH CARE ACCESS &ACCTBLTY                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             DRUG REBATE PROGRAM, 313 BLETTNER
             BLVD                                                                                                    Other

             MADISON              WI          53784
             City                 State       ZIP Code



             Country


     3.5367 WINDSTREAM DBA PAETEC                          12/29/2022       $               11,306.22                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9001013                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOUISVILLE           KY          40290-1013
             City                 State       ZIP Code



             Country


     3.5368 WINDSTREAM DBA PAETEC                          12/29/2022       $               11,769.41                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9001013                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOUISVILLE           KY          40290-1013
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1344
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5369 WINDSTREAM DBA PAETEC                          1/26/2023        $               12,055.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 9001013                                                                                   5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             LOUISVILLE           KY          40290-1013
             City                 State       ZIP Code



             Country


     3.5370 WINTERS BROS HAULING OF LI LLC                 11/29/2022       $                2,801.50                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5279                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10008-5279
             City                 State       ZIP Code



             Country


     3.5371 WINTERS BROS HAULING OF LI LLC                 1/6/2023         $                9,104.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5279                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10008-5279
             City                 State       ZIP Code



             Country


     3.5372 WINTERS BROS HAULING OF LI LLC                 1/19/2023        $                3,116.18                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5279                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10008-5279
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1345
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5373 WINTERS BROS HAULING OF LI LLC                 1/19/2023        $                8,357.85                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5279                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10008-5279
             City                 State       ZIP Code



             Country


     3.5374 WINTERS BROS HAULING OF LI LLC                 1/31/2023        $                2,632.32                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 5279                                                                                      5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             NEW YORK             NY          10008-5279
             City                 State       ZIP Code



             Country


     3.5375 WI-SENIORCARE MEDICAID                         12/22/2022       $                   (3.29)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTH CARE ACCESS &ACCTBLTY                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             DRUG REBATE PROGRAM, 313 BLETTNER
             BLVD                                                                                                    Other

             MADISON              WI          53784
             City                 State       ZIP Code



             Country


     3.5376 WI-SENIORCARE MEDICAID                         12/22/2022       $                8,635.69                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             DIV OF HEALTH CARE ACCESS &ACCTBLTY                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             DRUG REBATE PROGRAM, 313 BLETTNER
             BLVD                                                                                                    Other

             MADISON              WI          53784
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1346
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5377 WISSEN DIGITAL INC                             1/19/2023        $                3,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2325 PARKLAWN DR SUITE # G                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAUKESHA             WI          53186
             City                 State       ZIP Code



             Country


     3.5378 WISSEN DIGITAL INC                             1/19/2023        $                5,000.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2325 PARKLAWN DR SUITE # G                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAUKESHA             WI          53186
             City                 State       ZIP Code



             Country


     3.5379 WISSEN DIGITAL INC                             1/19/2023        $                6,457.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2325 PARKLAWN DR SUITE # G                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAUKESHA             WI          53186
             City                 State       ZIP Code



             Country


     3.5380 WISSEN DIGITAL INC                             1/19/2023        $               45,550.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             2325 PARKLAWN DR SUITE # G                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             WAUKESHA             WI          53186
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1347
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5381 (CATALENT)                                     11/29/2022       $                3,737.73
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5382 (CATALENT)                                     11/29/2022       $               27,974.52
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5383 (CATALENT)                                     11/29/2022       $               31,539.90
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5384 (CATALENT)                                     1/26/2023        $             (17,000.00)
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1348
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5385 (CATALENT)                                     1/26/2023        $               17,000.00
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5386 (CATALENT)                                     1/26/2023        $               18,885.35
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5387 (CATALENT)                                     1/26/2023        $               44,065.82
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5388 (CATALENT)                                     1/26/2023        $               53,508.49
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1349
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name
            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5389 (CATALENT)                                     1/26/2023        $               56,656.05
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5390 (CATALENT)                                     1/26/2023        $               56,656.05
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5391 (CATALENT)                                     1/31/2023        $               38,944.92
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country


            WOODSTOCK STERILE SOL -REMIT                                                                             Secured debt
     3.5392 (CATALENT)                                     1/31/2023        $               40,041.96
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 772585                                                                                    5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             DETROIT              MI          48277-2585
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1350
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):    23-10255

          Name

     3.5393 WV-MEDICAID                                    12/22/2022       $                 (40.65)                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PHYSICIAN ADMIN DRUG REBATE PROGRAM                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 40209, ATTN MEDICAID DRUG
             REBATE                                                                                                  Other

             CHARLESTON           WV          25364
             City                 State       ZIP Code



             Country


     3.5394 WV-MEDICAID                                    12/22/2022       $                   (0.13)               Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PHYSICIAN ADMIN DRUG REBATE PROGRAM                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 40209, ATTN MEDICAID DRUG
             REBATE                                                                                                  Other

             CHARLESTON           WV          25364
             City                 State       ZIP Code



             Country


     3.5395 WV-MEDICAID                                    12/22/2022       $               30,090.09                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PHYSICIAN ADMIN DRUG REBATE PROGRAM                                                              5      Suppliers or vendors
             Street
                                                                                                                     Services
             PO BOX 40209, ATTN MEDICAID DRUG
             REBATE                                                                                                  Other

             CHARLESTON           WV          25364
             City                 State       ZIP Code



             Country


     3.5396 ZATKOFF SEALS & PACKINGS                       2/13/2023        $               15,514.00                Secured debt
             Creditor's Name
                                                                                                                     Unsecured loan repayments

             PO BOX 486                                                                                       5      Suppliers or vendors
             Street
                                                                                                                     Services

                                                                                                                     Other

             FARMINGTON           MI          48332-0486
             City                 State       ZIP Code



             Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1351
Debtor:    Akorn Operating Company LLC                                                               Case number (if known):   23-10255

          Name

 4.          Payments or other transfers of property made within 1 year before filing this case that benefited any insider


             List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
             guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
             $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
             adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
             and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
             any managing agent of the debtor. 11 U.S.C. § 101(31).
                    None

             Insider's Name and Address                      Dates            Total amount or value           Reason for payment or transfer

          4.1 AKORN AG HETTLINGEN                            2/24/2022         $                (3,440.50)    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                        CH-8442
             City                  State       ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary


          4.2 AKORN AG HETTLINGEN                            2/24/2022         $                (2,496.53)    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                        CH-8442
             City                  State       ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary


          4.3 AKORN AG HETTLINGEN                            2/24/2022         $                  (769.49)    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                        CH-8442
             City                  State       ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         Page 1352
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

          4.4 AKORN AG HETTLINGEN                       2/24/2022        $               (761.10)    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                     CH-8442
             City                State      ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary


          4.5 AKORN AG HETTLINGEN                       2/24/2022        $                 169.57    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                     CH-8442
             City                State      ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary


          4.6 AKORN AG HETTLINGEN                       2/24/2022        $              17,534.38    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                     CH-8442
             City                State      ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1353
Debtor:    Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

          4.7 AKORN AG HETTLINGEN                       2/24/2022        $              43,036.38    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                     CH-8442
             City                State      ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary


          4.8 AKORN AG HETTLINGEN                       2/24/2022        $              81,329.23    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                     CH-8442
             City                State      ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary


          4.9 AKORN AG HETTLINGEN                       2/24/2022        $              81,642.44    Services/Purchase of Inventory
             Insider's Name


             RIETHOFSTRASSE 1
             Street




             HETTLINGEN                     CH-8442
             City                State      ZIP Code


             SWITZERLAND
             Country


             Relationship to Debtor

             Subsidiary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1354
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.10 AKORN AG HETTLINGEN                         2/24/2022        $              82,542.68    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.11 AKORN AG HETTLINGEN                         2/24/2022        $             308,138.88    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.12 AKORN AG HETTLINGEN                         2/24/2022        $             350,224.67    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1355
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.13 AKORN AG HETTLINGEN                         2/24/2022        $             369,060.42     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.14 AKORN AG HETTLINGEN                         3/3/2022         $             (80,836.86)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.15 AKORN AG HETTLINGEN                         3/3/2022         $               (751.82)     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1356
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.16 AKORN AG HETTLINGEN                         3/3/2022         $               (334.46)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.17 AKORN AG HETTLINGEN                         3/3/2022         $               (213.70)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.18 AKORN AG HETTLINGEN                         3/3/2022         $               (114.64)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1357
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.19 AKORN AG HETTLINGEN                         3/3/2022         $               (108.60)     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.20 AKORN AG HETTLINGEN                         3/3/2022         $                 (80.65)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.21 AKORN AG HETTLINGEN                         3/3/2022         $                 107.88     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1358
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.22 AKORN AG HETTLINGEN                         3/3/2022         $                 751.82    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.23 AKORN AG HETTLINGEN                         3/3/2022         $              69,390.48    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.24 AKORN AG HETTLINGEN                         3/3/2022         $              80,836.86    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1359
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.25 AKORN AG HETTLINGEN                         3/3/2022         $             122,500.31    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.26 AKORN AG HETTLINGEN                         3/3/2022         $             164,947.60    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.27 AKORN AG HETTLINGEN                         3/3/2022         $             174,109.24    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1360
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.28 AKORN AG HETTLINGEN                         3/3/2022         $             324,561.34     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.29 AKORN AG HETTLINGEN                         3/3/2022         $             507,973.56     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.30 AKORN AG HETTLINGEN                         3/7/2022         $            (310,521.97)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1361
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.31 AKORN AG HETTLINGEN                         3/7/2022         $            (120,099.07)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.32 AKORN AG HETTLINGEN                         3/7/2022         $                (849.91)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.33 AKORN AG HETTLINGEN                         3/7/2022         $                (202.49)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1362
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.34 AKORN AG HETTLINGEN                         3/7/2022         $                 202.49    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.35 AKORN AG HETTLINGEN                         3/7/2022         $                 849.91    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.36 AKORN AG HETTLINGEN                         3/7/2022         $             120,099.07    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1363
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.37 AKORN AG HETTLINGEN                         3/7/2022         $             310,521.97     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.38 AKORN AG HETTLINGEN                         3/16/2022        $             (80,599.18)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.39 AKORN AG HETTLINGEN                         3/16/2022        $              (1,063.29)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1364
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.40 AKORN AG HETTLINGEN                         3/16/2022        $               1,063.29     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.41 AKORN AG HETTLINGEN                         3/16/2022        $              80,599.18     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.42 AKORN AG HETTLINGEN                         3/24/2022        $             (33,860.70)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1365
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.43 AKORN AG HETTLINGEN                         3/24/2022        $           2,943,097.20    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.44 AKORN AG HETTLINGEN                         3/25/2022        $              17,708.22    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.45 AKORN AG HETTLINGEN                         3/25/2022        $              28,257.65    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1366
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.46 AKORN AG HETTLINGEN                         3/25/2022        $              81,063.03    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.47 AKORN AG HETTLINGEN                         3/31/2022        $               (217.16)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.48 AKORN AG HETTLINGEN                         3/31/2022        $                 102.10    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1367
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.49 AKORN AG HETTLINGEN                         3/31/2022        $                 228.95    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.50 AKORN AG HETTLINGEN                         3/31/2022        $                 286.25    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.51 AKORN AG HETTLINGEN                         3/31/2022        $                 995.76    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1368
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.52 AKORN AG HETTLINGEN                         3/31/2022        $               1,212.94    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.53 AKORN AG HETTLINGEN                         3/31/2022        $               1,791.22    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.54 AKORN AG HETTLINGEN                         3/31/2022        $               1,808.63    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1369
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.55 AKORN AG HETTLINGEN                         3/31/2022        $              21,666.49    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.56 AKORN AG HETTLINGEN                         3/31/2022        $              60,746.35    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.57 AKORN AG HETTLINGEN                         3/31/2022        $              83,197.75    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1370
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.58 AKORN AG HETTLINGEN                         3/31/2022        $             108,140.17    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.59 AKORN AG HETTLINGEN                         3/31/2022        $             211,313.48    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.60 AKORN AG HETTLINGEN                         3/31/2022        $             257,402.72    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1371
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.61 AKORN AG HETTLINGEN                         3/31/2022        $             380,118.85     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.62 AKORN AG HETTLINGEN                         3/31/2022        $             383,813.40     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.63 AKORN AG HETTLINGEN                         4/15/2022        $              (5,411.35)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1372
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.64 AKORN AG HETTLINGEN                         4/15/2022        $              (2,646.76)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.65 AKORN AG HETTLINGEN                         4/15/2022        $              (2,581.12)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.66 AKORN AG HETTLINGEN                         4/15/2022        $             176,577.39     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1373
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.67 AKORN AG HETTLINGEN                         4/15/2022        $             181,067.36     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.68 AKORN AG HETTLINGEN                         4/15/2022        $             477,741.11     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.69 AKORN AG HETTLINGEN                         4/18/2022        $             (79,337.44)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1374
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.70 AKORN AG HETTLINGEN                         4/18/2022        $                  (0.01)   Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.71 AKORN AG HETTLINGEN                         4/18/2022        $                   0.01    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.72 AKORN AG HETTLINGEN                         4/18/2022        $              79,337.44    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1375
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.73 AKORN AG HETTLINGEN                         4/21/2022        $            (103,345.20)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.74 AKORN AG HETTLINGEN                         4/21/2022        $              (4,660.69)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.75 AKORN AG HETTLINGEN                         4/21/2022        $              (3,844.48)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1376
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.76 AKORN AG HETTLINGEN                         4/21/2022        $              (3,440.99)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.77 AKORN AG HETTLINGEN                         4/21/2022        $              (3,234.56)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.78 AKORN AG HETTLINGEN                         4/21/2022        $              (3,143.86)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1377
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.79 AKORN AG HETTLINGEN                         4/21/2022        $              (2,194.69)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.80 AKORN AG HETTLINGEN                         4/21/2022        $              (1,634.38)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.81 AKORN AG HETTLINGEN                         4/21/2022        $             132,646.73     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1378
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.82 AKORN AG HETTLINGEN                         4/21/2022        $             144,098.47    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.83 AKORN AG HETTLINGEN                         4/21/2022        $             157,658.83    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.84 AKORN AG HETTLINGEN                         4/21/2022        $             191,131.18    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1379
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.85 AKORN AG HETTLINGEN                         4/21/2022        $             193,499.74    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.86 AKORN AG HETTLINGEN                         4/21/2022        $             277,184.92    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.87 AKORN AG HETTLINGEN                         4/21/2022        $             303,382.96    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1380
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

      4.88 AKORN AG HETTLINGEN                         4/21/2022        $           2,943,097.20    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.89 AKORN AG HETTLINGEN                         4/28/2022        $               2,760.00    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.90 AKORN AG HETTLINGEN                         4/28/2022        $              18,348.13    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1381
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.91 AKORN AG HETTLINGEN                         4/28/2022        $              73,575.96     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.92 AKORN AG HETTLINGEN                         4/28/2022        $           1,067,054.91     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.93 AKORN AG HETTLINGEN                         5/12/2022        $             (31,164.19)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1382
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.94 AKORN AG HETTLINGEN                         5/12/2022        $              (2,106.66)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.95 AKORN AG HETTLINGEN                         5/12/2022        $              37,968.25     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.96 AKORN AG HETTLINGEN                         5/12/2022        $             561,672.38     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1383
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

      4.97 AKORN AG HETTLINGEN                         5/18/2022        $             (63,279.39)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.98 AKORN AG HETTLINGEN                         5/18/2022        $           1,266,523.61     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


      4.99 AKORN AG HETTLINGEN                         5/19/2022        $             (31,082.58)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1384
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.100 AKORN AG HETTLINGEN                         5/19/2022        $              (7,664.01)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.101 AKORN AG HETTLINGEN                         5/19/2022        $             350,653.93     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.102 AKORN AG HETTLINGEN                         5/19/2022        $             721,591.10     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1385
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.103 AKORN AG HETTLINGEN                         5/26/2022        $              30,275.52    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.104 AKORN AG HETTLINGEN                         5/26/2022        $             108,187.91    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.105 AKORN AG HETTLINGEN                         5/26/2022        $             122,644.23    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1386
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.106 AKORN AG HETTLINGEN                         5/27/2022        $              (1,118.32)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.107 AKORN AG HETTLINGEN                         5/27/2022        $               (826.98)     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.108 AKORN AG HETTLINGEN                         5/27/2022        $                  (0.50)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1387
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.109 AKORN AG HETTLINGEN                         5/27/2022        $                 101.28    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.110 AKORN AG HETTLINGEN                         5/27/2022        $             165,652.50    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.111 AKORN AG HETTLINGEN                         5/27/2022        $             224,010.29    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1388
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.112 AKORN AG HETTLINGEN                         6/2/2022         $              (5,228.74)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.113 AKORN AG HETTLINGEN                         6/2/2022         $              (2,952.98)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.114 AKORN AG HETTLINGEN                         6/2/2022         $              (1,747.61)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1389
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.115 AKORN AG HETTLINGEN                         6/2/2022         $               (907.54)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.116 AKORN AG HETTLINGEN                         6/2/2022         $               (801.17)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.117 AKORN AG HETTLINGEN                         6/2/2022         $              86,826.36    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1390
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.118 AKORN AG HETTLINGEN                         6/2/2022         $              98,354.04    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.119 AKORN AG HETTLINGEN                         6/2/2022         $             189,396.16    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.120 AKORN AG HETTLINGEN                         6/2/2022         $             320,028.17    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1391
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.121 AKORN AG HETTLINGEN                         6/2/2022         $             566,661.81     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.122 AKORN AG HETTLINGEN                         6/9/2022         $              (4,110.99)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.123 AKORN AG HETTLINGEN                         6/9/2022         $              (3,103.93)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1392
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.124 AKORN AG HETTLINGEN                         6/9/2022         $               (740.16)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.125 AKORN AG HETTLINGEN                         6/9/2022         $               2,029.80    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.126 AKORN AG HETTLINGEN                         6/9/2022         $               4,931.08    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1393
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.127 AKORN AG HETTLINGEN                         6/9/2022         $              50,152.50    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.128 AKORN AG HETTLINGEN                         6/9/2022         $              88,037.34    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.129 AKORN AG HETTLINGEN                         6/9/2022         $             210,320.00    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1394
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.130 AKORN AG HETTLINGEN                         6/9/2022         $             213,873.15    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.131 AKORN AG HETTLINGEN                         6/9/2022         $             278,557.99    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.132 AKORN AG HETTLINGEN                         6/16/2022        $               1,484.04    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1395
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.133 AKORN AG HETTLINGEN                         6/16/2022        $               2,109.94    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.134 AKORN AG HETTLINGEN                         6/16/2022        $               4,228.41    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.135 AKORN AG HETTLINGEN                         6/16/2022        $              38,937.43    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1396
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.136 AKORN AG HETTLINGEN                         6/16/2022        $              55,359.29    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.137 AKORN AG HETTLINGEN                         6/16/2022        $             110,942.46    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.138 AKORN AG HETTLINGEN                         6/23/2022        $               5,128.44    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1397
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.139 AKORN AG HETTLINGEN                         6/23/2022        $               6,483.72    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.140 AKORN AG HETTLINGEN                         6/23/2022        $               7,458.23    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.141 AKORN AG HETTLINGEN                         6/23/2022        $               9,733.49    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1398
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.142 AKORN AG HETTLINGEN                         6/23/2022        $              13,147.57    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.143 AKORN AG HETTLINGEN                         6/23/2022        $              13,195.98    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.144 AKORN AG HETTLINGEN                         6/23/2022        $             137,246.63    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1399
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.145 AKORN AG HETTLINGEN                         6/23/2022        $             173,516.43    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.146 AKORN AG HETTLINGEN                         6/23/2022        $             185,899.54    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.147 AKORN AG HETTLINGEN                         6/23/2022        $             242,611.59    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1400
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.148 AKORN AG HETTLINGEN                         6/23/2022        $             351,853.63    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.149 AKORN AG HETTLINGEN                         6/23/2022        $             353,149.06    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.150 AKORN AG HETTLINGEN                         7/6/2022         $               4,882.58    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1401
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.151 AKORN AG HETTLINGEN                         7/6/2022         $              17,322.61    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.152 AKORN AG HETTLINGEN                         7/6/2022         $              19,511.35    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.153 AKORN AG HETTLINGEN                         7/6/2022         $              37,255.79    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1402
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.154 AKORN AG HETTLINGEN                         7/6/2022         $              95,621.99    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.155 AKORN AG HETTLINGEN                         7/6/2022         $             176,866.70    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.156 AKORN AG HETTLINGEN                         7/6/2022         $             706,779.44    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1403
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.157 AKORN AG HETTLINGEN                         8/1/2022         $              15,897.92    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.158 AKORN AG HETTLINGEN                         8/1/2022         $              16,500.97    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.159 AKORN AG HETTLINGEN                         8/1/2022         $              93,859.29    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1404
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.160 AKORN AG HETTLINGEN                         8/2/2022         $              14,773.94    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.161 AKORN AG HETTLINGEN                         8/2/2022         $              17,132.92    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.162 AKORN AG HETTLINGEN                         8/2/2022         $             261,178.68    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1405
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.163 AKORN AG HETTLINGEN                         8/2/2022         $             545,755.67    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.164 AKORN AG HETTLINGEN                         8/4/2022         $                 167.64    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.165 AKORN AG HETTLINGEN                         8/4/2022         $                 265.22    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1406
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.166 AKORN AG HETTLINGEN                         8/4/2022         $               2,084.37    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.167 AKORN AG HETTLINGEN                         8/4/2022         $               2,197.08    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.168 AKORN AG HETTLINGEN                         8/4/2022         $               2,351.46    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1407
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.169 AKORN AG HETTLINGEN                         8/4/2022         $               2,917.31    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.170 AKORN AG HETTLINGEN                         8/4/2022         $              28,349.91    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.171 AKORN AG HETTLINGEN                         8/4/2022         $             171,668.59    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1408
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.172 AKORN AG HETTLINGEN                         8/4/2022         $             180,951.32    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.173 AKORN AG HETTLINGEN                         8/4/2022         $             215,169.25    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.174 AKORN AG HETTLINGEN                         8/4/2022         $             244,702.87    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1409
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.175 AKORN AG HETTLINGEN                         8/4/2022         $             266,947.41    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.176 AKORN AG HETTLINGEN                         8/11/2022        $              15,933.86    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.177 AKORN AG HETTLINGEN                         8/11/2022        $             538,587.21    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1410
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.178 AKORN AG HETTLINGEN                         8/18/2022        $               2,977.29    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.179 AKORN AG HETTLINGEN                         8/18/2022        $              16,200.76    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.180 AKORN AG HETTLINGEN                         8/18/2022        $             176,916.21    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1411
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.181 AKORN AG HETTLINGEN                         8/18/2022        $             733,347.00    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.182 AKORN AG HETTLINGEN                         8/23/2022        $               (262.88)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.183 AKORN AG HETTLINGEN                         8/23/2022        $                 875.03    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1412
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.184 AKORN AG HETTLINGEN                         8/23/2022        $               1,282.98    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.185 AKORN AG HETTLINGEN                         8/23/2022        $               1,721.34    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.186 AKORN AG HETTLINGEN                         8/23/2022        $               1,918.84    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1413
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.187 AKORN AG HETTLINGEN                         8/23/2022        $               8,653.48    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.188 AKORN AG HETTLINGEN                         8/23/2022        $              10,325.04    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.189 AKORN AG HETTLINGEN                         8/23/2022        $              18,069.77    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1414
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.190 AKORN AG HETTLINGEN                         8/23/2022        $              60,688.90    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.191 AKORN AG HETTLINGEN                         8/23/2022        $             124,317.03    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.192 AKORN AG HETTLINGEN                         8/23/2022        $             182,273.63    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1415
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.193 AKORN AG HETTLINGEN                         8/23/2022        $             244,552.10    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.194 AKORN AG HETTLINGEN                         8/23/2022        $             273,690.95    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.195 AKORN AG HETTLINGEN                         8/23/2022        $             326,558.68    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1416
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.196 AKORN AG HETTLINGEN                         8/23/2022        $             571,508.02    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.197 AKORN AG HETTLINGEN                         8/23/2022        $             733,202.19    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.198 AKORN AG HETTLINGEN                         8/25/2022        $               3,101.35    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1417
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.199 AKORN AG HETTLINGEN                         8/25/2022        $              17,247.15    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.200 AKORN AG HETTLINGEN                         8/25/2022        $              85,442.78    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.201 AKORN AG HETTLINGEN                         9/15/2022        $                  (6.83)   Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1418
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.202 AKORN AG HETTLINGEN                         9/15/2022        $               1,315.26    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.203 AKORN AG HETTLINGEN                         9/15/2022        $               1,784.37    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.204 AKORN AG HETTLINGEN                         9/15/2022        $             154,700.56    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1419
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.205 AKORN AG HETTLINGEN                         9/22/2022        $             (19,693.44)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.206 AKORN AG HETTLINGEN                         9/22/2022        $              (7,254.95)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.207 AKORN AG HETTLINGEN                         9/22/2022        $              (3,966.62)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1420
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.208 AKORN AG HETTLINGEN                         9/22/2022        $              (3,905.34)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.209 AKORN AG HETTLINGEN                         9/22/2022        $              (3,656.88)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.210 AKORN AG HETTLINGEN                         9/22/2022        $              (1,045.61)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1421
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.211 AKORN AG HETTLINGEN                         9/22/2022        $               2,732.12    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.212 AKORN AG HETTLINGEN                         9/22/2022        $              19,486.23    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.213 AKORN AG HETTLINGEN                         9/22/2022        $              48,988.43    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1422
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.214 AKORN AG HETTLINGEN                         9/22/2022        $              83,987.91    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.215 AKORN AG HETTLINGEN                         9/22/2022        $             171,330.26    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.216 AKORN AG HETTLINGEN                         9/22/2022        $             181,710.47    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1423
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.217 AKORN AG HETTLINGEN                         9/22/2022        $             182,970.84    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.218 AKORN AG HETTLINGEN                         9/22/2022        $             682,474.44    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.219 AKORN AG HETTLINGEN                         9/22/2022        $             902,154.60    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1424
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.220 AKORN AG HETTLINGEN                         9/29/2022        $              (5,038.17)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.221 AKORN AG HETTLINGEN                         9/29/2022        $                 (17.50)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.222 AKORN AG HETTLINGEN                         9/29/2022        $                 954.62     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1425
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.223 AKORN AG HETTLINGEN                         9/29/2022        $             274,931.48    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.224 AKORN AG HETTLINGEN                         10/6/2022        $                  14.96    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.225 AKORN AG HETTLINGEN                         10/6/2022        $                  25.30    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1426
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.226 AKORN AG HETTLINGEN                         10/6/2022        $                 527.74    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.227 AKORN AG HETTLINGEN                         10/6/2022        $                 921.97    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.228 AKORN AG HETTLINGEN                         10/6/2022        $               1,891.80    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1427
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.229 AKORN AG HETTLINGEN                         10/6/2022        $               1,917.90    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.230 AKORN AG HETTLINGEN                         10/6/2022        $               2,774.59    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.231 AKORN AG HETTLINGEN                         10/6/2022        $               4,692.98    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1428
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.232 AKORN AG HETTLINGEN                         10/6/2022        $              97,895.35    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.233 AKORN AG HETTLINGEN                         10/6/2022        $             171,025.32    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.234 AKORN AG HETTLINGEN                         10/6/2022        $             350,928.53    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1429
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.235 AKORN AG HETTLINGEN                         10/6/2022        $             355,770.14     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.236 AKORN AG HETTLINGEN                         10/13/2022       $              (6,850.07)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.237 AKORN AG HETTLINGEN                         10/13/2022       $              (2,583.20)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1430
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.238 AKORN AG HETTLINGEN                         10/13/2022       $              (2,316.64)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.239 AKORN AG HETTLINGEN                         10/13/2022       $              (1,148.11)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.240 AKORN AG HETTLINGEN                         10/13/2022       $             173,251.37     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1431
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.241 AKORN AG HETTLINGEN                         10/13/2022       $             349,583.64    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.242 AKORN AG HETTLINGEN                         10/13/2022       $             389,808.04    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.243 AKORN AG HETTLINGEN                         10/13/2022       $           1,033,681.84    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1432
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.244 AKORN AG HETTLINGEN                         10/27/2022       $               6,914.82    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.245 AKORN AG HETTLINGEN                         10/27/2022       $              17,008.43    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.246 AKORN AG HETTLINGEN                         10/27/2022       $             233,536.59    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1433
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.247 AKORN AG HETTLINGEN                         11/10/2022       $                 167.56    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.248 AKORN AG HETTLINGEN                         11/10/2022       $               1,261.97    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.249 AKORN AG HETTLINGEN                         11/10/2022       $               2,960.74    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1434
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.250 AKORN AG HETTLINGEN                         11/10/2022       $               4,423.47    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.251 AKORN AG HETTLINGEN                         11/10/2022       $               6,231.83    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.252 AKORN AG HETTLINGEN                         11/10/2022       $               6,679.82    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1435
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.253 AKORN AG HETTLINGEN                         11/10/2022       $               8,181.61    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.254 AKORN AG HETTLINGEN                         11/10/2022       $              19,847.14    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.255 AKORN AG HETTLINGEN                         11/10/2022       $              33,315.96    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1436
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.256 AKORN AG HETTLINGEN                         11/10/2022       $              78,163.32    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.257 AKORN AG HETTLINGEN                         11/10/2022       $             164,519.77    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.258 AKORN AG HETTLINGEN                         11/10/2022       $             176,346.64    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1437
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.259 AKORN AG HETTLINGEN                         11/10/2022       $             215,993.72     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.260 AKORN AG HETTLINGEN                         11/10/2022       $             523,962.78     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.261 AKORN AG HETTLINGEN                         11/17/2022       $              (6,575.14)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1438
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.262 AKORN AG HETTLINGEN                         11/17/2022       $              (1,569.14)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.263 AKORN AG HETTLINGEN                         11/17/2022       $              (1,139.08)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.264 AKORN AG HETTLINGEN                         11/17/2022       $               (485.08)     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1439
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.265 AKORN AG HETTLINGEN                         11/17/2022       $               (418.03)     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.266 AKORN AG HETTLINGEN                         11/17/2022       $               (286.02)     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.267 AKORN AG HETTLINGEN                         11/17/2022       $                 (34.33)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1440
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.268 AKORN AG HETTLINGEN                         11/17/2022       $               4,238.53    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.269 AKORN AG HETTLINGEN                         11/17/2022       $              13,195.17    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.270 AKORN AG HETTLINGEN                         11/17/2022       $              35,316.53    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1441
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.271 AKORN AG HETTLINGEN                         11/17/2022       $              51,616.33    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.272 AKORN AG HETTLINGEN                         11/17/2022       $              59,895.77    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.273 AKORN AG HETTLINGEN                         11/17/2022       $             140,648.86    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1442
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.274 AKORN AG HETTLINGEN                         11/17/2022       $             193,750.43    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.275 AKORN AG HETTLINGEN                         11/17/2022       $             256,398.93    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.276 AKORN AG HETTLINGEN                         11/17/2022       $             811,869.69    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1443
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.277 AKORN AG HETTLINGEN                         11/29/2022       $              (1,847.41)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.278 AKORN AG HETTLINGEN                         11/29/2022       $              (1,824.56)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.279 AKORN AG HETTLINGEN                         11/29/2022       $               (823.43)     Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 1444
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.280 AKORN AG HETTLINGEN                         11/29/2022       $               (650.71)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.281 AKORN AG HETTLINGEN                         11/29/2022       $               (369.68)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.282 AKORN AG HETTLINGEN                         11/29/2022       $               (314.00)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1445
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.283 AKORN AG HETTLINGEN                         11/29/2022       $               (255.42)    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.284 AKORN AG HETTLINGEN                         11/29/2022       $                 197.69    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.285 AKORN AG HETTLINGEN                         11/29/2022       $                 408.44    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1446
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.286 AKORN AG HETTLINGEN                         11/29/2022       $               3,732.14    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.287 AKORN AG HETTLINGEN                         11/29/2022       $              38,240.21    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.288 AKORN AG HETTLINGEN                         11/29/2022       $              47,011.49    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1447
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.289 AKORN AG HETTLINGEN                         11/29/2022       $              55,349.05    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.290 AKORN AG HETTLINGEN                         11/29/2022       $              76,098.81    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.291 AKORN AG HETTLINGEN                         11/29/2022       $              97,423.81    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1448
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.292 AKORN AG HETTLINGEN                         11/29/2022       $             123,284.21    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.293 AKORN AG HETTLINGEN                         11/29/2022       $             273,171.29    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.294 AKORN AG HETTLINGEN                         11/29/2022       $             276,594.02    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1449
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.295 AKORN AG HETTLINGEN                         12/15/2022       $               1,262.34    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.296 AKORN AG HETTLINGEN                         12/15/2022       $               1,273.69    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.297 AKORN AG HETTLINGEN                         12/15/2022       $               1,297.46    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1450
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.298 AKORN AG HETTLINGEN                         12/15/2022       $               2,619.26    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.299 AKORN AG HETTLINGEN                         12/15/2022       $               4,153.04    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.300 AKORN AG HETTLINGEN                         12/15/2022       $               4,810.19    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1451
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.301 AKORN AG HETTLINGEN                         12/15/2022       $               5,108.07    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.302 AKORN AG HETTLINGEN                         12/15/2022       $             133,084.82    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.303 AKORN AG HETTLINGEN                         12/15/2022       $             174,087.25    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1452
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.304 AKORN AG HETTLINGEN                         12/15/2022       $             175,651.54    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.305 AKORN AG HETTLINGEN                         12/15/2022       $             178,929.56    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.306 AKORN AG HETTLINGEN                         12/15/2022       $             255,183.14    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1453
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.307 AKORN AG HETTLINGEN                         12/15/2022       $             270,985.76    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.308 AKORN AG HETTLINGEN                         12/15/2022       $             361,215.30    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.309 AKORN AG HETTLINGEN                         12/29/2022       $               2,230.60    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1454
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.310 AKORN AG HETTLINGEN                         12/29/2022       $               2,488.74    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.311 AKORN AG HETTLINGEN                         12/29/2022       $               2,674.11    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.312 AKORN AG HETTLINGEN                         12/29/2022       $               6,641.09    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1455
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.313 AKORN AG HETTLINGEN                         12/29/2022       $              70,135.50    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.314 AKORN AG HETTLINGEN                         12/29/2022       $             163,412.53    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.315 AKORN AG HETTLINGEN                         12/29/2022       $             182,323.66    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1456
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.316 AKORN AG HETTLINGEN                         12/29/2022       $             195,903.91    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.317 AKORN AG HETTLINGEN                         12/29/2022       $             486,521.85    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.318 AKORN AG HETTLINGEN                         12/29/2022       $           1,896,431.75    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1457
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.319 AKORN AG HETTLINGEN                         1/19/2023        $               3,139.77    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.320 AKORN AG HETTLINGEN                         1/19/2023        $              13,627.37    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.321 AKORN AG HETTLINGEN                         1/19/2023        $              14,653.26    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1458
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.322 AKORN AG HETTLINGEN                         1/19/2023        $              18,781.68    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.323 AKORN AG HETTLINGEN                         1/19/2023        $              22,976.50    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.324 AKORN AG HETTLINGEN                         1/19/2023        $              33,930.10    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1459
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.325 AKORN AG HETTLINGEN                         1/19/2023        $             122,781.37    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.326 AKORN AG HETTLINGEN                         1/19/2023        $             142,857.06    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.327 AKORN AG HETTLINGEN                         1/19/2023        $             351,845.66    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1460
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.328 AKORN AG HETTLINGEN                         1/19/2023        $             745,669.66    Services/Purchase of Inventory
            Insider's Name


            RIETHOFSTRASSE 1
            Street




            HETTLINGEN                     CH-8442
            City                State      ZIP Code


            SWITZERLAND
            Country


            Relationship to Debtor

            Subsidiary


     4.329 Akorn SARL                                  3/22             $              55,362.70    Capital Contribution
            Insider's Name


            15, RUE EDWARD STEICHEN
            Street




            City                State      ZIP Code


            LUXEMBOURG
            Country


            Relationship to Debtor

            Subsidiary


     4.330 Akorn SARL                                  5/22             $              53,323.00    Capital Contribution
            Insider's Name


            15, RUE EDWARD STEICHEN
            Street




            City                State      ZIP Code


            LUXEMBOURG
            Country


            Relationship to Debtor

            Subsidiary




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1461
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.331 Akorn SARL                                       9/22         $             123,913.12    Capital Contribution
            Insider's Name


            15, RUE EDWARD STEICHEN
            Street




            City                  State       ZIP Code


            LUXEMBOURG
            Country


            Relationship to Debtor

            Subsidiary


     4.332 Beth Zelnick Kaufman                             2/23/2022    $               1,013.11    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.333 Beth Zelnick Kaufman                             3/22/2022    $               1,900.66    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1462
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.334 Beth Zelnick Kaufman                             4/28/2022    $               1,393.70    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.335 Beth Zelnick Kaufman                             5/31/2022    $               3,430.12    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.336 Beth Zelnick Kaufman                             7/8/2022     $                 587.75    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1463
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.337 Beth Zelnick Kaufman                             7/8/2022     $                 892.85    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.338 Beth Zelnick Kaufman                             8/9/2022     $                  59.05    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.339 Beth Zelnick Kaufman                             9/23/2022    $               3,029.23    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1464
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.340 Beth Zelnick Kaufman                             10/7/2022    $                 160.00    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.341 Beth Zelnick Kaufman                             10/7/2022    $                 293.00    Concur reimbursement
            Insider's Name


            Address On File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.342 Beth Zelnick Kaufman                             10/31/2022   $                 245.00    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1465
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.343 Beth Zelnick Kaufman                             10/31/2022   $               4,169.92    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.344 Beth Zelnick Kaufman                             1/19/2023    $               1,748.64    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.345 Beth Zelnick Kaufman                             1/27/2023    $                 227.21    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1466
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.346 Beth Zelnick Kaufman                             1/29/2023    $               1,030.58    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.347 Beth Zelnick Kaufman                             1/31/2023    $                 140.00    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.348 Beth Zelnick Kaufman                             2/22/2023    $             268,125.00    Consulting for the bankruptcy
            Insider's Name


            Address On File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1467
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.349 Beth Zelnick Kaufman                             01/06/2023   $              31,730.77    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.350 Beth Zelnick Kaufman                             01/20/2023   $              31,730.77    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.351 Beth Zelnick Kaufman                             01/27/2023   $             325,000.00    Retention Bonus
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1468
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.352 Beth Zelnick Kaufman                             02/03/2023   $              31,730.77    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.353 Beth Zelnick Kaufman                             02/17/2023   $              31,730.77    salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.354 Beth Zelnick Kaufman                             02/23/2023   $              28,557.69    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1469
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.355 Beth Zelnick Kaufman                             02/23/2023   $              67,721.40    Unused Paid Time Off
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.356 Beth Zelnick Kaufman                             03/04/2022   $              20,192.31    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.357 Beth Zelnick Kaufman                             03/04/2022   $             223,125.00    Annual Bonus
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1470
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.358 Beth Zelnick Kaufman                             03/18/2022   $              20,192.31    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.359 Beth Zelnick Kaufman                             04/01/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.360 Beth Zelnick Kaufman                             04/01/2022   $             100,000.00    Brand Div Sale Bonus
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1471
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.361 Beth Zelnick Kaufman                             04/14/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.362 Beth Zelnick Kaufman                             04/29/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.363 Beth Zelnick Kaufman                             05/13/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1472
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.364 Beth Zelnick Kaufman                             05/13/2022   $              37,500.00    Sign-on Bonus
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.365 Beth Zelnick Kaufman                             05/27/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.366 Beth Zelnick Kaufman                             06/10/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1473
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.367 Beth Zelnick Kaufman                             06/24/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.368 Beth Zelnick Kaufman                             07/08/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.369 Beth Zelnick Kaufman                             07/08/2022   $              50,000.00    Decatur Success Bonus
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1474
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.370 Beth Zelnick Kaufman                             07/22/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.371 Beth Zelnick Kaufman                             08/05/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.372 Beth Zelnick Kaufman                             08/19/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1475
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.373 Beth Zelnick Kaufman                             09/02/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.374 Beth Zelnick Kaufman                             09/16/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.375 Beth Zelnick Kaufman                             09/30/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1476
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.376 Beth Zelnick Kaufman                             10/14/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.377 Beth Zelnick Kaufman                             10/28/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.378 Beth Zelnick Kaufman                             11/10/2022   $              20,798.08    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1477
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.379 Beth Zelnick Kaufman                             11/25/2022   $              39,383.73    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.380 Beth Zelnick Kaufman                             12/09/2022   $              31,730.77    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary


     4.381 Beth Zelnick Kaufman                             12/23/2022   $              31,730.77    Salary
            Insider's Name


            Address on File
            Street




            City                  State       ZIP Code



            Country


            Relationship to Debtor
            EVP , Chief Legal and Adminstrative Officer &
            Corp Secretary




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1478
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.382 Bill Ostrowski                              5/18/2022        $                 636.57    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.383 Bill Ostrowski                              9/14/2022        $               2,522.23    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.384 Bill Ostrowski                              12/15/2022       $                 264.41    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1479
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.385 Bill Ostrowski                              1/30/2023        $                 300.03    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.386 Bill Ostrowski                              2/19/2023        $                 297.32    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.387 Bill Ostrowski                              01/06/2023       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1480
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.388 Bill Ostrowski                              01/20/2023       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.389 Bill Ostrowski                              01/27/2023       $             125,000.00    Retention Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.390 Bill Ostrowski                              02/03/2023       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1481
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.391 Bill Ostrowski                              02/17/2023       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.392 Bill Ostrowski                              02/23/2023       $              13,370.19    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.393 Bill Ostrowski                              02/23/2023       $              17,106.42    Unused Paid Time Off
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1482
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.394 Bill Ostrowski                              03/04/2022       $              14,423.08    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.395 Bill Ostrowski                              03/04/2022       $             159,375.00    Annual Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.396 Bill Ostrowski                              03/18/2022       $              14,423.08    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1483
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.397 Bill Ostrowski                              04/01/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.398 Bill Ostrowski                              04/01/2022       $              50,000.00    Brand Div Sale Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.399 Bill Ostrowski                              04/14/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1484
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.400 Bill Ostrowski                              04/29/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.401 Bill Ostrowski                              05/13/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.402 Bill Ostrowski                              05/27/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1485
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.403 Bill Ostrowski                              06/10/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.404 Bill Ostrowski                              06/24/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.405 Bill Ostrowski                              07/08/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1486
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.406 Bill Ostrowski                              07/08/2022       $             125,000.00    Decatur Success Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.407 Bill Ostrowski                              07/22/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.408 Bill Ostrowski                              08/05/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1487
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.409 Bill Ostrowski                              08/19/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.410 Bill Ostrowski                              09/02/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.411 Bill Ostrowski                              09/16/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1488
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.412 Bill Ostrowski                              09/30/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.413 Bill Ostrowski                              10/14/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.414 Bill Ostrowski                              10/28/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1489
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.415 Bill Ostrowski                              11/10/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.416 Bill Ostrowski                              11/25/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.417 Bill Ostrowski                              12/09/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1490
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.418 Bill Ostrowski                              12/23/2022       $              14,855.77    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.419 Chris Young                                 4/3/2022         $               5,786.65    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.420 Chris Young                                 6/6/2022         $               3,913.79    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1491
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.421 Chris Young                                 9/1/2022         $              17,293.52    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.422 Chris Young                                 11/11/2022       $              15,375.36    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.423 Chris Young                                 1/23/2023        $               1,927.55    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1492
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.424 Chris Young                                 01/06/2023       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.425 Chris Young                                 01/20/2023       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.426 Chris Young                                 01/27/2023       $             125,000.00    Retention Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1493
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.427 Chris Young                                 02/03/2023       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.428 Chris Young                                 02/17/2023       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.429 Chris Young                                 02/23/2023       $              16,044.24    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1494
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.430 Chris Young                                 02/23/2023       $              31,495.73    Unused Paid Time Off
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.431 Chris Young                                 03/04/2022       $              17,307.70    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.432 Chris Young                                 03/04/2022       $             191,250.00    Annual Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1495
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.433 Chris Young                                 03/18/2022       $              17,307.70    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.434 Chris Young                                 04/01/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.435 Chris Young                                 04/01/2022       $              50,000.00    Brand Div Sale Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1496
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.436 Chris Young                                 04/14/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.437 Chris Young                                 04/29/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.438 Chris Young                                 05/13/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1497
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.439 Chris Young                                 05/27/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.440 Chris Young                                 06/10/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.441 Chris Young                                 06/24/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1498
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.442 Chris Young                                 07/08/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.443 Chris Young                                 07/08/2022       $             200,000.00    Decatur Success Bonus
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.444 Chris Young                                 07/22/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1499
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.445 Chris Young                                 08/05/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.446 Chris Young                                 08/19/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.447 Chris Young                                 09/02/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1500
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.448 Chris Young                                 09/16/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.449 Chris Young                                 09/30/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.450 Chris Young                                 10/14/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1501
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.451 Chris Young                                 10/28/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.452 Chris Young                                 11/10/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.453 Chris Young                                 11/25/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1502
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.454 Chris Young                                   12/09/2022      $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.455 Chris Young                                   12/23/2022      $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Operations


     4.456 Doug Boothe                                   3/13/2022       $               1,995.31    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1503
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.457 Doug Boothe                                   3/18/2022       $               5,393.43    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.458 Doug Boothe                                   3/23/2022       $               1,120.60    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.459 Doug Boothe                                   3/23/2022       $                  79.60    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1504
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.460 Doug Boothe                                   4/11/2022       $                 569.02    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.461 Doug Boothe                                   5/12/2022       $               1,493.76    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.462 Doug Boothe                                   5/12/2022       $                 770.33    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1505
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.463 Doug Boothe                                   5/23/2022       $               2,098.30    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.464 Doug Boothe                                   8/4/2022        $               1,171.24    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.465 Doug Boothe                                   8/4/2022        $                 565.00    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1506
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.466 Doug Boothe                                   8/8/2022        $                 437.38    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.467 Doug Boothe                                   8/21/2022       $                 883.44    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.468 Doug Boothe                                   8/21/2022       $                 702.27    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1507
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.469 Doug Boothe                                   8/26/2022       $               1,118.10    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.470 Doug Boothe                                   10/27/2022      $                 608.31    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.471 Doug Boothe                                   12/19/2022      $                  72.00    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1508
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.472 Doug Boothe                                   1/17/2023       $               4,782.65    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.473 Doug Boothe                                   1/23/2023       $                 978.39    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.474 Doug Boothe                                   2/6/2023        $               3,315.95    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1509
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.475 Doug Boothe                                   01/06/2023      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.476 Doug Boothe                                   01/20/2023      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.477 Doug Boothe                                   02/03/2023      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1510
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.478 Doug Boothe                                   02/17/2023      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.479 Doug Boothe                                   02/23/2023      $              30,113.24    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.480 Doug Boothe                                   02/23/2023      $              54,647.17    Unused Paid Time Off
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1511
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.481 Doug Boothe                                   03/04/2022      $              32,484.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.482 Doug Boothe                                   03/04/2022      $             450,000.00    Annual Bonus
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.483 Doug Boothe                                   03/18/2022      $              32,484.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1512
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.484 Doug Boothe                                   04/01/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.485 Doug Boothe                                   04/14/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.486 Doug Boothe                                   04/29/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1513
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.487 Doug Boothe                                   05/13/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.488 Doug Boothe                                   05/27/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.489 Doug Boothe                                   06/10/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1514
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.490 Doug Boothe                                   06/24/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.491 Doug Boothe                                   07/08/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.492 Doug Boothe                                   07/22/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1515
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.493 Doug Boothe                                   08/05/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.494 Doug Boothe                                   08/19/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.495 Doug Boothe                                   09/02/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1516
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.496 Doug Boothe                                   09/16/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.497 Doug Boothe                                   09/30/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.498 Doug Boothe                                   10/14/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1517
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.499 Doug Boothe                                   10/28/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.500 Doug Boothe                                   11/10/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.501 Doug Boothe                                   11/25/2022      $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1518
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

     4.502 Doug Boothe                                    12/09/2022       $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.503 Doug Boothe                                    12/23/2022       $              33,459.16    Salary
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            President and Chief Executive Officer


     4.504 Elizabeth W. Jeffords                          3/18/2022        $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1519
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

     4.505 Elizabeth W. Jeffords                          4/18/2022        $              43,212.73    Stock Buy-Back
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.506 Elizabeth W. Jeffords                          6/17/2022        $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.507 Elizabeth W. Jeffords                          9/23/2022        $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1520
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

     4.508 Elizabeth W. Jeffords                          12/27/2022       $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.509 Erislandy Dorado-Boladeres                     01/06/2023       $              20,500.97    Salary
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.510 Erislandy Dorado-Boladeres                     01/20/2023       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                   State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1521
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.511 Erislandy Dorado-Boladeres                    01/27/2023       $             125,000.00    Retention Bonus
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.512 Erislandy Dorado-Boladeres                    02/03/2023       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.513 Erislandy Dorado-Boladeres                    02/17/2023       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1522
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.514 Erislandy Dorado-Boladeres                    02/23/2023       $              16,044.24    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.515 Erislandy Dorado-Boladeres                    02/23/2023       $              16,342.84    Unused Paid Time Off
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.516 Erislandy Dorado-Boladeres                    03/04/2022       $              17,307.70    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1523
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.517 Erislandy Dorado-Boladeres                    03/04/2022       $             191,250.00    Annual Bonus
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.518 Erislandy Dorado-Boladeres                    03/18/2022       $              17,307.70    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.519 Erislandy Dorado-Boladeres                    04/01/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1524
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.520 Erislandy Dorado-Boladeres                    04/01/2022       $              50,000.00    Brand Div Sale Bonus
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.521 Erislandy Dorado-Boladeres                    04/14/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.522 Erislandy Dorado-Boladeres                    04/29/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1525
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.523 Erislandy Dorado-Boladeres                    05/13/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.524 Erislandy Dorado-Boladeres                    05/27/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.525 Erislandy Dorado-Boladeres                    06/10/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1526
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.526 Erislandy Dorado-Boladeres                    06/24/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.527 Erislandy Dorado-Boladeres                    07/08/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.528 Erislandy Dorado-Boladeres                    07/08/2022       $             200,000.00    Decatur Success Bonus
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1527
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.529 Erislandy Dorado-Boladeres                    07/22/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.530 Erislandy Dorado-Boladeres                    08/05/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.531 Erislandy Dorado-Boladeres                    08/19/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1528
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.532 Erislandy Dorado-Boladeres                    09/02/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.533 Erislandy Dorado-Boladeres                    09/16/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.534 Erislandy Dorado-Boladeres                    09/30/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1529
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.535 Erislandy Dorado-Boladeres                    10/14/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.536 Erislandy Dorado-Boladeres                    10/28/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.537 Erislandy Dorado-Boladeres                    11/10/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1530
Debtor:   Akorn Operating Company LLC                                                        Case number (if known):   23-10255

          Name

     4.538 Erislandy Dorado-Boladeres                    11/25/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.539 Erislandy Dorado-Boladeres                    12/09/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality


     4.540 Erislandy Dorado-Boladeres                    12/23/2022       $              17,826.93    Salary
            Insider's Name


            Address on File
            Street




            City                  State      ZIP Code



            Country


            Relationship to Debtor

            EVP, Global Quality




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1531
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.541 James Bauersmith                            3/18/2022        $              22,500.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.542 James Bauersmith                            4/18/2022        $              43,212.73    Stock Buy-Back
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.543 James Bauersmith                            6/17/2022        $              22,500.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1532
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.544 James Bauersmith                             9/23/2022        $              22,500.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                 State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.545 James Bauersmith                             12/27/2022       $              22,500.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                 State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.546 Jeffrey Wasserstein                          3/18/2022        $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                 State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1533
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.547 Jeffrey Wasserstein                          4/18/2022        $              43,212.73    Stock Buy-Back
            Insider's Name


            Address on File
            Street




            City                 State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.548 Jeffrey Wasserstein                          6/17/2022        $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                 State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.549 Jeffrey Wasserstein                          9/23/2022        $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                 State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1534
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.550 Jeffrey Wasserstein                           12/27/2022      $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.551 John Sweeney                                  3/27/2022       $               2,328.07    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.552 John Sweeney                                  4/30/2022       $               3,062.12    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1535
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.553 John Sweeney                                  6/18/2022       $               4,408.35    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.554 John Sweeney                                  9/11/2022       $               6,075.19    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.555 John Sweeney                                  11/24/2022      $               4,444.27    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1536
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.556 John Sweeney                                  2/2/2023        $               1,972.91    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.557 John Sweeney                                  2/22/2023       $             235,625.00    Consulting for the bankruptcy
            Insider's Name


            Address On File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.558 John Sweeney                                  01/06/2023      $              27,884.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1537
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.559 John Sweeney                                  01/20/2023      $              27,884.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.560 John Sweeney                                  01/27/2023      $             300,000.00    Retention Bonus
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.561 John Sweeney                                  02/03/2023      $              27,884.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1538
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.562 John Sweeney                                  02/17/2023      $              27,884.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.563 John Sweeney                                  02/23/2023      $              25,096.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.564 John Sweeney                                  02/23/2023      $              51,140.39    Unused Paid Time Off
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1539
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.565 John Sweeney                                  04/01/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.566 John Sweeney                                  04/14/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.567 John Sweeney                                  04/14/2022      $              70,000.00    Sign-on Bonus
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1540
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.568 John Sweeney                                  04/29/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.569 John Sweeney                                  05/13/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.570 John Sweeney                                  05/27/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1541
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.571 John Sweeney                                  06/10/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.572 John Sweeney                                  06/24/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.573 John Sweeney                                  07/08/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1542
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.574 John Sweeney                                  07/22/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.575 John Sweeney                                  08/05/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.576 John Sweeney                                  08/19/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1543
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.577 John Sweeney                                  09/02/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.578 John Sweeney                                  09/16/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.579 John Sweeney                                  09/16/2022      $              70,000.00    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1544
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.580 John Sweeney                                  09/30/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.581 John Sweeney                                  10/14/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.582 John Sweeney                                  10/28/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1545
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.583 John Sweeney                                  11/10/2022      $              16,346.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.584 John Sweeney                                  11/25/2022      $              35,961.50    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.585 John Sweeney                                  12/09/2022      $              27,884.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1546
Debtor:   Akorn Operating Company LLC                                                       Case number (if known):   23-10255

          Name

     4.586 John Sweeney                                  12/23/2022      $              27,884.62    Salary
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            EVP and Chief Financial Officer


     4.587 Jon Kafer                                     2/23/2022       $               4,553.25    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.588 Jon Kafer                                     3/22/2022       $               1,322.85    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State        ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1547
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.589 Jon Kafer                                   5/2/2022         $                 721.52    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.590 Jon Kafer                                   5/5/2022         $               1,903.48    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.591 Jon Kafer                                   5/23/2022        $               1,127.01    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1548
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.592 Jon Kafer                                   6/14/2022        $                 980.63    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.593 Jon Kafer                                   8/22/2022        $               1,025.02    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.594 Jon Kafer                                   8/22/2022        $               2,160.06    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1549
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.595 Jon Kafer                                   9/1/2022         $               1,345.45    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.596 Jon Kafer                                   9/1/2022         $               1,616.96    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.597 Jon Kafer                                   11/1/2022        $               2,059.23    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1550
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.598 Jon Kafer                                   1/19/2023        $               2,800.00    Concur reimbursement
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.599 Jon Kafer                                   01/06/2023       $              17,545.66    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.600 Jon Kafer                                   01/20/2023       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1551
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.601 Jon Kafer                                   02/03/2023       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.602 Jon Kafer                                   02/17/2023       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.603 Jon Kafer                                   02/23/2023       $              14,689.39    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1552
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.604 Jon Kafer                                   02/23/2023       $              21,760.70    Unused Paid Time Off
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.605 Jon Kafer                                   03/04/2022       $              15,846.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.606 Jon Kafer                                   03/04/2022       $             175,100.00    Annual Bonus
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1553
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.607 Jon Kafer                                   03/18/2022       $              15,846.16    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.608 Jon Kafer                                   04/01/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.609 Jon Kafer                                   04/01/2022       $             100,000.00    Brand Div Sale Bonus
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1554
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.610 Jon Kafer                                   04/14/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.611 Jon Kafer                                   04/29/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.612 Jon Kafer                                   05/13/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1555
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.613 Jon Kafer                                   05/27/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.614 Jon Kafer                                   06/10/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.615 Jon Kafer                                   06/24/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1556
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.616 Jon Kafer                                   07/08/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.617 Jon Kafer                                   07/08/2022       $              50,000.00    Decatur Success Bonus
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.618 Jon Kafer                                   07/22/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1557
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.619 Jon Kafer                                   08/05/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.620 Jon Kafer                                   08/19/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.621 Jon Kafer                                   09/02/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1558
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.622 Jon Kafer                                   09/16/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.623 Jon Kafer                                   09/30/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.624 Jon Kafer                                   10/14/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1559
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.625 Jon Kafer                                   10/28/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.626 Jon Kafer                                   11/10/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.627 Jon Kafer                                   11/25/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1560
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.628 Jon Kafer                                   12/09/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.629 Jon Kafer                                   12/23/2022       $              16,321.54    Salary
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Chief Commercial Officer


     4.630 Kevin Bain                                  3/18/2022        $              26,875.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                 State     ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1561
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.631 Kevin Bain                                  4/18/2022        $              46,860.00    Stock Buy-Back
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.632 Kevin Bain                                  4/28/2022        $               1,237.89    Expense reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.633 Kevin Bain                                  6/17/2022        $              26,875.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1562
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.634 Kevin Bain                                  9/23/2022        $              26,875.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.635 Kevin Bain                                  12/27/2022       $              26,875.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.636 Mark Rechan                                 3/18/2022        $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1563
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.637 Mark Rechan                                 4/18/2022        $              42,955.00    Stock Buy-Back
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.638 Mark Rechan                                 6/17/2022        $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.639 Mark Rechan                                 9/23/2022        $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1564
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.640 Mark Rechan                                 12/27/2022       $              23,125.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.641 Robert Webster                              3/18/2022        $              40,625.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.642 Robert Webster                              4/7/2022         $                 462.02    Expense reimbursement
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1565
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.643 Robert Webster                              4/18/2022        $              62,480.00    Stock Buy-Back
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.644 Robert Webster                              6/17/2022        $              40,625.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.645 Robert Webster                              9/23/2022        $              40,625.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1566
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.646 Robert Webster                              12/27/2022       $              40,625.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.647 Steven Lynn                                 3/18/2022        $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.648 Steven Lynn                                 4/18/2022        $              43,212.73    Stock Buy-Back
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1567
Debtor:   Akorn Operating Company LLC                                                      Case number (if known):   23-10255

          Name

     4.649 Steven Lynn                                 6/17/2022        $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.650 Steven Lynn                                 9/23/2022        $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member


     4.651 Steven Lynn                                 12/27/2022       $              21,250.00    Quarterly board fees
            Insider's Name


            Address on File
            Street




            City                State      ZIP Code



            Country


            Relationship to Debtor

            Board member




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                        Page 1568
Debtor:   Akorn Operating Company LLC                                                                  Case number (if known):   23-10255

          Name

 5.     Repossessions, foreclosures, and returns

        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
        sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


        5 None

        Creditor's Name and Address                             Description of the Property                   Date                  Value of property

          5.1                                                                                                                        $
                Creditor's Name



                Street




                City                  State       ZIP Code



                Country



   6.   Setoffs

        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
        of the debtor without permission or refused to make a payment at the debtor¶s direction from an account of the debtor because the debtor owed a
        debt.

        5 None

                Creditor's Name and Address                  Description of the action creditor took      Date action was taken          Amount

          6.1                                                                                                                            $
                Creditor's Name



                Street

                                                                Last 4 digits of account number: XXXX±


                City              State       ZIP Code



                Country




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 1569
Debtor:    Akorn Operating Company LLC                                                             Case number (if known):   23-10255

           Name


 Part 3:      Legal Actions or Assignments

 7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity²within 1 year before filing this case.
            None

                  Case title                       Nature of case                    Court or agency¶s name and address                   Status of case
               AFSCME District Council 47 Health
           7.1 & Welfare Fund, Sergeants         Plan of Reroganization Objection   Third Circuit Court of Appeals                             Pending
               Benevolent Association Health                                        Name
               and Welfare Fund v. Akorn Inc.                                                                                                  On appeal

                                                                                    21400 U.S. Courthouse                                 5    Concluded
                                                                                    Street

                  Case number                                                       601 Market Street
               21-2973 (3d Cir.)
               1:20-cv-01254 (D. Del.)
               20-11177                                                             Philadelphia            PA               19106-1790
                                                                                    City                    State            ZIP Code


                                                                                    Country



           7.2 Bond Sheila                       Workers Comp                                                                             5    Pending
                                                                                    Name
                                                                                                                                               On appeal

                                                                                                                                               Concluded
                                                                                    Street

                  Case number

               Claim Number: Y2Z C 72966
                                                                                    City                    State            ZIP Code


                                                                                    Country



           7.3 Carr Anne                         Workers Comp                                                                             5    Pending
                                                                                    Name
                                                                                                                                               On appeal

                                                                                                                                               Concluded
                                                                                    Street

                  Case number

               Claim Number: Y2Z C 92589
                                                                                    City                    State            ZIP Code


                                                                                    Country


               Centers for Medicare and Medicaid
           7.4 Services                          Medicare Pricing Issue             Center for Medicaid and CHIP Services                 5    Pending
                                                                                    Name
                                                                                                                                               On appeal
                                                                                    Division of Pharmacy Attn: Cynthia Denemark,
                                                                                    Deputy Director                                            Concluded
                                                                                    Street

                  Case number                                                       7500 Security Boulevard

                                                                                    Baltimore               MD               21244
                                                                                    City                    State            ZIP Code


                                                                                    Country




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 1570
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

          7.5 Daphnis Jean Erick                Workers Comp                                                                       5   Pending
                                                                                 Name
                                                                                                                                       On appeal

                                                                                                                                       Concluded
                                                                                 Street

                 Case number

              Claim Number: Y2Z C 79956
                                                                                 City                  State            ZIP Code


                                                                                 Country



          7.6 Fowler Amanda                     Workers Comp                                                                       5   Pending
                                                                                 Name
                                                                                                                                       On appeal

                                                                                                                                       Concluded
                                                                                 Street

                 Case number

              Claim Number: Y2Z C 57231
                                                                                 City                  State            ZIP Code


                                                                                 Country



          7.7 Harper Linda                      Workers Comp                                                                       5   Pending
                                                                                 Name
                                                                                                                                       On appeal

                                                                                                                                       Concluded
                                                                                 Street

                 Case number

              Claim Number: Y2Z C 80281
                                                                                 City                  State            ZIP Code


                                                                                 Country



          7.8 Jones Galana                      Workers Comp                                                                       5   Pending
                                                                                 Name
                                                                                                                                       On appeal

                                                                                                                                       Concluded
                                                                                 Street

                 Case number

              Claim Number: Y3V C 17783
                                                                                 City                  State            ZIP Code


                                                                                 Country



          7.9 Jose Alexander                    Workers Comp                                                                       5   Pending
                                                                                 Name
                                                                                                                                       On appeal

                                                                                                                                       Concluded
                                                                                 Street

                 Case number

              Claim Number: Y2Z C 50884
                                                                                 City                  State            ZIP Code


                                                                                 Country




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1571
Debtor:    Akorn Operating Company LLC                                                              Case number (if known):   23-10255

           Name

          7.10 Lees Kimberly                     Workers Comp                                                                            5   Pending
                                                                                   Name
                                                                                                                                             On appeal

                                                                                                                                             Concluded
                                                                                   Street

                  Case number

               Claim Number: Y3V C 07446
                                                                                   City                      State            ZIP Code


                                                                                   Country



          7.11 Logsdon Alex                      Workers Comp                                                                            5   Pending
                                                                                   Name
                                                                                                                                             On appeal

                                                                                                                                             Concluded
                                                                                   Street

                  Case number

               Claim Number: Y3V C 42466
                                                                                   City                      State            ZIP Code


                                                                                   Country



          7.12 Paguay Nilsson                    Workers Comp                                                                            5   Pending
                                                                                   Name
                                                                                                                                             On appeal

                                                                                                                                             Concluded
                                                                                   Street

                  Case number

               Claim Number: Y3F C 20331
                                                                                   City                      State            ZIP Code


                                                                                   Country


               Veronica Development Associates,
          7.13 LLC vs Akorn Operating Company, Civil Action - Breach of Contract   Superior Court Of New Jersey Chancery Division        5   Pending
               LLC                                                                 Name
                                                                                                                                             On appeal

                                                                                   20 North Bridge Steet                                     Concluded
                                                                                   Street

                  Case number

                                                                                   Somerville                NJ               08876
                                                                                   City                      State            ZIP Code


                                                                                   Country


               WSC-GSP B/L OFFICE PARK
               OWNER
          7.14 VII, LLC                          Lease Eviction                    State of Illinois , Circuit Cork                      5   Pending
                                                                                   Name
                                                                                                                                             On appeal

                                                                                   18 North County St                                        Concluded
                                                                                   Street

                  Case number

               23EV00000132                                                        Waukegan                  IL               60085
                                                                                   City                      State            ZIP Code


                                                                                   Country




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 1572
Debtor:    Akorn Operating Company LLC                                                           Case number (if known):   23-10255

          Name

 8.   Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
      of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      5 None
                Custodian¶s name and address               Description of the Property                 Value
          8.1                                                                                      $
                Custodian¶s name                                                                       Court name and address
                                                           Case title
                Street                                                                                 Name




                                                           Case number                                 Street

                City               State       ZIP Code



                Country                                    Date of order or assignment                 City                           State    ZIP Code



                                                                                                       Country




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   Page 1573
Debtor:    Akorn Operating Company LLC                                                          Case number (if known):   23-10255

           Name


 Part 4:       Certain Gifts and Charitable Contributions
 9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
      of the gifts to that recipient is less than $1,000

           None

                                                               Description of the gifts or
               Recipient¶s name and address                                                      Dates given                 Value
                                                               contributions
           9.1 Foundation for Student Communication, Inc.      Cash                              11/23/2021                  $           7,500.00
               Creditor's Name

               48 University Place
               Street



               Princeton               NJ              08540
               City                   State        ZIP Code


               Country

                  Recipient¶s relationship to debtor

               None

           9.2 Special Olympics of Illinois                    Cash                              5/17/2022                   $          10,000.00
               Creditor's Name

               605 East Willow Street
               Street



               Normal                  IL              61761
               City                   State        ZIP Code


               Country

                  Recipient¶s relationship to debtor

               None

           9.3 Special Olympics of Illinois                    Cash                              4/14/2021                   $          10,716.00
               Creditor's Name

               605 East Willow Street
               Street



               Normal                  IL              61761
               City                   State        ZIP Code


               Country

                  Recipient¶s relationship to debtor

               None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         Page 1574
Debtor:    Akorn Operating Company LLC                                                                   Case number (if known):   23-10255

           Name


 Part 5:         Certain Losses
 10.      All losses from fire, theft, or other casualty within 1 year before filing this case.
          5 None

                                                                Amount of payments received
                                                                for the loss
                                                                If you have received payments to
                                                                cover the loss, for example, from
                                                                insurance, government
                 Description of the property lost and how the
                                                                compensation, or tort liability, list   Date of loss                       Value of property lost
                 loss occurred
                                                                the total received.
                                                                List unpaid claims on Official
                                                                Form 106A/B (Schedule A/B:
                                                                Assets ±Real and Personal
                                                                Property).
          10.1                                                                                                                         $




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                               Page 1575
Debtor:     Akorn Operating Company LLC                                                             Case number (if known):    23-10255

          Name


  Part 6:      Certain Payments or Transfers

   11.      Payments related to bankruptcy

          List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
          of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
          relief, or filing a bankruptcy case.
              None

                    Who was paid or who received the transfer?   If not money, describe any property transferred    Dates             Total amount or value

              11.1 ALIXPARTNERS LLP                                                                                 1/5/2023              $              200,000.00


                    Address
                    PO BOX 7410063
                    Street



                                                     60674-
                    CHICAGO               IL         5063
                    City               State         ZIP Code



                    Country

                    Email or website address

                    www.alixpartners.com

                    Who made the payment, if not debtor?




              11.2 ALIXPARTNERS LLP                                                                                 1/24/2023             $              226,738.93


                    Address
                    PO BOX 7410063
                    Street



                                                     60674-
                    CHICAGO               IL         5063
                    City               State         ZIP Code



                    Country

                    Email or website address

                    www.alixpartners.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        Page 1576
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

            11.3 ALIXPARTNERS LLP                                                                             2/8/2023              $       148,453.00


                    Address
                    PO BOX 7410063
                    Street



                                                     60674-
                    CHICAGO             IL           5063
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.alixpartners.com

                    Who made the payment, if not debtor?




            11.4 ALIXPARTNERS LLP                                                                             2/21/2023             $       166,186.08


                    Address
                    PO BOX 7410063
                    Street



                                                     60674-
                    CHICAGO             IL           5063
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.alixpartners.com

                    Who made the payment, if not debtor?




            11.5 Angelique Puchacz                                                                            2/23/2023             $        55,364.00


                    Address
                    34988 North Leonard Avenue
                    Street



                    Ingleside           IL           60041
                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1577
Debtor:   Akorn Operating Company LLC                                                          Case number (if known):   23-10255

          Name

            11.6 Colleen Cooke                                                                                 2/22/2023            $        30,858.00


                    Address
                    11 Douglas St
                    Street



                    Pt Jefferson Stat    NY          11776
                    City                 State      ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




            11.7 David Furusho                                                                                 2/23/2023            $        21,667.00


                    Address
                    441 Woodside Trail
                    Street

                    Apt# F5
                    Decatur              IL          62521
                    City                 State      ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




            11.8 Dominique Cassese                                                                             2/22/2023            $        11,716.12


                    Address
                    13 Joyce Avenue
                    Street



                    Massapequa           NY          11758
                    City                 State      ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1578
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

            11.9 GIBSON DUNN & CRUTCHER LLP                                                                   1/5/2023              $       200,000.00


                    Address
                    200 Park Avenue
                    Street



                                                     10166-
                    NEW YORK            NY           0193
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.gibsondunn.com

                    Who made the payment, if not debtor?




           11.10 GIBSON DUNN & CRUTCHER LLP                                                                   1/24/2023             $       459,910.86


                    Address
                    200 Park Avenue
                    Street



                                                     10166-
                    NEW YORK            NY           0193
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.gibsondunn.com

                    Who made the payment, if not debtor?




           11.11 GIBSON DUNN & CRUTCHER LLP                                                                   2/1/2023              $       398,557.04


                    Address
                    200 Park Avenue
                    Street



                                                     10166-
                    NEW YORK            NY           0193
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.gibsondunn.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1579
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

           11.12 GIBSON DUNN & CRUTCHER LLP                                                                   2/8/2023              $       380,193.51


                    Address
                    200 Park Avenue
                    Street



                                                     10166-
                    NEW YORK            NY           0193
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.gibsondunn.com

                    Who made the payment, if not debtor?




           11.13 GIBSON DUNN & CRUTCHER LLP                                                                   2/21/2023             $       311,502.49


                    Address
                    200 Park Avenue
                    Street



                                                     10166-
                    NEW YORK            NY           0193
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.gibsondunn.com

                    Who made the payment, if not debtor?




           11.14 GRANT THORNTON LLP                                                                           1/5/2023              $        50,000.00


                    Address
                    33562 TREASURY CENTER
                    Street



                                                     60694-
                    CHICAGO             IL           3500
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.grantthornton.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1580
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.15 GREENHILL & CO LLC                                                                           12/14/2022           $       200,159.00


                    Address
                    300 PARK AVENUE
                    Street



                    NEW YORK            NY           10022
                    City                State       ZIP Code



                    Country

                    Email or website address

                    www.greenhill.com

                    Who made the payment, if not debtor?




           11.16 GREENHILL & CO LLC                                                                           1/18/2023            $       153,024.00


                    Address
                    300 PARK AVENUE
                    Street



                    NEW YORK            NY           10022
                    City                State       ZIP Code



                    Country

                    Email or website address

                    www.greenhill.com

                    Who made the payment, if not debtor?




           11.17 GREENHILL & CO LLC                                                                           1/24/2023            $           211.00


                    Address
                    300 PARK AVENUE
                    Street



                    NEW YORK            NY           10022
                    City                State       ZIP Code



                    Country

                    Email or website address

                    www.greenhill.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1581
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

           11.18 GREENHILL & CO LLC                                                                           2/2/2023              $       150,812.59


                    Address
                    300 PARK AVENUE
                    Street



                    NEW YORK            NY           10022
                    City                State       ZIP Code



                    Country

                    Email or website address

                    www.greenhill.com

                    Who made the payment, if not debtor?




           11.19 JACKSON LEWIS PC                                                                             1/26/2023             $               90.00


                    Address
                    PO BOX 4169019
                    Street



                                                     02241-
                    BOSTON              MA           6019
                    City                State       ZIP Code



                    Country

                    Email or website address

                    www.jacksonlewis.com

                    Who made the payment, if not debtor?




           11.20 JACKSON LEWIS PC                                                                             1/26/2023             $           540.00


                    Address
                    PO BOX 4169019
                    Street



                                                     02241-
                    BOSTON              MA           6019
                    City                State       ZIP Code



                    Country

                    Email or website address

                    www.jacksonlewis.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1582
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.21 JACKSON LEWIS PC                                                                             2/21/2023            $        75,000.00


                    Address
                    PO BOX 4169019
                    Street



                                                     02241-
                    BOSTON              MA           6019
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.jacksonlewis.com

                    Who made the payment, if not debtor?




           11.22 Jaime Santana                                                                                2/23/2023            $        29,293.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.23 James Pacheco                                                                                2/23/2023            $        47,125.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1583
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.24 Jaydeep Shukla                                                                               2/23/2023            $        42,250.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.25 Jimmy Cognata                                                                                2/23/2023            $        18,500.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.26 Kirk Tsahalis                                                                                2/22/2023            $        31,051.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1584
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

           11.27 KURTZMAN CARSON CONSULTANTS INC                                                              1/3/2023              $        50,000.00


                    Address
                    222 N. Pacific Coast Highway
                    Street

                    Suite 300
                    EL Segundo          CA           90245
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.kccllc.com

                    Who made the payment, if not debtor?




           11.28 KURTZMAN CARSON CONSULTANTS INC                                                              1/18/2023             $        35,000.00


                    Address
                    222 N. Pacific Coast Highway
                    Street

                    Suite 300
                    EL Segundo          CA           90245
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.kccllc.com

                    Who made the payment, if not debtor?




           11.29 KURTZMAN CARSON CONSULTANTS INC                                                              2/3/2023              $        25,000.00


                    Address
                    222 N. Pacific Coast Highway
                    Street

                    Suite 300
                    EL Segundo          CA           90245
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.kccllc.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1585
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.30 KURTZMAN CARSON CONSULTANTS INC                                                              2/22/2023            $        75,000.00


                    Address
                    222 N. Pacific Coast Highway
                    Street

                    Suite 300
                    EL Segundo          CA           90245
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.kccllc.com

                    Who made the payment, if not debtor?




           11.31 Laura Montellano                                                                             2/22/2023            $        30,858.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.32 M3 ADVISORY PARTNERS LP                                                                      1/12/2023            $       250,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1586
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.33 M3 ADVISORY PARTNERS LP                                                                      1/18/2023            $       150,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




           11.34 M3 ADVISORY PARTNERS LP                                                                      1/31/2023            $       150,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




           11.35 M3 ADVISORY PARTNERS LP                                                                      1/31/2023            $       200,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1587
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

           11.36 M3 ADVISORY PARTNERS LP                                                                      1/31/2023             $       263,420.48


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




           11.37 M3 ADVISORY PARTNERS LP                                                                      1/31/2023             $       350,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




           11.38 M3 ADVISORY PARTNERS LP                                                                      2/8/2023              $       200,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1588
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.39 M3 ADVISORY PARTNERS LP                                                                      2/14/2023            $       350,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




           11.40 M3 ADVISORY PARTNERS LP                                                                      2/17/2023            $       350,000.00


                    Address
                    130 W 42ND ST 17TH FLOOR
                    Street



                    NEW YORK            NY           10036
                    City               State        ZIP Code



                    Country

                    Email or website address

                    m3-partners.com

                    Who made the payment, if not debtor?




           11.41 Matt Hertzel                                                                                 2/23/2023            $        38,870.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1589
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.42 MIDCAP FINANCIAL SERVICES, LLC                                                               1/31/2023            $       325,000.00


                    Address
                    7255 Woodmont Avenue
                    Street

                    Suite 300
                    Bethesda            MD           20814
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.midcapfinancial.com

                    Who made the payment, if not debtor?




           11.43 MIDCAP FINANCIAL SERVICES, LLC                                                               1/31/2023            $       479,213.50


                    Address
                    7255 Woodmont Avenue
                    Street

                    Suite 300
                    Bethesda            MD           20814
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.midcapfinancial.com

                    Who made the payment, if not debtor?




           11.44 Miguel Gesmundo                                                                              2/23/2023            $        58,500.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1590
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.45 Mike Mogilinski                                                                              2/23/2023            $        35,471.00


                    Address
                    Address On File
                    Street




                    City                State       ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.46 Misael Ricardo Silva                                                                         2/23/2023            $        21,724.00


                    Address
                    Address On File
                    Street




                    City                State       ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.47 Pachulski Stang Ziehl & Jones LLP                                                            2/21/2023            $        10,000.00


                    Address
                    919 North Market Street
                    Street

                    17th Floor
                    Wilmington          DE           19801
                    City                State       ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1591
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.48 Pachulski Stang Ziehl & Jones LLP                                                            2/22/2023            $        25,000.00


                    Address
                    919 North Market Street
                    Street

                    17th Floor
                    Wilmington          DE           19801
                    City                State       ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.49 Patrick Diiorio                                                                              2/23/2023            $        19,538.21


                    Address
                    Address On File
                    Street




                    City                State       ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.50 Pestalozzi Attorneys                                                                         2/22/2023            $        35,000.00


                    Address
                    LOWENSTRASSE 1
                    Street



                    ZURICH                           CH-8001
                    City                State       ZIP Code

                    Switzerland
                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1592
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.51 Pramila Datt                                                                                 2/23/2023            $        11,213.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.52 Ramarao Gollapalli                                                                           2/23/2023            $         8,090.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.53 Robert Serina                                                                                2/22/2023            $        46,528.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1593
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.54 Sandip Chingre                                                                               2/23/2023            $        25,350.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.55 Scott Almgren                                                                                2/23/2023            $        15,621.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.56 Steve Kowalski                                                                               2/22/2023            $        37,700.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1594
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.57 Sushmeet Singh                                                                               2/22/2023            $         9,094.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.58 Tim Boland                                                                                   2/22/2023            $        10,862.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.59 Tom Morelli                                                                                  2/23/2023            $        27,083.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1595
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.60 Tracy Garrison                                                                               2/22/2023            $        15,231.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.61 WILLIS TOWERS WATSON US LLC                                                                  11/30/2022           $        50,000.00


                    Address
                    LOCKBOX 28025
                    Street

                    28025 NETWORK PLACE
                                                     60673-
                    CHICAGO             IL           1280
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.wtwco.com

                    Who made the payment, if not debtor?




           11.62 WILLIS TOWERS WATSON US LLC                                                                  1/18/2023            $        50,000.00


                    Address
                    LOCKBOX 28025
                    Street

                    28025 NETWORK PLACE
                                                     60673-
                    CHICAGO             IL           1280
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.wtwco.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1596
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.63 WILLKIE FARR & GALLAGHER LLP                                                                 11/16/2022           $       290,541.03


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.64 WILLKIE FARR & GALLAGHER LLP                                                                 12/1/2022            $       200,000.00


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.65 WILLKIE FARR & GALLAGHER LLP                                                                 12/9/2022            $       400,000.00


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1597
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.66 WILLKIE FARR & GALLAGHER LLP                                                                 12/14/2022           $        25,384.50


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.67 WILLKIE FARR & GALLAGHER LLP                                                                 12/14/2022           $        52,313.25


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.68 WILLKIE FARR & GALLAGHER LLP                                                                 12/14/2022           $       379,800.89


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1598
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

           11.69 WILLKIE FARR & GALLAGHER LLP                                                                 12/16/2022            $       212,468.72


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.70 WILLKIE FARR & GALLAGHER LLP                                                                 12/28/2022            $       581,369.97


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.71 WILLKIE FARR & GALLAGHER LLP                                                                 1/5/2023              $       400,113.92


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1599
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name

           11.72 WILLKIE FARR & GALLAGHER LLP                                                                 1/12/2023            $       404,302.51


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.73 WILLKIE FARR & GALLAGHER LLP                                                                 1/18/2023            $       285,749.86


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.74 WILLKIE FARR & GALLAGHER LLP                                                                 1/19/2023            $       367,825.48


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1600
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

           11.75 WILLKIE FARR & GALLAGHER LLP                                                                 1/24/2023             $       457,762.20


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.76 WILLKIE FARR & GALLAGHER LLP                                                                 1/27/2023             $       312,053.40


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.77 WILLKIE FARR & GALLAGHER LLP                                                                 2/1/2023              $       345,029.36


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1601
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name

           11.78 WILLKIE FARR & GALLAGHER LLP                                                                 2/8/2023              $       510,951.25


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.79 WILLKIE FARR & GALLAGHER LLP                                                                 2/16/2023             $       391,493.29


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




           11.80 WILLKIE FARR & GALLAGHER LLP                                                                 2/17/2023             $       300,000.00


                    Address
                    ATTN A/R
                    Street

                    787 SEVENTH AVE 38TH FLOOR
                                                     10019-
                    NEW YORK            NY           6099
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.willkie.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1602
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):    23-10255

          Name
                 YOUNG CONAWAY STARGATT & TAYLOR
           11.81 LLP                                                                                          1/2/2023              $       150,000.00


                    Address
                    1270 6TH AVENUE
                    Street



                    NEW YORK            NY           10020
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.youngconaway.com

                    Who made the payment, if not debtor?



                 YOUNG CONAWAY STARGATT & TAYLOR
           11.82 LLP                                                                                          1/24/2023             $       150,000.00


                    Address
                    1270 6TH AVENUE
                    Street



                    NEW YORK            NY           10020
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.youngconaway.com

                    Who made the payment, if not debtor?



                 YOUNG CONAWAY STARGATT & TAYLOR
           11.83 LLP                                                                                          2/3/2023              $        87,484.40


                    Address
                    1270 6TH AVENUE
                    Street



                    NEW YORK            NY           10020
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.youngconaway.com

                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             Page 1603
Debtor:   Akorn Operating Company LLC                                                         Case number (if known):   23-10255

          Name
                 YOUNG CONAWAY STARGATT & TAYLOR
           11.84 LLP                                                                                          2/17/2023            $        50,000.00


                    Address
                    1270 6TH AVENUE
                    Street



                    NEW YORK            NY           10020
                    City               State        ZIP Code



                    Country

                    Email or website address

                    www.youngconaway.com

                    Who made the payment, if not debtor?




           11.85 Yury Ashkinadze                                                                              2/23/2023            $        57,038.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




           11.86 Zundry Padra                                                                                 2/23/2023            $        43,940.00


                    Address
                    Address On File
                    Street




                    City               State        ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            Page 1604
Debtor:     Akorn Operating Company LLC                                                              Case number (if known):   23-10255

           Name

  12. Self-settled trusts of which the debtor is a beneficiary

          List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
          case to a self-settled trust or similar device.
          Do not include transfers already listed on this statement.
          5 None

                                                                                                           Dates transfers
                   Name of trust or device                     Describe any property transferred                                   Total amount or value
                                                                                                           were made
            12.1                                                                                                                   $


                   Trustee




  13. Transfers not already listed on this statement

          List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
          within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial
          affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


             None

                                                                 Description of property transferred or
                   Who received transfer?                                                                   Date transfer was
                                                                 payments received or debts paid in                                Total amount or value
                                                                                                            made
                                                                 exchange
            13.1 132 Lincoln Ave. Realty, LLC                    Real estate                                12/21/2021             $               1,601,860.60

                   Address
                   130 Lincoln St.
                   Street



                   Copiague            NY          11726
                   City                State       ZIP Code



                   Country
                   Relationship to Debtor

                   Third Party




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 1605
Debtor:     Akorn Operating Company LLC                                                           Case number (if known):   23-10255

           Name


  Part 7:      Previous Locations
   14.     Previous addresses

           List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
              Does not apply
                  Address                                                           Dates of occupancy

          14.1 132 Lincoln Street                                                    From                                   To Sold on 12/21/21
               Street




               Copiague                   NY                 11726
               City                       State              ZIP Code


               Country



          14.2 1925 W. Field Ct.                                                     From 6/15/2008                         To 9/14/2022
               Street




               Lake Forest                IL                 60045
               City                       State              ZIP Code


               Country



          14.3 2201 Waukegan Rd. Suite 140                                           From 9/1/2022                          To 11/30/2022
               Street




               Bannockburn                IL                 60015
               City                       State              ZIP Code


               Country



          14.4 285 Pierce St.                                                        From 11/1/2014                         To 9/30/2022
               Street




               Somerset                   NJ                 08873
               City                       State              ZIP Code


               Country



          14.5 2929 Plymouth Rd.                                                     From 1/13/2012                         To 6/30/2021
               Street




               Ann Arbor                  MI                 48105
               City                       State              ZIP Code


               Country



          14.6 68 Veronica Ave. Unit 9                                               From 12/17/2021                        To 10/15/2022
               Street




               Somerset                   NJ                 08873
               City                       State              ZIP Code


               Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 1606
Debtor:     Akorn Operating Company LLC                                                                   Case number (if known):   23-10255

            Name


  Part 8:          Health Care Bankruptcies
  15. Health Care bankruptcies

       Is the debtor primarily engaged in offering services and facilities for:
       ²diagnosing or treating injury, deformity, or disease, or
       ²providing any surgical, psychiatric, drug treatment, or obstetric care?
       5 No. Go to Part 9.

             Yes. Fill in the information below.

                                                                                                                                    If debtor provides meals and
                   Facility Name and Address                  Nature of the business operation, including type of services
                                                                                                                                    housing, number of patients in
                                                              the debtor provides
                                                                                                                                    debtor¶s care
            15.1
                   Facility Name




                                                              Location where patient records are maintained (if different from
                                                              facility address). If electronic, identify any service provider.
                                                                                                                                    How are records kept?
                   Street                                                                                                           Check all that apply:
                                                                                                                                        Electronically

                                                                                                                                        Paper
                   City            State           ZIP Code



                   Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                Page 1607
Debtor:    Akorn Operating Company LLC                                                            Case number (if known):   23-10255

           Name


 Part 9:      Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

          5 No.

             Yes. State the nature of the information collected and retained.

                    Does the debtor have a privacy policy about that information?

                       No

                        Yes


 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.

      5Yes. Does the debtor serve as plan administrator?

              No. Go to Part 10.

             5Yes. Fill in below:

                              Name of plan                                              Employer identification number of the plan

                     17.1   Smart Choice! Akorn, Inc. 401(k) Retirement Plan            EIN: XX-XXXXXXX

                              Has the plan been terminated?
                              5 No
                                Yes




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         Page 1608
Debtor:    Akorn Operating Company LLC                                                                   Case number (if known):   23-10255

          Name


 Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts

      Within 1 year before filing this case, were any financial accounts or instruments held in the debtor¶s name, or for the debtor¶s benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
      cooperatives, associations, and other financial institutions.

      5 None


                                                                                                                   Date account was
                                                                        Last 4 digits of                                                Last balance before closing or
                 Financial institution name and address                                      Type of account       closed, sold, moved,
                                                                        account number                                                  transfer
                                                                                                                   or transferred


          18.1                                                          XXXX-                Checking                                     $
                 Name
                                                                                             Savings

                                                                                             Money market
                 Street
                                                                                             Brokerage

                                                                                             Other


                 City                State            ZIP Code



                 Country



   19.    Safe deposit boxes

          List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
          filing this case.
            5 None


                                                                                Names of anyone with access                                    Does debtor still
                        Depository institution name and address                                                 Description of the contents
                                                                                to it                                                          have it?



                 19.1                                                                                                                             No
                          Name

                                                                                                                                                  Yes
                          Street



                                                                                Address
                          City               State               ZIP Code



                        Country




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         Page 1609
Debtor:   Akorn Operating Company LLC                                                                 Case number (if known):   23-10255

          Name

  20. Off-premises storage

      List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
      building in which the debtor does business.

           None


                                                                                                                                           Does debtor still
                 Facility name and address                        Names of anyone with access to it         Description of the contents
                                                                                                                                           have it?



          20.1 Abryl                                              Facilty Manager                           Inventory                        No
                 Name

                 Tehsil, Village Bhagwanpur, Dera                                                                                          5 Yes
                 Street




                 Bassi                 Punjab       140507        Address
                 City                  State        ZIP Code

                 India
                 Country


          20.2 Aenova / Haupt                                     Facilty Manager                           Inventory                        No
                 Name

                 82319 Starnberg                                                                                                           5 Yes
                 Street




                                                                  Address
                 City                  State        ZIP Code

                 Germany
                 Country


          20.3 Fareva Amboise                                     Facilty Manager                           Inventory                        No
                 Name

                 28 place de la Gare                                                                                                       5 Yes
                 Street




                                                    1616          Address
                 City                  State        ZIP Code

                 Luxembourg
                 Country


          20.4 GP Pharm                                           Facilty Manager                           Inventory                        No
                 Name

                 08908 Hospitalet de Llobregat                                                                                             5 Yes
                 Street




                 Barcelona                                        Address
                 City                  State        ZIP Code

                 Spain
                 Country




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         Page 1610
Debtor:   Akorn Operating Company LLC                                                          Case number (if known):   23-10255

          Name

          20.5 Mikart                                            Facilty Manager                     Inventory                        No
                 Name

                 1750 Chattahoochee Ave. NW                                                                                         5 Yes
                 Street




                 Atlanta             GA            30318         Address
                 City                State         ZIP Code



                 Country


          20.6 Recipharm (Aesica)                                Facilty Manager                     Inventory                        No
                 Name

                 North Road                                                                                                         5 Yes
                 Street




                 Queenborough                      ME11 5EL      Address
                 City                State         ZIP Code

                 United Kingdom
                 Country


          20.7 Ritedose                                          Facilty Manager                     Inventory                        No
                 Name

                 1 Technology Cir                                                                                                   5 Yes
                 Street




                 Columbia            SC            29203         Address
                 City                State         ZIP Code



                 Country


          20.8 Swiss Cap / Pharma Pack                           Facilty Manager                     Inventory                        No
                 Name

                 8009 Industrial Village Rd.                                                                                        5 Yes
                 Street




                 Greensboro          NC            27409         Address
                 City                State         ZIP Code



                 Country


          20.9 Woodstock Sterile Solutions                       Facilty Manager                     Inventory                        No
                 Name

                 2200 Lake Shore Dr.                                                                                                5 Yes
                 Street




                 Woodstock           IL            60098         Address
                 City                State         ZIP Code



                 Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                Page 1611
Debtor:   Akorn Operating Company LLC                                                            Case number (if known):   23-10255

          Name


 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
      trust. Do not list leased or rented property.
      5 None

                 Owner¶s name and address                Location of the property        Description of the property            Value

          21.1                                                                                                              $
                 Name


                 Street




                 City          State        ZIP Code



                 Country




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     Page 1612
Debtor:     Akorn Operating Company LLC                                                                    Case number (if known):   23-10255

           Name


  Part 12:        Details About Environmental Information
  For the purpose of Part 12, the following definitions apply:
  
          Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
          regardless of the medium affected (air, land, water, or any other medium).
  
          Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
          formerly owned, operated, or utilized.
  
          Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
          or a similarly harmful substance.
  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       5 No

             Yes. Provide details below.

                   Case title                        Court or agency name and address                       Nature of the case                  Status of case

           22.1                                                                                                                                     Pending
                                                     Name
                                                                                                                                                    On appeal
                                                                                                                                                    Concluded
                                                     Street



                  Case Number


                                                     City                State           ZIP Code



                                                     Country


 23.      Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of
          an environmental law?

          5 No

             Yes. Provide details below.

                                                               Governmental unit name and
                  Site name and address                                                                        Environmental law, if known       Date of notice
                                                               address
           23.1
                  Name                                         Name


                  Street                                       Street




                  City            State            ZIP Code    City              State          ZIP Code



                  Country                                      Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            Page 1613
Debtor:    Akorn Operating Company LLC                                                       Case number (if known):   23-10255

           Name

  24.     Has the debtor notified any governmental unit of any release of hazardous material?

          5 No

             Yes. Provide details below.

                  Site name and address               Governmental unit name and address      Environmental law, if known         Date of notice

           24.1
                  Name                                Name


                  Street                              Street




                  City       State         ZIP Code   City           State        ZIP Code



                  Country                             Country




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 Page 1614
Debtor:    Akorn Operating Company LLC                                                                Case number (if known):   23-10255

           Name


  Part 13:     Details About the Debtor¶s Business or Connections to Any Business
  25. Other businesses in which the debtor has or has had an interest
       List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
       case.Include this information even if already listed in the Schedules.
             None
                                                                                                         Employer Identification number
                  Business name and address                     Describe the nature of the business
                                                                                                         Do not include Social Security number or ITIN.
          25.1 Akorn Canada, Inc.                               Pharmaceutical Manufacturing             EIN: BN: 813520236
               Name
                                                                                                         Dates business existed
               1200 Waterfront Centre                                                                    From 10/1/2020               To Present
               Street

               200 Burrard Street

               Vancouver             BC              V6C 3L6
               City                  State           ZIP Code

               Canada
               Country


                                                                                                         Employer Identification number
                  Business name and address                     Describe the nature of the business
                                                                                                         Do not include Social Security number or ITIN.
          25.2 Akorn International SARL                         Pharmaceutical Manufacturing             EIN: Co: 20142434270
               Name
                                                                                                         Dates business existed
               15, RUE EDWARD STEICHEN                                                                   From 10/1/2020               To Present
               Street




                                                     2540
               City                  State           ZIP Code

               Luxembourg
               Country



 26. Books, records, and financial statements

      26a. List all accountants and bookkeepers who maintained the debtor¶s books and records within 2 years before filing this case.

             None

                  Name and Address                                                      Dates of service

          26a.1 Duane Portwood - EVP & Chief Financial Officer                          From   10/1/2020                        To   6/12/2021
                  Name
                  5605 CenterPoint Court
                  Street




                  Gurnee                     IL                       66031
                  City                       State                    ZIP Code


                  Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 1615
Debtor:    Akorn Operating Company LLC                                                           Case number (if known):        23-10255

           Name

          26a.2 Jay Mellentine - VP, Finance & Chief Accounting Officer             From    10/1/2020                           To    8/12/2022
                  Name
                  5605 CenterPoint Court
                  Street




                  Gurnee                    IL                         66031
                  City                      State                      ZIP Code


                  Country

          26a.3 John Sweeney - EVP & Chief Financial Officer                        From    10/1/2020                           To    2/23/2023
                  Name
                  5605 CenterPoint Court
                  Street




                  Gurnee                    IL                         66031
                  City                      State                      ZIP Code


                  Country

          26a.4 Ken Paras - Executive Director & Controller                         From    10/1/2020                           To    2/23/2023
                  Name
                  5605 CenterPoint Court
                  Street




                  Gurnee                    IL                         66031
                  City                      State                      ZIP Code


                  Country


      List all firms or individuals who have audited, compiled, or reviewed debtor¶s books of account and records or prepared a financial
 26b. statement within 2 years before filing this case.

              None
                    Name and Address                                              Dates of service

            26b.1 BDO USA LLP                                                     From     10/1/2020                       To        Present
                    Name

                    330 N. Wabash Ave. #3200
                    Street



                    Chicago                IL                  60611
                    City                   State               ZIP Code


                    Country




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 1616
Debtor:    Akorn Operating Company LLC                                                             Case number (if known):   23-10255

          Name

  26c. List all firms or individuals who were in possession of the debtor¶s books of account and records when this case is filed.
             None

                                                                                                        If any books of account and records are
                  Name and address
                                                                                                        unavailable, explain why

          26c.1 See Global Notes
                 Name



                 Street




                 City                                           State             ZIP Code



                 Country




  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
       statement within 2 years before filing this case.

           5 None

                        Name and address

            26d.1
                        Name



                        Street




                        City                                            State           ZIP Code



                        Country



 27. Inventories

      Have any inventories of the debtor¶s property been taken within 2 years before filing this case?

            No

       5 Yes. Give the details about the two most recent inventories.

                                                                                       Date of          The dollar amount and basis (cost, market, or
                 Name of the person who supervised the taking of the inventory
                                                                                       Inventory        other basis) of each inventory
                 Daniel Winiarski                                                      12/2021          $                               Cycle Counts / Cost

                 Name and address of the person who has possession of inventory
                 records
          27.1 See SOFA Question 26a
                 Name



                 Street




                 City                 State                 ZIP Code



                 Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 1617
Debtor:    Akorn Operating Company LLC                                                             Case number (if known):   23-10255

           Name

                                                                                       Date of          The dollar amount and basis (cost, market, or
                  Name of the person who supervised the taking of the inventory
                                                                                       Inventory        other basis) of each inventory
                  Daniel Winiarski                                                     12/2022          $                               Cycle Counts / Cost

                  Name and address of the person who has possession of inventory
                  records
           27.2 See SOFA Question 26a
                  Name



                  Street




                  City                 State                   ZIP Code



                  Country



 28. List the debtor¶s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

                  Name                               Address                                       Position and Nature of any           % of interest, if any
                                                                                                   interest
           28.1 Akorn Intermediate Company LLC       5605 CenterPoint Court, Gurnee, IL 60031      Sole Member                          100%

                                                                                                   EVP , Chief Legal and
                                                                                                   Adminstrative Officer & Corp
           28.2 Beth Zelnick Kaufman                 Addres on File                                Secretary                            None

           28.3 Christopher C Young                  Addres on File                                EVP, Global Operations               None

                                                                                                   President and Chief
           28.4 Douglas Boothe                       Addres on File                                Executive Officer                    None

                                                                                                   EVP and Chief Financial
           28.5 John Sweeney                         Addres on File                                Officer                              None

           28.6 Elizabeth Wellington Jeffords        Addres on File                                Board member                         None

           28.7 James Bauersmith                     Addres on File                                Board member                         None

           28.8 Jeff Wasserstein                     Addres on File                                Board member                         None

           28.9 Kevin Bain                           Addres on File                                Board member                         None

          28.10 Mark Rechan                          Addres on File                                Board member                         None

          28.11 Robert Webster                       Addres on File                                Board member                         None

          28.12 Steven Lynn                          Addres on File                                Board member                         None


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members
     in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          5 No

             Yes. Identify below.

                                                                                          Position and Nature of         Period during which position or
                 Name                           Address
                                                                                          any interest                   interest was held
          29.1                                                                                                           From                To




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 1618
Debtor:     Akorn Operating Company LLC                                                              Case number (if known):     23-10255

           Name

  30. Payments, distributions, or withdrawals credited or given to insiders
          Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
          bonuses, loans,credits on loans, stock redemptions, and options exercised?
              No
          5 Yes. Identify below.

                                                                       Amount of money
                    Name and address of recipient                      or description and    Dates                             Reason for providing the value
                                                                       value of property

            30.1 See SOFA Question 4
                    Name


                    Street




                    City                     State       ZIP Code


                    Country

                    Relationship to debtor



  31.     Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

             No

          5 Yes. Identify below.

                  Name of the parent corporation                                   Employer Identification number of the parent corporation

           31.1 Akorn Holding Company LLC                                         EIN: XX-XXXXXXX


   32.     Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           5 No

              Yes. Identify below.

                     Name of the pension fund                                   Employer Identification number of the pension fund

             32.1                                                               EIN:




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        Page 1619
Part 14:      Signature and Declaration


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.

18 U.S.C.§§ 152, 1341, 1519, and 3571.


I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on       04/03/2023
                    MM / DD / YYYY




      / s / John Sweeney
                                                                                    Printed name John Sweeney

     Signature of individual signing on behalf of the debtor


     Position or relationship to debtor   Third Party Consultant to Debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

5       No

        Yes
